                 Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 1 of 350




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6                               UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON,
7                                        AT SEATTLE

8    ARCH SPECIALTY INSURANCE
     COMPANY,                                             Cause No.
9
                                     Plaintiff,           COMPLAINT
10
               vs.
11
     DAVID EBENAL; and ROCKPORT
12   HOLDINGS, LLC,
                          Defendants.
13

14             Plaintiff Arch Specialty Insurance Company (“Arch”) states and pleads as follows:

15                                                I. PARTIES

16             1.1    Arch is a Missouri corporation with its principal place of business in New

17   Jersey.

18             1.2.   On information and belief, Defendant David Ebenal is a citizen of Washington

19   State.

20             1.3    On information and belief, Defendant Rockport Holdings, LLC is a Washington

21   State limited liability company whose members are citizens of Washington State. Rockport

22   Holdings, LLC was at all relevant times engaged in commercial activity in Washington State.

23                                  II. JURISDICTION AND VENUE

24                                                                                SOHA & L ANG, P.S.
     COMPLAINT – 1                                                                   ATTORNEYS AT LAW
     USDC WD WA/SEA CAUSE NO.                                                 1325 FOURTH AVENUE, STE 2000
25                                                                             SEATTLE, WASHINGTON 98101
                                                                            (206) 624-1800/FAX (206) 624-3585
                 Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 2 of 350




1           2.1     This action is between citizens of different states.

2           2.2     The amount in controversy exceeds the sum or value of $75,000, exclusive of

3    interest and costs, as set forth more particularly below.

4           2.3     This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).

5           2.4     An actual justiciable controversy exists between Arch and Defendants within the

6    meaning of 28 U.S.C. § 2201, et seq. regarding the scope and extent of insurance coverage

7    provided under the Arch policies, as set forth more particularly below.

8           2.5     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) in that a

9    substantial portion of the events giving rise to the insurance claim occurred in this District.

10          2.6     In accordance with LCR 3(e) this case should be assigned to the Seattle

11   Division.

12                                  III. GENERAL ALLEGATIONS

13          3.1     Arch issued the following insurance policies (“Policies”):

14     Policy No.  Period                          Named Insureds
     72DPC1446800 11/10/03 Ebenal General Contractors, Inc.; Ebenal General, Inc.; Ebenal
15                - 4/1/04 General Special Projects, Inc.; Meridian-Pacific Highway, Inc.;
                           Bonita & David Ebenal
16   72DPC1446801 4/1/04 - Ebenal General Contractors, Inc.; Ebenal General, Inc.; Ebenal
                  4/1/05   General Special Projects, Inc.; Meridian-Pacific Highway,
17                         LLC; Bonita & David Ebenal
     DPC000559100 4/1/05 - Ebenal General Contractors, Inc.; Ebenal General Special
18                4/1/06   Projects, Inc.; Meridian-Pacific Highway, LLC
     DPC000559101 4/1/06 - Ebenal General Contractors, Inc.; Ebenal General Special
19                4/1/07   Projects, Inc.; Meridian Pacific Highway, LLC; Rockport
                           Holdings, LLC
20   DPC000559102 4/1/07 - Ebenal General Contractors, Inc.; Ebenal General
                  8/27/07 Special Projects, Inc.
21
     Certified copies of the Policies are Exhibits 1 to 5 hereto (with redactions).
22
            3.2     Defendants were sued in the underlying lawsuit of Terra Firma Bellingham,
23

24                                                                                 SOHA & L ANG, P.S.
     COMPLAINT – 2                                                                    ATTORNEYS AT LAW
     USDC WD WA/SEA CAUSE NO.                                                  1325 FOURTH AVENUE, STE 2000
25                                                                              SEATTLE, WASHINGTON 98101
                                                                             (206) 624-1800/FAX (206) 624-3585
               Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 3 of 350




1    LLC v. David Ebenal, et al., Whatcom County Superior Court No. 18-2-01808-37 (“Underlying

2    Lawsuit”). A copy of the Complaint in the Underlying Lawsuit is Exhibit 6 hereto.

3           3.3        In the Underlying Lawsuit, the plaintiff alleges damages of $215,921 as well as

4    additional unspecified amounts, as set forth in Exhibit 6.

5           3.4        Defendants tendered defense and indemnity of the Underlying Lawsuit,

6    inclusive of pre-tender fees, to Arch under the Policies. Arch agreed to defend under a

7    reservation of rights.

8                              IV. CLAIM FOR DECLARATORY RELIEF

9           4.1        Arch incorporates by reference the allegations of all paragraphs above as if fully

10   alleged herein.

11          4.2        In accordance with 28 U.S.C. §2201, Arch seeks a ruling from this Court that

12   the Policies do not provide coverage for the Underlying Lawsuit.

13          4.3        An actual justiciable controversy exists between Arch and Defendants

14   concerning whether there is insurance coverage under the Policies for the claims asserted in the

15   Underlying Lawsuit.

16          4.4        The Policies do not provide coverage for the claims or defense costs in the

17   Underlying Lawsuit under the policy language including, but not limited to, the following

18   potentially applicable policy provisions or legal grounds:

19                     (a)    Defendants are not insureds under one or more of the Policies;

20                     (b)    There are no damages because of property damage caused by an

21   occurrence during the policy period(s).

22                     (c)    There is no coverage for property damage known to have occurred, in

23   whole or in part, prior to the policy period, and any continuation, change or resumption of such

24                                                                                  SOHA & L ANG, P.S.
     COMPLAINT – 3                                                                     ATTORNEYS AT LAW
     USDC WD WA/SEA CAUSE NO.                                                   1325 FOURTH AVENUE, STE 2000
25                                                                               SEATTLE, WASHINGTON 98101
                                                                              (206) 624-1800/FAX (206) 624-3585
               Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 4 of 350




1    property damage during or after the policy period.

2                   (d)     The exclusion for property damage expected or intended from the

3    standpoint of the insured precludes coverage in whole or in part.

4                   (e)     The exclusion for contractual liability precludes coverage in whole or in

5    part.

6                   (f)     The exclusion for property you own, rent or occupy precludes coverage

7    in whole or in part.

8                   (g)     The exclusions for that particular part of real property on which you are

9    performing operations and for that particular part of property that must be restored, repaired or

10   replaced because your work was incorrectly performed on it preclude coverage in whole or in

11   part.

12                  (h)     The exclusion for impaired property precludes coverage in whole or in

13   part.

14                  (i)     The exclusion for pollution precludes coverage in whole or in part.

15                  (j)     The exclusion for earth movement precludes coverage in whole or in

16   part.

17                  (k)     The Insureds have breached one or more policy conditions, including the

18   notice condition or the assumption of legal obligations condition.

19                  (l)     Arch has been prejudiced by the aforesaid breaches of policy conditions.

20                  (m)     The Policies do not provide coverage to the extent that the alleged

21   damages are not the result of fortuitous events or are a known loss.

22                  (n)     Under other such further policy language or other grounds that may

23   restrict or preclude coverage under the Policies or under law.

24                                                                                SOHA & L ANG, P.S.
     COMPLAINT – 4                                                                   ATTORNEYS AT LAW
     USDC WD WA/SEA CAUSE NO.                                                 1325 FOURTH AVENUE, STE 2000
25                                                                             SEATTLE, WASHINGTON 98101
                                                                            (206) 624-1800/FAX (206) 624-3585
               Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 5 of 350




1                            V. RESERVATION OF RIGHT TO AMEND

2           5.1     Arch reserves the right to amend its complaint, in whole or in part, as it obtains

3    additional facts through investigation and discovery.

4                                      VI. PRAYER FOR RELIEF

5           6.1     Wherefore, Arch prays for judgment as follows:

6                   (a)     That the Court render declaratory judgment in favor of Arch;

7                   (b)     That the Court declare the rights, duties, obligations, status and other

8    legal relations of the parties, including a declaration that there is no insurance coverage under

9    the Policies, that Arch has no duty to defend or indemnify for the claims in the Underlying

10   Lawsuit, that Arch may withdraw from the defense of the Underlying Lawsuit, that Defendants

11   have breached policy conditions and that Defendants are not entitled to pre-tender fees because

12   their breach of policy conditions is prejudicial;

13                  (c)     For all of Arch’s costs and disbursements incurred herein; and

14                  (d)     For such other relief as the Court may deem just and proper.

15          DATED this 17 day of September, 2021.

16
                                                    SOHA & LANG, P.S.
17
                                                    By: s/ Geoffrey Bedell
18                                                  By: s/ Cristin Cavanaugh
                                                      Geoffrey Bedell, WSBA # 28837
19                                                    Email: bedell@sohalang.com
                                                      Cristin Cavanaugh, WSBA # 53251
20                                                    Email: cavanaugh@sohalang.com
                                                      Soha & Lang, P.S.
21                                                    1325 Fourth Avenue, Suite 2000
                                                      Seattle, WA 98101-2570
22                                                    Telephone: 206-624-1800
                                                      Facsimile: 206-624-3585
23                                                    Attorneys for Plaintiff

24                                                                                SOHA & L ANG, P.S.
     COMPLAINT – 5                                                                   ATTORNEYS AT LAW
     USDC WD WA/SEA CAUSE NO.                                                 1325 FOURTH AVENUE, STE 2000
25                                                                             SEATTLE, WASHINGTON 98101
                                                                            (206) 624-1800/FAX (206) 624-3585
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 6 of 350




                        Exhibit 1
              Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 7 of 350




                                            DECLARATION


I declare under penalty of perjury under the law of California that the following is true and correct.


Annexed hereto as Exhibit A is a true and accurate copy of Arch Specialty Insurance Company policy

number 72DPC1446800 issued to Ebenal General Contractors, Inc., 4326 Pacific Highway Bellingham,

Washington 98226 in effect from November 10, 2003 to November 10, 2004 including any and all

applicable endorsements and forms made a part thereof.

Executed on the 1st day of September, 2021, at Corte Madera, CA.




                                                                                              Sean Basco
                                                                   Regional Vice President, E&S Casualty
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 8 of 350




              Exhibit A
9/26/2005 11:46 AM 16C3C  489


                                            • 1:fArch •
                   Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 9 of 350




                                                      Insurance Group
                                           ARCH SPECIALTY INSURANCE COMPANY
                                                       A Wisconsin Corporation     .
     Home Office Address:                                                                              Administrative Office Address:
     300 First Stamford Place, 5th Floor                                                                One Liberty Plaza, 53rd Floor
     Stamford, CT 06902                                                                                           New York, NY 10006
                                                                                                                      (800) 817-3252
                             COMMERCIAL GENERAL LIABILITY POLICY DECLARATIONS
     POLICY NUMBER: 72DPC1446800                                          RENEWAL OF: NEW

     EFFECTIVE DATE: 11/10/03                                             AGENT CODE:
     EXPIRATION DATE: 11/10/04
     12:01 AM STD lime at the Address of the Named Insured

     Item 1. Named Insured and Producing Agent
     Named Insured:   EBENAL GENERAL CONTRACTORS, INC.

     Mailing Address:     4326 PACIFIC HIGHWAY
                          BELLINGHAM, WASHINGTON 98226


     Producing Agent:     CRC INSURANCE SERVICES, INC.

     Mailing Address:     1420 FIFTH AVENUE, SUITE 1610
                          SEATTLE, WASHINGTON 98101


     Surplus Line Broker:CRC INSURANCE SERVICES, INC.

     Mailing Address:    1420 FIFTH AVENUE, SUITE 1610
                         SEATTLE, WASHINGTON 98101


     Surplus lines License#: 98358
     Item 2. Named Insured Classified as:
                         0 Individual                         D Partnership                         181 Corporation
                         0 Joint Venture                      □ LLC                                 0LLP
     Item 3. Limits of Insurance
     BODILY INJURY AND PROPERTY DAMAGE LIABILITY - EACH OCCURRENCE                                  $1 ,000,000
     PERSONAL AND ADVERTISING INJURY LIMIT - EACH OFFENSE                                           $1 ,000,000
     MEDICAL EXPENSE LIMIT -ANY ONE PERSON                                                          $NIA
     GENERAL AGGREGATE LIMIT (Other Than Products-Completed Operations)                             $2,000,000
     PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                                                  $2,000,000



     Deposit Premium    $-
     DAMAGES TO PREMISES RENTED TO YOU LIMIT - EACH OCCURRENCE
     Item 4. Policy Premium:$-
                               which is:

     Minimum Retained Audi! Premium$-
                                              D A Flat Charge Per Each Policy Period.
                                                                                                    $50,000




                                              18] Adjustable at the end of each Audit Period, Per Premium Compu!ation Endorsement
     Minimum Retained Premium 35%, not'suEject to adjustment in the event of cancellation by you.
                                                                      '


     06 CGLD0047 00 06 03                                                                                                Page 1 of2

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9/26/2005 11 :46 AM Case
                    16C3C_489


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                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 10 of 350


                                                                                              •
      Item 5. Fonns and Endorsements attached: See Schedule of Forms and Endorsements Fonn 00 ML0012 00 01 03

      In consideration of the payment of premium and in reliance upon statements made In the application this policy
      including all endorsements issued herein shall constitute the contract between the Company and the Named Insured.




                                                                                                                                       I

                                                                                                                                        I
                                                                                                                                      . I

                                                                                                                                       I




     Arch Specialty Insurance Company is not licensed in the state of New York and is not subject to its supervision.




     06 CGLD0047 00 06 03                                                                                               Page 2 of 2
                                          •
09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 11 of 350




                                   SCHEDULE OF FORMS AND ENDORSEMENTS

          NAMED INSURED: EBENAL GENERAL CONTRACTORS, INC.               TERM: 11/10/2003   to   11/10/2004
          POLICY NUMBER: 72DPC1446800



          ENDT. NO.   I   FORM NO.                    TITLE

                          06 CGLD0047 00 06 03        COMMERCIAL GENERAL LIABILITY POLICY DECLARATIONS
                          00 ML0012 00 01 03          SCHEDULE OF FORMS AND ENDORSEMENTS
                          06 CGL0098 00 07 03         COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                          06 ML0002 00 07 03          SIGNATURE PAGE
                          02 ML 0003 00 08 02         SERVICE OF SUIT
          1               02 CGL0108 00 09 03         BLANKET ADDITIONAL INSURED - DEDUCTIBLE POLICY
                                                      VERSION
          2               00 CGL0121 00 01 04         WAIVER OF SUBROGATION ENDORSEMENT DEDUCTIBLE
                                                      POLICY
          3               02 CGL0007 00 10 02         CROSS SUITS EXCLUSION
          4               02 CGL 0004 00 10 02        AIRCRAFT PRODUCTS/GROUNDING EXCLUSION
          5               02 CGL0018 00 10 02         INTELLECTUAL PROPERTY EXCLUSION
          6               00 CGL0101 00 07 03         MEDICAL PAYMENTS EXCLUSION
          7               00 CGL00S0 00 04 03         RESIDENTIAL AND RESIDENTIAL CONVERSION EXCLUSION
          8               02 CGL00110010 02           EARTH MOVEMENT OR SUBSIDENCE EXCLUSION
          9               00 CGL00410012 02           WRAP-UP EXCLUSION
          10              00 CGL0039 00 12 02         ENGINEERS, ARCHITECTS OR SURVEYORS PROFESSIONAL
                                                      LIABILITY EXCLUSION
          11              00 CGL0105 00 09 03         CONSTRUCT/ON MANAGEMENT ERRORS AND OMISSIONS
                                                      EXCLUSION
          12              02   CGL0016   00   10 02   EXTERIOR INSULATION AND FINISH SYSTEM EXCLUSION
          13              00   CGL0125   00   01 04   SUBCONTRACTOR ENDORSEMENT: DEDUCTIBLE POLICY
          14              00   CGL0038   00   12 02   EMPLOYEE BENEFITS LIABILITY COVERAGE
          15              02   CGL0107   00   09 03   PREMIUM COMPUTATION ENDORSEMENT -DEDUCTIBLE
                                                      POLICY VERSION
          16              00 CGL0099 00 10 03         DEDUCTIBLE LIABILITY ENDORSEMENT
          17              02 GCL0109 00 09 03         DESIGNATED CONSTRUCTION PROJECT(S) GENERAL
                                                      AGGREGATE LIMIT AND POLICY AGGREGATE LIMIT
                                                      ENDORSEMENT - DEDUCTIBLE POLICY VERSION




     00 ML0012 00 01 03                                                                            Page 1 of 1
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9/26/2005 11:46 AM Case
                   16C3C2:21-cv-01272-TL
                          489            Document 1 Filed 09/17/21 Page 12 of 350


                                                                                         •
                                                       t'JArch
                                                        Insurance Group
            ARCH SPECIALTY INSURANCE                                        COMMERCIAL GENERAL LIABILITY
            COMPANY
            300 First Stamford Place, 5th Floor                                               06 CGL0098 00 07 03
            Stamford, CT 06902


                                COMMERCIAL GENERAL LIABILITY COVERAGE FORM

           Various provisions in this policy restrict                       (2) Our right and duty to defend end when
           coverage. Read the entire policy carefully to                        we have used up the applicable limit
           determine rights, duties and what is and is not                      of insurance in the payment of
           covered.                                                             judgments or settlements under
                                                                                Coverages A or B or medical
           Throughout this policy the words "you· and                           expenses under Coverage C.
           "your" refer to the Named Insured shown in the
           Declarations, and any other person or                             No other obligation or liability to pay sums
           organization qualifying as a Named Insured                        or perform acts or services is covered
           under this policy. The words "we", "us'' and "our''               unless explicitly provided for under
           refer to the company providing this insurance.                    Supplementary Payments - Coverages
                                                                             A and B.
           The word "insured" means any person or
           organization qualifying as such under SECTION                  b. This insurance applies to "bodily injury"
           11- WHO IS AN INSURED.                                            and "property damage" only if:

           Other words and phrases that appear in                           (1) The   "bodily injury" or "property
           quotation marks have special meaning. Refer to                       damage"      is    caused   by an
           SECTION V-DEFINITIONS.                                               "occurrence" that takes place in the
                                                                                "coverage territory"; and
           SECTION 1- COVERAGES
                                                                            (2) The "bodily injury" or "property
           COVERAGE A BOOILY INJURY AND                                         damage" occurs during the policy
           PROPERTY DAMAGE LIABILITY                                            period.
           1. Insuring Agreement                                          2. Exclusions
              a.   We will pay those sums that the insured                This insurance does not apply to:
                   becomes legally obligated to pay as
                   damages because of "bodily injury" or                  a. Expected Or Intended Injury
                   "property damage" to           which this                 "Bodily Injury" or "property damage"
                   insurance applies. We will have the right                 expected or intended from the standpoint
                   and duty to defend the insured against                    of the insured. This exclusion does not
                   any "suit" seeking those damages.                         apply to "bodily injury" resulting from the
                   However, we will have no duty to defend                   use of reasonable force to protect
                   the insured against any "suit" seeking                    persons or property.
                   damages for "bodily injury" or "property
                   damage" to which this insurance does not               b. Contractual Llablllty
                   apply. We may, at our sole diSCtetion,                    "Bodily injury" or "property damage'' for
                   investigate any "occurrence" and settle                   which the insured is obligated to pay
                   any claim or "suit" that may result. But                  damages by reason of the assumption of
                   I1)   The amount we will pay for damages                  liability in a contract or agreement. This
                         is limited as described in Section Ill -            exclusion does not apply to liability for
                         Limits Of Insurance; and                            damages:




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09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 13 of 350




                 (1) That the insured would have in the                     (2) To any obligation to share da!!@g~ ..26_.:209:;i
                     absence of the contract or agreement;                      with or repay someone else who must
                     or                                                         pay damages because of the injury.
                 (2)    Assumed in a contract or agreement                  This ·exclusion does not apply to liability
                        that is an ''insured contracr, provided             assumed by the insured under an
                        the "bodily injury" or "property                    "insured contract''.
                        damage" occurs subsequent to the
                        execution      of the     contract or             f. Pollution
                        agreement.                                          (1) "Bodily injury" or "property damage"
               c. Liquor Llablllty                                              arising out of the actual, alleged or
                                                                                threatened       discharge, dispersal,
                  "Bodily injury" or "property damage" for                      seepage, migration, release or escape
                  which any insured may be held liable by                       ot "pollutants":
                  reason of:
                                                                               (a) At or from any premises, site or
                 (1) Causing        or contributing    to   the                    location which is or was at any
                        intoxication of any person;                                time owned or occupied by, or
                                                                                   rented or loaned to, any insured.
                 (2) The furnishing of alcoholic beverages
                                                                                   However, this subparagraph does
                     to a person under the legal drinking
                                                                                   not apply to:
                     age or under the influence of alcohol;
                     or                                                            (i) "Bodily      injury" if sustained
                                                                                         within a building and caused by
                 (3) Any statute, ordinance or regulation
                                                                                         smoke, fumes, vapor or soot
                     relating to the sale, gift, distribution or
                                                                                         from equipment used to heat
                     use of alcoholic beverages.
                                                                                         that building;
                  This exclusion applies only if you are in
                                                                                  (ii) "Bodily     injury" or "property
                  the      business      of    manufacturing,
                                                                                         damage" for which you may be
                  distributing, selling, serving or furnishing
                                                                                         held liable, if you are a
                  alcoholic beverages.
                                                                                         contractor and the owner or
               d. Workers' Compensation And Similar                                      lessee of such premises, site or
                  Laws                                                                   location has been added to
                                                                                         your policy as an additional
                  Any obligation of the insured under a                                  Insured with respect to your
                  workers' compensation, disability benefits                             ongoing operations performed
                  or unemployment compensation law or                                    for that additional insured at
                  any similar law(s).                                                    that premises, site or location
               e. Employer's Liability                                                   and such premises, site or
                                                                                         location is not and never was
                  "Bodily injury'' to:                                                   owned or occupied by, or
                 (1) An "employee" of the insured arising                                rented or loaned to, any
                     out of and in the course of:                                        insured,     other than     that
                                                                                         additional insured; or
                       (a) Employment by the insured; or
                                                                                 (Iii) "Bodily injury" or "property
                       (b) Performing duties related to the                            damage" arising out of heat,
                           conduct of the insured's business;                            smoke or fumes from a "hostile
                           or                                                            fire";
                 (2) The spouse, child, parent, brother or                    (b) At or from any premises, site or
                     sister of that "employee" as a                               location which is or was at any
                     consequence of Paragraph (1)                                 time used by or for any insured or
                     above.                                                       others for the handling, storage,
                  This exclusion applies:                                         disposal, processing or treatment
                                                                                  of waste;
                 (1) Whether the insured may be liable as
                     an employer or in any other capacity;                     (c) Which are or were at any time
                     and                                                           transported,    handled,    stored,
                                                                                   treated, disposed of, or processed
                                                                                   as waste by or for any insured or

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                                        •                                            •
09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 14 of 350




                        any person or organization for                              smoke or fumes from a ~s.iij~ .2"' .'.2~
                        whom you may be legally                                     fire".
                        responsible; or
                                                                            (e) At or from any premises, site or
                    (d) At or from any premises, site or                        location on which any insured or
                       location on which any insured or                         any contractors or subcontractors
                       any contractors or subcontractors                        working directly or indirectly on any
                       working directly or indirectly on any                    insured's behalf are performing
                       insured's behalf are performing                          operations if the operations are to
                       operations if the "pollutants" are                       test for, monitor, clean up, remove,
                       brought on or to the premises, site                      contain,      treat,   detoxify    or
                       or location in connection with such                      neutralize, or in any way respond
                       operations by such insured,                              to, or assess the effects of,
                       contractor     or     subcontractor.                     "pollutants".
                       However, this subparagraph does
                       not apply to:                                     (2) Any loss, cost or expense arising out
                                                                             of any:
                       (i) "Bodily     injury" or "property                 (a) Request,      demand,       order or
                           damage" arising out of the                           statutory or regulatory requirement
                           escape of fuels, lubricants or
                                                                                that any insured or others test for,
                           other operating fluids which are
                           needed to perform the normal                         monitor, clean up, remove, contain,
                           electrical,        hydraulic      or                 treat, detoxify or neutralize, or in
                           mechanical                 functions                 any way respond to, or assess the
                           necessary for the operation of                       effects of, "pollutants"; or
                           "mobile equipment'' or its parts,                (b) Claim or suit by or on behalf of a
                           if such fuels, lubricants or other                   governmental         authority    for
                           operatlng        fluids      escape                  damages because of testing for,
                           from a vehicle part designed to                      monitoring, cleaning up, removing,
                           hold, store or receive them.                         contalning, treating, detoxifying or
                           This exception does not apply if                     neutralizing, or in any way
                           the "bodily injury" or "property                     responding to, or assessing the
                           damage" arises out of the                            effects of, "pollutants".
                           intentional discharge, dispersal
                           or release of the fuels,                         However, this paragraph does not
                           lubricants or other operating                    apply to liability for damages because
                           fluids,   or if such fuels,                      of "property damage" that the insured
                           lubricants or other operating                    would have in the absence of such
                           fluids are brought on or to the                  request, demand, order or statutory or
                           premises, site or location with                  regulatory requirement, or such claim
                           the intent that they be                          or "suit" by or on behalf of a
                           discharged,        dispersed      or             governmental authority.
                           released as part of the
                           operations being performed by              g. Aircraft, Auto Or Watercraft
                           such insured, contractor or                   "Bodily injury" or "property damage"
                           subcontractor;                                arising     out    of    the     ownership,
                       (ii) "Bodily injury" or "property                 maintenance, use or entrustment to
                            damage" sustained within a                   others of any aircraft, "auto" or watercraft
                            building and caused by the                   owned or operated by or rented or loaned
                            release of gases, fumes or                   to any insured. Use includes operation
                            vapors from materials brought                and ''loading or unloading".
                            into that building in connection
                            with      operations       being             This exclusion does not apply to:
                            performed by you or on your                 (1) A watercraft while ashore on premises
                            behalf by a contractor or                       you own or rent;
                            subcontractor; or
                                                                        (2) A watercraft you do not own that is:
                      (iii) "Bodily
                                  injury" or "property                      (a) Less than 26 feet long; and
                           damage" arising out of heat,


            06 CGL0098 00 07 03       Includes Copyright Material from Insurance Services Office       Page 3 of 18
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                                           •                                             •
09/26/2005 11 :46 AM Case
                     16C3C  489
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 15 of 350




                    (b) Not being used to carry persons or                   Parag!'clphs (1), (3) and (4) °'~fc. ~i§ .2,6.,.2:~s
                        property for a charge;                               exclusion do not apply to "property
                 (3) Parking an "auto" on, or on the ways                    damage" {other than damage by fire) to
                     next to, premises you own or rent,                      premises, including the contents of such
                     provided the "auto" is not owned by or                  premises, rented to you for a period of 7
                     rented or loaned to you or the insured;                 or fewer consecutive days.

                 (4) "Bodily injury" or "property damage"                    Paragraph (2) of this exclusion does not
                     arising out of the operation of any of                  apply if the premises are "your work" and
                     the equipment listed in Paragraph                       were never occupied, rented or held for
                     f ,(2) or f.(3) of the definition of "mobile            rental by you.
                     equipment''.                                            Paragraphs (3), (4), (5) and (6) of this
               h. Mobile Equipment                                           exclusion do not apply to liability
                                                                             assumed under a sidetrack agreement.
                  "Bodily injury"    or    "property   damage"
                  arising out of:                                            Paragraph (6) of this exclusion does not
                                                                             apply to "property damage" included in
                 (1) The     transportation    of   "mobile                  the   "products-completed     operations
                     equipment" by an "auto" owned or                        hazard".
                     operated by or rented or loaned to any
                     insured; or
                 (2) The use of "mobile equipment" in, or                 k. Damage To Your Product
                     while in practice for, or while being                   "Property damage" to "your product"
                     prepared for, any prearranged racing,                   arising out of "your product" or any part of
                     speed, demolition, or stunting activity.                "your product".
               i. War                                                      I. Damage To Your Work
                  "Bod[ly injury" or "property damage" due                   "Property damage" to "your work" arising
                  to war, whether or not declared, or any                    out of "your work" or any part of "your
                  act or condition incident to war. War                      work" and included in the "products-
                  includes but is not limited to; civil war,                 completed operations hazard".
                  insurrection, usurped power, rebellion or
                  revolution.                                                This exclusion does not apply if the
                                                                             damaged work or the work out of which
               j. Damage To Property                                         the damage arises was performed on
                 "Property damage" to:                                       your behalf by a subcontractor.
                 (1) Property you own, rent, or occupy;                  m. Damage To Impaired Property Or
                                                                             Property Not Physically Injured
                 (2) Premises you sell, give away or
                     abandon, if the "property damage"                       "Property damage" to "impaired property"
                     arlses out of any part of those                         or property that has not been physically
                     premises;                                               injured, arising out of:
                 (3) Property loaned to you;                                (1) A defect, deficiency, inadequacy or
                                                                                dangerous condition in "your product"
                 (4) Personal property in the care, custody                     or "your work"; or
                     or control of the insured;
                                                                            (2) A delay or failure by you or anyone
                 (5) That particular part of real property on                   acting on your behalf to perform a
                     which you or any contractors or                            contract or agreement in accordance
                     subcontractors working directly or                         with its terms.
                     indirectly  on    your     behalf are
                     performing operations, if the "property                 This exclusion does not apply to the loss
                     damage"     arises    out     of those                  of use of other property arising out of
                     operations; or                                          sudden and accidental physical injury to
                                                                             "your product" or "your work" after it has
                 (6) That particular part of any property                    been put to its intended use.
                     that must be restored, repafred or
                     replaced because "your work" was                    Exclusions j. through m. do not apply to
                     incorrectly performed on it.                        damage by fire to premises while rented to


            06 CGL0098 00 07 03           Includes Copyright Material from Insurance Services Office       Page 4 of 18
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                                         •
09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 16 of 350




              you or temporarily occupied by you with                           an insured under any such P9'!.<:Y qµ.t .-2 ~,.'.2iu5
              permission of the owner. A separate limit of                      for its termination upon exhaustion of
              insurance applies to this coverage as                             its limit of liability; or
              described in SECTION Ill - LIMITS OF
              INSURANCE.                                                    (2) resulting   from     the    "hazardous
                                                                                properties" of "nuclear material" and
              n. Recall Of Products, Work Or Impaired                           with respect to which (a) any person
                 Property                                                       or organization is required to maintain
                                                                                financial protection pursuant to the
                 Damages claimed for any loss, cost or
                                                                                Atomic Energy Act of 1954, or any
                 expense incurred by you or others for the
                                                                                law amendatory thereof, or (b) the
                 loss of use, withdrawal, recall, inspection,
                                                                                "insured" is, or had this policy not
                 repair, replacement, adjustment, removal
                                                                                been issued would be, entitled to
                 or disposal of:
                                                                                indemnity from the United States of
                 (1) "Your product'';                                           America, or any agency thereof,
                                                                                under any agreement entered into by
                 (2} "Your work"; or
                                                                                the United Slates of America, or any
                 (3) "Impaired property";                                       agency thereof, with any person or
                                                                                organization; or
                 if such product, work, or property is
                 withdrawn or recalled from the market or                   (3) under    any     Medical     Payments
                 from use by any person or organization                         coverage, to expenses incurred with
                 because of a known or suspected defect,                        respect to "bodily Injury" resulting
                 deficiency, inadequacy or dangerous                            from the "hazardous properties" of
                 condition in it.                                               "nuclear malerial" and arising out of
                                                                                the operation of a "nuclear facility" by
              o. Personal And Advertising Injury                                any person or organization; or
                 "Bodily injury" arising out of "personal                  (4) under any liability Coverage, to
                 and advertising injury".                                      "bodily injury" or "property damage"
              p. Asbestos                                                      resulting from "hazardous properties"
                                                                               of "nuclear material", if:
                 "Bodily injury• or "property damage",
                 including but not limited to, compliance                     (a) The "nuclear material" (a) is at any
                 with any action authorized or required by                        "nuclear facility" owned by, or
                 law, which arises out of or would not have                       operated by or on behalf of, an
                 occurred, in whole or in part, but for the                       "insured" or (b) has been
                 "asbestos hazard."                                               discharged or dispersed therefrom;

                 As used in this exclusion, *asbestos                         (bl The "nuclear material" is contained
                 hazard" means actual, alleged or                                 In "spent fuel" or "waste" at any
                 threatened exposure to asbestos in any                           time possessed, handled, used,
                 manner or form whatsoever, either                                processed, stored, transported or
                 direcUy or indirectly, the failure to warn,                      disposed of, by or on behalf of an
                 advise or instruct related to asbestos, the                      "insured"; or
                 failure to prevent exposure to asbestos,                     (c) The "bodily injury" or "property
                 or the presence of asbestos in any place                         damage" arises out of the
                 whatsoever, whether or not within a                              furnishing by an "insured" of
                 building or structure.                                           services,      materials,   parts or
              q. Nuclear Liability                                                equipment in connection with the
                                                                                  planning,                 construction,
                 "Bodily injury" or •property damage•                             maintenance, operation or use of
                 (1) with respect to which an "insured"                           any "nuclear facility", but if such
                     under the policy is also an insured                          facllity is located within the United
                     under a nuclear energy liability policy                      States of America, its territories or
                     issued by Nuclear Energy Liability                           possessions or Canada, this
                     Insurance Association, Mutual Atomic                         exclusion (3) applies only to
                     Energy Liability Underwriters, Nuclear                       "property .damage"          to   such
                     Insurance Association of Canada or                           "nuclear facility" and any property
                     any of their successors, or would be                         thereat.


           06 CGL0098 00 07 03          Includes Copyright Material from Insurance Services Office        Page 5 of 18
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09/26/2005 11 :46 AM Case 2:21-cv-01272-TL
                     16C3C_ 489            Document 1 Filed 09/17/21 Page 17 of 350




               As used in this exclusion:                                   conducted on such .site and all P~E;rpi~i .. 2 '6 .• ~
                                                                            used for such operations.          · ·
               (1) "Hazardous         properties"      includes
                   radioactive,      toxic    or      explosive           (7) "Nuclear reactor" means any apparatus
                   properties.                                                designed or used to sustain nuclear
                                                                              fission in a self-supporting chain
               (2) Nuclear material" means "source                            reaction or to contain a critical mass of
                   material", "Special nuclear material'' or                  fissionable material.
                   "by-product material".
                                                                         (8) "Property damage'' includes all forms of
               (3) "Source      material", "special nuclear                  radioactive contamination of property.
                     material", and "by-product material"
                     have the meanings given them in the                 r. Employment Related Practices
                     Atomic Energy Act of 1954 or in any law
                                                                           Any ''bodily injury" to:
                     amendatory thereof.
                                                                           (1) A person arising out of any:
               (4) "Spent fuel" means any fuel element or
                   fuel component, solid or liquid, which                        (a) Refusal to employ;
                   has been used or exposed to radiation
                   in a "nuclear reactor".                                       (b) Termination  of      that   person's
                                                                                     employment; or
               (5) 'Waste" means any waste material (a)
                   containing "by-product material" other                        (c) Employment•related practices,
                   than the tailings or wastes produced by                           policies, act or omissions such as
                   the extraction or concentration of                                coercion, demotion, evaluation,
                   uranium or thorium from any ore                                   reassignment, discipline,
                   processed prrmarily for its "source                               defamation, harassment,
                   material" content, and (b) resulting from                         humiliation or discrimination
                   the operation by any person or                                    directed at that person;
                   organization of any "nuclear facility"                        (d) Action under Title VII of the 1964
                   included under the first two paragraphs                           Civil Rights Act andtor any
                   of the definition of "nuclear facility".                          amendments thereto; or
               (6) "Nuclear facility" means:                               (2)     The spouse, child, parent, brother or
                     (a) Any "nuclear reactor";                                    sister of that person as a
                                                                                   consequence of any injury or
                     (b) Any equipment or device designed                          damage to that person at whom any
                         or used for (i) separating the                            of the employment-related practices
                         isotopes of uranium or plutonium,                         described ln Paragraphs {a}, (b),
                         (ii) processing or utilizing "spent                       (c) or (d) above is directed.
                         fuel", or (iii) handling, processing or
                         packaging "waste";                                This exclusion applies:

                     (c) Any equipment or device used for                  (1)     Whether the insured may be held
                         the processing,       fabricating or                      liable as an employer or in any other
                         alloying of "special nuclear material"                    capacity; and
                         if at any time the total amount of                (2)     To any obligation to share damages
                         such material in the custody of the                       with or repay someone else who
                         "insured" at the premises where                           must pay damages because of the
                         such equipment or device is located                       injury.
                         consists of or contains more than 25
                         grams of plutonium or uranium 233               s. Prior Loss
                         or any combination thereof, or more                Any "bodily injury" or ''property damage ",
                         than 250 grams of uranium 235;                     if such injury or damage is a continuation
                     (d) Any structure, basin, excavation,                  of, or arises out of injury or damage that
                         premises or place prepared or used                 commenced prior to the inception date of
                         for the storage or disposal of                     the policy.
                         "waste";                                        t. Fungi, Mold and Mildew
                    and includes the site on which any of the               "Bodily injury" or "Property damage"
                    foregoing is located, all operations                    arising out of fungi, including but not


            06 CGL0098 00 07 03          Includes Copyright Material from Insurance Services Office         Page 6 of 18
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                -       ~-------------------------------------
9/26/2005 11:46 AM Case
                   16C3C_489
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 18 of 350




                 limited to, mold or mildew, and any                  2. Exclusions
                 microtoxins, spores, scents, vapors,
                 gases, or byproducts produced or                        This insurance does not apply to:
                 released by fungi, regardless of any other              a. Knowing     Violation    Of      Rights   Of
                 cause, event, material, product and/or                     Another
                 building component that contributed
                 concurrently or in any sequence to that                    "Personal and advertising injury" caused
                 liability, damage, loss. cost, expense or                  by or al the direction of the insured with
                 other type of obligation.                                  the knowledge that the act would violate
                                                                            the rights of another and would Inflict
               u.Lead                                                       "personal and advertising injury".
                 • eodily injury• or "property     damage•,              b. Material Published With Knowledge Of
                 including but not limited to, compliance                   Falslty
                 with any action authorized or required by
                 law, which arises out of, in whole or in                   "Personal and advertising injury" arising
                 part, the ingestion, inhalation, absorption                out of oral or written publication of
                 or exposure to lead, either directly or                    material, if done by or at the direction of
                 indirectly, in any manner or form                          the insured with knowledge of Its falsity.
                 whatsoever.                                             c. Material Published Prior To Policy
           COVERAGE B PERSONAL AND                                          Period
           ADVERTISING INJURY LIABILITY                                     "Personal and advertising injury" arising
           1. Insuring Agreement                                            out of oral or written publication of
                                                                            material whose first publication took place
              a. We will pay those sums that the insured                    before the beginning of the policy period.
                 becomes legally obligated to pay as
                 damages because of "personal and                        d. Criminal Acts
                 advertising injury" to which this Insurance                MPersonal and advertising injury" arising
                 applies. We will have the right and duty to                out of a criminal act committed by or at
                 defend the insured against any "suit"                      the direction of the insured.
                 seeking those damages. However, we will
                 have no duty to defend the insured                      e. Contractual liability
                 against any "suit'' seeking damages for                    "Personal and advertising injury" for
                 "personal and advertising injury" to which                 which the insured has assumed liability in
                 this insurance does not apply. We may, at                  a contract or agreement. This exclusion
                 our discretion, investigate any offense                    does not apply to liability for damages
                 and settle any claim or "suit" that may                    that the insured would have in the
                 result. Bui:                                               absence of the contract or agreement
                (1) The amount we will pay for damages                   f. Breach Of Contract
                    is limited as described in Section Ill -
                    Limits Of Insurance ; and                               "Personal and advertising injury" arising
                                                                            out of a breach of contract.
                (2) Our right and duty to defend end when
                    we have used up the applicable limit                g. Quality Or Performance Of Goods -
                    of Insurance in the payment of                         Failure To Conform To Statements
                    j udgments or settlements under                         "Personal and advertising injury" arising
                    Coverages A or B or medical                             out of the failure of goods, products or
                    expenses under Coverage C.                              services to conform with any statement of
                 No other obligation or liability to pay sums               quality or performance made in your
                 or perform acts or services is covered                     "advertisement".
                 unless explicitly provided for under                   h. Wrong Description Of Prices
                 Supplementary Payments - Coverages
                 A and B.                                                   "Personal and advertising injury" arising
                                                                            out of the wrong description of the price
              b. This insurance applies to "personal and                    of goods, products or services stated in
                 advertising injury" caused by an offense                   your "advertisement".
                 arising out of your business but only if the
                 offense was committed in the "coverage
                 territory" during the policy period.

           06 CGL0098 00 07 03        lndudes Copyright Material from Insurance Services Office           Page 7 of 18
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09/26/2005 11 :46 AM Case
                     16C3C  489
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 19 of 350




                I. Infringement Of Copyright,          Patent,             mold or mildew, and any micrq!~~. 2'f. - ~
                  Trademark Or Trade Secret                                spores, scents, vapors, gases, or
                                                                           byproducts produced or released by
                  "Personal and advertising injury" arising
                                                                           fungi, regardless of any other cause,
                  out of the infringement of copyright,
                                                                           event, material, product and/or building
                  patent, trademark, trade secret or other
                                                                           component that contributed concurrently
                  intellectual property rights.
                                                                           or in any sequence to that liability,
                j. Insureds In Media And Internet Type                     damage, loss, cost, expense or other type
                   Businesses                                              of obligation.
                  "Personal   and     advertising injury"               o. Employment-Related Practices
                  committed by an insured whose business
                  is:                                                      "Personal and Advertising Injury"
                                                                           arising out of employment-related
                 (1) Advertising, broadcasting, publishing                 practices to:
                     or telecasting;
                                                                           (1) A person arising out of any:
                 (2) Designing or determining content of
                                                                                (a) Refusal to employ;
                     web-sites for others; or
                                                                                (b} Termination    of     a    person's
                 (3) An Internet search, access, content or
                                                                                    employment; or
                     seivice provider.
                                                                                (c) Employment-related practices,
                  However, this exclusion does not apply to
                                                                                    policies, act or omissions,
                  Paragraphs 14.a., b. and c. of "personal
                                                                                    including but not limited to,
                  and advertising injury" under Section V -
                                                                                    coercion, demotion, evaluation,
                  Definitions.
                                                                                    reassignment, discipline,
                  For the purposes of this exclusion, the                           defamation, harassment,
                  placing of frames, borders or links, or                           humiliation or discrimination
                  advertising, for you or others anywhere                           directed at that person; or
                  on the Internet, is not by itself, considered
                                                                                (d) Action under Title VII of the 1964
                  the business of advertising, broadcasting,
                                                                                    Civil Rights Act and/or any
                  publishing or telecasting.
                                                                                    amendments thereto; or
               k. Electronic    Chatrooms       Or    Bulletin
                                                                          (2) any other person as a consequence
                  Boards
                                                                              of any injury or damage to that
                 "Personal and advertising injury" arising                    person at whom any of the
                 out of an electronic chatroom or bulletin                    employment-related         practices
                 board the insured hosts, owns, or over                       described in Paragraphs (a), (b), (c)
                 which the insured exercises control.                         or (d) above is directed,
               I. Unauthorized Use Of Another's Name                      This exclusion applies:
                 Or Product
                                                                          (1)     Whether or not the insured may be
                 "Personal and advertising injury" arising                        held liable as an employer or in any
                 out of the unauthorized use of another's                         other capacity; and
                 name or product in your e-mail address,
                                                                          (2)     To any obligation to share damages
                 domain name or metatag, or any other
                                                                                  with or repay someone else who
                 similar tactics to mislead another's
                                                                                  must pay damages because of any
                 potential customers.
                                                                                  such injury.
              m. Pollution
                                                                       p. Asbestos
                 "Personal and advertising injury" arising
                                                                          "Personal     and    advertising    injury",
                 out of the actual, alleged or threatened
                                                                          including but not limited to, compliance
                 discharge, dispersal, seepage, migration,
                                                                          with any action authorized or required by
                 release or escape of "pollutants" at any
                                                                          law, which arises out of or would not have
                 time.
                                                                          occurred, in whole or in part, but for the
               n. Fungi, Mold and Mildew                                  ''asbestos hazard."
                 "Personal and advertising injury" arising                As used in this exclusion, "asbestos
                 out of fungi, including but not limited to,              hazard" means actual, alleged or

            06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office          Page 8 of 18
                                                          With its Permission.
09/26/2005 11:46 AM Case
                    16C3C2:21-cv-01272-TL
                           489            Document 1 Filed 09/17/21 Page 20 of 350




                  threatened exposure to asbestos in any             2. Exclusions
                  manner or form whatsoever, either
                  directly or indirectly, the failure to warn,          We will not pay expenses for "bodily injury":
                  advise or instruct related to asbestos, the           a. Any Insured
                  failure to prevent exposure to asbestos,
                  or the presence of asbestos in any place                  To any      insured,     except   "volunteer
                  whatsoever, whether or not within a                       workers".
                  building or structure.                                b. Hired Person
               q.Lead                                                       To a person hired to do work for or on
                  "Personal     and     advertising   Injury",              behalf of any insured or a tenant of any
                  including but not limited to, compliance                  insured.
                  with any action authorized or required by             c. Injury On Normally Occupied Premises
                  law, which arises out of, in whole or in
                  part, the ingestion, inhalation, absorption              To a person injured on that part of
                  or exposure lo lead, either directly or                  premises you own or rent that the person
                  indirectly, in any manner or form                        normally occupies.          ·
                  whatsoever.                                           d. Workers Compensation And Similar
            COVERAGE C MEDICAL PAYMENTS                                    Laws
            1. Insuring Agreement                                          To a person, whether or not an
                                                                           "employee" of any insured, if benefits for
               a. We will pay medical expenses as                          the "bodily injury" are payable or must be
                  described below for "bodily injury" caused               provided under a workers' compensation
                  by an accident:                                          or disability benefits law or a similar law.
                 (1) On premises you own or rent;                       e. Athletics Activities
                 (2) On ways next to premises you own or                   To a person injured while taking part in
                     rent; or                                              athletics.
                 (3) Because of your operations;                         f. Products-Completed Operations
                     provided that:                                        Hazard

                     (a)   The accident takes place in the                 Included within the "products-completed
                           "coverage territory" and during                 operations hazard".
                           the policy period;                           g. Coverage A Exclusions
                     (b)   The expenses are incurred and                   Excluded under Coverage A.
                           reported to us within one year of
                           the date of the accident; and                h. War
                     (c)   The injured person submits to                   Due to war, whether or not declared, or
                           examination, at our expense, by                 any act or condition incident to war. War
                           physicians of our choice as                     includes civil war, insurrection, rebellion
                           often as we reasonably require.                 or revolution.

               b. We will make these payments regardless                I. Clubs
                  of fault. These payments will not exceed                 If you are a club, to any of your members.
                  the applicable limit of insurance. We will
                  pay reasonable expenses for:                          j. Medical Expenses
                 (1) First aid administered at the time of an              Arising from or in connection with any
                     accident;                                             medical expenses for services by you,
                                                                           any of your employees or any person or
                 (2) Necessary medical, surgical, x-ray                    organization under a contract to you to
                     and    dental    services, including                  provide such services.
                     prosthetic devices; and
                                                                        k. Fungi, Mold and Mildew
                 (3) Necessary        ambulance, hospital,
                     professional     nursing and funeral                  Arising out of fungi, including but not
                     services.                                             limited lo, mold or mildew, and any
                                                                           microtoxins, spores, scents, vapors,

            06 CGL0098 00 07 03         Includes Copyright Material from Insurance Services Office        Page 9 of 18
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09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 21 of 350




                  gases, or byproducts produced or                     d. All reasonable expenses incurred..by the _ _ ___ _
                  released by fungi, regardless of any other              insured at our request to assist us>fn 'ffie''~b · ~
                  cause, event, material, product and/or                  investigation or defense of the claim or
                  building component that contributed                     "suit", including actual loss of earnings up
                  concurrently or in any sequence to that                 to $250 a day because of time off from
                  liability, damage, loss, cost, expense or               work.
                  other type of obligation.
                                                                       e. All costs taxed against the insured in the
               I. Lead                                                    "suit".
                  Arising out of, in whole or in part, the              f. Prejudgment i nterest awarded against the
                  ingestion, inhalation, absorption or                     insured on that part of the judgment we
                  exposure to lead, either directly or                     pay. If we make an offer to pay the
                  indirectly, in any manner or foffil                      applicable limit of insurance, we will not
                  whatsoever.                                              pay any prejudgment interest based on
                                                                           that period of time after the offer.
                                                                       g. All interest on the full amount of any
                                                                          judgment that accrues after entry of the
               m. Asbestos                                                judgment and before we have paid,
                                                                          offered to pay, or deposited in court the
                  Which arises out of or would not have                   part of the judgment that Is within the
                  occurred, in whole or in part, but for the              applicable limit of insurance.
                  "asbestos hazard."
                                                                       These payments will not reduce the limits of
                  As used in this exclusion, "asbestos                 insurance.
                  hazard" means actual, alleged or
                  threatened exposure to asbestos in any            SECTION II - WHO IS AN INSURED
                  manner or form whatsoever, either
                                                                    1. If you are designated in the Declarations as:
                  directly or indirectly, the failure to warn,
                  advise or instruct related to asbestos, the          a. An Individual, you and your spouse are
                  failure to prevent exposure to asbestos,                insureds, but only with respect to the
                  or the presence of asbestos in any place                conduct of a business of which you are
                  whatsoever, whether or not within a                     the sole owner.
                  building or structure.
                                                                       b. A partnership or joint venture, you are an
               n. Pollution                                               insured. Your members, your partners,
                                                                          and their spouses are also insureds, but
                  Arising out of the actual, alleged or
                                                                          only with respect to the conduct of your
                  threatened        discharge,   dispersal,
                                                                          business.
                  seepage, migration, release or escape of
                  "pollutants" at any time.                            c. A limited liability company, you are an
                                                                          Insured. Your members are also insureds,
            SUPPLEMENTARY PAYMENTS-                                       but only with respect to the conduct of
            COVERAGES A AND B                                             your business. Your managers are
            1. We will pay, with respect to any claim we                  insureds, but only with respect to their
               investigate or settle, or any "suit" against an            duties as your managers.
               insured we defend:
                                                                       d. An organization other than a partnership,
               a. All expenses we incur.                                  joint venture or limited liability company,
                                                                          you are an insured. Your "executive
               b. Up to $250 for cost of bail bonds required              officers" and directors are insureds, but
                  because of accidents or traffic law                     only with respect to their duties as your
                  violations arising out of the use of any                officers or directors. Your stockholders
                  vehicle to which the Bodily Injury Liability            are also insureds, but only with respect to
                  Coverage applies. We do not have to                     their liability as stockholders.
                  furnish these bonds.
                                                                       e. A trust, you are an insured. Your trustees
               c. The    cost of     bonds to release                     are also insureds, but only with respect to
                  attachments, but only for bond amounts                  their duties as trustees.
                  within the applicable limit of insurance.
                  We do not have to furnish these bonds.            2. Each of the following is also an insured:



            06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office      Page 10 of 18
                                                          With its Permission.
09/26/2005 11:46 AM Case
                    16C3C  489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 22 of 350




               a.    Your "volunteer workers" only while                  b. Any person (other than your "emol9ye,e'._' .- . __ _
                     performing duties related to the conduct                or    "volunteer  worker"),   of~"'      a1Jy·-. .::-
                     of your business, or your "employees",                  organization while acting as your real
                     other than either your "executive officers"             estate manager.
                     {if you are an organization other than a
                     partnership, joint venture or limited                c. Any   person or organization having proper
                     liability company) or your managers (if                  temporary custody of your property if you
                     you are a limited liability company), but                die, but only:
                     only for acts within the scope of their                 (1) With respect to liability arising out of
                     employment by you or while performing                       the maintenance       or   use of that
                     duties related to the conduct of your                       property; and
                     business. However, none of these
                     "employees" or "volunteer workers" are                  {2) Until your legal representative has
                     insureds for:                                               been appointed.

                    (1) "Bodily   injury" or    "personal   and           d. Your legal representative if you die, but
                        advertising injury":                                  only with respect to duties as such. That
                                                                              representative will have all your rights
                       (a) To you, to your partners or                        and duties under this policy.
                           members (if you are a partnership
                           or joint venture), to your members          3. With respect to "mobile equipment"
                           (if you are a limited liability                registered in your name under any motor
                           company), to a co-"employee"                   vehicle registration law, any person is an
                           while in the course of his or her              Insured while driving such equipment along a
                           employment or performing duties                public highway with your permission. Any
                           related to the conduct of your                 other person or organization responsible for
                           business, or to your other                     the conduct of such person is also an
                           "volunteer      workers"     while             insured, but only with respect to liability
                           performing duties related to the               arising out of the operation of the equipment,
                           conduct of your business;                      and only If no other insurance of any kind is
                                                                          available to that person or organization for
                       (b) To      the spouse, child, parent,             thi:s liability. However, no person or
                             brother or sister of that co-                organization ls an insured w ith respect to:
                             "employee" or "volunteer worker''
                             as a consequence of Paragraph                a. "Bodily injury" to a co-"employee" of the
                             (1)(a} above;                                   person driving the equlpment; or

                       (c) For which there is any obligation to           b. "Property damage" to property owned by,
                             share damages with or repay                     rented to, in the charge of or occupied by
                             someone else who must pay                       you or the employer of any person who is
                             damages because of the injury                   an insured under this provision.
                             described in Paragraphs (1){a) or         4. Any organization you newly acquire or form,
                             (b) above; or                                other than a partnership, joint venture or
                       (d) Arising out of his or her providing            limited liability company, and over which you
                           or failing to provide professional             maintain ownership or majority interest, will
                           health care services.                          qualify as a Named Insured If there is no
                                                                          other similar insurance available to that
                    (2) "Property damage" to property:                    organization. However:
                       (a)   Owned, occupied or used by,                  a. Coverage under this provision is afforded
                       (b) Rented to, in the care, custody or                only until the 90th day after you acquire
                           control of, or over which physical                or form the organization or the end of the
                           control is being exercised for any                policy period, whichever is ear1ier;
                           purpose by                                     b. Coverage A does not apply to ''bodily
                       you, any of your "employees",                         injury" or "property damage" that occurred
                       ''Volunteer workers", any partner or                  before you acquired or formed the
                       member {if you are a partnership or                   organization; and
                       joint venture), or any member (if you              c. Coverage B does not apply to "personal
                       are a limited liability company).                     and advertising injury" arising out of an


            06 CGL0098 00 07 03           Includes Copyright Material from Insurance Services Office        Page 11 of 18
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09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 23 of 350




                  offense committed before you acquired or
                  formed the organization.
                                                                         you ?' .temporarily occupied by Y~.: ~
                                                                         perm1ss1on of the owner.
                                                                                                                           _:. -. -.~~--5
            No person or organization is an insured with              7. Subject to Paragraph 5. above, the Medical
            respect to the conduct of any current or past                Expense Limit is the most we will pay under
            partnership, joint venture or limited liability              Coverage C      for all medical expenses
            company that is not shown as a Named Insured                 because of "bodily injury" sustained by any
            in the Declarations.                                         one person.
            SECTION Ill - LIMITS OF INSURANCE                         The Limits of Insurance apply to the policy
                                                                      period set forth in the Declarations or any
            1. The Limits of Insurance shown in the
                                                                      endorsements thereto.
               Declarations and the rules below fix the most
               we will pay regardless of the number of:
               a. Insureds;
               b. Claims made or "suits" brought; or                  SECTION IV - COMMERCIAL GENERAL
                                                                      LIABILITY CONDITIONS
               c. Persons or organizations making claims
                  or bringing "suits".                                1. Bankruptcy
            2. The General Aggregate Limit is the most we                Bankruptcy or insolvency of the insured or of
               will pay for the sum of:                                  the insured's estate will not relieve us of our
                                                                         obligations under this policy.
               a. Medical expenses under Coverage C;
                                                                      2. Duties In The Event Of Occurrence,
               b. Damages under Coverage A, except                       Offense, Claim Or Suit
                  damages because of ''bodily injury" or
                  "property damage" included in the                      a. You must see to it that we are notified as
                  "products-completed operations hazard";                   soon as practicable of an "occurrence" or
                  and                                                       an offense which may result in a claim.
                                                                            To the extent possible, notice should
               c. Damages under Coverage B.                                 include:
            3. The       Products-Completed      Operations
                                                                           (1) How,    when      and     where     the
               Aggregate Limit is the most we will pay under
                                                                               "occurrence" or offense took place;
               Coverage A for damages because of "bodily
               injury" and "property damage" included in the               (2) The names and addresses of any
               "products-completed operations hazard".                         injured persons and witnesses; and
            4. Subject to Paragraph 2. above, the Personal                 (3) The nature and location of any injury
               and Advertising Injury Limit is the most we                     or damage arising out of the
               will pay under Coverage B for the sum of all                    "occurrence" or offense.
               damages because of all "personal and
                                                                         Notice of an "occurrence" or an offense is
               advertising injury" sustained by any one
                                                                         not notice of a claim.
               person or organization.
                                                                         b. If a claim is made or "suit" is brought
            5. Subject to Paragraphs 2. or 3. above,
              whichever applies, the Each Occurrence                        against any insured, you must:
              Limit is the most we will pay for the sum of:                (1) Immediately record the specifics of the
                                                                               claim or "suit" and the date received;
               a. Damages under Coverage A; and
                                                                               and
               b. Medical expenses under Coverage C
                                                                           (2) Notify us as soon as practicable.
               because of all "bodily injury" and "property
                                                                            You must see to it that we receive written
               damage" arising out of any one "occurrence".
                                                                            notice of the claim or "suir as soon as
            6. Subject to Paragraph 5. above, the Damage                    practicable.
               To Premises Rented To You Limit is the
                                                                         c. You and any other involved insured must:
               most we will pay under Coverage A for
               damages because of ''property damage" to                    (1} Immediately send us copies of any
               any one premises, while rented to you, or in                    demands, notices, summonses or
               the case of damage by fire, while rented to                     legal papers received in connection
                                                                               with the claim or "suit";


            06 CGL0098 00 07 03          Includes Copyright Material from Insurance Services Office      Page 12 of 18
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                                        •                                              •
09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 24 of 350




                 (2) Authorize us lo obtain records and                     compute the earned premium for__ that _ _ ____ _
                     other information;                                     period and send notice to the first rifamla ,-Lt>. ~
                                                                            Insured. The due date for audit and
                 (3) Cooperate with us in the Investigation
                                                                            retrospective premiums is the date shown
                     or settlement of the claim or defense
                                                                            as the due date on the bill. If the sum of
                     against the "suit"; and
                                                                            the advance and audit premiums paid for
                 (4) Assist us, upon our request, in the                    the policy period ls greater than the
                     enforcement of any right against any                   earned premium, we will return the
                     person or organization which may be                    excess to the first Named Insured.
                     liable to the insured because of injury
                                                                       c. The first Named Insured must keep
                     or damage to which this insurance
                                                                          records of the information we need for
                     may also apply.                                      premium compulatlon, and send us
               d. No insured will, except at that insured's               copies at such times as we may request.
                  own cost, voluntarily make a payment,
                  assume any obligation, or incur any
                  expense, other than for first aid, without       6. Representations
                  our consent.
                                                                       By accepting this policy, you agree:
            3. Legal Action Against Us
                                                                       a.   The statements in the Declarations are
               No person or organization has a right under                  accurate and complete;
               this policy:
                                                                       b. Those statements are based upon
               a. To join us as a party or otherwise bring us               representations you made to us; and
                  into a "suit'' asking for damages from an
                  Insured; or
                                                                       c. We have issued this policy in reliance
                                                                            upon your representations.
               b. To sue us on this policy unless all of its
                  terms have been fully complied with.
                                                                   7. Separation Of Insureds
                                                                       Except with respect to the Limits of
              A pe;son or organization may sue us to
                                                                       Insurance, and any rights or duties
              recover on an agreed settlement or on a final            specifically assigned in this policy to lhe first
              judgment against an insured; but we will not
                                                                       Named Insured, this insurance applies:
              be liable for damages that are not payable
              under the terms of this policy or that are in            a. As if each Named Insured were the only
              excess of the applicable limit of insurance.                Named Insured; and
              An agreed settlement means a settlement
              and release of liability signed by us, the               b. Separately to each insured against whom
              insured and the claimant or the claimant's                    claim is made or "suit" is brought.
              legal representative.                                8. Transfer Of Rights Of Recovery Against
                                                                      Others To Us       .
            4. Other Insurance
              This insurance is excess over any other valid            If the insured has rights to recover all or part
                                                                       of any payment we have made under this
              and collectible insurance that applies to any
              claim or "suit' to which this insurance applies,         policy, those rights are transferred to us. The
              whether such other insurance is written on a             insured must do nothing after loss to impair
              primary, excess, contingent or on any other              our righ ts. At our request, the insured will
              basis (except If that other insurance is                 bring "suit" or transfer those rights to us and
                                                                       help us enforce them.
              specifically w ritten to apply excess of thiS
              insurance), and this insurance will not              9. When We Do Not Renew
              contribute w ith any other such insurance.
                                                                       If we decide not to renew this policy, we will
            5. Premium Audit                                           mail or deliver to the first Named Insured
               a. We will compute all premiums for this                shown in the Declarations written notice of
                                                                       the nonrenewal not less than 30 days before
                  policy in accordance with our rules and
                                                                       the expiration date.
                  rates.
               b. Premium shown in this policy as advance              If notice is mailed, proof of mailing will be
                  premium is a deposit premium only. At                sufficient proof of notice.
                  the close of each audit period we will           10. Cancellation


            06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office        Page 13 of 18
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                                         •                                                  •
09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 25 of 350




                a. The First Named Insured shown ln the                     a. The First Named Insured is authorjz_ed_to .--- ___ _
                  Declarations may cancel this policy by                         act on behalf of all persons· .,.,,or.;,;;o .. ..a~
                  mailing or delivering to us advance                            organizations insured under this policy
                  written notice of cancellation.                                with respect to all matters pertaining to
                                                                                 the insurance afforded by the policy.
                b. We may cancel this policy by mailing or
                   delivering to the First Named Insured                   b. Each Named° Insured is jointly and
                   written notice of cancellation at least:                      severally liable for:
                 (1)    10 days before the effective date of               (1)        All premiums due under this policy;
                        cancellation if we cancel for non-                            and
                        payment of premium; or
                                                                           (2)        All obligations that arise due to the
                 (2)    30 days before the effective date of                          self-insured retention including claim
                        cancellation if we cancel for any                             expenses
                        other reason.
                                                                           (3)        Any other financial obligations of the
                c. We will mail or deliver our notice to the                          Named Insured to us arising out of
                  First Named lnsured's          last   mailing                       any agreements contained in this
                  address known to us.                                                policy.
               d. Notice of cancellation will state the              14.     Transfer of Your Rights and Duties
                  effective date of cancellation. The policy                  under this policy
                  period will end on that date.
                                                                             Your rights and duties under this policy
               e. If this policy is cancelled, we will send the              may not be transferred without our written
                  First Named Insured any premium refund                     consent, except in the case of death to an
                  due. If we cancel, the refund will be pro                  individual Named Insured.
                  rata. If the First Named Insured cancels,
                  the refund may be less than pro rata.                       If you die, your -rights and duties will be
                  The cancellation will be effective even if                  transferred to your legal representative
                  we have not made or offered a refund.                       but only within the scope of duties as your
                                                                              legal representative.      Until your legal
               f. If notice is mailed, proof of mailing will be               representative is appointed, anyone
                  sufficient proof of notice.                                 having proper temporary custody of your
                                                                              property will have your rights and duties
            11. Changes
                                                                              but only with respect to that property.
                 This policy contains all agreements
                                                                     SECTION V - DEFINITIONS
                 between you and us concerning the
                 insurance afforded. This policy's terms             1. "Advertisement" means a notice that is
                 can be amended or waived only by                       broadcast or published to the general public
                 endorsement issued by us and made a                    or specific market segments about your
                 part of this policy.                                   goods, products or services for the purpose
                                                                        of attracting customers or supporters. For the
            12. Inspection                                              purposes of this definition:
                 We shall be permitted but not obligated to                a, Notices  that are published include
                 Inspect, sample and monitor on a                             material placed on the Internet or on
                 continuing basis the insured's property or
                                                                              similar     electronic  means       of
                 operations, at any time. Neither our right
                                                                              communication; and
                 to make inspections, sample and monitor
                 nor the actual undertaking thereof nor any                b. Regarding web-sftes, only that part of a
                 report thereon shall constitute an                           web-site that is about your goods,
                 undertaking, on behalf of the insured or                     products or services for the purposes of
                 others, or determine or warrant that                         attracting customers or supporters is
                 property or operations are safe, healthful                   considered an advertisement.
                 or conform to acceptable engineering
                 practice or are in compliance with any law,
                                                                     2. "Auto" means a land motor vehicle, trailer or
                                                                        semitrailer designed for travel on public
                 rule or regulation.
                                                                        roads, including any attached machinery or
            13. Named Insureds                                          equipment. But "auto" does not include
                                                                        "mobile equipment''.



            06 CGL0098 00 07 03         Includes Copyright Material from Insurance Services Office           Page 14 of 18
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                                         •                                              •
09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 26 of 350




            3. "Bodily injury" means bodily injury, sickness            a. The repalr, replacement, adjust1Tl~£lt~.-~b-~~
               or disease sustained by a person, including                 removal of "your product'' or "your won,;:';
               death resulting from any of these at any time.              or
            4. "Coverage territory" means:                              b. Your fulfilling the terms of the contract or
                                                                           agreement.
               a. The United States of America {including
                  its territories and possessions), Puerto           9. "Insured contract" means:
                  Rico and Canada;
                                                                        a. A written contract for a lease of premises.
               b. International waters or airspace, but only               However, that portion of the written
                  if the injury or damage occurs in the                    contract for a lease of premises that
                  course of travel or transportation between               indemnifies any person or organization
                  any places included in Paragraph a.                      for damage by fire to premises while
                  above;or                                                 rented to you or temporarily occupied by
                                                                           you with permission of the owner is not
               c. All other parts of the world if the injury or            an "insured contract";
                  damage arises out of:
                                                                        b. A written sidetrack agreement;
                  (1) Goods or products made or sold by
                      you in the territory described in                 c. Any easement or license agreement,
                      Paragraph a. above;                                  except in connection with construction or
                                                                           demolition operations on or within 50 feet
                 (2) The activities of a person whose home
                                                                           of a railroad;
                     is in the territory described in
                     Paragraph a. above, but is away for a              d. An obligation, as required by ordinance,
                     short time on your business; or                       to lndemnify a municipality, except in
                                                                           connection with work for a municipality;
                  (3) "Personal and advertising injury"
                      offenses that take place through the              e. A    written       elevator    maintenance
                      Internet or similar electronic means of·             agreement;
                      communication
                                                                        f. That part of any other written contract or
               provided the insured's responsibility to pay                written agreement pertaining to your
               damages is determined in a "suit" on the                    business (including an indemnification of
               merits, in the territory described in                       a municipality in connection with work
               Paragraph a. above or in a settlement we                    performed for a municipality) under which
               agree to.                                                   you assume the tort liability of another
                                                                           party to pay for "bodily injury" or "property
            5. "Employee" includes a "leased worker''.                     damage''     to    a   third    person     or
               "Employee" does not include a "temporary
                                                                           organization. Tort liability means a liability
               worker".
                                                                           that would be imposed by law in the
            6. "Executive officer'' means a person holding                 absence of any written contract or written
               any of the officer positions created by your                agreement.
               charter, constitution, by-laws or any other                 Paragraph f. does not include that part of
               similar governing document.                                 any written contract or written agreement:
            7. "Hostile fire" means one which becomes                     (1) That indemnifies a railroad for "bodily
               uncontrollable or breaks out from where it                     injury" or "property damage" arising
               was intended to be.                                            out of construction or demolition
            8. "Impaired property" means tangible property,                   operations, within 50 feet of any
               other than "your product" or "your work", that                 railroad property and affecting any
               cannot be used or is less useful because:                      railroad bridge or trestle, tracks, road-
                                                                              beds, tunnel, underpass or crossing;
               a. It incorporates "your product" or "your
                  work" that is known or thought to be                    (2) That   indemnifies     an architect,
                  defective,   deficient, inadequate   or                     engineer or surveyor for injury or
                  dangerous; or                                               damage arising out of:
               b. You have failed to fulfill the terms of a                     (a) Preparing, approving, or failing to
                  contract or agreement;                                            prepare or approve, maps, shop
                                                                                    drawings,    opinions,     reports,
               lf such property can be restored to use by:                          surveys, field orders, change

            06 CGL0098 00 07 03         Includes Copyright Material from Insurance Services Office       Page 15 of 18
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                                         •                                               •
09/26/2005 11 :46 AM Case
                     16C3C  489
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 27 of 350




                          orders      or     drawings       and              (2) Road construction or resurfacin8 _c- _ - _ _
                          specifications; or                                     equipment such as graders, scrlipirs·~""-•'...~
                                                                                 or rollers;
                     (b) Giving directions or instructions, or
                         failing to give them, if that is the           e. Vehicles not described in Paragraphs a.,
                         primary cause of the injury or                    b., c. or d. above that are not self-
                         damage; or                                        propelled and are maintained primarily to
                                                                           provide mobility to permanently attached
                  (3) Under which     the insured, if an
                                                                           equipment of the following types:
                      architect, engineer or surveyor,
                      assumes liabillty for an injury or                     (1) Air    compressors,      pumps    and
                      damage arising out of the insured's                        generators,      including   spraying,
                      rendering or failure to render                             welding,        building     cleaning,
                      professional services, including those                     geophysical exploration, lighting and
                      listed in Paragraph (2) above or                           well servicing equipment; or
                      supervisory, inspection, architectural
                      or engineering activities.                             (2) Cherry pickers and similar devices
                                                                                 used to raise or lower workers:
            1 O. "Leased worker" means a person leased to
                 you by a labor leasing firm under an                    f. Vehicles not described in Paragraphs a.,
                 agreement between you and the labor                        b., c. or d .. above maintained primarily for
                 leasing firm, to perform duties related to the             purposes other than the transportation of
                 conduct of your business. "Leased worker''                 persons or cargo.
                 does not include a "temporary worker".                      However, self-propelled vehicles with the
            11. "Loading or unloading" means the handling                    following types of permanently attached
                of property:                                                 equipment are not "mobile equipment''
                                                                             but will be considered "autos":
               a. After it is moved from the place where it is
                  accepted for movement into or onto an                      (1) Equipment designed primarily for:
                  aircraft, watercraft or "auto";                               (a) Snow removal;
               b. While it is in or on an aircraft, watercraft                  (b) Road     maintenance,     but     not
                  or "auto"; or                                                     construction or resurfacing; or
               c. While it is being moved from an aircraft,                     (c) Street cleaning;
                  watercraft or "auto" to the place where it
                  is finally delivered;                                      (2) Cherry pickers and similar devices
                                                                                 mounted on automobile or truck
               but "loading or unloading" does not include                       chassis and used to raise or lower
               the movement of property by means of a                            workers; and
               mechanical device, other than a hand truck,
               that is not attached to the aircraft, watercraft              (3) Air    compressors,       pumps    and
               or "auto".                                                        generators,      including    spraying,
                                                                                 welding,        building      cleaning,
            12. "Mobile equipment" means any of the                              geophysical exploration, lighting and
                following types of land vehicles, including                      well servicing equipment.
                any attached machinery or equipment:
                                                                     13. "Occurrence'' means an accident, including
               a. Bulldozers, farm machinery, forklifts and              continuous or repeated exposure to
                  other vehicles designed for use principally            substantially the same general harmful
                  off public roads;                                      conditions.
               b. Vehicles maintained for use solely on or          14. "Personal and advertising injury'' means
                  next to premises you own or rent;                     injury, including consequential "bodily injury",
               c. Vehicles that travel on crawler treads;               arising out of one or more of the following
                                                                        offenses:
               d. Vehicles, whether self-propelled or not,
                  maintained primarily to provide mobility to
                                                                        a.   False arrest, detention or imprisonment;
                  permanently mounted:                                  b. Malicious prosecution;
                 (1) Power cranes, shovels,           loaders,          c. The wrongful eviction from, wrongful entry
                     diggers or drills; or                                   into, or invasion of the right of private
                                                                             occupancy of a room, dwelling or

            06 CGL0098 00 07 03         Includes Copyright Material from Insurance Services Office        Page 16 of 18
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                                        •                                            •
09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 28 of 350




                  premises that a person occupies,                               contractor    or    subcon_tr11c.to1 __ _ _ __ _
                  committed by or on behalf of its owner,                        working on the same project:'"~ ,,-=-, •·""0 ·,_,.:;ti,;,r.,;
                  landlord or lessor;
                                                                              Work that may need service,
               d. Oral or written publication, in any manner,                 maintenance, correction, repair or
                  of material that slanders or libels a person                replacement, but which is otherwise
                  or organization or disparages a person's                    complete,   will  be   treated   as
                  or organization's goods, products or                        completed.
                  services;
                                                                       b. This does not include "bodily injury" or
               e. Oral or written publication of material, in             "property damage" arising out of:
                  any manner, that violates a person's right
                                                                          (1) The transportation of property, unless
                  of privacy;
                                                                              the injury or damage arises out of a
                f. The use of another's advertising idea in                   condition in or on a vehicle not owned
                  your "advertisement"; or                                    or operated by you, and that condition
                                                                              was created by the "loading or
               g. Infringing upon another's copyright, trade                  unloading" of that vehicle by any
                  dress or slogan in your "advertisement".
                                                                              insured;
                All "personal and advertising injury• arising
                                                                          (2) The existence of tools, uninstalled
                out of the same or similar material,
                                                                              equipment or abandoned or unused
                regardless of lhe mode in which such
                                                                              materials; or
                material is communicated, including but not
                limited to publication by means of Internet,             (3) Products or operations for which the
                extra-net, email or website, will be                         classification,   listed     in   the
                considered as arising solely out of one                      Declarations or in a policy schedule,
                offense.                                                     states      that   products-completed
                                                                             operations are subject to the General
            15. "Pollutants" mean any solid, liquid, gaseous                 Aggregate limit.
               or thermal irritant or contaminant, including
               smoke, vapor, soot, fumes, acids, alkalis,           17. "Property damage" means:
               chemicals and waste. Waste includes
               materials to be recycled, reconditioned or
                                                                       a. Physical injury to tangible property,
                                                                          including all resulting loss of use of that
               reclaimed.
                                                                          property. All such loss of use shall be
            16. "Products-completed    operations     hazard"             deemed to occur at the time of the
               means:                                                     physical injury that caused it; or
               a. All "bodily injury" and "property damage"            b. Loss of use of tangible property that is not
                  occurring away from premises you own or                 physically injured. All such loss of use
                  rent and arising out of "your product" or               shall be deemed to occur at the time of
                  "your work" except:                                     the "occurrence" that caused it.
                 (1) Products that are still in your physical          For the purposes of this insurance, electronic
                     possession; or                                    data is not tangible property.
                 (2) Work that has not yet been completed              As used in this definition, electronic data
                     or abandoned. However, "your work"                means information, facts or programs stored
                     will be deemed completed at the                   as or on, created or used on, or transmitted
                     earliest of the following times:                  to or from computer software, including
                                                                       systems and applications software, hard or
                     (a) When all of the work called for in            floppy disks, CD-ROMS, tapes, drives, cells,
                         your contract has been completed.
                                                                       data processing devices or any other media
                     (b) When all of the work to be done at            which are used with electronically controlled
                         the job site has been completed if            equipment.
                         your contract calls for work at more ·    18. "Suit" means a civil proceeding in which
                         than one job site.                            damages because of "bodily injury",
                     (c) When that part of the work done at            "property damage" or "personal and
                         a job site has been put to its                advertising injury" to which this insurance
                         intended use by any person or                 applies are alleged. "Suit" includes:
                         organization other than another


            06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office           Page 17 of 18
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9/26/2005 11:46 AM Case
                   16C3C2:21-cv-01272-TL
                          489            Document 1 Filed 09/17/21 Page 29 of 350




               a. An arbitration proceed ing in which such               (2) Materials,   parts  or        equiom~t. _ . - ~
                  damages are claimed and to which the                       furnished in connection       with~sucii. co .. ..:.   .
                  insured must submit or does submit w ith                   work or operations.
                  our consent; or
                                                                      b. Includes
               b. Any other alternative dispute resolution
                  proceeding in which such damages are                   (1) Warranties or representations made at
                                                                             any time with respect to the fitness,
                  claimed and to which the insured submits
                  with our consent.                                          quality, durability, performance or use
                                                                             of "your work", and
           19. "Temporary worker" means a person who Is
               furnished to you to substitute for a
                                                                         (2) The providing of or failure   to provide
                                                                             warnings or instructions.
               permanent "employeeff on leave or to meet
               seasonal or short-term workload conditions.
           20. "Volunteer worke(' means a person who is
               not your "employee", and who donates his or
              her work and acts at the direction of and
              within the scope of duties determined by you,
              and is not paid a fee, salary or other
              compensation by you or anyone else for their
              work performed for you.
           21. "Your product'':
              a. Means:
                 (1) Any goods or products, other than real
                     property,      manufactured,      sold,
                     handled, distributed or disposed of by:
                     (a) You;
                     (b) Others trading under your name; or
                     (c} A person or organization whose
                         business or assets you have
                         acquired; and
                 (2) Containers (other than vehicles),
                     materials,   parts or   equipment
                     furnished in connection with such
                     goods or products.
              b. Includes
                 (1) Warranties or representations made at
                     any time with respect to the fitness,
                     quality, durability, perfonnance or use
                     of "your product''; and
                 (2) The providing of or failure to provide
                     warnings or instructions.
              c. Does not include vending machines or
                 other property rented to or located for the
                 use of others but not sold.
           22. "Your work":
              a. Means:
                 (1) Work or operations performed by you
                     or on your behalf; and




           06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office     Page 18of 18
                                                         With its Permission.
                                  •
9/26/2005 11:46 AM Case
                   16C3C2:21-cv-01272-TL
                          489            Document 1 Filed 09/17/21 Page 30 of 350




                                           i;fArch
                                            Insurance Group

                                               Signature Page


           YOUR COMPLETE POLICY CONSISTS OF THE POLICY JACKET WITH THE
           COVERAGE FORMS, DECLARATIONS, AND ENDORSEMENTS, IF ANY.


           IN WITNESS WHEREOF, Arch Specialty Insurance Company has caused this policy to
           be executed and attested, and, if required by state law, this policy shall not be valid
           unless countersigned by a duly authorized representative of the company.




           Ralph E. Jones Ill                              Martin J. Nilsen

           President                                       Secretary




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09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 31 of 350




                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                                        SERVICE OF SUIT


         It is agreed that in the event of the failure of this Company to pay any amount claimed to be due hereunder. this
         Company, at the request of the Insured, will submit to the jurisdiction of any Court of Competent Jurisdiction within
         the United States and will comply with all requirements necessary to give such Court Jurisdiction and all matters
         arising hereunder shall be determined in accordance with the law and practice of such Court.

         It is further agreed that service of process in such suit may be made upon the highest one in authority bearing the
         title •commissioner", "Director" or "Superintendent• of Insurance of the state or commonwealth wherein the
         property covered by this policy is located, and that in any suit instituted against ii upon this contract this Company
         will abide by the final decision of such Court or any Appellate Court in the event of an appeal. The one in authority
         bearing the title "Commissioner", "Director" or "Superintendent" of Insurance of the state or commonwealth
         wherein the property covered by this policy is located is hereby authorized and directed to accept service of
         process on behalf of this Company in any such suit and/or upon the lnsured's request to give a written undertaking
         to the Insured that they will enter a general appearance upon this Company's behalf in the event such a suit shall
         be instituted.



         All other terms and conditions of this policy remain unchanged.




         This endorsement is effective on the inception date of this policy unless otherwise stated herein.
         (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

         Policy Number: 72DPC 1446800

         Named Insured:

         Endorsement Effective Date:




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09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                           _ 489           Document 1 Filed 09/17/21 Page 32 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL~:- .,mo .•ii;i> •.:&ft>5

                       BLANKET ADDITIONAL INSURED - DEDUCTIBLE POLICY VERSION

            SECTION II ~ WHO IS AN INSURED is amended to include as an insured the person or organization as an
            insured where required by contract but only with respect to liability arising out of your operations or premises
            owned by or rented to you, or your work.

            All other tenns and conditions of this policy remarn unchanged.




            Endorsement Number: 1
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: 72DPC1446800
            Named Insured:
            Endorsement Effective Date:


            02 CGL0108 00 09 03                                                                                    Page 1 of 1
                                          •                                                •
09/26/2005 11 :46 AM Case
                     16C3C  489
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 33 of 350
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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL,!,.r:.w:~ .. ~f,. ~~

                     WAIVER OF SUBROGATION ENDORSEMENT DEDUCTIBLE POLICY

            This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                            SCHEDULE

             Name of Person or Organization:         Where required by written contract.


            (If no entry appears above, information required to complete this endorsement will be shown in the Decla-
            rations as applicable to this endorsement.)

            The TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US Condition (Section IV- COM-
            MERCIAL GENERAL LIABILITY CONDITIONS) fs amended by the addition of the following:

            We waive any right of recovery we may have against the person or organization shown in the Schedule
            above because of payments we make for injury or damage arising out of your operations or your work
            done under a written contract with that person or organization.

            All other terms and conditions of this Policy remain unchanged.




            Endorsement Number: 2
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: 72DPC1446800
            Named Insured:
            Endorsement Effective Date:

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09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 34 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL~~ ~.... & i > . ~

                                                   CROSS SUITS EXCLUSION

            This insurance does not apply to and we will not have the duty to investigate or defend any suit brought agalnst
            you, or pay any costs or expenses of such investigatfon and defense for liability, claims, damage or loss arising
            out ot damages of one insured against another insured.

            All other terms and conditions of this policy remain unchanged.




            Endorsement Number:3
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            {The infom,ation below is required only when this endorsement is issued subsequent to preparation of the
            policy.)

            Policy Number: 72DPC1446800

            Named Insured:

            Endorsement Effective Date:


            02 CGL0007 00 10 02
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09/26/2005 11 :46 AM Case
                     16C3C  489
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 35 of 350




                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL~¥.~ ..;,; .. _.:;i. .:a1a~

                                        AIRCRAFT PRODUCTS/GROUNDING EXCLUSION


            This insurance does not apply to and we will not have the duty to investigate or defend any suit brought against
            you, or pay any costs or expenses of such investigation and defense for liability, claims, damage or loss arising
            out of: the "products-completed operations hazard" and arising out of any "aircraft product'' or the "grounding" of
            any aircraft.

            1. "Aircraft product'' means:

                     a. Aircraft (including missiles or spacecraft. and any ground support or control equipment used
                          therewith);
                     b. Any article fumlshed by the insured or on behalf of any insured, and installed in an aircraft or used
                        in connection with an aircraft, or for spare parts for an aircraft, including ground handling tools and
                        equipment;
                     c. Any insured's products used at an airport for the purpose of guidance, navigation or direction of
                        aircraft; and
                     d. Training aids, instructions, manuals, blueprints, engineering or other data or advice, and services
                        and labor relating to such aircraft, articles or products.

            2. "Grounding" means the withdrawal of one or more aircraft from flight operations or the imposition of speed,
            passenger or load restrictions on such aircraft, by reason of the existence of or alleged or suspected existence
            of any defect, fault or condition in such aircraft or any part thereof sold, handled or distributed by any insured or
            on behalf of any insured, or manufactured, assembled or processed by any other person or organization:

                     a. According to the specifications, plans, suggestions, orders, or drawings provided by any insured or
                          on behalf of any insured; or
                     b.   With tools, machinery or other equipment furnished to such persons or organizations by any
                          insured or on behalf of any insured, whether such aircraft so withdrawn are owned or operated by
                          the same or different persons, organizations or corporations.

            All other terms and conditions of this policy remain unchanged.




            Endorsement Number.4
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)

            Policy Number: 72DPC1446800

            Named Insured:

            Endorsement Effective Date:


            02 CGL 0004 00 10 02
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09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 36 of 350




                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL6¥.;-,,ii~.-..:b.. .:i8ii5
                                           INTELLECTUAL PROPERTY EXCLUSION
            Thfs insurance does not apply to and we will not have the duty to fnvestigate or defend any suit brought agafnst
            you, or pay any costs or expenses of such investigation and defense for liability, claims, damage or loss arising
            outot

            any "bodily injury'', "property damage", or "personal and advertising injury" arising out of or directly or indirectly
            related to the actual or alleged publication or utterance or oral or written statements which are claimed as an
            infringement, violation or defense of any of the following rights or laws:

            1.   copyright, other than infringement of copyrighted advertising materials;
            2. patent;
            3.   trade secrets;
            4. trade dress; or
            5. trade mark or service mark or certification mark or collective mark or trade name, other than trademarked or
                 service marked titles or slogans.
            All other terms and conditions of this policy remain unchanged_




            Endorsement Number.5
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)

            Policy Number. 72DPC1446800

            Named Insured:

            Endorsement Effective Date:


            02 CGL0018 00 10 02
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09/26/2005 11 :46 AM Case
                     16C3C  489
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 37 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULJ..;}'.~'5>-.:i:;~_,;;;~

                                           MEDICAL PAYMENTS EXCLUSION

            It ts hereby agreed that Sectlon I, Coverages, is amended to delete Coverage C Medical Payments.


            All other terms and conditions of this Policy remain unchanged.




            Endorsement Number:6
            This endorsement rs effectlve on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: 72DPC1446800
            Named Insured:
            Endorsement Effective Date:



            00 CGL0101 00 07 03                                                                        Page 1 of 1
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;09/26/2005 11 :46 AM Case
                      16C3C2:21-cv-01272-TL
                            _ 489           Document 1 Filed 09/17/21 Page 38 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL~l-.,VY ~ ,-i> -~~

                            RESIDENTIAL AND RESIDENTIAL CONVERSION EXCLUSION


             This insurance does not apply to and we will not have the duty to investigate or defend any suit brought against
             you, or pay any costs or expenses of such investigation and defense for liability, claims, damage or loss arising
             out of:

            the construction or existence of a non-commercial dwelling or residence or the sale or conversion by you in
            whole or in part of a building to a non-commercial dwelling or residence at any time after the inception date of
            this insurance policy. Examples of non-commercial dwellings or residences, which are not to be construed as
            all inclusive examples, are homes, cooperatives, town homes, lofts and condominiums.

             However, this exclusion does not apply to the construction, management or ownership of apartment buildings,
             hotels or motels by you.

            All other terms and conditions of this policy remain unchanged.




            Endorsement Number:7
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)

            Policy Number: 72DPC1446800

            Named Insured:

            Endorsement Effective Date:



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09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 39 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULj..,Y;~,~.;ai,._i=,~

                                EARTH MOVEMENT OR SUBSIDENCE EXCLUSION

            This insurance does not apply to and we will not have the duty to investigate or defend any suit brought
            against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
            or loss arising out of:

            the subsidence, settling, sinking, slipping, falling away, caving in, shifting, eroding, consolidating,
            compacting, flowing, rising, tilting or any other similar movement of earth or mud, regardless of whether
            such movement is a naturally occurring phenomena or is man-made.

            All other terms and conditions of this policy remain unchanged.




            Endorsement Number: 8
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            {The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: 72DPC1446800
            Named Insured:
            Endorsement Effective Date:



            02 CGL0011 00 10 02                                                                             Page 1 of 1
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09/26/2005 11 :46 AM Case 2:21-cv-01272-TL
                     16C3C_ 489            Document 1 Filed 09/17/21 Page 40 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL~'t.".;~,.. ? i , . - ~

                                                      WRAP-UP EXCLUSION

            This insurance does not apply to and we will not have the duty to investigate or defend any suit brought against
            you, or pay any costs or expenses of such investigation and defense for liability, claims, damage or loss arising
            out of:

            wrap-ups, owner controlled insurance program, contractor controlled insurance programs, or similar rating
            program.

            All other terms and conditions of this policy remain unchanged.




            Endorsement Number.9
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The infonnation below is required only when this endorsement is issued subsequent to preparation of the
            policy.)

            Policy Number: 72DPC1446800

            Named Insured:

            Endorsement Effective Date:


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09/26/2005 11 :46 AM Case
                     16C3C  489
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 41 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL~Y::. ti~---~.;7.,.:~

                                         ENGINEERS, ARCHITECTS OR
                                 SURVEYORS PROFESSIONAL LIABILITY EXCLUSION

            This endorsement modifies insurance provided under the following:

                COMMERCIAL GENERAL LIABILITY COVERAGE PART

            The following exclusion is added to Paragraph 2.,           Professional services include:
            Exclusions of Section I - Coverage A - Bodily               1. The preparing, approving, or failing to prepare or
            Injury And Property Damage Liability and Para-                  approve, . maps, shop drawings, opinions, re-
            graph 2., Exclusions of Section I - Coverage B -                ports, surveys, field orders, change orders or
            Personal And Advertising Injury Liability:                      drawings and specifications; and
            This insurance does not apply to "bodily injury'',          2. Supervisory, inspection, architectural or engi-
            "property damage" or "personal and advertising                  neering activities.
            injury" arising out of the rendering of or failure to
            render any professional services by you or any engi-
            neer, architect or surveyor who is either employed by
            you or performing work on your behalf in such capac-
            ity.

            All other terms and conditions of this policy remaln unchanged.




            Endorsement Number:10
            This endorsement is effective on the inception date of this policy unless othelWise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the pol-
            icy,)

            Policy Number: 72DPC1446800

            Named Insured:

            Endorsement Effective Date:


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09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 42 of 350




                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUl;..:k,Y;;;~ ..~6 •.ca~

                   CONSTRUCTION MANAGEMENT ERRORS AND OMISSIONS EXCLUSION
            This insurance does not apply to "bodily injury'', "property damage" or "personal and advertising injury"
            arising out of:

            1.      The preparing, approving, or failure to prepare or approve, maps, shop drawings, opinions,
                    reports, surveys, field orders, change orders or drawings and specifications by any architect,
                    engineer or surveyor performing services on a project on which you serve as construction
                    manager; or

            Inspection, supervision, quality control, architectural or engineering activities done by or for you on a
            project on which you serve as construction manager.

            This exclusion does not apply to "bodily injury" or "property damage" due to construction or demolition
            work done by you, your "employees" or your subcontractors.

            All other terms and conditions of this Policy remain unchanged.




            Endorsement Number: 11
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent     to preparation of the
            policy.)
            Policy Number: 72DPC1446800
            Named Insured:
            Endorsement Effective Date:


            00 CGL0105 00 09 03                                                                             Page 1 of 1
                                           •                                                   •
09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 43 of 350




                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL~ ,~ ...ai>.,.:1~

                              EXTERIOR INSULATION AND FINISH SYSTEM EXCLUSION

            This insurance does not apply to and we will not have the duty to investigate or defend any suit brought against
            you, or pay any costs or expenses of such investigation and defense for liability, claims, damage or loss arising
            out of:

            1.    "bodily injury", "property damage", or "personal and advertising injury" caused directly or indirectly, in
                 whole or in part, by the design, manufacture, construction, fabrication, preparation, installation, application,
                 maintenance or repair, including remodeling, service, correction, or replacement, of an "exterior insulation
                 and finish system" or any part thereof, any substantially similar system or any part thereof, including the
                 application or use of conditioners, primers, accessories, flashings, coatings, caulkings or sealants in
                 connection with such a system; or

            2.   Any moisture-related or dry rot related "property damage" to a house or other building to which an "exterior
                 insulation and finish system" has been applied, if that "property damage" is caused directly or indirectly, in
                 whole or in part, by the "exterior insulation and finish system";

            Regardless of any other cause or event that contributed concurrently or in any sequence to that injury or
            damage,

            For the purposes of this endorsement, an "exterior insulation and finish system" means an exterlor cladding or
            finish system applied to a house or other building, and consisting of:

                     a)   A rigid or semi-rigid insulation board made of expanded polystyrene or other materials: and
                     b)   The adhesive and/or mechanical fasteners used to attach the insulation board to the substrate; and
                     c)   A reinforcing mesh that is embedded in a base coat applied to the insulation board; and
                     d)   A finish coat providing surface texture and color.

            However, an "exterior insulation and finish system" does not include a cement-based, enhanced stucco
            cladding system which:

                     a) Incorporates a weather resistive building wrap; or
                     b) Incorporates ribbed insulation board to provide drainage: or
                     c) ls sold under the brand name "Kwik Kote©'';

            So long as that cement-based, enhanced stucco claddlng system satisfies all requirements of the applicable
            model building code and the applicable local building code.

            All other terms and conditions of this policy remain unchanged.




            Endorsement Number: 12
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: 72DPC1446800
            Named Insured:
            Endorsement Effective Date:


            02 CGL0016 00 10 02                                                                                       Page 1 of 1
                                        •                                              •
09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 44 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL!,.,Y'rii~ .,;.;;~ •. ~

                           SUBCONTRACTOR ENDORSEMENT: DEDUCTIBLE POLICY

            The Conditions of this policy are amended to include the following:

                1. Certificates of Insurance for Commercial General Liability coverage, with limits at least equal to or
                   greater than those limits provided by this policy, will be obtained by the Named Insured from all
                   "subcontractors" prior to commencement of any work performed for any insured.

                2. The Named Insured will obtain agreements, in writing, from all "subcontractors" pursuant to which
                   the "subcontractor(s)" will be required to defend, indemnify and hold harmless the Named
                   Insured, and any other insured under the policy for whom the "subcontractor" is working for any
                   claim or ·suit" for "bodily injury", "property damage", and "personal injury and advertising injury"
                   arising out of the work performed by the ·subcontractor."

                3. The Named Insured, and any other insured under the policy for whom the "subcontractor" is
                   working, will be named as additional insured on all of the "subcontractors" Commercial General
                   Liability policy{s).

                4.   For items 1. through 3. above, documentation will be retained for a minimum of eight years from
                     the expiration date of this policy.

            If any one of the above conditions, are not satisfied, a deductible of $100,000 per "occurrence": or offense
            will apply to any claim or "suit" .under this policy seeking damages for "bodily injury", "property damage"
            and "personal injury and advertising injury" arising out of the work performed by the "subcontractor" for
            the insured.

            For the purposes of this endorsement only, "subcontractor'' or "subcontractors" means any person or
            entity who is not an employee of an Insured and does work or performs services for or on behalf of the
            Insured.

            All other terms and conditions of this Policy remain unchanged.




            Endorsement Number: 13
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: 72DPC 1446800
            Named Insured:
            Endorsement Effective Date:


            00 CGL0125 00 01 04                                                                             Page 1 of 1
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09/26/2005 11:46 AM Case
                    16C3C2:21-cv-01272-TL
                           489            Document 1 Filed 09/17/21 Page 45 of 350




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL4~ ,.~ ,.;:6 .:,,~a

                                          EMPLOYEE BENEFITS LIABILITY COVERAGE
                                      THIS ENDORSEMENT PROVIDES CLAIMS-MADE COVERAGE.
                                       PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.

         This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                                  SCHEDULE




                                                                                                             -
         Coverage              Limit Of Insurance                      Deductible                             Premium
         Employee Benefits $1,000,000                     each     $10,000                       each
         Programs                                         employee                               employee
                               $1,000,000                 aggregate
         Retroactive Date:     11/10/2003

         (If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
         applicable to this endorsement.)

         A. The following is added to Section I - Coverages:

             COVERAGE - EMPLOYEE BENEFITS LIABILITY

             1.   Insuring Agreement

                  a.   We will pay those sums that the insured becomes legally obligated to pay as damages because of any act,
                       error or omission, of the insured, or of any other person for Whose acts the insured is legally liable, to which
                       this insurance applies. We will have the right and duty to defend the insured against any "suit'' seeking
                       those damages. However, we will have no duty to defend the insured against any "suir' seeking damages
                       to Which this insurance does not apply. We may, at our discretion, fnvestigate any report of an act. error or
                       omission and settle any "claim" or "suif' that may result.

                       But:

                       ( 1) The amount we will pay for damages is limited as described in Paragraph E. (Section IV - Limits Of
                            Insurance); and

                       (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in the
                           payment of judgments or settlements.

                       No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided
                       for under Supplementary Payments.

                  b. This insurance applies lo damages only if:

                       (1) The act, error or omission, is negllgenUy committed in the "administration" of your "employee benefit
                           program";




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                                          •                                                 •
9/26/2005 11 :46 AM Case 2:21-cv-01272-TL
                    16C3C_ 489            Document 1 Filed 09/17/21 Page 46 of 350




                      {2) The act, error or omission, did not take place before the Retroactive Date, if any, S~'l;-!P. lh§!. 2~~5
                          Schedule nor after the end of the policy period; and

                      (3) A "claim" for damages, because of an act, error or omission, is first made against any insured, in
                          accordance with Paragraph c. below, during the policy period or an Extended Reporting Period we
                          provide under Paragraph G. of this endorsement.

                 c.   A "claim" seeking damages will be deemed to have been made at the earlier of the following times:

                      (1) When notice of such "claim" is received and recorded by any insured or by us, whichever comes first;
                          or

                      (2) When we make settlement in accordance wilh Paragraph 1.a. above.

                      A "claim" received and recorded by the insured within 60 days after the end of the policy period wifl be
                      considered to have been received within the policy period, if no subsequent policy is available to cover the
                      claim.

                d. All "claims" for damages made by an "employee" because of any act, error or omission, or a series of
                   related acts, errors or omissions, including damages claimed by such "employee's" dependents and
                   beneficiaries, will be deemed to have been made at the time the first of those "claims" is made against any
                   insured.

         12. Exclusions

            This insurance does not apply to:

                a. Dishonest, Fraudulent, Criminal Or Malicious Act

                      Damages arising out of any intentional, dishonest, fraudulent, criminal or malicious act, error or omission,
                      committed by any insured, including the willful or reckless violation of any statute.

                b.    Bodily Injury, Property Damage, Or Personal And Advertising Injury

                      "Bodily injury", "property damage" or"personal and advertising injury".

                c.    Failure To Perform A Contract

                      Damages arising out of failure of performance of contract by any insurer.

                d.    Insufficiency Of Funds

                      Damages arising out of an insufficiency of funds to meet any obligations under any plan included in the
                      "employee benefit program".

                e.    Inadequacy Of Performance Of Investment/Advice Given With Respect To Participation

                      Any "claim" based upon:

                      (1) Failure of any investment to perform;

                      (2) Errors in providing information on past performance of investment vehicles; or

                      (3) Advice given to any person with respect to that person's decision to participate or not to participate in
                          any plan included in the "employee benefit pr~gram".

        00 CGL0038 00 12 02             Includes Copyright Material from Insurance Services Office                     Page2 of8
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                                            •
09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 47 of 350




                  f.   Workers' Compensation And Similar Laws

                       Any "claim" arising out of your failure to comply with the mandatory provisions of any workers'
                       compensation, unemployment compensation insurance, social security or disability benefits law or any
                       similar law.

                  g. ERISA
                       Damages for which any insured is liable because of liability imposed on a fiduciary by the Employee
                       Retirement Income Security Act of 1974, as now or hereafter amended, or by any similar federal, state or
                       local laws.

                 h.    Available Benefits

                       Any "claim" for benefits to the extent that such benefits are available, with reasonable effort and cooperation
                       of the insured, from the applicable funds accrued or other collectible insurance.

                 i.    Taxes, Fines Or Penalties

                       Taxes, fines or penalties, including those imposed under the Internal Revenue Code or any similar state or
                       local law.

                 j.    Employment-Related Practices

                       Damages arising out of wrongful termination of employment, discrimination, or other employment-related
                       practices.

         B. For the purposes of the coverage provided by this endorsement, Paragraphs 2. and 4. of Section II - Who Is An
            Insured are replaced by the following:

             2. Each of the following is also an insured:

                 a.    Each of your "employees" who is or was authorized to administer your "employee benefit program".

                 b. Any persons, organizations or "employees'' having proper temporary authorization to administer your
                    "employee benefit program" if you die, but only until your legal representative is appointed.

                 c.    Your legal representative if you die, but only with respect to duties as such. That representative will have all
                       your rights and duties under this Endorsement.

             4. Any organization you newty acquire or form, other than a partnership, joint venture or limited liabilfty company,
                and over which you maintain ownership or majority interest, will qualify as a Named Insured if no other similar
                insurance appUes to that organization. However:

                 a. Coverage under this provision is afforded only until the 90th day after you acquire or form the organization
                    or the end of the policy period, whichever is earlier.

                 b.    Coverage under this provision does not apply to any act, error or omission that was committed before you
                       acquired or formed the organization.

         C. For the purposes of the coverage provided by this endorsement, Paragraph 3. of Section fl - Who Is An Insured
            does not apply.

         0. For the purposes of the coverage provided by this endorsement, Section IV - Limits Of Insurance is replaced by the
            following:


         00 CGL0038 00 12 02             Includes Copyright Material from Insurance Services Office                       Page 3 of 8
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                                           •                                                •
09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 48 of 350




              1. Limits Of Insurance

                   a. The Limits of Insurance shown in the Schedule and the rules below fix the most we will pay regardless of
                        the number of:

                        (1) Insureds;
                       (2)  "Claims" made or "suits" brought;
                       (3)  Persons or organizations making "claims" or bringing "suits";
                       (4)  Acts, errors or omissions; or
                       (5)  Benefits included in your "employee benefit program".

                  b. The Aggregate Limit is the most we will pay for all damages because of acts, errors or omissions
                     negligently committed in the "administration" or your "employee benefit program".

                  c.   Subject to the Aggregate Limit, the Each Employee Limit is the most we will pay for all damages sustained
                       by any one "employee", including damages sustained by such "employee's" dependents and beneficiaries,
                       as a result of:

                       (1) An act, error or omission; or
                       (2) A series of related acts, errors or omissions negligently committed in the "administration" of your
                             "employee benefit program".

                             However, the amount paid under this endorsement shall not exceed, and wiU be subject to, the limits
                             and restrictions that apply to the payment of benefits in any plan included in the "employee benefit
                             program".

                  The Limits of Insurance of lhis endorsement apply separately to each consecutive annual period and to any
                  remaining period of less than 12 months, starting with the beginning of the policy period shown in the
                  Declarations of the policy to which this endorsement is attached, unless the policy period is extended after
                  issuance for an additional

                  period of less than 12 months. In that case, the additional period will be deemed part of the last preceding
                  period for purposes of determining the Limits Of Insurance.

             2.   Deductible

                  a.   Our obtigation to pay damages on behalf of the insured applies only to the amount of damages in excess of
                       ihe deductible amount stated in the Schedule as applicable to Each Employee. The limils of insurance shall
                       not be reduced by the amount of this deductible.

                  b.   The deductible amount stated in the Schedule applies to all damages sustained by any one "employee",
                       including such ~employee's" dependents and beneficiaries, because of all acts, errors or omissions to which
                       this insurance applies.

                  c. The terms of this insurance, including those with respect to:
                       (1) Our right and duty to defend any "suits" seeking those damages; and

                       {2) Your duties, and the duties of any other involved insured, in the event of an act, error or omission, or
                           "claim'' apply irrespective of the application of the deductible amount.

                  d. We may pay any part or all of the deductible amount to effect settlement of any "claim" or "suit'' and, upon
                     notification of the action taken, you shall promptly reimburse us for such part of the deductible amount as
                     we have paid.



         00 CGL0038 00 12 02             Includes Copyright Material from Insurance Services Office                    Page 4 of8
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09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489

                                            ••
                                           Document 1 Filed 09/17/21 Page 49 of 350


                                                                                                 •
         E.   For the purposes of the coverage provided by this endorsement, Conditions 2. and 4. of Section VI- Commerf.!is( ~ _ __ '""-
              General Conditions are replaced by the following:                                                     ...._ .,  "'°9 • -
                                                                                                                                     I




              2. Duties In The Event Of An Act, Error Or Omission, Or "Claim" Or "Suir

                  a. You must see to it that we are notified as soon as practicable of an act, error or omission which may result
                     in a "claim". To the extent possible, notice should include:

                       (1) What the act, error or omission was and when it occurred; and

                       (2) The names and addresses of anyone who may suffer damages as a result of the act, error or omission.

                  b.   If a "claim" is made or "suit' is brought against any insured, you must

                       (1) Immediately record the specifics of the "claim" or "suif' and the date received; and

                       (2) Notify us as soon as practicable.

                       You must see to it that we receive written notice of the "claim" or "suit'' as soon as practicable.

                 c.    You and any other involved insured must:

                       (1) Immediately send us copies of any demands, notices, summonses or legal papers received in
                           connection with the "claim" or "suir;

                       (2) Authorize us to obtain records and other information;

                       (3) Cooperate with us in the investigation or settlement of the "claim" or defense against the "suit''; and

                       (4) Assist us, upon our request, in the enforcement of any right against any person or organization which
                           may be liable to the insured because of an act, error or omission to which this insurance may also
                           apply.

                 d.    No insured will, except at that insured's own cost, voluntarily make a payment. assume any obligation or
                       incur any expense without our consent.

              4. Other Insurance

                 If other valid and collectible insurance is available to the insured for a loss we cover under this endorsement. our
                 obligations are limited as follows:                                                  •

                 a. Primary Insurance

                 This insurance is primary except when b. below applies. If this insurance is primary, our obligations are not
                 affected unless any of the other insurance is also primary. Then, we will share with all that other insurance by
                 the method described in c. below.

                 b.    Excess Insurance
                       (1} This insurance is excess over any of the other insurance, whether primary, excess, contingent or on
                           any other basis: that is effective prior to the beginning of the policy period shown in the Schedule of this
                           insurance and that applies to an act, error or omission on other than a claims-made basis, if:
                           (a) No Retroactive Date is shown in the Schedule of this insurance; or
                           (b) The other insurance has a policy period which continues after the Retroactive Date shown in the
                               Schedule of this insurance.



         00 CGL0038 00 12 02             Includes Copyright Material from Insurance Services Office                          Page 5of8
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09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 50 of 350




                        (2) When this insurance is excess, we will have no duty to defend the insured against any "suif 'J~~9!~L ....:.·-,5
                            insurer has a duty to defend the insured against that "suit''. If no other insurer defends, we will
                            undertake to do so, but we will be entitled to the insured's rights against all those other insurers.

                        (3) When this insurance is excess over other insurance, we will pay only our share of the amount of the
                            loss, if any, that exceeds the sum of the total amount that all such other insurance would pay for the
                            loss in absence of this insurance; and the total of all deductible and self-insured amounts under all that
                            other insurance.

                        (4) We will share the remaining loss, if any, with any other insurance that is not described in this Excess
                            Insurance provision and was not bought specifically to apply in excess of the Limits of Insurance shown
                            in the Schedule of this endorsement.

                   c.   Method Of Sharing

                        If all of the other insurance permits contribution by equal shares, we will follow this method also. Under this
                        approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of
                        the loss remains, whichever comes first.

                        If any of the other insurance does not permit contribution by equal shares, we will contribute by limits. Under
                        this methocl, each insurer's share is based on the ratio of its applicable limits of insurance of all insurers.

         F.   For the purposes of the coverage provided by this endorsement, the following Extended Reporting Period provisions
              are added, or, if this endorsement is attached to a claims-made Coverage Part, replaces any similar Section in that
              Coverage Part:

              EXTENDED REPORTING PERIOD

              1.You will have the right to purchase an Extended Reporting Period, as described below, it.

                   a.   This endorsement is canceled or not renewed; or

                   b.   We renew or replace this endorsement with insurance that:

                        (1) Has a Retroactive Date later than the date shown in the Schedule of this endorsement; or

                        (2) Does not apply to an act, error or omission on a claims-made basis.

              2. The Extended Reporting Period does not extend the policy period or change the scope of coverage provided. It
                 applies only to "claims" for acts, errors or omissions that were first committed before the end of the policy period
                   but not before the Retroactive Date, if any, shown in the Schedule. Once in effect, the Extended Reporting
                   Period may not be canceled.

              3.   An Extended Reporting Period of five years is available, but only by an endorsement and for an extra charge.

                   You must give us a written request for the endorsement within 60 days after the end of the policy period. The
                   Extended Reporting Period will not go into effect unless you pay the additional premium promptly when due.

                   We will determine the additional premlum in accordance with our rules and rates. In doing so, we may take into
                   account the following:

                   a.   The "employee benefit programs" insured;

                   b.   Previous types and amounts of insurance;



         00 CGL0038 00 12 02              Includes Copyright Material from Insurance SeNices Office                       Page6 of 8
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                                            •
09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 51 of 350




                  c.   Limits of insurance available under this endorsement for Mure payment of damages; and

                  d.   Other related factors.

                  The additional premium will not exceed 100% of the annual premium for this endorsement.

                  The Extended Reporting Period endorsement applicable to this coverage shall set forth the terms, not
                  inconsistent with this Section, applicable to the Extended Reporting Period, including a provision to the effect
                  that the insurance afforded for "claims" tirst received during such period is excess over any other valid and
                  collectible insurance available under policies in force after the Extended Reporting Period starts.

             4.   If the Extended Reporting Period is in effect, we will provide an extended reporting period aggregate limit of
                  insurance described below, but only for claims first received and recorded during the Extended Reporting
                  Period. The extended reporting period aggregate limit of insurance will be equal to the dollar amount shcmn in
                  the Schedule of this endorsement under Limits of Insurance.

                  Paragraph E.1.b. of this endorsement will be amended accordingly. The Each Employee Limit shown in the
                  Schedule will then continue to apply as set forth in Paragraph E.1.c.

         G. For the purposes of the coverage provided by lhis endorsement, the following definitions are added to the Section
            VI-Definitions:

             1.   "Administration" means:

                  a. Providing infoonation to "employees•, including their dependents and beneficiaries, with respect to eligibility
                     for or scope of "employee benefit programs";

                  b. Handling records in connection with the "employee benefit program"; or

                  c. Effecting, continuing or terminating any "employee's" participation in any benefit included in the "employee
                     benefit program".

                  However, "administration" does not include handling payroll deductions.

             2.   ''Cafeteria plans" means plans authorized by applicable law to allow employees to elect to pay for certain
                  benefits with pre-tax dollars.

             3. "Claim" means any demand, or "suit'', made by an "employee" or an "employee's" dependents and
                beneficiaries, for damages as the result of an act, error or omission.

            4. "Employee benefit program" means a program providing some or all of the following benefits to "employees".
               whether provided through a "cafeteria plan" or otherwise:

                  a. Group life insurance; group accident or health insurance; dental, vision and hearing plans; and flexible
                     spending accounts; provided that no one other than an "employee" may subscribe to such benefits and
                     such benefits are made generally available to those "employees" who satisfy the plan's eligibility
                     requirements:

                  b. Profit sharing plans, employee savings plans, employee stock ownership plans, pension plans and stock
                     subscription plans, provided that no one other than an "employee" may subscribe to such benefits and such
                     benefils are made generally available to all -employees" who are eligible under the plan for such benefits;

                  c.   Unemployment insurance, social security benefits, workers' compensation and disability benefits;




         00 CGL0038 00 12 02             Includes Copyright Material from Insurance Services Office                    Page 7 of8
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                                            •                                                  •
09/26/2005 11 :46 AM Case
                     16C3C  489
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 52 of 350




                  d.   Vacation plans, including buy and sell programs; !eave of absence programs, including military., matemi!Yd- ~ _ -=-
                       family, and civil leave; tuition assistance plans; transportation and health club subsidies; and ...... ·-il>Y .. 6. • ~

                  e.   Any other similar benefits designated in the Schedule or added thereto by endorsement

         L   For the purposes of the coverage provided by this endorsement, Definitions 5. and i 8. in the Definitions Section are
             replaced by the following:

             5    "Employee" means a person actively employed, fonnerly employed, on leave of absence or disabled, or retired.
                  "Employee" includes a "leased worker". "Employee" does not include a "temporary worker''.

             18. "Suit'' means a civil proceeding in which damages because of an act, error or omission to which this insurance
                 applies are alleged. "Suit'' includes:

                  a. An arbitratfon proceeding in which such damages are daimed and to which the insured must submit or
                       does submit with our consent; or

                  b.   Any other alternative dispute resolution proceeding in which such damages are claimed and to which the
                       insured submits with our consent.




         Endorsement Number:14
         This endorsement is effective on the inception date of this policy unless otherwise stated herein.
         (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

         Policy Number: 72DPC1446800

         Named Insured:

         Endorsement Effective Date:

         00 CGL0038 00 12 02             Includes Copyright Material from Insurance Services Office                       Page 8 of 8
                                                            Wrth its Permission.
                                         •
09/26/2005 11:46 AM Case
                    16C3C_ 489
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 53 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULlit -~~ .~(>.;a~

                PREMIUM COMPUTATION ENDORSEMENT - DEDUCTIBLE POLICY VERSION
            1. The Deposit Premium set forth in of the Declara~ons is adjustable, and is only an estimated premium for the
            Audit Period shown below.

            The final earned premium for the Audit Period shall be detennined as specified In Item 5. Premium Audit of
            SECTION IV - Commercial General L ~ Conditions. The Audit Premium shall be computed by
            applying the Rate of -       per each~ of the Premium Base identified in 2. below. Such Rate is net of
            any taxes, Ncenses, or fees. The final premium calculation is subject to the Minimum Retained Premium as
            stated in the Declarations.

            2. The Premium Base shall be Identified in (A) and (B) below:

                    (A) PREMIUM BASE

                            {81 gross "sales" excluding "aircraft products"

                                     0    "intercompany sales" and

                                     D     "foreign sales".

                            0   "Payroll" as determined immediately below:

                                     D     Gross Unmodified "Payroll"

                                     D     Workers Compensation Payrolr'

                                     D     Workers Compensation Payroll" excluding:

                                              (1) "Clerical Office Employees•
                                              {2) "Salesmen, CoUectors, Messengers"
                                              (3) Drivers and their helpers if principal duties are to work on or in
                                                  connection with "autos"

                            D    Other (Describe)

                            Estimated Exposures      _ _.___ __ __ _ __ _ _ _ _ __


                    (8) SPECIFIC DELETIONS FROM PREMIUM BASE, IF ANY:

                            D    Designated Products described in the following endorsements:

                            D   Designated Operations described in the following endorsements:

                            D   Other, described in the following endorsements




            02 CGL0107 00 09 03                                                                                    Page 1 of2
                                            •                                             •
09/26/2005 11:46 AM Case
                    16C3C2:21-cv-01272-TL
                           489            Document 1 Filed 09/17/21 Page 54 of 350




            3. The Audit Period is:

                             181   Annual

                             D     Semi-Annual

                             D     Monthly

                             D     Other

            4. The Audit Period is measured from the Effective Date of the Insurance Policy.

            All other terms and conditions of this poticy remain unchanged.




            Endorsement Number: 15
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: 72DPC1446800
            Named Insured:
            Endorsement Effective Date:


            02 CGL0107 00 09 03                                                                              Page2 of2
                                            •                                                         •
09/26/2005 11 :46 AM Case
                     16C3C  489
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 55 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFU~'5Y;e,;.~ ....a~5
                                           DEDUCTIBLE LIABILITY ENDORSEMENT
                                                                    Schedule

            1. Specific coverages to which        a deductible{s) applies and amount of deductible(s):
                                           Coverage                                                 Amount of Deductible
                [8J All coverages .......................................................................... $ 10,000
                D   Products/Completed Operations ................................................. $ _ _
                D   All coverages other than Products/Completed Application ................ $ _ _

            2. The deductible applies to:
                [8J Indemnity and Expenses
                D   Indemnity Only

            3. A deductible aggregate applies as follows:
                D   The deductible aggregate amount for all coverages. which is the maximum amount of deductible
                    payments for which the insured is responsible, is: $ _ _ . The deductible aggregate is subject
                    to adjustment upwards based on a rate of$ _ _ per 1000 _ _. Once the loss payments
                    actually paid by us, and reimbursed by the insured to us, equals the deductible aggregate
                    amount, the insured's deductible will be reduced to $ _ _ . The estimated exposure base, at
                    inception, is $ _ _ .

                (If no aggregate is shown, then there is no aggregate on the cumulative amount of deductible
                payments for which the insured is responsible.)


            Application of the Deductible Liability Endorsement
            The deductible{s) set forth in the Schedule apply to indemnity and expenses. (or indemnity only if the
            appropriate box is checked in the Schedule), on a "per occurrence" basis. The insured is responsible for
            payment of the deductible{s).
            The insured is responsible for all payments within the deductible amount. Subject to the Limits of Liability
            and all other terms and conditions for this policy, our obligation to pay damages and expenses on your
            behalf applies only to the amount of damages and expenses in excess of the deductible amounts set forth
            in the Schedule. We may pay part or the entire deductible amount to effect settlement of any "claim" or
            "suit" and, upon notification of the action taken, you shall promptly reimburse us for such part of the
            deductible amount that has been paid by us.
            Our limits of lrability are not increased by the presence of a deductible.
            All other terms and conditions of this Policy remain unchanged.

            Endorsement Number: 16
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number. 72DPC1446800
            Named Insured:
            Endorsement Effective Date:

            00 CGL0099 00 10 03                                                                                         Page 1 of 1
                                             •                                            •
09/26/2005 11 :46 AM Case
                     16C3C2:21-cv-01272-TL
                            489            Document 1 Filed 09/17/21 Page 56 of 350




               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULb-llf.;,iN.-;i.6,.~~

              DESIGNATED CONSTRUCTION PROJECT(S) GENERAL AGGREGATE LIMIT AND
              POLICY AGGREGATE LIMIT ENDORSEMENT - DEDUCTIBLE POLICY VERSION

             Designated Construction Projects: ANY CONSTRUCTION PROJECT AT WHICH YOU PERFORM
             OPERATIONS.




            (If no entry appears above, information required to complete this endorsement will be shown ln the Declarations
            as applicable to this endorsement.)
            A Subject to paragraph F., below, for all sums                  4. The limits shown in the Declarations for
               which the insured becomes legally obflgated to                  Each Occurrence for "Bodily Injury and
               pay as damages, which can be attributed only                    Property Damage Liability", Each Occur-
               to ongoing operations at a single designated                    rence for "Damages To Premises Rented
               construction project shown in the Schedule                      To You", and Each Offense for "Personal
               above, damages caused by "occurrences" un-                      and Advertising Injury" continue to apply.
               der SECTION I - COVERAGE A BODILY                               However, instead of being subject to the
               INJURY AND PROPERTY DAMAGE, which                               General Aggregate Limit shown in the Dec-
               can be attributed only to ongoing operations at a               larations, such limits will be subject to the
               single designated construcUon project shown in                  applicable Designated Construction Project
               the Schedule above:                                             General Aggregate Limit.
               1. A separate Desrgnated Construction Project            B. For all sums which the insured becomes legally
                  General Aggregate Limlt applies to each                   obligated to pay as damages caused by "occur-
                  designated construction project, and that                rences" under SECTION I - COVERAGE A.
                  limit is equal to the amount of the General              BODILY INJURY AND PROPERTY DAMAGE,
                  Aggregate Limit shown in the Declarations.               which cannot be attributed only to ongoing op-
               2. The Designated Construction Project Gen-                 erations at a single designated construction pro~
                  eral Aggregate Limit is the most we will pay             ject shown in the Schedule above:
                  for the sum of all damages under SECTION                  1. Any payments made under SECTION I -
                  I - COVERAGE A. BODILY INJURY AND                            COVERAGE A. BODILY INJURY AND
                  PROPERTY DAMAGE, except damages                              PROPERTY DAMAGE for damages shall
                  because of "bodily injury'' or "property dam-                reduce the amount available under the
                  age" included in the "products-completed                     General Aggregate Limit or the Products-
                  operations hazard", regardless of the num-                   Completed Operations Aggregate Limit,
                  ber of:                                                      whichever is applicable; and
                   a. Insureds;                                             2. Such payments shall not reduce any Desig-
                  b. Claims made or "suits" brought; or                        nated Construction Project General Aggre-
                                                                               gate Limit.
                  c. Persons or organizations making claims
                      or bringing "suits".                              C. When coverage for liability arising out of the
                                                                           "products-completed operations hazard" is pro-
               3. Any payments made under SECTION I -                      vided, any payments for damages because of
                  COVERAGE A BODILY INJURY AND                             "bodily injury'' or "property damage" induded in
                  PROPERTY DAMAGE for damages shall                        the "products-completed operations hazard" will
                  reduce the Designated Construction Project               reduce the Products-Completed Operations
                  General Aggregate Limit for that designated              Aggregate Limit, and not reduce the General
                  construction project. Such payments shall                Aggregate Limit or the Designated Construction
                  not reduce the General Aggregate Limit                   Project General Aggregate Limit.
                  shown in the Declarations nor shall they re-
                  duce any other Designated Construction
                  Project General Aggregate limit for any
                  other designated construction project shown
                  in the Schedule above.


            02 CGL0109 00 09 03        Includes Copyright Material from Insurance Services Office              Page 1 of2
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                                          •                                                •
09/26/2005 11 :46 AM Case
                     16C3C _ 489
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 57 of 350




             D. If the applicable designated construction project        E. The provisions of SECTION Ill - LIM!;rS 8f ... ~ .. ;;ii.;a
                has been abandoned, delayed, or abandoned                   INSURANCE not otherwise modified by this
                and then restarted, or if the authorized contract-           endorsement shall continue to apply as stipu-
                ing parties deviate from plans, blueprints, de-              lated.
                signs, specifications or timetables, the project
                Will still be deemed to be the same construction        F. Regardless of the Number of projects and any
                project.                                                    other circumstance, the amount we will pay un-
                                                                            der this insurance policy shall be. no more than
                                                                            the "Policy Aggregate" shown below:
                                                                        Policy Aggregate limit                   $5,000,000
                                                                        In the event that no dollar amount is shown next to
                                                                        the Policy Aggregate Limit above, the Policy Aggre-
                                                                        gate Limit is $10,000,000.


            All other terms and conditions of this policy remain unchanged.




            Endorsement Number: 17
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            {The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: 72DPC1446800
            Named Insured:
            Endorsement Effective Date:

            02 CGL0109 00 09 03        Includes Copyright Material from Insurance Services Office              Page 2 of2
                                                          With its Permission.
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 58 of 350




 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         STOP GAP - EMPLOYERS LIABILITY COVERAGE ENDORSEMENT -
                              WASHINGTON
   This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                    SCHEDULE

Limits Of Insurance
Bodily Injury By Accident:         $ 1,000,000.                Each Accident
Bodily Injury By Disease:          $ 1,000,000.                Aggregate Limit
Bodily Injury By Disease:          $ 1,000,000 .                Each Employee


If no entry appears w ith respect to any of the lim its shown above, then the limit will be deemed to be
$ 1,000,000
   A. The following is added to Section I - Coverages:

   COVERAGE - STOP GAP - EMPLOYERS LIABILITY

       1. Insuring Agreement

          a.   We w ill pay those sums that the insured becomes legally obligated by Washington Law to
               pay as damages because of "bodily injury by accident" or "bodily injury by disease" to your
               "employee" to which this insurance applies. We will have the right and duty to defend the
               insured against any "suit" seeking those damages. However, we w ill have no duty to
               defend the insured against any "suit" seeking damages to which this insurance does not
               apply. We may, at our discretion, investigate any accident and settle any claim or "suit" that
               may result. But:

               (1) The amount we will pay for damages is limited as described in Section Ill - Limits Of
                   Insurance; and

               (2)     Our righ t and duty to defend end when we have used up the applicable limit of
                      insurance in the payment of j udgments or settlements under this coverage.

               No other obligation or liability to pay sums or perform acts or services is covered unless
               explicitly provided for under Supplementary Payments .

          b. This insurance applies to "bodily injury by accident" or "bodily injury by disease" only if:

               (1) The:

                     (a) "Bodily injury by accident" or "bodily injury by disease" takes place in the "coverage
                     territory";

                     (b) "Bodily injury by accident" or "bod ily injury by disease" arises out of and in the course
                     of the injured "employee's" employment by you; and

                     (c) "Employee", at the time of the injury, was covered under a worker's compensation
                     policy and subject to a "workers compensation law" of Washington; and

               (2) The:
                                                                                                         J\lJ~
                                                                                                    (
00 CGL0119 48 03 04                                                                                     Page 1 of 6
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 59 of 350




                 (a)     "Bodily injury by accident" is caused by an accident that occurs during the policy
                         period; or

                 (b)     "Bodily injury by disease" is caused by or aggravated by conditions of employment
                         by you, and the injured "employee's" last day of last exposure to the conditions '--..,,
                         causing or aggravating such "bodily injury by disease" occurs during the policy
                         period.

        c. The damages we will pay, where recovery is permitted by law, include damages:

           (1)    For:

                  (a) Which you are liable to a third party by reason of a claim or "suit" against you by
                      that third party to recover the damages claimed against such third party as a result
                      of injury to your "employee";

                  (b) Care and loss of services; and

                  (c) Consequential "bodily injury by accident" or "bodily injury by disease" to a spouse,
                      child, parent, brother or sister of the injured "employee";

                  provided that these damages are the direct consequence of "bodily injury by accident"
                  or "bodily injury by disease" that arises out of and in the course of the injured ·
                  "employee's" employment by you; and

           (2)    Because of "bodily injury by accident" or "bodily injury by disease" to your "employee"
                  that arises out of and in the course of employment, claimed against you in a capacity
                  other than as employer.

     2. Exclusions

        This insurance does not apply to:

        a. Intentional Injury

           "Bodily injury by accident" or "bodily injury by disease" intentionally caused or aggravated by
           you, or "bodily injury by accident" or "bodily injury by disease" resulting from an act which is
           determined to have been committed by you if it was reasonable to believe that an injury is
           substantially certain to occur.

        b. Fines Or Penalties

           Any assessment, penalty, or fine levied by any regulatory inspection agency or authority.

        c. Statutory Obligations

           Any obligation of the insured under a workers' compensation, disability benefits or
           unemployment compensation law or any similar law.

        d. Contractual Liability

           Liability assumed by you under any contract or agreement.

        e. Violation Of Law

           "Bodily injury by accident" or "bodily injury by disease" suffered or caused by any employee
           while employed in violation of law with your actual knowledge or the actual knowledge of
           any of your "executive officers".




00 CGL0119 48 03 04                                                                                  Page 2 of 6
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 60 of 350




        f. Termination, Coercion Or Discrimination

           Damages arising out of coercion, criticism, demotion, evaluation, reassignment, discipline,
           defamation, harassment, humiliation, discrimination against or termination of any
           "employee", or arising out of other employment or personnel decisions concerning the
           insured.

        g. Failure To Comply With "Workers Compensation Law"

           "Bodily injury by accident" or "bodily injury by disease" to an "employee" when you are:

           (1)   Deprived of common law defenses; or

           (2) Otherwise subject to penalty;

           because of your failure to secure your obligations or other failure to comply with any
           "workers compensation law".

        h. Violation Of Age Laws Or Employment Of Minors

           "Bodily injury by accident" or "bodily injury by disease" suffered or caused by any person:

           (1) Knowingly employed by you in violation of any law as to age; or

           (2)   Under the age of 14 years, regardless of any such law.

        i. Federal Laws

           Any premium, assessment, penalty, fine, benefit, liability or other obligation imposed by or
           granted pursuant to:

           (1) The Federal Employer's Liability Act (45 USC Section 51-60);

           (2) The Non-appropriated Fund Instrumentalities Act (5 USC Sections 8171-8173);

           (3) The Longshore and Harbor Workers' Compensation Act (33 USC Sections 910-950);

           (4) The Outer Continental Shelf Lands Act (43 USC Section 1331-1356);

           (5) The Defense Base Act (42 USC Sections 1651-1654);

           (6) The Federal Coal Mine Health and Safety Act of 1969 (30 USC Sections 901-942);

           (7) The Migrant and Seasonal Agricultural Worker Protection Act (29 USC Sections 1801-
               1872);

           (8) Any other workers compensation, unemployment compensation or disability laws or
               any similar law; or

           (9) Any subsequent amendments to the laws listed above.

        j. Punitive Damages

           Multiple, exemplary or punitive damages.

        k. Crew Members

           "Bodily injury by accident" or "bodily injury by disease" to a master or member of the crew of
           any vessel or any member of the flying crew of an aircraft.



00 CGL0119 48 03 04                                                                          Page 3 of 6
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 61 of 350




   B. The Supplementary Payments provisions apply to Coverage - Stop Gap Employers Liability as well
      as to Coverages A and B.

   C. For the purposes of this endorsement, Section II - Who Is An Insured, is replaced by the following:

      If you are designated in the Declarations as:

      1. An individual, you and your spouse are insureds, but only with respect to the conduct of a
         business of which you are the sole owner.

      2. A partnership or joint venture, you are an insured. Your members, your partners, and their
         spouses are also insureds, but only with respect to the conduct of your business.

      3. A limited liability company, you are an insured. Your members are also insureds, but only with
         respect to the conduct of your business. Your managers are insureds, but only with respect to
         their duties as your managers.

      4.    An organization other than a partnership, joint venture or limited liability company, you are an
           insured. Your "executive officers" and directors are insureds, but only with respect to their
           duties as your officers or directors. Your stockholders are also insureds, but only with respect to
           their liability as stockholders.

      No person or organization is an insured with respect to the conduct of any current or past
      partnership, joint venture or limited liability company that is not shown as a Named Insured in the
      Declarations.

   D. For the purposes of this endorsement, Section Ill Limits Of Insurance, is replaced by the following:

      1. The Limits of Insurance shown in the Schedule of this endorsement and the rules below fix the
         most we will pay regardless of the number of:

           a. Insureds;

           b. Claims made or "suits" brought; or

           c. Persons or organizations making claims or bringing "suits".

      2. The "Bodily Injury By Accident" - Each Accident Limit shown in the Schedule of this
         endorsement is the most we will pay for all damages covered by this insurance because of
         "bodily injury by accident" to one or more "employees" in any one accident.

      3.    The "Bodily Injury By Disease" - Aggregate Limit shown in the Schedule of this endorsement is
           the most we will pay for all damages covered by this insurance and arising out of "bodily injury
           by disease", regardless of the number of "employees" who sustain "bodily injury by disease".

      4. Subject to Paragraph D.3. of this endorsement, the "Bodily Injury By Disease" - Each
         "Employee" Limit shown in the Schedule of this endorsement is the most we will pay for all
         damages because of "bodily injury by disease" to any one "employee".

      The limits of the coverage apply to the policy period set forth in the Declarations or any
      endorsements thereto.

   E. For the purposes of this endorsement, Condition 2. - Duties In The Event Of Occurrence, Claim Or
      Suit of the Conditions Section IV is deleted and replaced by the following:




00 CGL0119 48 03 04                                                                                Page 4 of 6
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 62 of 350




      2. Duties The Event Of Injury, Claim Or Suit

         a.   You must see to it that we or our agent are notified as soon as practicable of a "bodily injury
              by accident" or "bodily injury by disease" which may result in a claim. To the extent
              possible, notice should include:

              (1) How, when and where the "bodily injury by accident" or "bodily injury by disease" took
                  place;

              (2) The names and addresses of any injured persons and witnesses; and

              (3) The nature and location of any injury.

         b.   If a claim is made or "suit" is brought against any insured, you must:

              (1) Immediately record the specifics of the claim or "suit" and the date received; and

              (2) Notify us as soon as practicable.

              You must see to it that we receive written notice of the claim or "suit" as soon as
              practicable.

         c.   You and any other involved insured must:

              (1) Immediately send us copies of any demands, notices, summonses or legal papers
                  received in connection with the injury, claim, proceeding or "suit";

              (2) Authorize us to obtain records and other information;

              (3) Cooperate with us and assist us, as we may request, in the investigation or settlement
                  of the claim or defense against the "suit";

              (4) Assist us, upon our request, in the enforcement of any right against any person or
                  organization which may be liable to the insured because of injury to which this
                  insurance may also apply; and

              (5) Do nothing after an injury occurs that would interfere with our right to recover from
                  others.

         d.   No insured will, except at that insured's own cost, voluntarily make a payment, assume any
              obligation, or incur any expense, other than for first aid, without our consent.

   F. For the purposes of this endorsement, Paragraph 4. of the Definitions Section is replaced by the
      following:

      4. "Coverage territory" means:

         a.   The United States of America (including its territories and possessions), Puerto Rico and
              Canada;

         b.   International waters or airspace, but only if the injury or damage occurs in the course of
              travel or transportation between any places included in a. above; or

         c.   All other parts of the world if the injury or damage arises out of the activities of a person
              whose home is in the territory described in a. above, but who is away for a short time on
              your business;




00 CGL0119 48 03 04                                                                                 Page 5 of 6
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 63 of 350




          provided the insured's responsibility to pay damages is determined in the United States
          (including its territories and possessions), Puerto Rico, or Canada, in a suit on the merits
          according to the substantive law in such territory, or in a settlement we agree to.

   G. The following are added to the Definitions Section:

       1. 'Workers Compensation Law" means the Workers Compensation Law and any Occupational
          Disease Law of Washington. This does not include provisions of any law providing non-
          occupational disability benefits.

       2. "Bodily injury by accident" means bodily injury, sickness or disease sustained by a person,
          including death, resulting from an accident. A disease is not "bodily injury by accident" unless it
          results directly from "bodily injury by accident".

       3. "Bodily injury by disease" means a disease sustained by a person, including death. "Bodily
          injury by disease" does not include a disease that results directly from an accident.

   H. For the purposes of this endorsement, the definition of "bodily injury" does not apply.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 18
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
{The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: 72DPC1446800
Named Insured: EBENAL GENERAL CONTRACTORS, INC.
Endorsement Effective Date: 11/10/03


00 CGL0119 48 03 04                                                                              Page 6 of 6
                                              •                                             •
09/26/2005 11 :45 AM Case
                     16C3C   488
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 64 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CARE~H:_~J;Y°::2"'.:2 ~


            In consideration of premium to be determined at audit, it is hereby agreed and understood that the policy
            is cancelled effective 4/1/04.




            All other terms and conditions of this Policy remain unchanged.


            Issued By: Arch Specialty Insurance Company
            Endorsement Number: 19
            Policy Number: 72DPC1446800
            Named Insured: EBENAL GENERAL CONTRACTORS, INC.
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            Endorsement Effective Date: 4/1/2004



                                                                                            Wr-           Ju--2_
                                                                                                   President




            00 ML0207 00 10 03                                                                              Page 1 of 1
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09/26/2005 11:45 AM Case
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                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 65 of 350




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFl!~':-lL.u.:29a5


           The final premium audit has resulted in a return premium o f ~




           All other terms and conditions of this Policy remain unchanged.


           Issued By: Arch Specialty Insurance Company
           Endorsement Number: 20
           Policy Number: 72DPC1446800
           Named Insured: EBENAL GENERAL CONTRACTORS, INC.
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           Endorsement Effective Date: 4/ 1/2004



                                                                                           ~ t - 'i~2-
                                                                                                  President




           00 ML0207 00 10 03                                                                              Page 1 of 1



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                                         ·•                                                 •
                    Case 2:21-cv-01272-TL
09/26/2005 11:45 AM 16C3~_ 488            Document 1 Filed 09/17/21 Page 66 of 350




               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                                                                                'SC ·;.e9 • 26 .;;a805

                                             NAMED INSURED ENDORSEME"ir:                                -

           It is hereby agreed that Item 1. of the Declarations is amended to include tha.eI!.eE a C O P Y
           Insured:
           EBENAL GENERAL, INC.
           EBENAL GENERAL SPECIAL PROJECTS, INC.
           MERIDIAN-PACIFIC HIGHWAY, INC.
           BONITA & DAVID EBENAL




           All other terms and conditions of this policy remain unchanged.




           Endorsement Number:21
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           {The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)

           Policy Number: 72 DPC 14468 00

           Named Insured: EBENAL GENERAL CONTRACTORS, INC.

           Endorsement Effective Date: 11/10/03


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                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 67 of 350
      Arch lnsuran~
      Operations                                     ARCH SPECIALTY INSURANCE COMPANY
                                                           ADMINISTRATIVE OFFICE
                                                       ONE LIBERTY PLAZA, 53RD FLOOR
      MAY 1 1 2005                                           NEW YORK NY 10006
      Mercy AmeruOiO                         NOTICE OF CANCELLATION OF INSURANCE
      Initial :_____
                   _

                Named Insured & Mailing Address :                                       Producer: CRCAL10A


                EBENAL GENERAL CONTRACTORS, INC.                                        CRC INSURANCE SERVICES, INC.
                4326 PACIFIC HIGHWAY                                                    1 METROPLEX DRIVE, SUITE 400
                BELLINGHAM WA 98226                                                     BIRMINGHAM Al 35209




                                 Policy No.: 72DPC1446800
                            Type of Policy: GENERAL LIABILITY CLAIMS MADE
                       Date of Cancellation: 04/01/2004: 12:01 A.M. Local Time at the mailing address of the Named Insured.

                   We are cancelling this policy. Your insurance will cease on the Date of Cancellation shown above.


                   The reason tor cancellation is policy was cancelled and rewritten.




                                  Home Office Copy


                                                                                                  Date Mailed:
                                                                                                  10th day of M~y. 2005
                 Named Insured


                 EBENAL GENERAL CONTRACTORS, INC.
                 4326 PACIFIC HIGHWAY
                 BELLINGHAM WA 98226

                                                                                                                          WACC14NON E APP
     FORM# CC9697WA51995                                                                                                     05102005SNNN
     ODEN 3.0.05.05&                                          Copy for Named Insured                                            Page 1 ol 1
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 68 of 350




                         Exhibit 2
             Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 69 of 350




                                            DECLARATION


I declare under penalty of perjury under the law of California that the following is true and correct.


Annexed hereto as Exhibit A is a true and accurate copy of Arch Specialty Insurance Company policy

number 72DPC1446801 issued to Ebenal General Contractors, Inc., 4326 Pacific Highway Bellingham,

Washington 98226 in effect from April 1, 2004 to April 1, 2005 including any and all applicable

endorsements and forms made a part thereof.

Executed on the 1st day of September, 2021, at Corte Madera, CA.




                                                                                              Sean Basco
                                                                   Regional Vice President, E&S Casualty
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 70 of 350




              Exhibit A
09/26/2005 11:50 AM Case
                    16C3C_ 493
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 71 of 350
                                                                                                                                      s
                                             '          iJArch
                                                         Insurance Group
                                            ARCH SPECIALTY INSURANCE COMPANY
                                                          A Wrsconsin Corporation
      Home Office Address:                                                                              Administrative Office Address:
      300 First Stamford Place, 5th Floor                                                               One Liberty Plaza, 53rd Floor
      Stamford, CT 06902                                                                                         New York, NY 10008
                                                                                                                       (800) 817-3252
                              COMMERCIAL GENERAL LIABILITY POLICY DECLARATIONS
      POLICY NUMBER: 72DPC1446801                                           RENEWAL OF: 72DPC1446800

      EFFECTIVE DATE; 04/01/04                                              AGENT CODE:
      EXPIRATION DATE: 04/01/05
      12:01 AM STD Time at the Address of the Named Insured
      Item 1.   Named Insured and Producing Agent
      Named Insured:     EBENAL GENERAL CONTRACTORS, INC.

      Mailing Address:     4326 PACIFIC HIGHWAY
                           BELLINGHAM, WASHINGTON 98226


      Producing Agent      CRC INSURANCE SERVICES, INC.

      Mailing Address:     1420 FIFTH AVENUE
                           SUITE 1610
                           SEATTLE, WASHINGTON 98101

      Surplus Line Broker: LINDSAY BOSCH
                           CRC INSURANCE SERVICES, INC.
      Mailing Address:     1420 FIFTH AVENUE
                           SUITE 1610
                           SEATTLE, WASHINGTON 98101

      Surplus Lines License#: CRCINS"98358
      Item 2. Named Insured Classified as:
                          0 Individual                           D Partnership                       l8l Corporation
                          D Joint Venture                        □ LLC                               0LLP
      Item 3. Limits of Insurance
      BODILY INJURY AND PROPERTY DAMAGE LIABILITY - EACH OCCURRENCE                                  $1,000,000
      PERSONAL AND ADVERTISING INJURY LIMIT - EACH OFFENSE                                           $1,000,000
      MEDICAL EXPENSE LIMIT -ANY ONE PERSON                                                          $NIA




                           $-
      GENERAL AGGREGATE LIMIT (Other Than Products - Completed Operations)                           $2,000,000
      PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                                                  $2,000,000



      Deposit Premium    $-
      DAMAGES TO PREMISES RENTED TO YOU LIMIT - EACH OCCURRENCE
      Item 4. Polley Premium:
                                which is:

      Mlnim1.m1 Retained Audit Premium$-
                                                 D A Rat Charge Per Each Policy Period.
                                                                                                     $50,000



                                                 IZI Adjustable at the end ofeach Audit Period, Per Premium Computation Endorsement
      Minimum Retained Premium 35%, noi'suofect to adjustment in the event of cancellation by you.                            •



      06 CGLD0047 00 06 03                                                                                                Page 1 of2
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09/26/2005 11 :50 AM Case
                     16C3C _493
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 72 of 350




      Item 5. Fonns and Endorsements attached: See Schedule of Fonns and Endorsements Fonn 00 ML0012 00 01 03

      In consideration of the payment of premium and In reliance upon statements made rn the application this policy
      including all endorsements Issued herein shaD constitute the contract between the Company and the Named Insured.




      Arch Specialty Insurance Company is not licensed in the state of New York and is not subject to its supervision.




      06 CGLD0047 00 06 03                                                                                               Page2of2
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109/26/2005 11:50 AM Case
                     16C3C_ 493
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 73 of 350

I                                      •


                                  SCHEDULE OF FORMS AND ENDORSEMENTS


          NAMED INSURED: EBENAL GENERAL CONTRACTORS, INC.           TERM: 4/01/2004 to 4/01/2005
          POLICY NUMBER: 72DPC1446801



          ENDT. NO,   I    FORM NO.               TITLE   '

                           06 CGLD0047 00 06 03   COMMERCIAL GENERAL LIABILITY POLICY DECLARATIONS
                           00 ML0012 00 01 03     SCHEDULE OF FORMS ANO ENDORSEMENTS
                           06 CGL0098 00 07 03    COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                           06 ML0002 00 07 03     SIGNATURE PAGE
                           02 ML 0003 00 08 02    SERVICE OF SUIT
          1                02 CGL0108 00 09 03    BLANKET ADDITIONAL INSURED - DEDUCTIBLE POLICY
                                                  VERSION
          2                00 CGL0130 00 01 04    OTHER INSURANCE - BROAD FORM, CGL POLICY
                                                  ENDORSEMENT
          3.               00 CGL0121 00 01 04    WAIVER OF SUBROGATION ENDORSEMENT DEDUCTIBLE
                                                  POLICY
          4                00 CGL0007 00 05 04    CROSS SUITS EXCLUSION
          5                02 CGL0018 00 10 02    INTELLECTUAL PROPERTY EXCLUSION
          6                00 CGL01010007 03      MEDICAL PAYMENTS EXCLUSION
          7                00 CGL0080 00 06 04    RESIDENTIAL ANO RESIDENTIAL CONVERSION EXCLUSION
          8                02 CGL0011 00 10 02    EARTH MOVEMENT OR SUBSIDENCE EXCLUSION
          9                00 CGL0041 00 12 02    WRAP-UP EXCLUSION
          10               00 CGL0039 00 12 02    ENGINEERS, ARCHITECTS OR SURVEYORS PROFESSIONAL
                                                  LIABILITY EXCLUSION
          11               00 CGL0016 00 03 04    EXTERIOR INSULATION AND FINISH SYSTEM EXCLUSION
          12               00 CGL0141 00 03 04    SILICA EXCLUSION
          13               00 CGL0125 00 01 04    SUBCONTRACTOR ENDORSEMENT: DEDUCTIBLE POLICY
          14               02 CGL0109 00 09 03    DESIGNATED CONSTRUCTION PROJECT($) GENERAL
                                                  AGGREGATE LIMIT AND POLICY AGGREGATE LIMIT
                                                  ENDORSEMENT - DEDUCTIBLE POLICY VERSION
          15               00 CGL0038 00 02 04    EMPLOYEE BENEFITS LIABILITY COVERAGE
          16               00 CGL0119 48 03 04    STOP GAP - EMPLOYERS LIABILITY COVERAGE
                                                  ENDORSEMENT - WASHINGTON
          17               02 CGL0107 00 09 03    PREMIUM COMPUTATION ENDORSEMENT - DEDUCTIBLE
                                                  POLICY VERSION
          18               00 CGL0099 00 10 03    DEDUCTIBLE LIABILITY ENDORSEMENT




      00 ML0012 00 01 03                                                                    Page 1 of 1
9/26/2005 11:50 AM Case
                   16C3C2:21-cv-01272-TL
                          493            Document 1 Filed 09/17/21 Page 74 of 350




                                                  i;fArch
                                                   Insurance Group
            ARCH SPECIALTY INSURANCE                                     COMMERCIAL GENERAL LIABILITY
            COMPANY
            300 First Stamford Place, 5th Floor                                            06 CGL0098 00 07 03
            Stamford, CT 06902

                            COMMERCIAL GENERAL LIABILITY COVERAGE FORM

           Various provisions in this policy restrict                    (2) Our right and duty to defend end when
           coverage. Read the entire policy carefully to                      we have used up the applicable limit
           determine rights, duties and what is and is not                    of insurance in the payment of
           covered.                                                           judgments or settlements under
                                                                            . Coverages A or B or medical
           Throughout this policy the words "you" and                         expenses under Coverage C.
           "your'' refer to the Named Insured shown in the
           Declarations, and any other person or                          No other obligation or llablllty to pay sums
           organization qualifying as a Named Insured                     or perform acts or services is covered
           under this policy. The words "we", "us" and "our"              unless   explicitly   provided     for   under
           refer to the company providing this insurance.                 Supplementary Payments - Coverages
                                                                          A and B.
           The word "insured" means any person or
           organization qualifying as such under SECTION               b. This insurance applies to "bodily injury"
           II - WHO IS AN INSURED.                                        and •property damage" only if:

           Other words and phrases that appear In                        (1) The    "bodily injury" or "property •
           quotation marks have special meaning. Refer to                    damage"       Is    caused  by    an
           SECTION V-0EFINITIONS.                                            "occurrence" that takes place in the
                                                                             ''coverage territory"; and
           SECTION 1- COVERAGES
                                                                         (2) The "bodily Injury" or •property
           COVERAGE A BODILY INJURY AND                                      damage" occurs during the policy
           PROPERTY DAMAGE LIABILITY                                         period.
           1. Insuring Agreement                                       2. Exclusions
              a. We will pay those sums that the insured               This insurance does not apply to:
                 becomes legally obligated to pay as
                 damages because of "bodily injury" or                 a. Expected Or Intended Injury
                 "property damage" to which this                          "Bodily injury" or "property damage"
                 insurance applies. We will have the right                expected or intended from the standpoint
                 and duty to defend the insured against                   of the insured. This exclusion does not
                 any "suit" seeking those damages.                        apply to "bodily injury" resulting from the
                 However, we will have no duty to defend                  use of reasonable force to protect
                 the insured against any "suir seeking                    persons or property.
                 damages for "bodily injury" or "property
                 damage• to which this insurance does not              b. Contractual Liability
                 apply. We may, at our sole discretion.                   "Bodily injury" or "property damage" for
                 investigate any "occurrence" and settle                   which the insured is obligated to pay
                 any clalm or "sulr that may result. But:                  damages by reason of the assumption of
                (1) The amount we will pay for damages                   . liability in a contract or agreement. This
                    is limited as described in Section Ill -               exclusion does not apply to liability for
                    Limits Of Insurance; and                               damages:




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                                                                                                       .   Page 1 of 18
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                                           •                                                  •
09/26/2005 11:50 AM Case
                    16C3C  493
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 75 of 350




                 (1) That the insured would have in the                      (2) To any obligation to share damages _ _ _ __ _
                     absence of the contract or agreement;                       with or repay someone else whitln!Bf··-~b.A-
                     or                                                          pay damages because of the injury.
                (2)    Assumed in a contract or agreement                    This exclusion does not apply to liability
                       that is an •insured contract", provided               assumed by the insured under an
                       the "bodily injury'' or "property                     "insured contracr.
                       damage" occurs subsequent to the
                       execution of the contract or                       f. Pollution
                       agreement.                                           (1) "Bodily injury" or "property damage"
              c. Liquor Liability                                               arising out of the actual, alleged or
                                                                                threatened       discharge, dispersal,
                 "Bodily injury" or "property damage" for                       seepage, migration, release or escape
                 which any insured may be held liable by                        of "pollutants":
                 reason of:                         ·
                                                                               •(a) At or from any premises, site or
                (1) Causing        or contributing     to   the                     location which is or was at any
                       intoxication of any person;                                  time owned or occupied by, or
                                                                                    rented or loaned to, any insured.
                (2) The furnishing of alcoholic beverages
                                                                                    However, this subparagraph does
                       to a person under the legal drinking                         not apply to:    ·
                       age or under the influence of alcohol;
                       or                                                           (I) "Bodily injury'' if sustained
                                                                                        within a building and caused by
                (3) Any statute, ordinance or regulation
                                                                                        smoke, fumes, vapor or soot
                    relating to the sale, gift, distribution or
                                                                                        from equipment used to heat
                    use of alcoholic beverages.
                                                                                        that building:
                 This exclusion applies only if you are in
                                                                                   (ii)   0
                                                                                           Bodily injury" or "property
                 the      business      of    manufacturing,
                                                                                          damage" for which you may be
                 distributing, selling, serving or furnishing
                                                                                          held liable, if you are a
                 alcoholic beverages.
                                                                                          contractor and the owner or .
              d, Workers' Compensation And Similar                                        lessee of such premises, site or ·
                 Laws                                                                     location has been added to
                                                                                          your policy as an additional
                 Any obligation of the insured under a                                    insured with respect to your
                 workers' compensation, disability benefits                               ongoing operations performed
                 or unemployment compensation law· or                                     for that additional insured at
                 any similar law(s).                                                      that premises, site or location
              e. Employer's Liability                                                     and such premises, site or
                                                                                          location is not and never was
                 "Bodily injury" to:                                                      owned or occupied by, or
                (1) An "employee" of the insured arising                                  rented or loaned to, any
                      out of and in the course of:                                        insured,     other   than   that
                                                                                          additional insured; or
                      (a) Employment by the insured; or
                                                                                  (Iii) "Bodily Injury" or "property
                      (b) Performing duties related to the                              damage" arising out of heat,
                          conduct of the insured's business;                            smoke or fumes from a "hostile
                          or                                                              fire";
                {2) The spouse, child, parent, brother or                      (b) At or from any premises, site or
                     sister of that "employee" as a                                location which is or was at any
                    consequence of Paragraph (1)                                   time used by or for any insured or
                    above.                                                         others for the handling, storage,
                 This exclusion applies:                                           disposal, processing or treatment
                                                                                   of waste;
                {1) Whether the insured may be liable as
                    an employer or in any other capacity;                      (c) Which are or were at any time
                    and                                                            transported,    handled,    stored,
                                                                                   treated, disposed of, or processed .
                                                                                   as waste by or for any insured or

           06 CGL0098 00 07 ·03        • Includes Copyright Material from Insurance Services Office·         Page 2 of 18
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09/26/2005 11:50 AM Case
                    16C3C  493


                                       •
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 76 of 350




                       any person or organization for
                                                                                           •
                                                                                          smoke or fumes from a "hostile
                       whom you may be legally                                            fire".                ·.........)'.•.••:..,.,..::-
                       responsible; or
                                                                                   (e} At or from any premises, site or
                   (d) At or from any premises, site or                                location on which any insured or
                       location on which any insured or                                any contractors or subcontractors
                       any contractors or subcontractors                               working directly or indirectly on any
                       working directly or indirectly on any                           insured's behalf are performing
                       insured's behalf are performing                                 operations if the operations are to
                       operations if the "pollutants" are                              test for, monitor, clean up, remove,
                       brought on or to the premises, site                             contain,      treat,   detoxify    or
                       or location in connection with such                             neutralize, or in any way respond
                       operations by such insured,                                     to, or assess the effects of,
                       contractor      or    subcontractor.                            "pollutants".
                       However, this subparagraph does
                       not apply to:             ·                          (2), Any loss, cost or expense arising out
                                                                                 of any:
                       (i) "Bodily injury'' or "property                       (a) Request, demand, order or
                            damage" arising out of the                              statutory or regulatory requirement
                            escape of fuels, lubricants or
                                                                                    that any insured or others test for,
                            other operating fluids which are
                            needed to perform the normal                            monitor, clean up, remove, contain,
                            electrical,       hydraulic      or                     treat, detoxify or neutralize, or in
                            mechanical               functions                      any way respond to, or assess the
                            necessary for the operation of                          effects of, "pollutants''; or
                           "mobile equipment'' or its parts,                   (b) Claim or suit by or on behalf of a
                            if such fuels, lubricants or other                      governmental         authority    for
                           operating        fluids      escape                      damages because of testing for,
                           from a vehicle part designed to                          monitoring, cleaning up, removing,
                           hold, store or receive them.                             containing, treating, detoxifying or
                           This exception does not apply if                         neutralizing, or in any way.
                           the "bodily injury" or "property                         responding to, or assessing the -
                           damage" arises out of the                                effects of, "pollutants".
                           intentional discharge, dispersal
                           or release of the fuels,                             However, this paragraph does not
                           lubricants or other operating                        apply to liability for damages because
                           fluids, or if such fuels,                            of "property damage" that the insured
                           lubricants or other operating                        would have in the absence of such
                           fluids are brought on or to the                      request, demand, order or statutory or
                           premises, site or location with                      regulatory requirement, or such claim
                           the intent that they be                              or ''suif' by or on behalf of a
                           discharged,        dispersed     or                  governmental authority.
                           released as part of the
                           operations being performed by                 g. Aircraft, Auto Or Watercraft
                           such insured, contractor or                       "Bodily injury" or "property damage"
                           subcontractor;                                    arising    out    of      the    ownership,
                      (ii) "Bodily injury" or Nproperty                      maintenance, use or entrustment to
                           damage" sustained within a                        others of any aircraft, "auto" or watercraft
                           building and caused by the                        owned or operated by or rented or loaned
                           release of gases, fumes or                        to any insured. Use includes operation
                           vapors from materials brought                   . and "loading or unloading".
                           into that building in connection
                           with      operations      being                   This exclusion does not apply to:
                           performed by you or on your                      (1) A watercraft while ashore on premises
                           behalf by a contractor or                            you own or rent;
                           subcontractor; or
                                                                            (2) A watercraft you do not own that is:
                      (Ill) "Bodily
                                  injury'' or "property                        (a) Less than 26 feet long: and
                           damage" arising out of heat,


           06 CGL0098 00 07 ·03       Includes Copyright Material from Insurance Services Office·             'Page 3 of 18 ·
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                                                                                                                            7

                                         •
_09/26/2005 11:50 AM Case
                     16C3C_ 493
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 77 of 350




                    (b) Not being used to carry persons or                  Paragraphs (1), (3) and (4) of this
                          property for a charge;                            exclusion do not apply to "prt,pei,fv~--~
                                                                            damage" (other than damage by fire) to
                 (3) Parking an "auto" on, or on the ways
                     next to, premises you own or rent.                     premises, Including the contents of such
                     provided the "auto" is not owned by or                 premises, rented to you for a period of 7
                     rented or loaned to you or the insured;                or fewer consecutive days.
                 (4) "Bodily injury" or "property damage"                   Paragraph (2) of this exclusion does not
                     arising out of the operation of any of                 apply if the premises are "your work" and
                     the equipment listed in Paragraph                      were never occupied, rented or held for
                     f .(2) or f.(3) of the definition of "mobile           rental by you.
                     equipment''.                                           Paragraphs (3), (4), (5) and (6) of this
               h. Mobile Equipment                                          exclusion do not apply to liability
                                                                            assumed under a sidetrack agreement.
                  "Bodily injury'' or "property - damage"
                  arising out of:                                           Paragraph (6) of this exclusion does not
                                                                            apply to "property damage" included in
                 (1) The     transportation    of    "mobile                the   "products-completed     operations
                     equipment'' by an "auto" owned or                      hazard".
                     operated by or rented or loaned to any
                     insured; or
                 (2) The use of "mobile equipment'' in, or              k. Damage To Your Product
                     while in practice for, or while being                  "Property damage" to "your product"
                     prepared for, any prearranged racing,                  arising out of "your product'' or any part of
                     speed, demolition, or stunting activity.               "your product''.
               I. War                                                    I. Damage To Your Work
                  "Bodily injury" or "property damage" due                 "Property damage" to "your work" arising
                  to war, whether or not declared, or any                  out of "your work" or any part of "your
                  act or condition incident to war. War                    work'' and included in the "products- .
                  includes but is not limited to; civil war,               completed operations hazard•.
                  insurrection, usurped power, rebellion or
                  revolution.                                              This exclusion does not apply if the
                                                                           damaged work or the work out of which
               j. Damage To Property                                       the damage arises was performed on
                  "Property damage" to:                                    your behalf by a subcontractor.
                 (1) Property you own, rent, or occupy;                m. Damage To Impaired Property Or
                                                                           Property Not Physically Injured
                 (2) Premises you sell, give away or
                     abandon, if the "property damage"                     "Property damage" to "impaired property''
                     arises out of any part of those                       or property that has not been physically
                     premises;                                             injured, arising out of:
                 (3) Property loaned to you;                               (1) A defect, deficiency, inadequacy or
                                                                               dangerous condition in "your product''
                 (4) Personal property in the care, custody                    or "your work"; or
                     or control of the insured;
                                                                           (2) A delay or failure by you or anyone
                 (5) That particular part of real property on                  acting on your behalf to periorm a
                     which you or any contractors or                           contract or agreement in accordance
                     subcontractors working directly or                        with its terms.
                     indirectly on     your behalf are
                     performing operations, if the "property               This exclusion does not apply to the loss
                     damage" arises out of those                           of use . of other property arising out of
                     operations; or                                        sudden and accidental physical injury to
                                                                           "your product'' or "your work" after it has
                 (6) That particular part of any property                  been put to its intended use.
                     that must be restored, repaired or
                     replaced because •your work" was                  Exclusions j. through m. do not apply to
                     incorrectly periormed on it.                      damage by fire to premises while rented to ·

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            06 CGL0098 00 07 ·03        Includes Copyright Material from Insurance Services Office·           Page4of 18
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                                          •
9/26/2005 11:50 AM Case
                   16C3C2:21-cv-01272-TL
                          493            Document 1 Filed 09/17/21 Page 78 of 350




             you or temporarily occupied by you with                            an insured under any such policy but
             pennission of the owner. A separate limit of                       for its termination upon exhausflon~.• :2.;.• .e.iiMi5
             insurance applies to this coverage as                              its limit of liability; or
             described In SECTION Ill - LIMITS OF
             INSURANCE.
                                                                            (2) resulting   from     the "hazardous
                                                                                properties" of "nuclear material" and
              n. Recall Of Products, Work Or Impaired                           with respect to which (a) any person
                 Property                                                       or organization is required to maintain
                                                                                financial protection pursuant to the
                 Damages claimed for any loss, cost or
                                                                                Atomic Energy Act of 1954, or any
                 expense incurred by you or others for the
                                                                                law amendatory thereof, or (b) the
                 loss of use, withdrawal, recall, inspection,
                                                                                "insured" is, or had this policy not
                 repair, replacement, adjustment, removal
                                                                                been Issued would be, entitted to
                 or disposal of:                                                indemnity from the United States of
                (1) "Your product";                                             America, or any agency thereof,
                                                                                under any agreement entered into by
                (2) "Your work"; or                                             the United States of America, or any
                (3) •impaired property";                                        agency thereof, with any person or
                                                                                organization; or
                 if such product, work, or property is
                 withdrawn or recalled from the market or                   (3) under    any     Medical    Payments
                 from use by any person or organization                         coverage, to expenses incurred with
                 because of a known or suspected defect,                        respect to "bodily injury" resulting
                 deficiency, inadequacy or· dangerous                           from the "hazardous properties" of
                 condition in it                                                "nuclear material" and arising out of
                                                                                the operation of a "nuclear facility" by
              o. Personal And Advertising Injury                                any person or organization; or
                 "Bodily injury" arising out of "personal                   (4) under any liability Coverage, to
                 and advertising injury".                                       "bodily injury" or "property damage•
              P~ Asbestos                                                       resulting from "hazardous propertiesa
                                                                                of "nuclear material". if:
                 "Bodily injury" or "property damage",
                 including but not limited to, compliance                      (a) The "nuclear matertar' (a) is at any
                 with any action authorized or required by                         ·nuclear facility" owned by, or
                 law, which arises out of or would not have                        operated by or on behalf of, an
                 occurred, in whole or in part. but for the                        ainsured" or (b) has been
                 •asbestos hazard.•                                                discharged or dispersed therefrom;

                 As used In this exclusion, "asbestos                          (b) The "nuclear materiar is contained
                 hazard" means actual, alleged or                                  in "spent fuel" or "waste" at any
                 threatened exposure to asbestos In any                            time possessed, handled, used,
                 manner or fonn whatsoever, either                                 processed, stored, transported or
                 directly or indirectly, the failure to warn,                      disposed of, by or on behalf of an
                 advise or instruct related to asbestos, the                       "insured"; or
                 failure to prevent exposure to asbestos,                      (c) The Mbodily injury" or "property
                 or the presence of asbestos in any place                          damage" arises out of the
                 whatsoever, whether or not Within a                               furnishing by an "insured" of
                 building or structure.                                            services, materials,        parts or
              q. Nuclear llablllty                                                 equipment in connection with the
                                                                                   planning,                construction,
                . "Bodily injury" or "property damage•                             maintenance, operation or use of
                 (1) with respect to which an "insured"                            any "nuclear facilitt, but if such
                     under the policy is also an insured                           facility is located within the United
                     under a nuclear energy liabiltty policy                       States of America, its territories or
                     issued by Nuclear Energy Liability                            possessions or Canada, this
                     Insurance Association, Mutual Atomic                          exclusion (3) applies only to
                     Energy Liability Underwriters, Nuclear                        "property      damage"      to such
                     Insurance Association of Canada or                            "nuclear facility" and any property
                     any of their successors, or would be                          thereat.


           06 CGL0098 00 01 ·03      ~   Includes Copyright Material from Insurance Services Office·       Page 5of 18
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                                        •                                                •
09/26/2005 11:50 AM Case
                    16C3C_ 493
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 79 of 350




              As used in this exclusion:                                   conducted on such site and all premises
                                                                           used for such operations.       ·''="'" ·•::,, --~b---~
              (1) "Hazardous        properties"     includes
                  radioactive,     toxic    or     explosive          (7) "Nuclear reactor" means any apparatus
                  properties.                                             designed or used to sustain nuclear
                                                                          fission in a self-supporting chain
              (2) Nuclear     material"  means "source
                                                                          reaction or to contain a critical mass of
                  material", "Special nuclear material" or
                                                                          f15sionable material.
                  "by-product material".
                                                                      (8) "Property damage" includes all forms of
              (3) "Source material", "special nuclear
                                                                          radioactive contamination of property.
                  material", and "by-product material"
                  have the meanings given them in the                 r. Employment Related Practices
                  Atomic Energy Act of 1954 or in any law
                  amendatory thereof.                                      Any "bodily injury'' to:

              (4) "Spent fuel'' means any fuel element or                  (1 ), A person arising out of any:
                  fuel component, solid or liquid, which                         (a) Refusal to employ;
                  has been used or exposed to radiation
                  in a "nuclear reactor".                                        (b) Termination  of      that     person's
                                                                                     employment; or
              (5) 'Waste" means any waste material (a)
                  containing "by-product materlal" other                         (c) Employment-related practices,
                  than the tailings or wastes produced by                           policies, act or omissions such as
                  the extraction or concentration of                                coercion, demotion, evaluation,
                  uranium or thorium from any ore                                   reassignment, discipline,
                  processed primarily for its "source                               defamation, harassment,
                  material" content, and (b) resulting from                         humiliation or discrimination
                  the operation by any person or                                    directed at that person;
                  organization of any "nuclear facility"                         (d) Action under Title VII of the 1964
                  included under the first two paragraphs                            Civil Rights Act and/or any
                  of the definition of "nuclear facility•.                           amendments thereto; or
              (6) "Nuclear facility" means:                                (2)     The spouse, child, parent, brothe·r or ·
                  (a) Any "nuclear reactor'';                                      sister of that person as a
                                                                                   consequence of any injury or
                  (b) Any equipment or device designed                             damage to that person at whom any
                      or used for (i) separating the                               of the employment-related practices
                      isotopes of uranium or plutonium,                            described in Paragraphs (a), (b),
                      (ii) processing or utilizing "spent                          (c) or (d) above is directed.
                      fuel", or (iii) handling, processing or
                      packaging "waste";                                   This exclusion applies:

                  (c) Any equipment or device used for                     (1)     Whether the insured may be held
                      the processing, fabricating        or                        liable as an employer or in any other
                      alloying of "special nuclear materiar'                       capacity;and
                      if at any time the total amount of                   (2)     To any obligation to share damages
                      such material in the custody of the                          with or repay someone else who
                      "insured" at the premises where                              must pay damages because of the
                      such equipment or device is located                          injury.
                      consists of or contains more than 25
                      grams of plutonium or uranium 233              s. Prior Loss
                      or any combination thereof, or more                  Any "bodily injury" or "property damage",
                      than 250 grams of uranium 235;                       if such injury or damage is a continuation
                  (d) Any structure, basin, excavation,                    of, or arises out of injury or damage that
                      premises or place prepared or used                   commenced prior to the inception date of
                      for the storage or disposal of                       the policy.
                      ''waste";                                       t.   Fungi, Mold and Mildew
                and includes the site on which any of the                  "Bodily injury" or "Property damage"
                foregoing is located, all operations                       arising out of fungi, including but not ·

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           06 CGL0098   oo 01·03   • Includes Copyright Material from Insurance Services Office·               Page6 of 18
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                                       •
9/26/2005 11 :50 AM Case  _ 493
                    16C3C2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 80 of 350



                 limited to. mold or mildew, and any              2. Exclusions
                 microtoxins, spores, scents, vapors,
                 gases, or byproducts produced or                    This insurance does not apply to:
                 released by fungi, regardless of any other          a. Knowing     Violation     Of     Rights    Of
                 cause, event, material, product and/or                 Another
                 building component that contributed
                 concurrently or in any sequence to that                "Personal and advertising injury" caused
                 liability, damage, loss, cost, expense or              by or at the direction of the insured with
                 other type of obligation.                              the knowledge that the act would.violate
                                                                        the rights of another and would inmct
              u.Lead                                                    "personal and advertising injury''.
                 •sodily Injury" or •property damage•,               b. Material Publlshed With Knowledge Of
                 including but not limited to, compliance               Falsity
                 with any action authorized or required by
                 law, which arises out of, in whole or in               •Personal and advertising injury" arising
                 part, the ingestion, inhalation, absorption            out of oral or written publication of
                 or exposure to lead, either directly or                material, if done by or at the direction of
                 indirectly, in any manner or form                      the insured with knowledge of its falsity.
                 whatsoever.                                         c. Material Published Prior To Policy
           COVERAGE B PERSONAL AND                                      Period
           ADVERTISING INJURY LIABILITY                                 "Personal and advertising Injury'' arising
           1". Insuring Agreement                                       out of oral or written publication of
                                                                        material whose first publication took place
              a. We will pay those sums that the insured                before the beginning of the policy period.
                 becomes legally obligated to pay as
                 damages because of upersonal and                   d. Criminal Acts
                 advertising injury" to which this Insurance            "Personal and advertising injury" arising
                 applies. We will have the right and duty to            out of a criminal act committed by or at
                 defend the insured against any "suit''                 the direction of the insured.
                 seeking those damages. However, we will
                 have no duty to defend the Insured                  e. contractual Liability
                 against any "suit" seeking damages for                 aPersonal and advertising injury" for
                 "personal and advertising Injury" to which             which the Insured has assumed liability in
                 this insurance does not apply. We may, at              a contract or agreement. This exclusion
                 our discretion, investigate any offense                does not apply to liability for damages
                 and settle any claim or "suit" that may                that the insured would have in the
                 result But:                                            absence of the contract or agreement.
                (1) The amount we will pay for damages               f. Breach Of Contract
                    Is limited as described in Section Ill -
                    Limits Of Insurance ; and                           "Personal and advertising injury" arising
                                                                        out of a breach of contract.
                (2) Our right and duty to defend end when
                    we have used up the applicable limit            g. Quality Or Performance Of Goods -
                    of insurance in the payment of                      Fallure To Conform To Statements
                    judgments or settlements under                     "Personal and advertising injury'' arising
                    Coverages A or B or medical                        out of the failure of goods, products or
                    expenses under Coverage C.                         services to conform with any statement of
                No other obligation or liability to pay sums           quality or performance made in your
                or perform acts or services is covered                 "advertisement''.
                unless explicitly provided      for under           h. Wrong Description Of Prices
                Supplementary Payments - Coverages
                A and B.                                               "Personal and advertising injury" arising
                                                                       out of the wrong description of the price
             b. This insurance applies to "personal and                of goods, products or services stated In
                advertising injury'' caused by an offense              your "advertisement''.
                arising out of your business but only if the
                offense was committed in the "coverage
                territory" during the policy period.

          06 CGL0098 00 07 ·03    • Includes Copyright Material from Insurance Services Office·        ' Page 7 of 18
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09/26/2005 11:50 AM Case
                    16C3C2:21-cv-01272-TL
                           493


                                          •
                                          Document 1 Filed 09/17/21 Page 81 of 350




               I. Infringement Of Copyright, Patent,
                                                                                             •
                                                                              mold or mildew, and any microtoxins,
                   Trademark Or Trade Secret                                  spores, scents, vapors, gases;"- · bf' ...e.o-.,.:;-
                                                                              byproducts produced or released by
                   "Personal and advertising injury" arising                  fungi, regardless of any other cause,
                   out of the infringement of copyright,                      event, material, product and/or building
                   patent, trademark, trade secret or other                   component that contributed concurrently
                   intellectual property rights.
                                                                              or in any sequence to that liability,
              J.   Insureds In Media And Internet Type                        damage, loss, cost. expense or other type
                   Businesses                                                 of obligation.
                   "Personal   and    advertising  injury"                 o. Employment-Related Practices
                   committed by an insured whose business
                                                                              "Personal and Advertising Injury"
                   is:                                                        arising out of employment-related
                   (1) Advertising, broadcasting, publishing                  practices to:
                       or telecasting;                                        (1) A person arising out of any:
                   (2) Designing or determining content of                          (a) Refusal to employ;
                       web-sites for others; or
                                                                                    (b) Termination    of      a       person's
                   (3) An Internet search, access, content or
                                                                                        employment; or
                       service provider.
                                                                                    (c) Employment-related practices,
                   However, this exclusion does not apply to                            policies, act or omissions,
                   Paragraphs 14.a., b. and c. of "personal                             including but not limited to,
                   and advertising injury'' under Section V -                           coercion, demotion, evaluation,
                   Definitions.                                                         reassignment, discipline,
                   For the purposes of this exclusion, the                              defamation, harassment,
                   placing of frames, borders or links, or                              humiliation or discrimination
                   advertising, for you or others anywhere                              directed at that person; or
                   on the Internet, is not by itself, considered                    ( d) Action under Title VII of the 1964
                   the business of advertising, broadcasting,                            Civil Rights Act and/or any
                   publishing or telecasting.                                            amendments thereto; or
              k. Electronic      Chatrooms       Or    Bulletin               (2) any other person as a consequence
                   Boards                                                         of any injury or damage to that
                   "Personal and advertising injury" arising                      person at whom any of the
                   out of an electronic chatroom or bulletin                      employment-related         practices
                   board the insured hosts, owns, or over                         described in Paragraphs (a), (b), (c)
                   which the insured exercises control.                           or (d) above is directed.
              I. Unauthorized Use Of Another's Name                          This exclusion applies:
                   Or Product                                                (1}      Whether or not the insured may be
                   "Personal and advertising injury" arising                          held liable as an employer or in any
                   out of the unauthorized use of another's                           other capacity; and
                   name or product in your e-mail address,                    (2)     To any obligation to share damages
                   domain name or metatag, or any other                               with or repay someone else who
                   similar tactics to mislead another's                               must pay damages because of any
                   potential customers.                                               such injury.
             m.    Pollution                                               p. Asbestos
                   "Personal and advertising injury" arising                 "Personal    and    advertising    injury'',
                   out of the actual, alleged or threatened                  including but not limited to, compliance
                   discharge, dispersal, seepage, migration,                 with any action authorized or required by
                   release or escape of "pollutants" at any                  law, which arises out of or would not have
                   time.                                                     occurred, in whole or in part, but for the
              n. Fungi, Mold and Mildew                                      "asbestos hazard.•
                   "Personal and advertising injury'' arising                As used in this exclusion, "asbestos
                   out of fungi, including but not limited to,               hazard" means actual, alleged or
                                                                                                               I

           06 CGL0098 oo 01 ·03       • Includes Copyright Material from Insurance Services Office·                Page 8 of 18
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                                         •                                                •
09/26/2005 11:50 AM Case
                    16C3C  493
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 82 of 350




                 threatened exposure to asbestos In any               2. Exclusions
                                                                                                                   i:>.....   ~..:&:~   ;,.,;;-.,.
                 manner or form whatsoever, either
                                                                         We will not pay expenses for "bodily injury":                       ·
                 directly or indirectly, the failure to wam,
                 advise or instruct related to asbestos, the              a. Any Insured
                 failure to prevent exposure to asbestos,
                 or the presence of asbestos in any place                     To any      insured,   except    "volunteer
                 whatsoever, whether or not within a                          workers".
                 building or structure.                                  b. Hired Person
               q.Lead                                                         To a person hired to do work for or on
                 "Personal     and     advertising   injury•i,                behalf of any insured or a tenant of any
                 including but not limited to, compliance                     insured.
                 with any action authorized or required by               c. Injury On Normally Occupied Premises
                 law, which arises out of, In whole or in
                 part, the ingestion, inhalation, absorption                  To a person injured on that part of
                 or exposure to lead, either directly or                      premises you own or rent that the person
                 indirectly, in any manner or form                            normally occupies.
                 whatsoever.                                             d. Workers Compensation And Similar
            COVERAGE C MEDICAL PAYMENTS                                     Laws

            1. Insuring Agreement                                             To a person, whether or not an
                                                                              •employee" of any insured, if benefits for
              a. We will pay     medical expenses as                          the "bodily injury'' are payable or must be
                 described below for "bodily injury" caused                   provided under a workers' compensation
                 by an accident:                                              or disability benefits law or a similar law.
                (1) On premises you own or rent;                         e. Athletics Activities
                (2) On ways next to premises you own or                       To a person injured while taking part in
                    rent; or                                                  athletics.
                (3) Because of your operations;                           f. Products.Completed Operations
                    provided that:                                            Hazard

                    (a)   The accident takes place in the                     Included within the "products-completed
                          "coverage territory'' and during                    operations hazard".
                          the policy period;                             g. Coverage A Exclusions
                    (b)   The expenses are incurred and                       Excluded under Coverage A.
                          reported to us within one year of
                          the date of the accident; and                  h. War
                    (c)   The injured person submits to                       Due to war, whether or not declared, or
                          examination, at our expense, by                     any act or condition incident to war. War
                          physicians of our choice as                         includes civil war, insurrection, rebellion
                          often as we reasonably require.                     or revolution.

              b. We will make these payments regardless                   i. Clubs
                 of fault. These payments will not exceed                     If ycu are a club. to any of your members.
                 the applicable limit of insurance. We will
                 pay reasonable expenses for:                            J.   Medical Expenses
                (1) First aid administered at the time of an                  Arising from or in connection with any
                    accident;                                                 medical expenses for services by you,
                                                                              any of your employees or any person or
                (2) Necessary medical, surgical, x-ray                        organization under a contract to you to
                    and    dental    services, including                      provide such services.
                    prosthetic devices; and
                                                                          k. Fungi, Mold and Mildew
                (3) Necessary        ambulance, hospital,
                    professional     nursing and funeral                      Arising out of fungi, including but not
                    services.                                                 limited to, mold or mildew, and any
                                                                              mlcrotoxlns, spores, scents, vapors,

           06 CGL0098 00 07 ·03      '   Includes Copyright Material from Insurance Services Office·        Page 9 of 18
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                                        •
9/26/200511:50 AM Case
                  16C3C_493
                       2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 83 of 350




                  gases,     or   byproducts   produced    or          d. All reasonable expenses incurred by the .- _ ___ __
                  released by fungi, regardless of any other              insured at our request to assist usitr tltEr ~ A:1> . ;~
                  cause, event, material, product and/or                  investigation or defense of the claim or
                  building component that contributed                     "suit", Including actual loss of earnings up
                  concurrently or in any sequence to that                 to $250 a day because of time off from
                  liability, damage, loss, cost, expense or               work.
                  other type of obligation.
                                                                       e. All costs taxed against the Insured In the
               I. Lead                                                    "suit''.
                  Arising out of, In whole or In part, the             f. Prejudgment interest awarded against the
                  ingestion, Inhalation, absorption or                    insured on that part of the judgment we
                  exposure to lead, either directly or                    pay. If we make an ofter to pay the
                  indirectly, in any manner or fonn                       applicable limit of insurance, we will not
                  whatsoever.                                             pay any prejudgment interest based on
                                                                          that period of time after the offer.
                                                                       g. All interest on the full amount of any
                                                                          judgment that accrues after entry of the
               m. Asbestos                                                judgment and before we have paid,
                                                                          offered to pay, or deposited i n court the
                  Which arises out of or would not have                   part of the judgment that is within the
                  occurred, in whole or in part, but for the              applicable limit of insurance.
                  •asbestos hazard:
                                                                       These payments will not reduce the limits of
                 As used in this exclusion, •asbestos                  Insurance.
                 hazard" means actual, alleged or
                 threatened exposure to asbestos in any            SECTION II - WHO IS AN INSURED
                 manner or fonn whatsoever, either
                                                                   1. If you are designated in the Declarations as:
                 directly or indirectly, the failure to warn,
                 advise or instruct related to asbestos, the           a. An individual, you and your spouse are
                 failure to prevent exposure to asbestos,                 Insureds, but only with respect to the
                 or the presence of asbestos in any place                 conduct of a business of which you are :
                 whatsoever, whether or not within a                      the sole owner.
                 building or structure.
                                                                      b. A partnership or joint venture, you are an
               n.Pollution                                                insured. Your members, your partners,
                                                                          and their spouses are also insureds, but
                 Arising out of the actual, alleged or
                                                                          only with respect to the conduct of your
                 threatened        discharge,   dispersal,
                                                                          business.
                 seepage, migration, release or escape of
                 "pollutants" at any time.                            c. A limited liability company, you are an
                                                                         insured. Your members are also insureds,
          SUPPLEMENTARY PAYMENTS -                                       but only with respect to the conduct of
          COVERAGES A AND B
                                                                         your business. Your managers are
           1. We will pay, with respect to any claim we                  insureds, but only with respect to their
              investigate or settle, or any "suit" against an            duties as your managers.
              insured we defend:
                                                                      d. An organlzatJon other than a partnership,
              a. All expenses we Incur.                                  Joint venture or limited liability company,
                                                                         you are an insured. Your "executive
              b. Up to $250 for cost of bail bonds required              officers" and directors are insureds, but
                 because of accidents or traffic law                     only with respect to their duties as your
                 violations arising out of the use of any                officers or directors. Your stockholders
                 vehicle to which the Bodily Injury Liability            are also insureds, but only with respect to
                 Coverage applies. We do not have to                     their lla~ility as stockholders.
                 furnish these bonds.
                                                                      e. A trust, you are an insured. Your trustees
              c. The cost of bonds            to   release               are also insureds, but only with respect to
                 attachments, but only for bond amounts                  their duties as trustees.
                 within the applicable limit of Insurance.
                 We do not have to furnish these bonds.            2. Each of the following is also an insured:


          06 CGL0098 00 07 ·03      · Includes Copyright Material from Insurance Services Office·     '
                                                                                                      Page 10 of 18
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                                        •
9/26/2005 11 :50 AM Case
                    16C3C2:21-cv-01272-TL
                           493            Document 1 Filed 09/17/21 Page 84 of 350




              a. Your "volunteer workers• only while                    b. Any person (other than your "empjo_ye~" -·- ___ _
                 performing duties related to the conduct                  or   "volunteer   wor1<er"), or :r,,1.;..ai,/·· ·.i:,.,. ·""'-
                 of your business, or your "employees'',                   organization while acting as your real
                 other than either your "executive officers"               estate manager.
                 (if you are an organization other than a
                 partnership, joint venture or limited                  c. Any person or organization having proper
                 liability company) or your managers (if                   temporary custody of your property if you
                 you are a limited liability company}, but                 die, but only:
                 only for acts within the scope of their                  (1) With respect to liability arising out of
                 employment by you or while performing                        the maintenance or use of that
                 duties related to the conduct of your                        property; and
                 business. However, none of these
                 •employees" or "volunteer workers" are                   (2) Until your legal representative has
                 insureds for:                                                been appointed.

                (1) "Bodily   injury" or     "personal   and            d. Your legal representative if you die, but
                    advertising injury":                                   only with respect to duties as such. That
                                                                           representative will have all your rights
                   (a) To you, to your partners or.                        and duties under this policy.
                       members (if you are a partnership
                       or joint venture), to your members           3. With respect to "mobile equipmenr
                       (if you are a limited liability                 registered in your name under any motor
                       company), to a co-"employee•                    vehicle registration law, any person is an
                       while in the course of his or her               Insured while driving such equipment along a
                       employment or performing duties                 public highway with your permission. Any
                       related to the conduct of your                  other person or organization responsible for
                       business, or to your other                      the conduct of such person is also an
                       "volunteer      workers"      while             insured, but only with respect to liability
                       performing duties related to the                arising out of the operation of the equipment,
                       conduct of your business;                       and only if no other insurance of any kind is
                                                                       available to that person or organization for
                   (b) To the spouse. child. parent.                   this liability.· However, no person • or :
                       brother or sister of that co-                   organization is an insured with respect to:
                       hemployeeR or "volunteer worker''
                       as a consequence of Paragraph                   a. "Bodily injury" to a co-•employee" of the
                       (1)(a) above;                                      person driving the equipment; or

                   (c) For which there Is any obligation to            b. "Property damage" to property owned by,
                       share damages with or repay                        rented to, in the charge of or occupied by
                       someone else who must pay                          you or the employer of any person who is
                       damages because of the injury                      an Insured under this provision.
                       described In Paragraphs (1)(a) or            4. Any organization you newly acquire or form,
                       (b) above; or                                   other than a partnership, joint venture or
                   (d) Arising out of his or her providing             limited liability company, and over which you
                       or falling to provide professional              maintain ownership or majority Interest, will
                       health care services.                           qualify as a Named Insured if there is no
                                                                       other similar Insurance available to that
                (2) "Property damage" to property:                     organiZatlon. However:
                   (a) Owned, occupied or used by,                     a. Coverage under this provision is afforded
                   (b) Rented to, in the care, custody or                 only untll the 90th day after you acquire
                       control of, or over which physical                 or form the organization or the end of the
                       control Is being exercised for any                 policy period, whichever is earlier;
                       purpose by                                      b. Coverage A does not apply to "bodily
                   you, any of your "employees",                          injury" or "property damage• that occurred
                   "volunteer workers", any partner or                    before you acquired or formed the
                   member (if you are a partnership or                    organization; and
                   joint venture), or any member (if you               c. Coverage B does not apply to "personal
                   are a limited liability company).                      and advertising injury" arising out of an .


           06 CGL0098 00 07·03    '.   Includes Copyright Material from Insurance Services Office·
                                                                                                           .
                                                                                                           Page 11 of 18
                                                          With its Permission.
                                          •                                              •
;09/26/2005 11:50 AM Case
                     16C3C  493
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 85 of 350




                   offense committed before you acquired or             you or temporarily occupied by you with
                   formed the organization.                             permission of the owner.                 •:i-~ •in -~ 0 ~-~wii;;;

            No person or organization is an Insured with             7. Subject to Paragraph 5. above, the Medical
            respect to the conduct of any current or past.              Expense Limit is the most we will pay under
            partnership, joint venture or limited liability             Coverage C for all medical expenses
            company that is not shown as a Named Insured                because of "bodily injury'' sustained by any
            in the Declarations.                                        one person.
            SECTION Ill - LIMITS OF INSURANCE                        The Limits of Insurance apply to the policy
                                                                     'period set forth in the Declarations or any
            1. The Limits of Insurance shown In the                  endorsements thereto.
               Declarations and the rules below fix the most
               we will pay regardless of the number ot
               a. Insureds;
               b. Claims made or "suits" brought; or                 SECTION IV - COMMERCIAL GENERAL
                                                                     LIABILITY CONDITIONS
               c. Persons or organizations making claims
                  or bringing "suits".                               1. Bankruptcy
            2. The General Aggregate Limit is the most we               Bankruptcy or insolvency of the insured or of
               will pay for the sum of:                                 the insured's estate will not relieve us of our
                                                                        obligations under this policy.
               a. Medical expenses under Coverage C:
                                                                     2. Duties In The Event Of Occurrence,
               b. Damages under Coverage A, except
                                                                        Offense, Claim Or Suit
                  damages because of "bodily injury" or
                  "property damage" included in the                     a.    You must see to it that we are notified as
                  "products-completed operations hazard";                     soon as practicable of an "occurrence0 or
                  and                                                         an offense which may result in a claim.
                                                                              To the extent possible, notice should
               c. Damages under Coverage B.                                   include:
            3. The       Products-Completed       Operations
                                                                             (1) How,    when      and     where     the
               Aggregate Limit is the most we will pay under
                                                                                 •occurrence" or offense took place;
               Coverage A for damages because of "bodily
               injury" and "property damage" included in the                 (2) The names and addresses of any
               "products-completed operations hazard".                           injured persons and witnesses; and
            4. Subject to Paragraph 2. above, the Personal                   (3) The nature and location of any injury
               and Advertising Injury Limit is the most we                       or damage arising out of the
               will pay under Coverage B for the sum of all                      "occurrence" or offense.
               damages because of all "personal and
               advertising injury" sustained by any one                 Notice of an "occurrenceu or an offense is
               person or organization.                                  not notice of a claim.

            5. Subject to Paragraphs 2. or 3. above,                    b. If a claim is made or "suit" is brought
               whichever applies, the Each Occurrence                        against any insured, you must:
               Limit is the most we will pay for the sum of:                 (1) Immediately record the specifics of the
               a. Damages under Coverage A; and                                  claim or "suir" and the date received;
                                                                                 and
               b. Medical expenses under Coverage C
                                                                             (2) Notify us as soon as practicable.
               because of all "bodily injury" and "property
               damage'' arising out of any one "occurrence".                 You must see to it that we receive written
                                                                             notice of the claim or "suit'' as soon as
            6. Subject to Paragraph 5. above, the Damage                     practi~ble.
               To Premises Rented To You Limit is the
               most we will pay under Coverage A for                   c. You and any other involved insured must:
               damages because of "property damage" to                       (1) Immediately send us copies of any
               any one premises, while rented to you, or in                      demands, notices, summonses or
               the case of damage by fire, while rented to                       legal papers received in connection
                                                                                 with the claim or "suit";


            06 CGL0098 00 07 ·03     • Includes Copyright Material from Insurance Services Office·        '
                                                                                                          Page 12 of 18
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                                           •                                              •
09/26/2005 11:50 AM Case
                    16C3C  493
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 86 of 350




                    (2) Authorize us to obtain records and                      compute the earned premium for that
                        other information;                                      period and send notice to the first ~i8··:~-i> .. ~
                                                                                Insured. The due date for audit and
                    (3) Cooperate with us in the investigation
                                                                                retrospective premiums is the date shown
                        or settlement of the claim or defense
                                                                                as the due date on the bill. If the sum of
                        against the "suit"; and
                                                                                the advance and audit premiums paid for
                    (4) Assist us, upon our request, in the                     the policy period is greater than the
                        enforcement of any right against any                    earned premium, we will return the
                        person or organization which may be                     excess to the first Named Insured.
                        liable to the insured because of injury
                                                                           c. The first Named Insured must keep
                        or damage to which this insurance
                                                                              records of the information we need for
                        may also apply.
                                                                              premium computation, and send us
               d. No insured will, except at that insured's                   copies at such times as we may request
                    own cost, voluntarily make a_ payment,
                    assume any obligation, or incur any
                    expense, other than for first aid, without         6. Representations
                    our consent.
                                                                           By accepting this policy, you agree:
            3. Legal Action Against Us
                                                                           a.   The statements in the Declarations are
               No person or organization has a right under                      accurate and complete;
               this policy:
                                                                           b. Those statements are based upon
               a.   To join us as a party or otherwise bring us               representations you made to us; and
                    into a "suit'' asking for damages from an
                    insured; or                                            c. We have issued this policy in reliance
                                                                                upon your representations.
               b. To sue us on this policy unless all of its
                  terms have been fully complied with.                 7. Separation Of Insureds

              A person or organization may sue us to                      Except with respect to the Limits of
              recover on an agreed settlement or on a final               Insurance, and any rights or duties
              judgment against an insured; but we will not                specifically assigned in this policy to the first:
              be liable for damages that are not payable                  Named Insured, this insurance applies:
              under the terms of this policy or that are in               a. As if each Named Insured were the only
              excess of the applicable limit of insurance.                      Named Insured; and
              An agreed settlement means a settlement
              and release of liability signed by us, the                  b. Separately to each insured against whom
              insured and the claimant or the claimant's                     claim is made or "suit" is brought.
              legal representative.                                    8. Transfer Of Rights Of Recovery Against
            4. Other Insurance                                            Others To Us

              This insurance is excess over any other valid               If the insured has rights to recover all or part
              and collectible insurance that applies to any               of any payment we have made under this
              claim or "suit' to which this insurance applies,            policy, those rights are transferred to us. The
              whether such other insurance is written on a                insured must do nothing after loss to impair
              primary, excess,. contingent or on any other                our rights. At our request, the insured will
              basis (except if that other insurance is                    bring •suit" or transfer those rights to us and
              specifically written to apply excess of this                help us enforce them.
              insurance), and this insurance will not                  9. When We Do Not Renew
              contribute with any other such insurance.
                                                                          If we decide not to renew this policy, we will
           5. Premium Audit                                               mail or deliver to the first Named Insured
              a. We will compute all premiums for this                    shown in the Declarations written notice of
                    policy in accordance with our rules and               the nonrenewal not less than 30 days before
                    rates.                                                the expiration date.

              b. Premium shown in this policy as advance                  If notice is mailed, proof of mailing will be
                    premium is a deposit premium only. At                 sufficient proof of notice,
                    the close of each audit period we will             10. Cancellation


           06 CGL0098 00 07 ·03       '   Includes Copyright Material from Insurance Services Office·        Page 13 of 18 ·
                                                             With its Permission.
09/26/2005 11:50 AM Case
                    16C3C2:21-cv-01272-TL
                           493


                                         •Document 1 Filed 09/17/21 Page 87 of 350




                a. The First Named Insured shown in the
                                                                                             •
                                                                           a. The First Named Insured is authorized to
                   Declarations may cancel this policy by                     act on behalf of all persoritf W .;a.-~iiii5
                   mailing or delivering to us advance                        organizations insured under this policy
                   written notice of cancellation.                            with respect to all matters pertaining to
                                                                              the insurance afforded by the policy.
                b. We may cancel this policy by mailing or
                  delivering to the First Named Insured                    b. Each Named Insured is jointly and
                  written notice of cancellation at least:                       severally liable for:
                 (1)   10 days before the effective date of                (1)        All premiums due under this policy;
                       cancellation if we cancel for non~                             and
                       payment of premium; or
                                                                           (2)        All obligations that arise due to the
                 (2)   30 days before the effective date of                           self-insured retention Including claim
                       cancellation if we cancel for any                              expenses
                       other reason.
                                                                           (3) .      Any other financial obligations of the
               c. We will mail or deliver our notice to the                           Named Insured to us arising out of
                  First Named Jnsured's          last   mailing                       any agreements contained in this
                  address known to us.                                                policy.
               d. Notice of cancellation will state the              14.     Transfer of Your Rights and Duties
                  effective date of cancellation. The policy                  under this policy
                  period will end on that date.
                                                                             Your rights and duties under this policy
               e. If this policy is cancelled, we will send the              may not be transferred without our written
                  First Named Insured any premium refund                     consent, except in the case of death to an
                  due. If we cancel, the refund will be pro                  individual Named Insured.
                  rata. If the First Named Insured cancels,
                  the refund may be less than pro rata.                      If you die, your rights and duties will be
                                                                             transferred to your legal representative
                  The cancellation will be effective even if
                                                                             but only within the scope of duties as your
                  we have not made or offered a refund.
                                                                             legal representative.      Until your legal
               f. If notice is mailed, proof of mailing will be              representative is appointed, anyone :
                  sufficient proof of notice.                                having proper temporary custody of your
                                                                             property will have your rights and duties
            11. Changes                                                      but only with respect to that property.
                 This policy contains all agreements
                                                                     SECTION V - DEFINITIONS
                 between you and us concerning the
                 insurance afforded. This policy's terms             1. "Advertisement" means a notice that is
                 can be amended or waived only by                       broadcast or published to the general public
                 endorsement issued by us and made a                    or specific market segments about your
                 part of this policy.                                   goods, products or services for the purpose
                                                                        of attracting customers or supporters. For the
            12. Inspection                                              purposes of this definition:
                 We shall be permitted but not obligated to
                                                                           a. Notices that are published include
                 inspect, sample and monitor on a
                                                                              material placed on the Internet or on
                 continuing basis the insured's property or
                                                                              similar     electronic  means       of
                 operations, at any time. Neither our right
                                                                              communication; and
                 to make inspections, sample and monitor
                 nor the actual undertaking thereof nor any             b. Regarding web-sites, only that part of a
                 report thereon shall constitute an                        web-site that is about your goods,
                 undertaking, on behalf of the insured or                  products or services for the purposes of
                 others, or determine or warrant that                      attracting customers or supporters is
                 property or operations are safe, healthful                considered an advertisement.
                 or confonn to acceptable engineering
                 practice or are in compliance with any law,         2. "Auto" means a land motor vehicle, trailer or
                                                                        semitrailer designed for travel on public
                 rule or regulation.
                                                                        roads, including any attached machinery or
            13. Named Insureds                                          equipment. But "auto" does not include
                                                                        "mobile equipment''.


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            06 CGL0098 00 01·03     '   Includes Copyright Material from Insurance Services Office·          Page 14 of 18
                                                           With its Permission.
09/26/2005 11:50 AM Case
                    16C3C  493
                         2:21-cv-01272-TL

                                         •Document 1 Filed 09/17/21 Page 88 of 350




            3. "Bodily injury" means bodily injury, sickness             a.
                                                                                         •
                                                                               The repair, replacement, adjustmeot ..9I _______ _
               or disease sustained by a person, including                     removal of "your product" or "your~~ •-.:=:t>-,.-MJ.,
               death resulting from any of these at any time.                  or
            4. "Coverage territory" means:                               b. Your fulfilling the terms of the contract or
                                                                               agreement.
               a. The United States of America (including
                     its territories and possessions), Puerto         9. "Insured contract'' means:
                     Rico and Canada;
                                                                         a. A written contract for a lease of premises.
               b. International waters or airspace, but only                   However, that portion of the written
                     if the injury or damage occurs in the                     contract for a lease of premises that
                     course of travel or transportation between                indemnifies any person or organization
                     any places included in Paragraph a.                       for damage by fire to premises while
                     above; or                                                 rented to you or temporarily occupied by
                                                                               you with permission of the owner is not
               c. All other parts of the world if the injury or
                                                                               an "insured contract'';
                  damage arises out of:
                                                                         b. A written sidetrack agreement;
                    (1) Goods or products made or sold by
                        you in the territory described in                c.    Any easement or license agreement,
                        Paragraph a. above;                                    except in connection with construction or
                                                                               demolition operations on or within 50 feet
                    (2) The activities of a person whose home
                                                                               of a railroad;
                       . is in the territory described in
                         Paragraph a. above, but is away for a           d. An obligation, as required by ordinance,
                         short time on your business; or                    to indemnify a municipality, except in
                                                                               connection with work for a municipality;
                    (3) "Personal and advertising injury"
                        offenses that take place through the             e. A       written     elevator     maintenance
                        Internet or similar electronic means of                agreement;
                        communication
                                                                         f. That part of any other written contract or
               provided the insured's responsibility to pay                   written agreement pertaining to .your.
               damages is determined in a "suit'' on the                      business (including an indemnification of ·
               merits, in the territory described in                          a municipality in connection with work
               Paragraph a. above or in a settlement we·                      performed for a municipality) under which
               agree to.                                                      you assume the tort liability of another
                                                                              party to pay for "bodily injury'' or "property
            5. "Employee" includes a "leased worker''.
                                                                              damage"      to    a   third     person     or
               "Employee" does not include a "temporary
                                                                              organization. Tort liability means a liability
               worker''.
                                                                              that would be imposed by law in the
            6. •executive officer'' means a person holding                    absence of any written contract or written
               any of the officer positions created by your                   agreement
               charter, constitution, by-laws or any other
                                                                              Paragraph f. does not Include that part of
               similar governing document.
                                                                              any written contract or written agreement:
            7. "Hostile fire" means one which becomes
                                                                              (1) That indemnifies a railroad for "bodily
               uncontrollable or breaks out from where it
                                                                                  injury" or "property damage" arising
               was intended to be.
                                                                                  out of construction or demolition
            8. "Impaired property" means tangible property,                       operations, within 50 feet of any
               other than "your product'' or "your work", that                    railroad property and affecting any
               cannot be used or is less useful because:                          railroad bridge or trestle, tracks, road-
                                                                                  beds, tunnel, underpass or crossing;
               a.   It incorporates "your product'' or "your
                    work" that is known or thought to be                      (2) That   indemnifies    an architect,
                    defective,   deficient, inadequate    or                      engineer or surveyor for injury or
                    dangerous; or                                                 damage arising out ot
               b. You have failed to fulfill the terms of a                      (a) Preparing, approving, or failing to
                  contract or agreement;                                             prepare or approve, maps, shop
                                                                                     drawings,    opinions,     reports,
               if such property can be restored to use by:                           surveys, field orders, change

           06 CGL0098 00 01·03        • Includes Copyright Material from Insurance Services Office·         '
                                                                                                            Page 15 of 18
                                                           With its Permission.
09/26/2005 11:50 AM Case
                    16C3C_ 493
                         2:21-cv-01272-TL




                           orders      or
                                          •
                                          Document 1 Filed 09/17/21 Page 89 of 350




                                              drawings       and
                                                                                         •
                                                                            (2) Road construction or resurft!c!IJ9_ _ _ _ --•·
                           specifications; or                                   equipment such as graders, scl'::tpe'ffi'· - - • -
                       (b) Giving directions or instructions, or                or roll~rs;
                           failing to give them, if that is the          e. Vehicles not described in Paragraphs a.,
                           primary cause of the injury or                   b., c. or d. above that are not self-
                           damage; or                                       propelled and are maintained primarily to
                                                                            provide mobility to permanently attached
                    (3) Under which the insured, if an
                                                                            equipment of the following types:
                        architect, engineer or surveyor,
                        assumes liability for an injury or                  (1) Air    compressors,      pumps    and
                        damage arising out of the insured's                     generators,      including   spraying,
                        rendering or failure to render                          welding,        building     cleaning,
                        professional services, including those                  geophysical exploration, lighting and
                        listed in Paragraph (2) above or                        well servicing equipment; or
                        supervisory, inspection, architectural
                        or engineering activities.                          (2)' Cherry pickers and similar devices
                                                                                 used to raise or lower workers;
            10. "Leased worker'' means a person leased to
                you by a labor leasing firm under an                     f. Vehicles not described in Paragraphs a.,
                agreement between you and the labor                         b., c. or d .. above maintained primarily for
                leasing firm, to perform duties related to the              purposes other than the transportation of
                conduct of your business. "Leased worker''                  persons or cargo.
                does not include a "temporary worker''.                     However, self-propelled vehicles with the
            11."Loading or unloading" means the handling                    following types of permanently attached
               of property:                                                 equipment are not "mobile equipment''
                                                                            but will be considered "autos":
               a. After it is moved from the place where it is
                    accepted for movement into or onto an                  (1) Equipment designed primarily for:
                    aircraft, watercraft or "auto";                            (a) Snow removal;
               b. While it is in or on an aircraft, watercraft                 (b) Road     maintenance,     but not .
                  or "auto"; or                                                    construction or resurfacing; or
               c. While it is being moved from an aircraft,                    (c) Street cleaning;
                    watercraft or "auto" to the place where it
                    is finally delivered;                                  (2) Cherry pickers and similar devices
                                                                               mounted on automobile or truck
              but "loading or unloading" does not include                      chassis and used to raise or lower
              the movement of property by means of a                           workers; and
              mechanical device, other than a hand truck,
              that is not attached to the aircraft, watercraft             (3) Air    compressors,       pumps    and
              or"auto".                                                        generators,      including    spraying,
                                                                               welding,        building      cleaning,
           12. "Mobile equipment'' means any of the                            geophysical exploration, lighting and
               following types of land vehicles, including                     well servicing equipment
               any attached machinery or equipment:
                                                                     13. "Occurrence" means an accident, including
               a.   Bulldozers, farm machinery, forklifts and            continuous or repeated exposure to
                    other vehicles designed for use principally          substantially the same general harmful
                    off public roads;                                    conditions.
               b. Vehicles maintained fo'r use solely on or          14, "Personal and advertising injury'' means
                    next to premises you own or rent;                    injury, including consequential "bodily injury'',
               c. Vehicles that travel on crawler treads;                arising out of one or more of the following
                                                                         offenses:
              d. Vehicles, whether self-propelled or not,
                 maintained primarily to provide mobility to            a. False arrest, detention or imprisonment;
                 permanently mounted:                                   b. Malicious prosecution;
                    (1) Power cranes, shovels,          loaders,        c. The wrongful eviction from, wrongful entry
                        diggers or drills; or                              into, or invasion of the right of private .
                                                                           occupancy of a room, dwelling or

           06 CGL0098 00 07 ·03         Includes Copyright Material from Insurance Services Office·        '
                                                                                                           Page 16 of 18
                                                           With its.Permission.
09/26/2005 11:50 AM Case


                                       •
                    16C3C2:21-cv-01272-TL
                           493            Document 1 Filed 09/17/21 Page 90 of 350




                 premises that a person occupies,
                                                                                         •
                                                                                      contractor    or    subcontractor
                 committed by or on behalf of its owner,                              working on the same projecf'l!to~ ,,_., __ ~ 0 · · -
                 landlord or lessor;
                                                                                   Work that may need service,
              d. Oral or written publication, in any manner,                       maintenance, correction, repair or
                 of material that slanders or libels a person                      replacement, but which is otherwise
                 or organization or disparages a person's                          complete,   will  be   treated   as
                 or organization's goods, products or                              completed.
                 services;
                                                                          b. This does not include "bodily injury" or
              e. Oral or written publication of material, in                 "property damage" arising out of:
                 any manner, that violates a person's right
                                                                            (1) The transportation of property, unless
                 of privacy;
                                                                                 the injury or damage arises out of a
               f, The use of another's advertising idea in                       condition in or on a vehicle not owned
                  your "advertisement''; or                                      or operated by you, and that condition
                                                                               · was created by the "loading or
              g. Infringing upon another's copyright, trade                      unloading" of that vehicle by any
                 dress or slogan in your "advertisement".                        insured;                 ·
               All "personal and advertising injury" arising                (2) The existence of tools, uninstalled
               out of the same or similar material,                             equipment or abandoned or unused
               regardless of the mode in which such
                                                                                materials; or
               material is communicated, including but not
               limited to publication by means of Internet,                 (3) Products or operations for which the
               extra-net, email or website, will be                                classification,   listed     in   the
               considered as arising solely out of one                             Declarations or in a policy schedule,
               offense.                                                            states      that   products-completed
                                                                                   operations are subject to the General
           15. "Pollutants" mean any solid, liquid, gaseous                        Aggregate Limit.
              or thermal irritant or contaminant, including
              smoke, vapor, soot, fumes, acids, alkalis,              17. ·Property damage" means:
              chemicals and waste. Waste includes
              materials to be recycled, reconditioned or
                                                                          a. Physical injury to tangible property, :
                                                                             including all resulting loss of use of that
              reclaimed.
                                                                             property. All such loss of use shall be
           16. "Products-completed     operations    hazard"                 deemed to occur at the time of the
               means:                                                        physical injury that caused it; or
              a. All "bodily injury'' and "property damage"              b. Loss of use of tangible property that is not
                 occurring away from premises you own or                    physically injured. All such loss of use
                 rent and arising out of "your product'' or                 shall be deemed to occur at the time of
                 "your work" except:                                        the "occurrence" that caused it
                (1) Products that are still in your physical             For the purposes of this insurance, electronic
                    possession; or                                       data is not tangible property.
                (2) Work that has not yet been completed                 As used in this definition, electronic data
                    or abandoned. However, "your work"                   means information, facts or programs stored
                    will be deemed completed at the                      as or on, created or used on, or transmitted
                    earliest of the following times:                     to or from computer software, including
                                                                         systems and applications software, hard or
                    (a) When all of the work called for in
                                                                         floppy disks, CD-ROMS, tapes, drives, ce[ls,
                        your contract has been completed.
                                                                         data processing devices or any other media
                    (b) When all of the work to be done at               which are used with electronically controlled
                        the job site has been completed if               equipment.
                        your contract calls for work at more          18, "Suit'' means a civil proceeding in which
                        than one job site.                               damages because of "bodily injury",
                    (c) When that part of the work done at               0
                                                                           property damage" or "personal and
                        a job site has been put to its                   advertising injury" to which this insurance
                        intended use by any person or                    applies are alleged. "Suit'' includes:
                        organization other than another

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           06 CGL0098 00 07"03       ' Includes Copyright Material from Insurance Services Office·           Page 17 of 18
                                                            With its Permission.
09/26/2005 11:50 AM Case
                    16C3C  493


                                        •
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 91 of 350




               a. An arbitration proceeding in which such
                                                                                      •
                                                                          (2) Materials,   parts  or  equiprr,ent __ _ _ __ _
                  damages are claimed and to which the                        furnished in connection with~ucfi"-~~b - - ~
                  insured must submit or does submit with                     work or operations.
                  our consent; or
                                                                        b, Includes
               b. Any other alternative dispute resolution
                  proceeding in which such damages are                    (1) Warranties or representations made at
                  claimed and to which the insured submits                    any time with respect to the fitness,
                  with our consent.                                           quality, durability, performance or use
                                                                              of "your work", and
            19."Temporary worker'' means a person who is
               furnished to you to substitute for a                        (2) The providing of or failure to provide
               permanent "employee" on leave or to meet                        warnings or instructions.
               seasonal or short-term workload conditions.
            20. "Volunteer worker'' means a person who is
               not your "employee", and who donates his or
               her work and acts at the direction of and
               within the scope of duties determined by you,
               and is not paid a fee, salary or other
               compensation by you or anyone else for their
               work performed for you.
            21."Your product":
               a. Means:
                 (1) Any goods or products, other than real
                     property,      manufactured,      sold,
                     handled, distributed or disposed of by:
                     (a) You:
                    (b) Others trading under your name; or
                     (c) A person or organization whose
                         business or assets you have
                         acquired; and
                 (2) Containers (other than vehicles),
                     materials,   parts or   equipment
                     furnished in connection with such
                     goods or products.
               b. Includes
                 (1) Warranties or representations made at
                     any time with respect to the fitness,
                     quality, durability, performance or use
                     of "your product''; and
                 (2) The providing of or failure to provide
                     warnings or instructions.
               c. Does not include vending machines or
                  other property rented to or located for the
                  use of others but not sold.
           22. "Your work":
              a. Means:
                 (1) Work or operations performed by you
                     or on your behalf: and



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           06 CGL0098 00 07 ·03        Includes Copyright Material from Insurance Services Office·    Page 18 of 18
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09/26/2005 11:50 AM Case
                    16C3C_ 493
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 92 of 350




                                            ~~Arch
                                             Insurance Group

                                                           .
                                                Signature Page


            YOUR COMPLETE POLICY CONSISTS OF THE POLICY JACKET WITH THE
            COVERAGE FORMS, DECLARATIONS, AND ENDORSEMENTS, IFANY.


            IN WITNESS WHEREOF, Arch Specialty Insurance Company has caused this policy to
            be executed and attested, and, if required by state law, this policy shall not be valid
            unless countersigned by a duly authorized representative of the company.




            Ralph E. Jones Ill                              Martin J. Nilsen
            President                                       Secretary




           06 ML0002 00 07 03
09/26/2005 11:50 AM Case
                    16C3C_ 493
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 93 of 350




                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                                        SERVICE OF SUIT


         It is agreed that in the event of the failure of this Company to pay any amount claimed to be due hereunder, this
         Company, at the request of the Insured, will submit to the jurisdiction of any Court of Competent Jurisdiction within
         the United States and will comply with all requirements necessary to give such Court jurisdiction and all matters
         arising hereunder shall be determined in accordance with the law and practice of such Court.

         It is further agreed that service of process in such suit may be made upon the highest one in authority bearing the
         title ·commissioner", "Director" or •superintendenr of Insurance of the state or commonwealth wherein the
         property covered by this policy is located, and that in any suit instituted against it upon this contract this Company
         will abide by the final decision of such Court or any Appellate Court in the event of an appeal. The one in authority
         bearing the title ·commissioner", *Director- or •superintendenr of Insurance of the state or commonwealth
         wherein the property covered by this policy is located is hereby authorized and directed to accept seNice of
         process on behalf of this Company In any such suit and/or upon the lnsured's request to give a written undertaking
         to the Insured that they will enter a general appearance upon this Company's behalf in the event such a suit shall
         be instituted.



         All other terms and conditions of this policy remain unchanged.




        This endorsement is effective on the inception date of this policy unless otherwise stated herein.
        (The information below is required only when this endorsement Is issued subsequent to preparation of the policy.)

        Policy Number: 72DPC1446801

        Named Insured:

        Endorsement Effective Date:




        02 Ml 0003 00 08 02
9/26/2005 11:50 AM Case
                   16C3C  493
                        2:21-cv-01272-TL

                                        •Document 1 Filed 09/17/21 Page 94 of 350

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                      BLANKET ADDITIONAL INSURED- DEDUCTIBLE POLICY VERSION
                                                                                                                       -~ -~--..   -~~;,
           SECTION II - WHO IS AN INSURED is amended to include as an insured the person or organization as an
           insured where required by contract but only with respect to liability arising out of your operations or premises
           owned by or rented to you, or your work.

           All other terms and conditions of this policy remain unchanged.




          Endorsement Number: 1
          This endorsement is effective on the inception date of this policy unless otherwise stated herein.
          {The information below is required only when this endorsement is issued subsequent to preparation of the
          policy.)
          Policy Number: 72DPC1446801
          Named Insured:
          Endorsement Effective Date:


          02 CGL0108 00 09 03                                                                                     Page 1 of 1
09/26/2005 11:50 AM Case
                    16C3C  493


                                        •
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 95 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY. _______ _
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                     OTHER INSURANCE - BROAD FORM, CGL POLICY ENDORSEMENT

            It is hereby agreed that the following paragraph is added to Section IV, Commercial General Liability
            Conditions, Item 4:

                Where the named insured is required by a written contract to provide insurance that is primary and
                non-contributory, and the written contract so requiring is executed by the named insured before any
                loss, this insurance will be primary, but only if and to the extent required by that written contract.

            This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
            otherwise subject to all other terms of the policy.

            All other terms and conditions of this Policy remain unchanged.




           Endorsement Number: 2
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:


           00 CGL0130 00 01 04                                                                              Page 1 of 1
09/26/2005 11:50 AM Case
                    16C3C  493


                                        •
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 96 of 350

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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL_~:~s.,;~_.-,,.;.--5

                     WAIVER OF SUBROGATION ENDORSEMENT DEDUCTIBLE POLICY

            This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                           SCHEDUl'..E

             Name of Person or Organization:         Where required by written contract.


            (If no entry appears above, information required to complete this endorsement will be shown in the Decla-
            rations as applicable to this endorsement.)

            The TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US Condition (Section IV - COM-
            MERCIAL GENERAL LIABILITY CONDITIONS) is amended by the addition of the following:

            We waive any right of recovery we may have against the person or organization shown in the Schedule
            above because of payments we make for injury or damage arising out of your operations or your work
            done under a written contract with that person or organization.

           All other terms and conditions of this Policy remain unchanged.




           Endorsement Number. 3
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:

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09/26/2005 11:50 AM Case
                    16C3C  493


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                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 97 of 350

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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFU~,bl~,ii,-~~~,..::abi.+a

                                               CROSS SUITS EXCLUSION

            This insurance does not apply to and we will not have the duty to investigate or defend any suit brought
            against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
            or loss arising out of: damages of one Named Insured against another Named Insured.

            All other terms and conditions of this Policy remain unchanged.




           Endorsement Number: 4
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:


           00 CGL0007 00 05 04                                                                             Page 1 of 1
                                          •
9/26/2005 11 :50 AM Case
                    16C3C2:21-cv-01272-TL
                          _ 493           Document 1 Filed 09/17/21 Page 98 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULt.¥;. .•~~. ~ .~w iia
                                          INTELLECTUAL PROPERTY EXCLUSION
           This insurance does not apply to and we will not have the duty to Investigate or defend any suit brought against
           you, or pay any costs or expenses of such investigation and defense for liability, claims, damage or loss arising
           outot

           any "bodily injury", •property damage", or "personal and advertising injury" arising out ot or directly or indirectly
           related to the actual or alleged publication or utterance or oral or written statements which are claimed as an
           infringement. violation or defense of any of the following rights or laws:

           1. copyright, other than infringement of copyrighted advertising materials;
           2. patent;
           3. · trade secrets;
           4. trade dress; or
           5. trade mark or service mark or certification mark or collective mark or trade name, other than trademanced or
                service marked titles or slogans.
           All other lelTTIS and conditions of this policy remain unchanged.




           Endorsement Number.5
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           [The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)

           Policy Number: 72OPC1446801

           Named Insured:

           Endorsement Effective Date:


           02 CGL0018 00 10 02
09/26/2005 11:50 AM 16C3C_ 493


                                        •
                    Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 99 of 350

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              THIS ENDORSEMENT CHANGES THE P(?LICY. PLEASE READ IT CAREFUL,b,Y'.~4",.;~.~•iA

                                           MEDICAL PAYMENTS EXCLUSION

            It is hereby agreed that Section I, Coverages, is amended to delete Coverage C Medical Payments.


            All other terms and conditions of this Policy remain unchanged.
                                                                     I




            Endorsement Number:6
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: 72DPC1446801
            Named Insured:
            Endorsement Effective Date:



            00 CGL0101 00 07 03                                                                        Page 1 of 1
09/26/2005 11:50 AMCase
                    16C3C  493
                        2:21-cv-01272-TL

                                        •Document 1 Filed 09/17/21 Page 100 of 350




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY._
                                                                                       •
                                                                                      _ _______
                                                                       ..:~'-=- ,.....,:..> . .:=:-o,...                 ~




                          RESIDENTIAL AND RESIDENTIAL CONVERSION EXCLUSION
            This insurance does not apply to and we will not have the duty to investigate or defend any suit brought
            against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
            or loss arising out of:                                       ·

                1.    the construction, in whole or in part, or existen~ of a non-commercial dwelling or residence;
                      or,

                2.    the construction of any building, in whole or in part, which has been converted to a non-
                      commercial dwelling or residence, at any time after the inception date of this insurance policy.

                For purposes of thls endorsement, non-commercial dwellings or residences shall include, but are not
                limited to, homes, cooperatives, town homes, lofts and condominiums.

            However, this exclusion does not apply to the construction, management or ownership of apartment
            buildings, hotels or motels by you.

            All other terms and conditions of this Policy remain unchanged.




           Endorsement Number: 7
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Polic;:y Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:


           00 CGL0080 00 06 04                                                                             Page 1 of 1
9/26/2005 11 :50 AM Case
                    16C3C_  493


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                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 101 of 350




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFU~!-X~~..::~.~
                                                                                      •
                               EARTH MOVEMENT OR SUBSIDENCE EXCLUSION
           This insurance does not apply to and we will not have the duty to investigate or defend any suit brought
           against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
           or loss arlsing out of:

           the subsidence, settling, sinking, slipping, falling away, caving in, shifting, eroding, consolidating,
           compacting, flowing, rising, tilting or any other similar movement of earth or mud, regardless of whether
           such movement is a naturally occurring phenomena or is man-made.

           All other terms and conditions of this policy remain unchanged.




           Endorsement Number: 8
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:



           02 CGL0011 00 10 02                                                                             Page 1 of 1
09/26/2005 11:50 AM Case
                    16C3C   493
                         2:21-cv-01272-TL


                                          •
                                          Document 1 Filed 09/17/21 Page 102 of 350

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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY4 . __ __ __ _____

                                                     WRAP-UP EXCLUSION
                                                                                                                      ~---.,--   ..~

            This insurance does not apply to and we will not have the duty to investigate or defend any suit brought against
            you, or pay any costs or expenses of such investigation and defense for Hability, claims, damage or loss arising
            out of:

            wrap-ups, owner controlled insurance program, contractor controlled insurance programs, or similar rating
            program.

            All other terms and conditions of this policy remain unchanged.




            Endorsement Number:9
            This endorsement is effective on the inception date of this poUcy unless otherwise stated herein.
            (The information below is required only when this endorsement Is issued subsequent to preparation of the
            policy.)

            Policy Number: 72DPC1446801

            Named Insured:

            Endorsement Effective Date:


            00 CGL0041 00 12 02
09/26/2005 11:50 AMCase
                    16C3C  493
                        2:21-cv-01272-TL

                                          •
                                         Document 1 Filed 09/17/21 Page 103 of 350

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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULL}'~ .~~ ..~6 . - ~

                                        ENGINEERS, ARCHITECTS OR
                                SURVEYORS PROFESSIONAL LIABILITY EXCLUSION
            This endorsement modifies insurance provided under the following:

                   COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                        I




            The following exclusion is added to Paragraph 2.,          Professional services include:
            Exclusions of Section I - Coverage A - Bodily              1. The preparing, approving, or failing to prepare or
            Injury And Property Damage Liability and Para-                 approve, maps, shop drawings, opinions, re.
            graph 2., Exclusions of Section I - Coverage B -               ports, .suiveys, field orders, change orders or
            Personal And Advertising Injury Liability:                     d~ngs and specifications: and
            This insurance does not apply to "bodily injury'',         2. Supervisory, inspection, architectural or engi-
            "property damage" or "personal and advertising                 neering activities.
            injury" arising out of the rendering of or faHure to
            render any professional services by you or any engi-
            neer, architect or surveyor who is either employed by
            y_ou or performing work on your behalf in such capac-
            ity.

            All other terms and conditions of this policy remain unchanged.




           Endorsement Number:1 O
           This endorsement is effective on the inception date of this poUcy unless otherwise stated herein.
           (The information below Is required only when this endorsement is issued subsequent to preparation of the pol-
           icy.)

           Policy Number: 72DPC1446801

           Named Insured:

           Endorsement Effective Date:


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09/26/2005 11:50 AMCase
                   16C3C_  493
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 104 of 350



                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                            EXTERIOR INS ULATJON AND FINISH SYSTEM EXCLUSION
            This .insurance does not apply to and we will not have the duty to investigate or defend any suit brought
            against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
            or loss arising out of:

            1.    "bodily injury", "property damage", or "personal and advertising injury'' caused directly or indirectly,
                 in whole or in part, by the design, manufacture, construction, fabrication, preparation, Installation,
                 application, maintenance or repair, including remodeling, service, correction, or replacement, of an
                 "exterior insulation and finish system" or any part thereof, any substantially similar system or any part
                 thereof, including the application or use of conditioners, primers, accessories, flashings, coatings,
                 caulkings or sealants in connection with such a system; or

           2. ·Any moisture-related or dry rot related "property damage" tQ a house or other building to which an
                 "exterior insulation and finish system• has been applied, if that "property damage'' is caused directly
                 or indirectly, in whole or in part, by the ''exterior insulation and finish system";

           Regardless of any other cause or event that contributed concurrently or in any sequence to that injury or
           damage.

           For the purposes of this endorsement. an "exterior insulation and finish system" means an exterior
           cladding or finish system applied to a house or other building, and consisting of:

                    a) A rigid or semi-rigid sheathing or insulation board, induding gypsum-based, wood-based, or
                       insulation-based materials; and

                    b) The adhesive and/or mechanical fasteners used to attach the insulation board to the
                       substrate; and

                    c) A reinforcing mesh that is embedded in a base coat applied to the insulation board; and
                    d) A finish coat providing surface texture and color.

           However, an "exterior insulation and finish system" does not include a cement-based, polymer-enhanced
           stucco cladding system which:

                    a) Incorporates a weather -resistive barrier pursuant to applicable building codes ; and
                    b) Incorporates ribbed insulation sheathing with ribs aligned vertically to provide drainage; and
                    c) The manufacturer of the stucco components has a valid ICBC Evaluation Services Listing in
                       good standing; and

                    d) There is no mixing of different manufacturer's products for the stucco system

           So long as that cement-based, enhanced stucco cladding system satisfies all requirements of the
           applicable model building code and the applicable local building code.

           All other terms and conditions of this Policy remain unchanged.

           Endorsement Number: 11
           This endoraement is effective on the Inception date of this policy unless otherwise stated herein.
           (The infonnation below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:

           00 CGL0016 00 03 04                                                                               Page 1 of 1
09/26/2005 11:50 AMCase
                    16C3C_:493


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                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 105 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL!,Y.~.,..;c~
                                                                                            •
                                                       SILICA EXCLUSION
            This policy does not apply to:

            Any claim, "suit," demand or loss that alleges "bodily injury,' "property damage,' or "personal and
            advertising injury" (Including but not limited to, compliance with any request, demand, order, or statutory
            or regulatory requirement or any other action authorized or required by law), Including any costs, fees,
            expenses, penalties, judgments, fines, or sanctions arising therefrom, which arises out of, or relates to, in
            whole or in part, the "silica hazard" or would not have occurred, in whole or in part, but for the "silica
            hazard".

            As used in this exclusion, "silica hazard" means:

                (1)     actual, alleged or threatened exposure to "silica" either directly or indirectly, or

                (2)     the actual or alleged failure to warn, advise or instruct related to "silica", or

                (3)     the actual or alleged failure to prevent exposure to "silica", or

               (4)      the actual or alleged presence of "silica" whether or not within a building or structure.

           As used in this exclusion, "silica" means any substance, regardless of its form or state, containing silicon,
           including but not limited to silicon, silica, silicates and silicone.

           All other terms and conditions of this Policy remain unchanged.




           Endorsement Number: 12
           This endorsement Is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:


           00 CGL0141 00 03 04                                                                                 Page 1 of 1
09/26/2005 11:50 AMCase
                    16C3C  493
                        2:21-cv-01272-TL

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                                         Document 1 Filed 09/17/21 Page 106 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY
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                            SUBCONTRACTOR ENDORSEMENT: DEDUCTIBLE POLICY

            The Conditions of this policy are amended to include the following:

                 1. Certificates of Insurance for Commercial General liability coverage, with limits at least equal to or
                    greater than those limits provided by this policy, will be obtained by the Named Insured from all
                    "subcontractors" prior to commencement of any work performed for any insured.

                 2. The Named Insured will obtain agreements, in writing, from all "subcontractors" pursuant to which
                      the "subcontractor(s)" will be required to defend, Indemnify and hold harmless the Named
                      Insured, and any other insured under the policy for whom the "subcontractor" is working for any
                      claim or "suir for "bodily injury", "property damage", and "personal injury and advertising injury"
                      arising out of the work performed by the "subcontractor."

                 3.   The Named Insured, and any other insured under the policy for whom the "subcontractor" is
                      working, will be named as additional insured on all of the "subcontractors" Commercial General
                      Liability policy{s).

            .    4. For items 1. through 3. above, documentation will be retained for a minimum of eight years from
                      the expiration date of this policy.

           If any one of the above conditions, are not satisfied, a deductible of $100,000 per "occurrence" or offense
           will apply to any claim or "suit" under this policy seeking damages for "bodily injury'', "property damage"
           and "personal injury and advertising injury" arising out of the work performed by the •subcontractor" for
           the insured.

            For the purposes of this endorsement only, "subcontractor'' or "subcontractors" means any person or·
            entity who is not an employee of an Insured and does work or performs services for or on behalf of the
            Insured.

           All other terms and conditions of this Policy remain unchanged.




           Endorsement Number: 13
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:


           00 CGL0125 00 01 04                                                                                 Page 1 of 1
09/26/2005 11:50 AM Case 2:21-cv-01272-TL
                    16C3C_  493


                                         •
                                          Document 1 Filed 09/17/21 Page 107 of 350




               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULk'b·,~ -~~ ; ~
                                                                                          •
              DESIGNATED CONSTRUCTION PROJECT($) GENERAL AGGREGATE LIMIT AND
              POLICY AGGREGATE LIMIT ENDORSEMENT - DEDUCTIBLE POLICY VERSION

            Designated Construction Projects: ANY CONSTRUCTION PROJECT AT WHICH YOU PERFORM
            OPERATIONS




            {If no entry appears above, information required to complete this endorsement will be shown in the Declarations
            as applicable to this endorsement)
            A. Subject to paragraph F., below, for all sums                  4. The limits shown in the Declarations for
                 which the insured becomes legally obligated to                  Each Occurrence for "Bodily Injury and
                 pay as damages, which can be attributed only                    Property Damage Liability", Each Occur-
                 to ongoing operations at a single designated                   rence for "Damages To Premises Rented
                 construction project shown in the Schedule                     To You", and Each Offense for "Personal
                 above, damages caused by "occurrences" un--                    and Advertising Injury'' continue to apply.
                 der SECTION I - COVERAGE A. BODILY                             However, instead of being subject to the
                 INJURY AND PROPERTY DAMAGE, which                              General Aggregate Limit shown in the Dec-
                 can be attributed only to ongoing operations at a              larations, such limits will be subject to the
                 single designated construction project shown in                applicable Designated Construction Project
                 the Schedule above:                                            General Aggregate Limit
                  1. A separate Designated Construction Project         B. For all sums which the insured becomes legally
                     General Aggregate Limit applies to each                obligated to pay as damages caused by "occur-
                     designated construction project, and that              rences" under SECTION I - COVERAGE A.
                      limit is equal to the amount of the General           80D!LY INJURY AND PROPERTY DAMAGE,,
                     Aggregate Limit shown in the Declarations.             which cannot be attributed only to ongoing op- -
                 2. The Designated Construction Project Gen-                erations at a single designated construction pro-
                     eral Aggregate Limit is the most we will pay           ject shown in the Schedule above:
                     for the sum of all damages under SECTION                1. Any payments made under SECTION I -
                     I - COVERAGE A. BODILY INJURY AND                          COVERAGE A. BODILY INJURY AND
                     PROPERTY DAMAGE, except damages                            PROPERTY DAMAGE for damages shall
                     because of "bodily injury'' or "property dam-              reduce the amount available under the
                     age" included in the "products-completed                   General Aggregate Limit or the Products-
                     operations hazard", regardless of the num-                 Compfeted Operations Aggregate Limit,
                     berof:                                                     whichever is applicable; and
                      a. Insureds;                                           2. Such payments shall not reduce any Desig-
                     b. Claims made or "suits" brought; or                      nated Construction Project General Aggre-
                                                                                gate Limit.
                     c. Persons or organizations making claims
                          or bringing "suits".                          C. When coverage for liability arising out of the
                                                                            "products-completed operations hazard" is pro-
                 3. Any payments made under SECTION I -                     vided, any payments for damages because of
                     COVERAGE A. BODILY INJURY AND                          "bodily injury'' or "property damage" included in
                     PROPERTY DAMAGE for damages shaU                       the "products-completed operations hazard" will
                     reduce the Designated Construction Project             reduce the Products-Completed Operations
                     General Aggregate Limit for that designated            Aggregate Limi~ and not reduce the General
                     construction project. Such payments shall              Aggregate Limit or the Designated Construction
                     not reduce the General Aggregate Limit                 Project General Aggregate Limit.
                     shown in the Declarations nor shall they re-
                     duce any other Designated Construction
                     Project General Aggregate Limit for any
                     other designated construction project shown
                     in the Schedule above.


            02 CGL0109 00 09 03      :Includes Copyright Material from Insurance Services Office                Page 1 of2
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9/26/2005 11:50 AM Case 2:21-cv-01272-TL
                   16C3C_  493


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                                         Document 1 Filed 09/17/21 Page 108 of 350




           D. If the applicable designated construction project
                                                                                         •
                                                                        E. The provisions of SECTION Ill - LIMIIS_; Qf.;_. u_]:;iNii5
              has been abandoned, delayed, or abandoned                     INSURANCE not othelWlse modified by this
              and then restarted, or if the authorized contract-            endorsement shall continue to apply as stipu-
              ing parties deviate from plans, blueprints, de.               lated.
              signs, specifications or timetables, the project
              will still be deemed to be the same construction          F. Regardless of the Number of projects and any
              project.                                                      other circumstance, the amount we wm pay un-
                                                                            der this insurance policy shall be no more than
                                                                            the "Policy Aggregate" shown below:
                                                                       'Policy Aggregate Limit                  $5,000,000
                                                                       In the event that no dollar amount is shown next to
                                                                       the Policy Aggregate Limit above, the Policy Aggre-
                                                                       gate Limit rs $10,000,000.


           All other terms and conditions of this policy remain unchanged.




           Endorsement Number: 14
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:

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9/26/2005 11:50 AMCase
                  16C3C_  493
                       2:21-cv-01272-TL

                                       •Document 1 Filed 09/17/21 Page 109 of 350

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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL!,!.~v.. ~o~ -,.,5

                                   EMPLOYEE BENEFITS LIABILITY COVERAGE
                               THIS ENDORSEMENT PROVIDES CLAIMS-MADE COVERAGE.
                                PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.

           This endorsement modifies Insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                          SCHEDULE




                                                                                                       -
           Coverage            Limit Of Insurance                  Deductible                          Premium
           Employee Benefits $1 ,000,000              Each         $10,000                  Each
           Programs                                   Employee                              Employee
                              $1,000,000              Aggregate

           ~etroactive Date: 11/10/2003
           If no entry appears above with respect to the Aggregate, then the Aggregate limit will be $1,000,000.

           If no entry appears above with respect to the Retroactive Date, then the Retroactive Date will be the
           Policy Period inception date.

          A. The following is added to Section I - Coverages:
              COVERAGE - EMPLOYEE BENEFITS LIABILITY

               1. Insuring Agreement

                  a. We will pay those sums that the insured becomes legally obligated to pay as damages
                     because of any negligent act, error or omission by the Insured, or of any person for Whom the
                     insured is legally liable, in the "administration• of the Insureds "employee benefit program•. to
                     which this insurance applies.

                       But
                      (1) The amount we will pay for damages is limited as described In Paragraph D. of this
                          endorsement; and

                      (2) Our right and duty to defend ends when we have used up the applicable limit of
                          insurance in the payment of judgments or settlements.

                      No other obligation or liability to pay sums or perfonn acts or services ls covered unless
                      explicitly provided for under Supplementary Payments.

                  b. This Insurance applles to damages only If:

                      (1) The negligent act, error or omission did not take place before the Retroactive date, if any,
                          shown in the Schedule, nor after the end of the policy period; and

                      (2) A "claim" for damages, because of an act, error or omission, Is first made against any
                          insured, In accordance with Paragraph c. below, during the policy period or an Extended
                          Reporting Period we provide under Paragraph F. of this endorsement


          00 CGL0038 00 02·04 · '.    Includes eopyright Material from Insurance Services Office          Page 1 of8 ·
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09/26/2005 11:50 AM Case
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                            493
                         2:21-cv-01272-TL


                                               •
                                          Document 1 Filed 09/17/21 Page 110 of 350

                                                                                                  •
                              A "claim" seeking damages will be deemed to have been made when notice of such "claim" is _ _ _ __
                              received and recorded by any insured or by us, whichever comes first.            ·~'-- •MIY • ..:.b .• ~ . - i ; i .

                              A "claim" received and recorded by the insured within sixty {60) days after the end of the
                              policy period will be considered to have been received within the policy period, if no
                              subsequent policy is available to cover the claim.

                         d.   All "claims" for damages made by an "employee" because of any act, error or omission, or a
                              series of related acts, errors or omissions, including damages claimed by such "employee's"
                              dependents and beneficiaries, will be deemed to have been made at the time the first of
                              those "claims" is made against any insured.

              2. Exclusions

                  This insurance does not apply to: ·

                         a.   Dishonest, Fraudulent, Criminal Or Malicious Act

                              Damages arising out of any intentional, dishonest, fraudulent, criminal or malicious act, error
                              or omission, committed by any insured, including the willful or reckless violation of any
                              statute.

                         b.   Bodily Injury, Property Damage, Or Personal And Advertising Injury

                              "Bodily injury", "property damage" or "personal and advertising injury".

                     c.       Failure To Perform A Contract

                              Damages arising out of failure of performance of contract by any insurer.

                         d.   Insufficiency Of Funds

                              Damages arising out of an insufficiency of funds to meet any obligations under any plan
                              included in the "employee benefit program".

                     e.       Inadequacy Of Performance Of Investment/Advice Given With Respect To Participation

                              Any "claim" based upon:

                              (1) Failure of any investment to perform;

                              (2) Errors in providing information on past performance of investment vehicles; or

                              (3) Advice given to any person with respect to that person's decision to participate or not to
                                  participate in any plan included in the "employee benefit program".

                     f.       Workers' Compensation And Similar Laws

                              Any "claim" arising out of your failure to comply with any workers' compensation,
                              unemployment compensation insurance, social security or disability benefits laws or any
                              similar laws.

                     g. ERISA
                              Damages for which any insured is liable because of liability imposed on a fiduciary by the
                              Employee Retirement Income Security Act of 1974, as now or hereafter amended, or by any
                              similar federal, state or local laws.



              00 CGL0038       oo 02· 04   ,   Includes eopyright Material from Insurance Services Office               Page2 of8 ·
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09/26/2005 11:50 AMCase
                   16C3C_  493
                        2:21-cv-01272-TL




                    h. Available Benefits
                                          •
                                         Document 1 Filed 09/17/21 Page 111 of 350

                                                                                        •
                        Any "claim'' for benefits to the extent that such benefits are available, with reasonable effort
                        and cooperation of the insured, from the applicable funds accrued or other collectible
                        insurance.

                   i.   Taxes, Fines Or Penalties

                        Taxes, fines or penalties, including those imposed under the Internal Revenue Code or any
                        similar state or local law.                  •

                   j.   Employment-Related Practices

                        Damages arising out of employment-related practices to:

                        (1) A person arising out of any:

                           (a) Refusal to employ;

                           (b) Termination of a persons employment; or

                           (c) Employment-related practices, policies, acts or omissions, including but not limited to
                               coercion, demotion, evaluation, reassignment, discipline, defamation, harassment,
                               humiliation or discrimination directed at that person; or

                           (d) Action under ntle VII of the 1964 Civil Rights Act and/or any amendments thereto; or

                        (2) any other person as a consequence of any Injury or damage to that person at whom any
                            of the employment-related practices described in paragraphs (a). (b), (c), or (d) above is
                            directed.

                        This exclusion applies:

                           (1) Whether or not the insured may be held liable as an employer or in any other
                               capacity; and

                           (2) To any obligation to share damages with or repay someone else who must pay
                               damages because of any such injury.

           B. For the purposes of the coverage provided by this endorsement, Paragraphs 2. and 4. of Section II -
              Who Is An Insured are replaced by the following:

              2. Each of the following is also an insured:

                   a. Each of your "employees" who is or was authorized to administer your "employee benefit
                      program".

                   b. Any persons, organizations or "employees" having proper tempora,y authorization to
                      administer your "employee benefit program" If you die, but only until your legal representative
                      is appointed.

                   c.   Your legal representative if you die, but only with respect to duties as such. That
                        representative will have all your rights and duties under this Endorsement.

              4.   Any organization you newly acquire or form, other than a partnership, Joint venture or limited
                   liability company, and over which you maintain ownership or majority interest, will qualify as a
                   Named Insured if no other similar insurance applies to that organiZatlon. However:



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·09/26/2005 11:50 AM Case




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                      16C3C  493


                                         •
                          2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 112 of 350

                                                                                          •
                         Coverage under this provision is afforded only until ninety (90} days after you acquire ariorm _"" -.---
                         the organization or the end of the policy period, whichever is earlier.                 .~.... -¥~•• - ?•..,-.,

                    b.   Coverage under this provision does not apply to any act, error or omission that was
                         committed before you acquired or formed the organization.

            C. For the purposes of the coverage provided by this endorsement, Paragraph 3. of Section II - Who Is
               An Insured does not apply.

            D. For the purposes of the coverage provided by this endorsement, Section IV- Limits Of Insurance is
               replaced by the following:

               1. Limits Of Insurance
                    a.   The Limits of Insurance shown in the Schedule and the rules below fix the most we will pay
                         regardless of the number ot

                         (1) Insureds;

                         (2) "Claims" made or "suits" brought;

                         (3) Persons or organizations making "claims" or bringing "suits";

                         (4) Acts, errors or omissions; or

                         (5) Benefits included in your "employee benefit program".

                    b. The Aggregate Limit is the most we will pay for all damages to which this insurance applies.

                    c.   Subject to the Aggregate Limit, the Each Employee Limit is the most we will pay for all
                         damages sustained by any one "employee", including damages sustained by such :
                         "employee's" dependents and beneficiaries, as a result of:

                         (1) A negligent act, error or omission; or

                         {2} A series of related acts, errors or omissions negligently committed in the "administrationn
                             of your "employee benefit program".

                             However, the amount paid under this endorsement shall not exceed, and will be subject
                             to, the limits and restrictions that apply to the payment of benefits in any plan included in
                             the "employee benefit program".

                    The limits of the coverage provided by this endorsement apply to the policy period set forth in the
                    Declarations or any endorsements thereto.

               2.   Deductible

                    a.   Our obligation to pay damages on behalf of the insured applies only to the amount of
                         damages in excess of the deductible amount stated in the Schedule as applicable to Each
                         Employee. The limits of insurance shall not be reduced by the amount of this deductible.

                    b.   The deductible amount stated in the Schedule applies to all damages sustained by any one
                         "employee", including such "employee's" dependents and .beneficiaries, because of all acts,
                         errors or omissions to which this insurance applies.

                    c.   The terms of this insurance, including those with respect to:

                         (1) Our right and duty to defend any "suits" seeking those damages; and


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09/26/2005 11:50 AMCase
                    16C3C  493
                        2:21-cv-01272-TL

                                           •
                                         Document 1 Filed 09/17/21 Page 113 of 350

                                                                                           •
                         (2) Your duties, and the duties of any other involved insured, in the event of an act, err9r--9r _____ _
                             omission, or"'claim";                                                                  ~'----"Id~.--·~~-~~·


                         apply irrespective of the application of the deductible amount.

                    d.   We may pay any part or all of the deductible amount to effect settlement of any "claim" or
                         "suit" and, upon notification of the action taken, you shall promptly reimburse us for such part
                         of the deductible amount as we have paid.

            E. For the purposes of the coverage provided by this endorsement, Conditions 2. and 4. of Section IV-
               Commercial General Conditions are replaced by the following:

               2.   Duties In The Event Of An Act, Error Or Omission, Or "Claim" Or "Suit"

                    a.   You must see to it that we are notified as soon as ,practicable of an act, error or omission
                         which may result in a "claim". To the extent possible, notice should include:

                         (1) What the act, error or omission was and when it occurred; and

                         (2) The names and addresses of anyone who may suffer damages as a result of the act,
                             error or omission.

                    b.   If a "claim" is made or "suit' is brought against any"insured, you must:

                         (1) Immediately record the specifics of the "claim" or "suit" and the date received; and

                         (2) Notify us as soon as practicable.

                         You must see to it that we receive written notice of the "claim" or "suit" as soon as
                         practicable.

                    c.   You and any other involved insured must:

                         (1) Immediately send us copies of any demands, notices, summonses or legal papers
                             received in connection with the "claim" or "suit";

                         (2) Authorize us to obtain records and other information;

                         (3) Cooperate with us in the investigation or settlement of the "claim" or defense against the
                             "suit°; and

                         (4) Assist us, upon our request, in the enforcement of any right against any person or
                             organization which may be liable to the insured because of an act, error or omission to
                             which this insurance may also apply.

                    d.   No insured will, except at that insured's own cost, voluntarily make a payment, assume any
                         obligation or incur any expense without our consent.

               4.   Other Insurance

                    If other valid and collectible insurance is available to the insured for a loss we cover under this
                    endorsement, our obligations are limited as follows:




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9/26/2005 11:50 AMCase
                  16C3C_  493
                       2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 114 of 350




                  a. Primary Insurance

                  This insurance is primary except when b. below applies. If this insurance is primary, our
                  obligations are not affected unless any of the other insurance is also primary. Then, we will share
                  with all that other insurance by the method described in c. below.

                  b.   Excess Insurance

                       (1) This insurance is excess over any of the other insurance. whether primary, excess,
                           contingent or on any other basis, that 'is effective prior to the beginning of the policy
                           period and that applies to an act, error or omission on other than a claims-made basis, If
                           the other insurance has a policy period which continues after the Retroactive Date shown
                           in the Schedule of this insurance.

                       (2) When this insurance is excess, we will have no.duty to defend the insured against any
                           "suit" if any other insurer has a duty to defend the insured against that "suit". If no other
                           insurer defends, we will undertake to do so, but we will be entitled to the insured's rights
                           against all those other insurers.

                       (3) When this Insurance Is excess over other insurance, we will pay only our share of the
                           amount of the loss, if any, that exceeds the sum of the total amount that all such other
                           Insurance would pay for the loss in absence of this insurance; and the total of           all
                           deductible and self-insured amounts under all that other insurance.

                       (4) We will share the remaining loss, if any, with any other insurance that is not described in
                           this Excess Insurance provision and was not bought specifically to apply In excess of the
                           Limits of Insurance shown in the Schedule of this endorsement.

                 c.    Method Of Sharing

                       Except Wit.h respect to the Insurance described in item b.(1) above, if all of the other ·
                       insurance permits contribution by equal shares, we will follow this method also. Under this
                       approach each insurer contributes equal amounts until it has paid its applicable limit of
                       Insurance or none of the loss remains, whichever comes first.

                       If any of the other insurance does not permit contribution by equal shares, we will contribute
                       by limits. Under this method, each insurer's share is based on the ratio of its applicable limits
                       of insurance of all insurers.

          F. For the purposes of the coverage provided by this endorsement, the following Extended Reporting
             Period provisions are added, or, if this endorsement is attached to a claims-made Coverage Part,
             replaces any similar Section in that Coverage Part

             EXTENDED REPORTING PERIOD

             1. You will have the right to purchase an Extended Reporting Period, as described below, if:
                 a. This endorsement is canceled or not renewed; or
                 b. We renew or replace this endorsement with insurance that

                       (1) Has a Retroactive Date later than the date shown in the Schedule of this endorsement; or

                       (2) Does not apply to an act, error or omission 011 a claims-made basis.

             2. The Extended Reporting Period does not extend the policy period or change the scope of
                 coverage provided. It applies only to "claims" for acts, errors or omissions that were first



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09/26/2005 11:50 AMCase
                    16C3C  493
                        2:21-cv-01272-TL

                                           •
                                         Document 1 Filed 09/17/21 Page 115 of 350

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                     committed before the end of the policy period but not before the Retroactive Date, if any, shown__ . _ _ _ __ _
                     in the Schedule. Once in effect, the Extended Reporting Period may not be canceled.         ·.,;.;... ~w-:,, .• , - . -

                3.   An Extended Reporting Period of five (5) years is available, but only by an endorsement and for
                     an extra charge.                                                                     ·

                     You must give us a written request for the endorsement within sixty (60) days after the end of the
                     policy period. The Extended Reporting Period will not go into effect unless you pay the additional
                     premium promptly when due.

                     We will determine the additional premium in accordance. with our rules and rates. In doing so, we
                     may take into account the following:

                     a.   The "employee benefit programs" insured;

                     b.   Previous types and amounts of insurance:

                     c.   Limits of insurance available under this endorsement for future payment of damages; and

                     d.   Other related factors.

                     The additional premium will not exceed 100% of the annual premium for this endorsement

                     The Extended Reporting Period endorsement applicable to this coverage shall set forth the terms,
                     not inconsistent with this Section, applicable to the Extended Reporting Period, including a
                     provision to the effect that the insurance afforded for pclaims" first received during such period is
                     excess over any other valid and collectible insurance available under policies in force after the
                     Extended Reporting Period starts.
                4. If the Extended Reporting Period is in effect, we will provide an extended reporting period
                   aggregate limlt of insurance described below, but only for claims first received and recorded
                   during the Extended Reporting Period. The extended reporting period aggregate limit of
                   insurance will be equal to the dollar amount shown in the Schedule of this endorsement under
                   Limits of Insurance.

                     Paragraph O.1.b. of this endorsement will be amended accordingly. The Each Employee Limit
                     shown in the Schedule will then continue to apply as set forth in Paragraph O.1.c.

            G. For the purposes of the coverage provided by this endorsement only, the following definitions are
               added to the Section Vl~Definitions:

                1. "Administration" means:

                     a. Providing information to "employees", including their dependents and beneficiaries, with
                          respect to eligibility for or scope of "employee bene~t programs";

                     b.   Handling records in connection with the "employee benefit program": or

                     c.   Effecting, continuing or terminating any "employee's" participation in any benefit included in
                          the "employee benefit program".

                     However, "administration" does not include handling payroll deductions.

               2.    "Cafeteria plans" means plans authorized by applicable law to allow employees to elect to pay for
                     certain benefits with pre-tax dollars.
               3.    "Claim" means any demand, or "suit", made by an "employee" or an "employee's" dependents
                     and beneficiaries, for damages as the result of an act, error or omission.


           oo CGL0038 oo 02·04        ~   Includes Copyright Material from Insurance Services Office              Page? of 8
                                                        With its Permission.
09/26/2005 11:50 AM Case
                     16C3C  493
                         2:21-cv-01272-TL

                                          •
                                          Document 1 Filed 09/17/21 Page 116 of 350

                                                                                          •
                 4. "Employee benefit program" means a program providing some or all of the following benefits.to ___ .- _ _~~
                    "employees", whether provided through a "cafeteria plan" or otherwise:                  -~- ·-BY--,rCib •• _ _ ,

                     a.   Group life insurance; group accident or health insurance; dental, vision and hearing plans:
                          and flexible spending accounts; provided that no one other than an "employee" may
                          subscribe to such benefits and such benefits are made generally available to those
                          "employees" who satisfy the plan's eligibility requirements;

                     b.   Profit sharing plans, employee savings plans, employee stock ownership plans, pension
                          plans and stock subscription plans, provided that no one other than an "employee• may
                          subscribe to such benefits and such benefits are made generally available to all "employees"
                          who are eligible under the plan for such benefits;

                     c.   Unemployment insurance, social security benefits, workers' compensation and disability
                          benefits;

                     d.   Vacation plans, including buy and sell programs; leave of absence programs, including
                          military, maternity, family, and civil leave; tuition assistance plans; transportation and health
                          club subsidies; and

                     e. Any other similar benefits designated in the Schedule or added thereto by endorsement.

            I:   For the purposes of the coverage provided by this endorsement, Definitions 5. and 18. in the
                 Definitions Section are replaced by the following:

                 5   "Employee" means a person actively employed, formerly employed, on leave of absence or
                     disabled, or retired. "Employee" includes a "leased worker''. "Employee" does not include a
                     "temporary worker''.

                 18. "Suit" means a civil proceeding in which damages because of an act, error or omission to which
                     this insurance applies are alleged. "Suit" includes:

                     a. An arbitration proceeding in which such damages are claimed and to which the insured must
                        submit or does submit with our consent; or

                     b. Any other alternative dispute resolution proceeding in which such damages are claimed and
                        to which the insured submits with our consent.

            All other terms and conditions of this Policy remain unchanged.




            Endorsement Number: 15

            This endorsement is effective on the inception date of this policy unless otherwise stated herein.

            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)

            Policy Number: 72DPC 1446801

            Named Insured:

            Endorsement Effective Date:


            oo CGL0038 00 02·04 , Includes Copyright Material from Insurance Services Office                  Page8of8
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09/26/2005 11 :50 AM Case 2:21-cv-01272-TL
                     16C3C_  493


                                            •
                                           Document 1 Filed 09/17/21 Page 117 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUl.,kYg,;,u.~
                                                                                               •
                    STOP GAP - EMPLOYERS LIABILITY COVERAGE ENDORSEMENT -
                                         WASHINGTON
               This endorsement modifies insurance provided under the following:

               COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                                                                           I

                                                                 SCHEDULE

            Limits Of Insurance
            Bodily Injury By Accident:          $ 1,000,000                    Each Accident
            Bodily Injury By Disease:           $ 1,000,000                    Aggregate Limit
            Bodily Injury By Disease:           $ 1,000,000                    Each Employee


            lf no entry appears with respect to any of the limits shown above, then the limit will be deemed to be
            1$1,000,000
               A. The following is added to Section I - Coverages:

               COVERAGE - STOP GAP - EMPLOYERS LIABILITY

                  1. Insuring Agreement

                      a.   We will pay those sums that the insured becomes legally obligated by Washington Law to
                           pay as damages because of "bodily injury by accident'' or "bodily injury by disease" to your
                           "employee" to which this insurance applies. We will have the right and duty to defend the
                           insured against any "suit" seeking those damages. However, we will have no duty to
                           defend the insured against any "suit" seeking damages to which this insurance does not
                           apply. We may, at our discretion, investigate any accident and settle any claim or "suit" that
                           may result. But:

                           (1) The amount we will pay for damages is limited as described in Section Ill - Limits Of
                               Insurance; and

                           (2)     Our right and duty to defend end when we have used up the applicable limit of
                                  insurance in the payment of judgments or settlements under this coverage.

                           No other obligation or liability to pay sums or perform acts or services is covered unless
                           explicitly provided for under Supplementary Payments.

                      b.   This insurance applies to "bodily injury by accident'' or "bodily injury by diseasen only if:

                           (1) The:

                                 (a} "Bodily injury by accident" or "bodily injury by disease" takes place in the "coverage
                                 territory";

                                 (b) "Bodily injury by accident'' or "bodily injury by disease" arises out of and in the course
                                 of the injured "employee's" employment by you; and ·

                                 (c) "Employee", at the time of the injury, was covered under a worker's compensation
                                 policy and subject to a "workers compensation law" of Washington; and

                           (2) The:



            00 CGL0119 48 03 04                                                                                    Page 1 of6
09/26/2005 11:50 AM Case
                     16C3C  493
                         2:21-cv-01272-TL




                             (a)
                                          •
                                          Document 1 Filed 09/17/21 Page 118 of 350

                                                                                          •
                                     "Bodily injury by accident is caused by an accident that occurs during the policy___ _ _ _~-
                                     period; or ·                                                                 ~-k · · • " - • - · ~



                             {b)     "Bodily injury by disease" is caused by or aggravated by conditions of employment
                                     by you, and the injured "employee's" last day of last exposure to the conditions
                                     causing or aggravating such "bodily injury by disease" occurs during the policy
                                     period.

                    c_ The damages we will pay, where recovery is permitted by law, include damages:
                                                                        I


                       (1)    For:

                              (a) Which you are liable to a third party by reason of a claim or "suit'' against you by
                                  that third party to recover the damages claimed against such third party as a result
                                  of injury to your "employee";

                              (b) Care and loss of services: and

                              (c) Consequential "bodily injury by accident" or "bodily injury by disease" to a spouse,
                                  child, parent, brother or sister of the injured "employee";

                              provided that these damages are the direct consequence of "bodily injury by accident"
                              or "bodily injury by disease" that arises out of and in the course of the injured
                              "employee"s" employment by you: and

                       (2)    Because of "bodily injury by accidenf' or ''bodily injury by disease" to your "employee"
                              that arises out of and in the course of employment, claimed against you in a capacity
                              other than as employer.

                 2. Exclusions

                    This insurance does not apply to:

                    a. Intentional Injury
                       "Bodily injury by accident'' or "bodily injury by disease" intentionally caused or aggravated by
                       you, or "bodily injury by accident'' or "bodily injury by disease" resulting from an act which is
                       determined to have been committed by you if it was reasonable to believe that an injury is
                       substantially certain to occur.

                    b. Fines Or Penalties

                       Any assessment, penalty, or fine levied by any regulatory inspection agency or authority.

                    c. Statutory Obligations
                       Any obligation of the insured under a workers' compensation, disability benefits or
                       unemployment compensation law or any similar law.

                    d. Contractual Liability

                       Liability assumed by you under any contract or agreement

                    e. Violation Of Law
                       "Bodily injury by accident" or "bodily injury by disease" suffered or caused by any employee
                       while employed in violation of law with your actual knowledge or the actual knowledge of
                       any of your "executive officers".



            00 CGL0119 48 03 04                                                                               Page 2 of6
                                      •
09/26/2005 11:50 AMCase
                   16C3C   493
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 119 of 350




                    f. Termination, Coercion Or Discrimination

                       Damages arising out of coercion, criticism, demotion, evaluation, reassignment, discipline,
                       defamation, harassment, humiliation, discrimination against or termination of any
                       "employee", or arising out of other employment or personnel decisions concerning the
                       Insured.
                   g. Failure To Comply With 'Workers Compensation Law"
                      "Bodily injury by accidenr' or "bodily injury by disease" to an "employee" when you are:

                       (1)   Deprived of common law defenses; or

                       (2) Otherwise subject to penalty;

                      because of your failure to secure your obligations or' other failure to comply with any
                      "workers compensation law''.

                   h. Violation Of Age Laws Or Employment Of Minors

                      "Bodily injury by accident" or "bodily injury by disease" suffered or caused by any person:

                      (1) Knowingly employed by you in violation of any law as to age; or

                      (2) Under the age of 14 years, regardless of any such law.

                   i. Federal Laws

                      Any premium, assessment penalty, fine, beneflt, liability or other obligation imposed by or
                      granted pursuant to:

                      (1) The Federal Employer's Liability Acf. (45 USC Section 51-60);

                      (2) The Non•appropriated Fund Instrumentalities Act (5 USC Sections 8171-8173);

                      (3) The Longshore and Harbor Workers' Compensation Act (33 USC Sections 910-950);

                      (4) The Outer Continental Shelf Lands Act (43 USC Section 1331·1356);

                      (5) The Defense Base Act (42 USC Sections 1651•1654);

                      (6) The Federal Coal Mine Health and Safety Act of 1969 (30 USC Sections 901•942);

                      (7) The Migrant and Seasonal Agricultural Worker Protection Act (29 USC Sections 1801-
                          1872);

                      (8) Any other workers compensation, unemployment compensation or disability laws or
                          any similar law; or

                      (9) Any subsequent amendments to the laws listed above.

                   J. Punitive Damages
                      Multiple, exemplary or punitive damages.

                   k. Crew Members
                      "Bodily injury by accidenf' or "bodily injury by disease· to a master or member of the crew of
                      any vessel or any member of the flying crew of an aircraft.



           00 CGL0119 48 03 04                                                                           Page 3 of6
09/26/2005 11:50 AM Case
                    16C3C   493


                                        •
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 120 of 350

                                                                                        •
               B. The Supplementary Payments provisions apply to Coverage - Stop Gap Employers liability asJNeJL ___ ~ __ _
                  as to Coverages A and B.                                                                b-...,_.-._,_,_._.~
               C. For the purposes of this endorsement, Section II - Who Is An Insured, is replaced by the following:

                  If you are designated in the Declarations as:

                  1. An individual, you and your spouse are insureds, but only with respect to the conduct of a
                     business of which you are the sole owner.
                  2. A partnership or joint venture, you are an insured. Your members, your partners, and their
                     spouses are also insureds, but only with respect to the conduct of your business.
                  3. A limited liability company, you are an insured. Your members are also insureds, but only with
                     respect to the conduct of your business. Your managers are insureds, but only with respect to
                     their duties as your managers.
                  4. An organization other than a partnership, joint venture or limited liability company, you are an
                     insured. Your "executive officers" and directors are insureds, but only with respect to their
                     duties as your officers or directors. Your stockholders are also insureds, but only with respect to
                     their liability as stockholders.

                  No person or organization is an insured with respect to the conduct of any current or past
                  partnership, joint venture or limited liability company that is not shown as a Named Insured in the
                  Declarations.

               D. For the purposes of this endorsement, Section Ill Limits Of Insurance, is replaced by the following:
                  1. The Limits of Insurance shown in the Schedule of this endorsement and the rules below fix the
                     most we will pay regardless of the number of:

                     a. Insureds;
                     b. Claims made or "suits" brought; or

                     c. Persons or organizations making claims or bringing "suits".

                  2. The "Bodily Injury By Accidenr' - Each Accident Limit shown in the Schedule of this
                     endorsement is the most we will pay for all damages covered by this insurance because of
                     "bodily injury by accident" to one or more "employees" in any one accident.

                  3. The "Bodily Injury By Disease" - Aggregate Limit shown in the Schedule of this endorsement is
                     the most we will pay for all damages covered by this insurance and arising out of "bodily injury
                     by disease", regardless of the number of "employees" who sustain "bodily injury by disease".

                  4. Subject to Paragraph D.3. of this endorsement, the "Bodily Injury By Disease" - Each
                     "Employee" Limit shown in the Schedule of this endorsement is the most we will pay for all
                     damages because of "bodily injury by disease" to any one "employee".

                  The limits of the coverage apply to the policy period set forth in the Declarations or any
                  endorsements thereto.

               E. For the purposes of this endorsement, Condition 2. - Duties In The Event Of Occurrence, Claim Or
                  Suit of the Conditions Section IV is deleted and replaced by the following:




            00 CGL0119 48 03 04                                                                                Page4 of 6
                                         •
                   16C3C_
09/26/2005 11:50 AMCase    493
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 121 of 350




                 2. Duties The Event Of Injury, Claim Or Sult

                     a. You must see to it that we or our agent are notified as soon as practicable of a "bodily injury
                        by accident'' or "bodily injury by disease" which may result in a claim. To the extent
                        possible, notice should include:

                          (1) How, when and where the "bodily injury by accident'' or "bodily injury by disease• took
                              place;

                          (2) The names and addresses of any injured persons and witnesses: and

                          (3} The nature and location of any injury.

                     b.   If a claim Is made or "suit" is brought against any insured, you must

                          ( 1) Immediately record the specifics of the claim or ''suit'' and the date received; and

                          (2} Notify us as soon as practicable.

                          You must see to It that we receive written notice of the claim or "suit" as soon as
                          practicable.

                    c. You and any other Involved insured must
                          (1) Immediately send us copies of any demands, notices, summonses or legal papers
                            . received in connection with the injury, claim, proceeding or "suit";
                          (2) Authorize us to obtain records and other information;

                          (3) Cooperate w ith us and assist us, as we may request, in the investigation or settlement
                              of the claim or defense against the "suit";

                          (4) Assist us, upon our request, in the enforcement of any right against any person or
                              organization which may be liable to the Insured because of injury to which this
                              insurance may also apply; and

                          (5) Do nothing after an injury occurs that would Interfere with our right to recover from
                              others.                   ,

                    d. No insured will, except at that insured's own cost, voluntarily make a payment, assume any
                       obligation, or incur any expense, other than for first aid, without our consent.

              F. For the purposes of this endorsement, Paragraph 4. of the Definitions Section is replaced by the
                 following:

                 4. "Coverage territory" means:

                    a. The United States of America (including its territories and possessions), Puerto Rico and
                       Canada;

                    b. International waters or airspace, but only if the injury or damage occurs in the course of
                       travel or transportation between any places included in a. above; or

                    c. All other parts of the world if the Injury or damage arises out of the activities of a person
                       whose home is In the territory described in a. above, but who is away for a short time on
                       your business;




           00 CGL0119 48 03 04                                                                                Page 5of6
09/26/2005 11:50 AM Case 2:21-cv-01272-TL
                    16C3C_  493


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                                          Document 1 Filed 09/17/21 Page 122 of 350

                                                                                             •
                      provided the insured's responsibility to pay damages is determined in the United States ___ __ _ _ --.---
                      (including its territories and possessions), Puerto Rico, or Canada, in a suit on the merits~.... ,-o::;t' •. ,a,.-G_;)
                      according to the substantive Jaw in such territory, or in a settlement we agree to.

               G. The following are added to the Definitions Section:

                   1. 'Workers Compensation Law" means the Workers Compensation Law and any Occupational
                      Disease Law of Washington. Th[ s does not include provisions of any law providing non-
                      occupational disability benefits.

                   2. "Bodily injury by accident" means bodily injury, sickness or disease sustained by a person,
                      including death, resulting from an accident. A disease is not "bodily injury by accident" unless it
                      results directly from ''bodily injury by accident".

                   3. "Bodily injury by disease" means a disease sustained by a person, including death. "Bodily
                      injury by disease" does not include a disease that results directly from an accident.

               H. For the purposes of this endorsement, the definition of "bodily injury" does not apply.
            Afl other terms and conditions of this Policy remain unchanged.




            Endorsement Number: 16
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: 72DPC1446801
            Named Insured:
            Endorsement Effective Date:


            00 CGL0119 48 03 04 .                                                                                  Page 6 of 6
                                            •
09/26/2005 11 :50 AMCase
                     16C3C _493
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 123 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL~'i,.,~ ,.ii%~~~

                 PREMIUM COMPUTATION ENDORSEMENT - DEDUCTIBLE POLICY VERSION

            1. The Deposit Premium set forth in of the Declarations is adjustable, and is only an estimated premium for the
            Audit Period shown below.

            The final earned premium for the Audit Period shall be determined as specified in Item 5. Premium Audit of
            SECTION IV - Commercial General U!iabili Conditions.· The Audit Premium shan be computed by
            applying the Rate of         per each          of the Premium Base identified in 2. below. Such Rate is net of
            any taxes, 6censes, or~The final prem um calculation is subject to the Minimum Retained Premium as
            stated in the Declarations.

            2. The Premium Base shall be Identified ·in (A) and (8) below:

                    (A) PREMIUM BASE

                             181   gross "sales" excluding "airoraft products•

                                       D     "intercompany sales• and

                                       D     "foreign sales".

                             D "Payroll" as determined immediately below:
                                       D     Gross Unmodified ''Payroll"

                                       D     Workers Compensation Payrolr'

                                       D     Workers Compensation Payrolr' excluding:

                                                {1) •crerical Office Employees"
                                                (2) "Salesmen, CoUectors, Messengers"
                                                (3) Drivers and their helpers if principal duties are to work on or in
                                                    connection with "autos"

                             D     Other (Describe)

                             Estimated Exposures       - - - - - - -- - -- - - -- - -

                    (8) SPECIFIC DELETIONS FROM PREMIUM BASE, IF ANY:

                            D      Designated Products described in the foDowing endorsements:

                            D      Designated Operations described in the following endorsements:

                            D      Other, described,in the following endorsements




           02 CGL0107 00 09 03                                                                                       Page 1 of2
9/26/2005 11 :50 AMCase
                   16C3C_  493
                        2:21-cv-01272-TL




           3. The Audit Period is:
                                           •
                                         Document 1 Filed 09/17/21 Page 124 of 350

                                                                                         •
                            181   Annual

                            D     Sem~Annual

                            D     Monthly

                            D     Other

           4. The Audit Period is measured from the Effective Date of the Insurance Policy.

           All other terms and conditions of this policy remain unchanged.




           Endorsement Number: 17
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:


           02 CGL0107 00 09 03                                                                             Page 2 of2




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9/26/2005 11:50 AMCase
                  16C3C_493
                       2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 125 of 350




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUl;l;Y.;~:Jii&;i:iiiiin
                                            DEDUCTIBLE LIABILITY ENDORSEMENT
                                                                       Schedule

           1. Specific coverages to which a deductible(s) applies and amount of deductible(s):
                                            Coverage                                                    Amount of Deductible
               181   All coverages ......... ......... ....................................... ............ ..... $ 10,000
               D     Products/Completed Operations ................................................. $ _ _
               D     All coverages other than Products/Completed Application ......... .......$ _ _

           2. The deductible applies to:
               (8J Indemnity and Expenses
               D     Indemnity Only

           3. A deductible aggregate applies as follows:
               D     The deductible aggregate amount for all coverages, which is the maximum amount of deductible
                     payments for which the insured Is responsible, is: $ _ _ . The deductible aggregate Is subject
                     to adjustment upwards based on a rate of$ _ _ per 1000 _ _. Once the loss payments
                     actually paid by us, and reimbursed by the insured to us, equals the deductible aggregate
                     amount, the insured's deductible will be reduced to $ _ _. The estimated exposure base, at
                     inception, is $ _ _ .
               (If no aggregate is shown, then there is no aggregate on the cumulative amount of deductible
               payments for which the insured Is responsible.)


           Application of the Deductible Liablllty Endorsement
           The deductible(s) set forth in the Schedule apply to Indemnity and expenses, (or indemnity only if the
           appropriate box Is checked in the Schedule), on a "per occurrence" basis. The insured is responsible for
           payment of the deductible(s}.
           The insured is responsible for all payments within the deductible amount. Subject to the Umits of Liability
           and all other terms and conditions for this policy, our obligation to pay damages and expenses on your
           behalf applies only to the amount of damages and expenses in excess of the deductible amounts set forth
           fn the Schedule. We may pay part or the entire deductible amount to effect settlement of any "claim• or
           "suit" and, upon notification of the action taken, you shall promptly reimburse us for such part of the
           deductible amount that has been paid by us.
           Our limits of liability are not increased by the presence of a deductible.
           All other terms and conditions of this Polley remain unchanged.

           Endorsement Number. 18
           This endorsement Is effective on the inception date of this policy unless othe,v,,ise stated herein.
           (The Information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: 72DPC1446801
           Named Insured:
           Endorsement Effective Date:

           00 CGL0099 00 10 03                                                                                               Page 1 of 1




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09/26/2005 11 :49 AMCase
                     16C3C  492


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                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 126 of 350




               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                                                                                 ·* .,($9.•S,.•Zi#ffll&
                                             NAMED INSURED ENDORSEMENT

           It is hereby agreed that Item 1. of the Declarations is amended to include the following entities as a Named
           Insured:
           EBENAL GENERAL, INC.
           EBENAL GENERAL SPECIAL PROJECTS, INC.
           MERIDIAN-PACIFIC HIGHWAY, LLC
           BONITA& DAVID EBENAL
                                                                                FILE copy


           All other tenns and conditions of this policy remain unchanged.




           Endorsement Number:19
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)

           Policy Number. 72 DPC 14468 01

           Named Insured: EBENAL GENERAL CONTRACTORS, INC.

           Endorsement Effective Date: 04/01/04


           00 CGL0072 00 03 03
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 127 of 350




                         Exhibit 3
            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 128 of 350




                                            DECLARATION


I declare under penalty of perjury under the law of California that the following is true and correct.


Annexed hereto as Exhibit A is a true and accurate copy of Arch Specialty Insurance Company policy

number DPC000559100 issued to Ebenal General Contractors, Inc., 4326 Pacific Highway Bellingham,

Washington 98226 in effect from April 1, 2005 to April 1, 2006 including any and all applicable

endorsements and forms made a part thereof.

Executed on the 1st day of September, 2021, at Corte Madera, CA.




                                                                                              Sean Basco
                                                                   Regional Vice President, E&S Casualty
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 129 of 350




               Exhibit A
05/18/2005 11 :39 AMCase
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                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 130 of 350


                                                         f~Arch
                                                          Insurance Group                         ·
                                               ARCH sPECl~~,:s=f:~
       Home Office Address:                                                                                Administrative Office Address:
       300 First Stamford Place, 5th Floor                                                                  One Liberty Plaia, 53rd Floor
       Stamford, CT 06902                                                                                          New York, NY 10006
                                                                                                                         (800) 817-3252

                                  COMMERCIAL GENERAL LIABILITY POLICY DECLARATIONS
       POLICY NUMBER: DPC 0005591 00                                         RENEWAL OF: 72 OPC 14468 01

       EFFECTIVE DATE: 04/01/05                                              AGENT CODE:
       EXPIRATION DATE: 04/01/06
       12:01 AM STD Time at the Address of the Named Insured
       Item 1.   Named Insured and Producing Agent
       Named Insured:       EBENAL GENERAL CONTRACTORS, INC.

       Mailing Address:     4326 PACIFIC HIGHWAY
                            BELLINGHAM, WA 98226



       Producing Agent:     CRC INSURANCE SERVICES, INC.

       Mailing Address:     1420 FIFTH AVENUE
                            SUITE 1610
                            SEATTLE, WA 98101

       Surplus Line Broker:JOWALKOWSKI
                           CRC INSURANCE SERVICES, INC.
       Mailing Address:     1420 FIFTH AVENUE
                            SUITE 1610
                            SEATTLE, WA 98101

       Surplus Lines License#: CRCINS..98358
       Item 2. Named Insured Classified as:
                              0   Individual                      0   Partnership                      [8J Corporation
                              0   Joint Venture                   0LLC                                 0LLP
       Item 3.   Limits of Insurance
      BODILY INJURY AND PROPERTY DAMAGE LIABILITY - EACH OCCURRENCE                                    $1,000,000
      PERSONAL AND ADVERTISING INJURY LIMIT - EACH OFFENSE                                             $1,000,000
      MEDICAL EXPENSE LIMIT -ANY ONE PERSON                                                            S 10,000
      GENERAL AGGREGATE LIMIT (Other Toan Products - Completed Operations)                             $2,000,000
      PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                                                    $2,000,000
      DM1AGES TO PREMISES RENTED TO YOU LIMIT - EACH OCCURRENCE                                        $100,000
      Item 4. Policy Premium: $ -
      Deposit Premium$ llllllllwhich is:          0 A Flat Charge Per Each Policy Period.
                                                  l8I Adjustable at the end of each Aucflt Period, Per Premiun Compu1ation Endorsement
      Minimum Retained Audit Premium ~
      Minimum Retained Premium 35%, not subJect to adjustment in the event of cancellation by you.



      06 CGLD0047 00 06 03                                                                                                   Page 1 of2
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 131 of 350




      Item 5. Fonns and Endorsements attached: See Schedule of Fonns and Endorsements Form 00 ML0012 00 01 03
                                                                                                                        ·~;:;   ~ ~   i-8 ~--2~
      In consideration of the payment of premi,um and In reliance upon statements made in the application this policy
      including all endorsements issued herein shall constitute the contract between the Company and the Named Insured.




     Arch Specialty Insurance Company is licensed in the state of Wisconsin only.
     Arch Specialty Insurance Company is not licensed in the state of New York and is not subject to its supervision.

      06 CGLD0047 00 06 03                                                                                                      Page2of2
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 132 of 350




                                    SCHEDULEOFFORMSANDENOORSEMENTS

           NAMED INSURED: EBENAL GENERAL CONTRACTORS, INC .           TERM: 4/1/2005 to 4/1 ~ .1:.;t ,:a    ~
           POLICY NUMBER: DPC 0005591 00 .



           ENDT. NO.   I   FQRMNO.                  TITLE

                           06   CGLD0047 00 06 03   COMMERCIAL GENERAL LIABILITY POLICY DECLARATIONS
                           00   ML0012 00 01 03     SCHEDULE OF FORMS AND ENDORSEMENTS
                           06   CGL0098 00 07 03    COMMERCIAL GENERAL L!ABILITY COVERAGE FORM
                           06   ML0002 00 07 03     SIGNATURE PAGE
                           02   ML 0003 00 08 02    SERVICE OF SUIT
           1               00   CGL0108 00 08 04    BLANKET ADDITIONAL INSURED ENDORSEMENT
                                                    DEDUCTIBLE VERSION
          2                00 CGL0130 00 01 04      OT HER INSURANCE • BROAD FORM, CGL POLICY
                                                    ENDORSEMENT
          3                00 CGL0121 00 01 04      WANER OF SUBROGATION ENDORSEMENT DEDUCTIBLE
                                                    POLICY
          4                00 CGL0007 00 05 04      CROSS SUITS EXCLUSION
          5                02 CGL0018 00 10 02      INTELLECTUAL PROPERTY EXCLUSION
          6                00 CGL0080 00 02 05      RESIDENTIAL AND RESIDENTIAL CONVERSION EXCLUSION
          7                00 CGL0039 00 12 02      ENGINEERS, ARCHITECTS OR SURVEYORS PROFESSIONAL
                                                    LIABILITY EXCLUSION
          8                02 CGL0011 00 10 02      EARTH MOVEMENT OR SUBSIDENCE EXCLUSION
          9                00 CGL0041 00 12 02      WRAP-UP EXCLUSION
           10              00 CGL0016 00 03 04      EXTERIOR INSULATION AND FINISH SYSTEM EXCLUSION
           11              00 CGL01410003 04        SILICA EXLCUSION
           12              00 CGL0092 00 05 03      CHROMATED COPPER ARSENATE ("CCA:") EXCLUSION
           13              00 CGL0066 00 02 03      RADON CONTAMINATION EXCLUSION
           14              02 CGL0023 00 10 02      TOTAL POLLUTION EXCLUSION
           15              00 CGL0125 00 03 05      SUBCONTRACTOR ENDORSEMENT: DEDUCTIBLE POLICY
           16              02 CGL0109 00 09 03      DESIGNATED CONSTRUCTION PROJECT(S) GENERAL
                                                    AGGREGATE LI MIT AND POLICY AGGREGATE LIMIT
                                                    ENDORSEMENT - DEDUCTIBLE POLICY VERSION
          17               00 CGL01 17 00 12 03     NON•STACKING ENDORSEMENT
          18               00 CGL0038 00 02 04      EMPLOYEE BENEFITS LIABILITY COVERAGE
          19               00 CGL0119 48 03 04      STOP GAP - EMPLOYERS LIABILITY COVERAGE
                                                    ENDORSEMENT - WASHINGTON
          20               02 CGL0107 00 09 03      PREMIUM COMPUTATION ENDORSEMENT- DEDUCTIBLE
                                                    POLICY VERSION
          21               00 CGL0099 00 10 03      DEDUCTIBLE LIABILITY EN DORSEMENT
          22               00 CGL0184 00 01 05      TOTAL TERRORISM EXCLUSION




      00 ML0012 00 01 03                                                                      Page 1 of 1
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 133 of 350




                                                   iJArch
                                                 . Insurance Group
             ARCH SPECIALTY INSURANCE                                    COMMERCIAL GENERAL LIABILITY
             COMPANY              th
             300 First Stamford Place, 5 Floor                                             06 CGL0098 00 07 03
             Stamford, CT 06902


                             COMMERCIAL GENERAL LIABILITY COVERAGE FORM

            Various provisions in this policy resbict                    {2) Our right and duty to defend end when
            coverage. Read the entire policy carefully to                    we have used up the applicable limit
            determine rights, duties and what is and is not                  of insurance in the payment of
            covered.                                                         judgments or settlements under
                                                                             Coverages A or B or medical
            Throughout this policy the words ·"you" and                      expenses under Coverage C.
            "your" refer to the Named Insured shown in the
            Declarations, and any other person or                         No other obligation or liabllity to pay sums
            organization qualifying as a Named Insured                    or perform acts or services is covered
            under this policy. The words "we", "us" and "our"             unless explicitly provided for under
            refer to the company providing this insurance.                Supplementary Payments - Coverages
                                                                          A and B.
            The word "insured" means any person or
            organization qualifying as such under SECTION              b. This insurance applies to "bodily injury''
            II - WHO IS AN INSURED.                                       and "property damage" only if:

           Other words and phrases that appear in                        (1) The Nbodily injury'' or ''property
           quotation marks have special meaning. Refer to                    damage"     is     caused   by    an
           SECTION V-DEFINITlONS.                                            "occurrence" that takes place in the
                                                                             "coverage territory"; and
           SECTION I - COVERAGES
                                                                         (2) The    "bodily   injury''   or   "property
           COVERAGE A BODILY INJURY AND                                       damage" occurs during the policy
            PROPERTY DAMAGE LIABILITY                                         period.
            1. Insuring Agreement                                      2. Exclusions
               a. We will pay those sums that the insured              This insurance does not apply to:
                  becomes legally obligated to pay as
                  damages because of "bodily injury'' or               a. Expected Or Intended Injury
                  "property damage"         to which this                 "Bodily injury" or "property damage"
                  insurance applies. We will have the right               expected or intended from the standpoint
                  and duty to defend the insured against                  of the Insured. This exclusion does not
                  any "suir' seeking those damages.                       apply to "bodily injury" resulting from the
                  However, we will have no duty to defend                 use of reasonable force to protect
                  the Insured against any "suir seeking                   persons or property.
                  damages for "bodily injury" or "property
                  damage" to which this insurance does not             b. Contractual Liability
                  apply. We may, at our sole discretion,                  "Bodily injury" or "property damage" for
                  investigate any "occurrence'' and settle                which the insured is obligated to pay
                  any claim or "suit" that may result. But:               damages by reason of the assumption of
                 (1) The amount we will pay for damages                   liability in a contract or agreement. This
                     is limited as described in Section Ill -             exclusion does not apply to liability for
                     Limits Of Insurance; and                             damages:




           06 CGL0098 00 07 03         Includes Copyright Material from Insurance Services Office        Page 1 of 18
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05/18/2005 11 :39 AMCase
                     2D0A7 _ 1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 134 of 350




                (1) That the insured would have in the                     (2) To any obligation to share damages
                       absence of the contract or agreement;                   with or repay someone else who must
                       or                                                      pay damages because of the injury.
                (2)    Assumed in a contract or agreement                  This exclusion does not apply to llabilitf . J_~   , ~~
                       that is an "insured co11tract", provided            assumed by the insured under an
                       the "bodily injury"· or "property                   "insured contract".
                       damage" occurs subsequent to the
                       execution     of the      contract or             f. Pollution
                       agreement.                                          (1) "Bodily injury" or "property damage"
              c. Liquor Liability                                              arising out of the actual, alleged or
                                                                               threatened       discharge, dispersal,
                 "Bodily injury" or "property damage" for                      seepage, migration, release or escape
                 which any insured may be held liable by                       of "pollutants":
                 reason of:
                                                                              (a) At or from any premises, site or
                (1) Causing        or contributing    to   the                    location which is or was at any
                       intoxication of any person;                                time owned or occupied by, or
                                                                                  rented or loaned to, any insured.
                (2) The furnishing of alcoholic beverages
                                                                                  However, this subparagraph does
                    to a person under the legal drinking                          not apply to:
                    age or under the influence ·of alcohol;
                    or                                                            (i) "Bodily injury" if sustained
                                                                                      within a building and caused by
                (3) Any statute, ordinance or regulation
                                                                                      smoke, fumes, vapor or soot
                    relating to the sale, gift, distribution or
                                                                                      from equipment used to heat
                    use of alcoholic beverages.
                                                                                      that building;
                 This exclusion applies only if you are in
                                                                                 (ii) "Bodily injury" or "property
                 the     business       of    manufacturing,
                                                                                      damage" for which you may be
                 distributing, selling, serving or furnishing
                                                                                      held liable, if you are a
                 alcoholic beverages.
                                                                                      contractor and the owner or
              d. Workers' Compensation And Similar                                    lessee of such premises, site or
                 Laws                                                                 location has been added to
                                                                                      your policy as an additional
                 Any obligation of the insured under a                                insured with respect to your
                 workers' compensation, disability benefits                           ongoing operations performed
                 or unemployment compensation law or                                  for that additional insured at
                 any similar law(s).                                                  that premises, site or location
              e. Employer's Liability                                                 and such premises, site or
                                                                                      location is not and never was
                 "Bodily injury" to:                                                  owned or occupied by, or
                (1} An "employee" of the insured arising                              rented or loaned to, any
                    out of and in the course ot                                       insured,     other   than   that
                                                                                      additional insured; or
                      (a) Employment by the insured; or
                                                                                (iii) "Bodily injury'' or "property
                      (b) Performing duties related to the                            damage" arising out of heat,
                          conduct of the insured's business;                          smoke or fumes from a "hostile
                          or                                                          fire";
                (2) The spouse, child, parent, brother or                     (b) At or from any premises, site or
                     sister of that "employee" as a                               location which is or was at any
                     consequence of Paragraph (1)                                 time used by or for any insured or
                     above.                                                       others for the handling, storage,
                 This exclusion applies:                                          disposal, processing or treatment
                                                                                  of waste;
                (1) Whether the insured may be liable as
                      an employer or in any other capacity;                   (c) Which are or were at any time
                      and                                                         transported,    handled,    stored,
                                                                                  treated, disposed of, or processed
                                                                                  as waste by or for any insured or

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05/18/2005 11 :39 AMCase
                     2D0A7 _ 1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 135 of 350




                       any person or organization for                               smoke or fumes from a "hostile
                       whom you may be legally                                      fire".
                       responsible; or
                                                                            (e) At or from any premises, site or
                   (d) At or from any premises. site or                         location on which any insur'M rJFJ, , ..1.~, < l ~
                       location on which FlnY •insured or                       any contractors or subcontractors
                       any contractors or subcontractors                        working directly or indirectly on any
                       working directly or indirectly on any                    insured's behalf are performing
                       insured's behalf are performing                          operations if the operations are to
                       operations if the "pollutants" are                       test for, monitor, clean up, remove,
                       brought on or to the premises, site                      contain,       treat,  detoxify    or
                       or location in connection with such                      neutralize, or in any way respond
                       operations by such insured,                              to, or assess the effects of,
                       contractor     or     subcontractor.                     "poll utants".
                       However, this subparagraph does
                       not apply to:                                     (2) Any loss, cost or expense arising out
                                                                             of any:
                       (i) "Bodily    injury" or "property                  {a) Request,      demand, order or
                          damage" arising out of the
                                                                                statutory or regulatory requirement
                          escape of fuels, lubricants or
                          other operating fluids which are                      that any insured or others test for,
                          needed to perfonn the normal                          monitor, clean up, remove, contain,
                          electrical,         hydraulic      or                 treat. detoxify or neutralize, or in
                          mechanical                 functions                  any way respond to, or assess the
                          necessary for the operation of                        effects of, "pollutants"; or
                          "mobile equipment" or its parts,                  (b) Claim or suit by or on behalf of a
                          if such fuels, lubricants or other                    governmental         authority    for
                          operating         fluids      escape                  damages because of testing for,
                          from a vehicle part designed to                       monitoring, cleaning up, removing,
                          hold, store or receive them.                          containing, treating, detoxifying or
                          This exception does not apply if                      neutralizing, or in any way
                          the "bodily injury" or "property                      responding to, or assessing the
                          damage" arises out of the                             effects of, "pollutants".
                          intentional discharge, dispersal
                          or release of the fuels,                          However, this paragraph does not
                          lubricants or other operating                     apply to liability for damages because
                          fluids, or if such fuels,                         of "property damage" that the insured
                          lubricants or other operating                     would have in the absence of such
                          fluids are brought on or to the                   request, demand, order or statutory or
                          premises, site or location with                   regulatory requirement, or such claim
                          the intent that they be                           or "suit" by or on behalf of a
                          discharged,         dispersed     or              governmental authority.
                          released as part of the
                          operations being performed by               g. Aircraft, Auto Or Watercraft
                          such insured, contractor or                    "Bodily injury" or ~property damage"
                          subcontractor;                                 arising    out    of      the    ownership,
                      (ii) "Bodily injury" or "property                  maintenance, use or entrustment to
                           damage" sustained within a                    others of any aircraft, "auto" or watercraft
                           building and caused by the                    owned or operated by or rented or loaned
                           release of gases, fumes or                    to any insured. Use includes operation
                           vapors from materials brought                 and "loading or unloading".
                           into that building in connection
                           with      operations       being              This exclusion does not apply to:
                           perfonned by you or on your                  (1) A watercraft while ashore on premises
                           behalf by a contractor or                        you own or rent;
                           subcontractor; or
                                                                        (2} A watercraft you do not own that is:
                     (lilt "Bodily
                                 injury'' or "property                     (a) Less than 26 feet long; and
                          damage" arising out of heat,


           06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office       Page 3 of 18
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05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 136 of 350




                    (b) Not being used to carry persons or                 Paragraphs (1 ), (3) and (4) of this
                         property for a charge;                            exclusion do not apply to "property
                 (3} Parking an "auto" on, or on the ways                  damage" {other than damage by fire) to
                     next to, premises you own or rent,                    premises, including the contents 0~1til~ ..u, .. -2:c~
                     provided the "auto" is ryot owned by or               premises, rented to you for a period of 7
                     rented or loaned to you or the insured;               or fewer consecutive days.
                 (4) "Bodily injury" or "property damage"                  Paragraph (2) of this exclusion does not
                     arising out of the operation of any of                apply if the premises are "your work" and
                     the equipment listed in Paragraph                     were never occupied, rented or held for
                     f.(2) or f.(3) of the definition of "mobile           rental by you.
                     equipment".                                           Paragraphs (3), (4), (5) and (6) of this
               h. Mobile Equipment                                         exclusion do not apply to liability
                                                                           assumed under a sidetrack agreement.
                  "Bodily injury"   or "property      damage"
                  arising out of:                                          Paragraph (6) of this exclusion does not
                                                                           apply to "property damage" included in
                 (1) The     transportation    of    "mobile               the   "products-completed      operations
                     equipment'' by an "auto" owned or                     hazard".
                     operated by or rented or loaned to any
                     insured; or
                 (2) The use of "mobile equipment" in, or               k. Damage To Your Product
                     while in practice for, or while being                 "Property damage" to "your product"
                     prepared for, any prearranged racing,                 arising out of "your product" or any part of
                     speed, demolition, or stunting activity.              "your product".
               i. War                                                    I. Damage To Your Work
                  "Bodily injury" or "property damage" due                 "Property damage" to "your work" arising
                  to war, whether or not declared, or any                  out of "your work" or any part of "your
                  act or condition incident to war. War                    work" and included in the "products-
                  includes but is not limited to; civil war,               completed operations hazard".
                  insurrection, usurped power, rebellion or
                  revolution.                                              This exclusion does not apply if the
                                                                           damaged work or the work out of which
               j. Damage To Property                                       the damage arises was performed on
                 "Property damage" to:                                     your behalf by a subcontractor.
                 (1) Property you own, rent, or occupy;                m. Damage To Impaired Property Or
                                                                           Property Not Physically Injured
                 (2) Premises you sell, give away or
                     abandon, if the "property damage"                     "Property damage" to "impaired property''
                     arises out of any part of those                       or property that has not been physically
                     premises;                                             injured, arising out of:
                 (3) Property loaned to you;                              (1) A defect, deficiency, inadequacy or
                                                                              dangerous condition in "your product"
                 (4} Personal property in the care, custody                   or "your work"; or
                     or control of the insured;
                                                                          (2) A delay or failure by you or anyone
                 (5) That particular part of real property on                 acting on your behalf to perform a
                     which you or any contractors or                          contract or agreement in accordance
                     subcontractors working directly or                       with its terms.
                     Indirectly  on    your    behalf are
                     performing operations, if the "property               This exclusion does not apply to the loss
                     damage"     arises   out of those                     of use of other property arising out of
                     operations; or                                        sudden and accidental physical injury to
                                                                           "your product" or "your work" after it has
                 (6) That particular part of any property                  been put to its Intended use.
                     that must be restored, repaired or
                     replaced because "your work" was                  Exclusions J. through m. do not apply to
                     incorrectly performed on it.                      damage by fire to premises while rented to


            06 CGL0098 00 07 03         Includes Copyright Material from Insurance Services Office       Page 4 of 18
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05/18/2005 11 :39 AMCase
                     2D0A7 _ 1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 137 of 350




              you or temporarily occupied by you with                               an insured under any such policy but
              permission of the owner. A separate limit of                          for its termination upon exhaustion of
              insurance applies to this coverage as                                 its limit of liability; or
              described in SECTION Ill - LIMITS OF
                                                                              (2) resulting   from     the    "hazardotw •·:1~ • ~~5
              INSURANCE.
                                                                                  properties" of "nuclear material" and
              n.   Recall Of Products, wo-~k Or Impaired                          with respect to which (a) any person
                   Property                                                       or organization is required to maintain
                                                                                  financlal protection pursuant to the
                    Damages claimed for any loss, cost or
                                                                                  Atomic Energy Act of 1954, or any
                    expense incurred by you or others for the
                                                                                  law amendatory thereof, or (b) the
                    loss of use, withdrawal, recall, inspection,
                                                                                  "insured" is, or had this policy not
                    repair, replacement, adjustment, removal
                                                                                  been issued would be, entitled to
                    or disposal of;
                                                                                  indemnity from the United States of
                   (1) "Your product'';                                           America, or any agency thereof,
                                                                                  under any agreement entered into by
                   (2) "Your work"; or                                            the United States of America, or any
                   (3) "Impaired property";                                       agency thereof, with any person or
                                                                                  organization; or
                   if such product, work, or property is
                   withdrawn or recalled from the market or                   (3) under    any     Medical    Payments
                   from use by any person or organization                         coverage, to expenses Incurred with
                   because of a known or suspected defect,                        respect to "bodily injury" resultlng
                   deficiency, inadequacy or dangerous                            from the "hazardous properties 11 of
                   condition in it.                                               "nuclear material" and arising out of
                                                                                  the operation of a "nuclear facility" by
              o. Personal And Advertising Injury                                  any person or organization; or
                   ''Bodily injury" arising out of "personal                 (4) under any liability Coverage, to
                   and advertising injury".                                      11
                                                                                    bodily injury" or "property damage"
              p. Asbestos                                                        resulting from "hazardous properties"
                                                                                 of "nuclear material", if:
                   "Bodily injury" or "property damage",
                   including but not limited to, compliance                     (a) The "nuclear material" (a) is at any
                   with any action authorized or required by                        "nuclear facility" owned by, or
                   law, which arises out of or would not have                       operated by or on behalf of, an
                   occurred, in whole or in part, but for the                       "insured"  or (b)      has been
                   "asbestos hazard. y                                              discharged or dispersed therefrom;

                   As used in this exclusion, "asbestos                         (b) The "nuclear material" is contained
                   hazard" means actual, alleged or                                 in "spent fuel" or "waste" at any
                   threatened exposure to asbestos in any                           time possessed, handled, used,
                   manner or form whatsoever, either                                processed, stored, transported or
                   directly or indirectly, the failure to warn,                     disposed of, by or on betialf of an
                   advise or instruct related to asbestos, the                      "insured"; or
                   failure to prevent exposure to asbestos,                     (c) The Mbodily injury" or "property
                   or the presence of asbestos in any place                         damage" arises out of the
                   whatsoever, whether or not within a                              furnishing by an "insured" of
                   building or structure.                                           services,      materials,   parts or
              q. Nuclear Liability                                                  equipment in connection with the
                                                                                    planning,                 construction,
                   "Bodily injury" or "property damage•                             maintenance, operation or use of
                   (1) with respect to which an "insured"                           any "nuclear facility", but if such
                       under the policy Is also an Insured                          facility is located within the United
                       under a nuclear energy liability policy                      States of America, its territories or
                       issued by Nuclear Energy Liability                           possessions or Canada, this
                       Insurance Association, Mutual Atomic                         exclusion (3) applies only to
                       Energy Liabllity Underwriters, Nuclear                       "property      damage"      to    such
                       Insurance Association of Canada or                           "nuclear facility" and any property
                       any of their successors, or would be                         thereat.


           06 CGL0098 00 07 03            Includes Copyright Material from Insurance Services Office         Page 5 of 18
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05/18/2005 11:39 AMCase
                    2D0A7 _ 1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 138 of 350




              As used in this exclusion:                                     conducted on such site and all premises
                                                                             used for such operations.
              (1) "Hazardous         properties"    includes
                  radioactive,      toxic    or    explosive            (7) "Nuclear reactor'' means any apparatus
                  properties.                                               designed or used to sustain Aljcl~ • 1.s • 2 ~
                                                                            fission in a self-supporting chain
              (2) Nuclear material"      means "source
                                                                            reaction or to contain a critical mass of
                  materiar•. "Special nuclear material" or
                                                                            fissionable material.
                  "by-product material".
              (3) "Source materiar·, "special nuclear
                                                                        (8) "Property damage" includes all forms of
                                                                               radioactive contamination of property.
                  material", and "by-product material"
                  have the meanings given them in the                   r.    Employment Related Practices
                  Atomic Energy Act of 1954 or in any law
                  amendatory thereof.                                        Any "bodily injury" to:

              (4) "Spent fuel" means any fuel element or                     (1) A person arising out of any:
                  fuel component, solid or liquid, which                           (a) Refusal   to employ;
                  has been used or exposed to radiation
                  in a "nuclear reactor".                                          (b) Termination of         that   person's
                                                                                       employment; or
              (5) 'Waste" means any waste material (a)
                  containing "by-product material" other                           (c) Employment-related practices,
                  than the tailings or wastes produced by                              policies, act or omissions such as
                  the extraction or concentration of                                   coercion, demotion, evaluation,
                  uranium or thorium from any ore                                      reassignmen~ discipline,
                  processed primarily for its "source                                  defamation, harassment,
                  materiaf' content, and (b) resulting from                            humiliation or discrimination
                  the operation by any person or                                       directed at that person;
                  organization of any "nuclear facility"                           (d) Action under Title VII of the 1964
                  included under the first two paragraphs                              Civil Rights Act and/or any
                  of the definition of "nuclear facility".                             amendments thereto; or
              {6) ..Nuclear facility'' means:                                (2)     The spouse, child, parent, brother or
                  {a) Any "nuclear reactor";                                         sister of that person as a
                                                                                     consequence of any injury or
                  (b) Any equipment or device designed                               damage to that person at whom any
                      or used for (I) separating the                                 of the employment-related practices
                      isotopes of uranium or plutonium,                              described in Paragraphs (a), (b),
                      (ii) processing or utilizing "spent                            (c) or (d) above is directed.
                      fuel", or (ill) handling, processing or
                      packaging "waste";                                     This exclusion applies:

                  (c) Any equipment or device used for                       (1)     Whether the insured may be held
                      the processing, fabricating or                                 liable as an employer or in any other
                      alloying of "special nuclear material"                         capacity; and
                      if at any time the total amount of                     (2)     To any obligation to share damages
                      such material in the custody of the                            with or repay someone else who
                      "insured" at the premises where                                must pay damages because of the
                      such equipment or device is located                            injury.
                      consists of or contains more than 25
                      grams of plutonium or uranium 233                s. Prior Loss
                      or any combination thereof, or more                    Any "bodily injury" or "property damage ",
                      than 250 grams of uranium 235;                         if such injury or damage is a continuation
                  (d) Any structure, basin, excavation,                      of, or arises out of injury or damage that
                      premises or place prepared or used                     commenced prior to the inception date of
                      for the storage or disposal of                         the policy.
                      "waste·;                                         t. Fungi, Mold and Mildew
                and includes the site on which any of the                    "Bodlly injury" or "Property damage•
                foregoing is located, all operations                         arising out of fungi, including but not


           06 CGL0098 00 07 03         Includes Copyright Material from Insurance Services Office               Page 6 of 18
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05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 139 of 350




                 limited to, mold or mildew, and any                 2. Exclusions
                 microtoxins, spores, scents, vapors,
                 gases, or byproducts produced or                       This insurance does not apply to:
                 released by fungi, regardless of any other             a. Knowing      Violation   Of      Righ~,   .QI . :::i.:¥. s:i~~
                 cause, event, material, product and/or                    Another
                 building component that contributed
                 concurrently or in any sequence to that                    "Personal and advertising injury~ caused
                 liability, damage, loss, cost, expense or                  by or at the direction of the insured with
                 other type of obligation.                                  the knowledge that the act would violate
                                                                            the rights of another and would inflict
               u.Lead                                                       "personal and advertising injury".
                 "Bodily injury" or "property damage",                  b. Material Published With Knowledge Of
                 including but not limited to, compliance                   Falsity
                 with any action authorized or required by
                 law, which arises out of, in whole or in                  "Personal and advertising injury" arising
                 part, the ingestion, inhalation, absorption               out of oral or written publication of
                 or exposure to lead, either directly or                   material, if done by or at the direction of
                 indirectly, in any manner or form                         the insured with knowledge of its falsity.
                 whatsoever.                                            c. Material Published Prior To Policy
            COVERAGE B PERSONAL AND                                        Period
            ADVERTISING INJURY LIABILITY                                   "Personal and advertising injury" arising
            1. Insuring Agreement                                          out of oral or written publication of
                                                                           material whose first publication took place
              a. We will pay those sums that the insured                   before the beginning of the policy period.
                 becomes legally obligated to pay as
                 damages because of "personal and                       d. Criminal Acts
                 advertising injury" to which this insurance               "Personal and advertising injury" arising
                 applies. We will have the right and duty to               out of a criminal act committed by or at
                 defend the insured against any "suif'                     the direction of the insured.
                 seeking those damages. However, we will
                 have no duty to defend the insured                     e. Contractual Liability
                 against any "suit" seeking damages for                    "Personal and advertising injury'' for
                 "personal and advertising injury" to which                which the insured has assumed liability in
                 this insurance does not apply. We may, at                 a contract or agreement. This exclusion
                 our discretion, investigate any offense                   does not apply to liability for damages
                 and settle any claim or "suit" that may                   that the insured would have in the
                 result. But:                                              absence of the contract or agreement.
                (1) The amount we will pay for damages                   f. Breach Of Contract
                    is limited as described in Section Ill -
                    Limits Of Insurance ; and                              "Personal and advertising injury" arising
                                                                           out of a breach of contract.
                (2) Our right and duty to defend end when
                    we have used up the applicable limit                g. Quallty Or Performance Of Goods -
                    of insurance in the payment of                         Failure To Conform To Statements
                    judgments or settlements under                         "Personal and advertising injury" arising
                    Coverages A or B or medical                            out of the failure of goods, products or
                    expenses under Coverage C.                             services to conform with any statement of
                 No other obligation or liabl!ity to pay sums              quality or perfonnance made in your
                 or perform acts or services is covered                    "advertisement''.
                 unless explicitly provided for under                   h. Wrong Description Of Prices
                 Supplementary Payments - Coverages
                 A and B.                                                  "Personal and advertising injury" arising
                                                                           out of the wrong description of the price
              b. This insurance applies to "personal and                   of goods, products or services stated in
                 advertising injury" caused by an offense                  your "advertisement".
                 arising out of your business but only if the
                 offense was committed in the "coverage
                 territory" during the policy period.

           06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office         Page 7 of 18
                                                           With its Permission.
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 140 of 350




               i. Infringement Of Copyright,         Patent,              mold or mildew, and any microtoxins,
                  Trademark Or Trade Secret                               spores, scents, vapors, gases, or
                                                                          byproducts produced or released by
                 ''Personal and advertising injury" arising
                                                                          fungi, regardless of any other eause;.. a. 2 ~
                 out of the infringement of copyright,
                                                                          event, material, product and/or building
                 patent, trademark, trade secret or other
                                                                          component that contributed concurrently
                 intellectual property rights'.
                                                                          or in any sequence to that liability,
               j. Insureds In Media And Internet Type                     damage, loss, cost, expense or other type
                 Businesses                                               of obligation.
                 "Personal   and    advertising  injury''              o. Employment-Related Practices
                 committed by an insured whose business
                                                                          "Personal and Advertising Injury"
                 is:                                                      arising out of employment-related
                (1) Advertising, broadcasting, publishing                 practices to:
                    or telecasting;                                       (1) A person arising out of any:
                (2) Designing or determining content of                        (a) Refusal to employ;
                    web-sites for others; or
                                                                               (b) Termination    of      a    person's
                (3) An Internet search, access, content or                         employment; or
                    service provider.
                                                                               (c) Employment-related practices,
                 However, this exclusion does not apply to                         policies, act or omissions,
                 Paragraphs 14.a., b. and c. of "personal                          including but not limited to,
                 and advertising injury" under Section V -                         coercion, demotion, evaluation,
                 Definitions.                                                      reassignment, discipline,
                 For the purposes of this exclusion, the                           defamation, harassment,
                 placing of frames, borders or links, or                           humiliation or discrimination
                 advertising, for you or others anywhere                           directed at that person; or
                 on the Internet, is not by itself, considered                  (d) Action under Title VII of the 1964
                 the business of advertising, broadcasting,                         Civil Rights Act and/or any
                 publishing or telecasting.                                         amendments thereto; or
              k. Electronic    Chatrooms       Or    Bulletin             (2, any other person as a consequence
                 Boards                                                          of any injury or damage to that
                 "Personal and advertising injury" arising                       person at whom any of the
                 out of an electronic chatroom or bulletin                       employment-related         practices
                 board the insured hosts, owns, or over                          described in Paragraphs (a), (b), (c)
                 which the insured exercises control.                            or (d) above is directed.
               I. Unauthorized Use Of Another's Name                     This exclusion applies:
                  Or Product                                             (1)      Whether or not the insured may be
                 "Personal and advertising injury" arising                        held liable as an employer or in any
                 out of the unauthorized use of another's                         other capacity; and
                 name or product in your e-mail address,                  (2)     To any obligation to share damages
                 domain name or metatag, or any other                             with or repay someone else who
                 similar tactics to mislead another's                             must pay damages because of any
                 potential customers.                                             such injury.
              m. Pollution                                             p. Asbestos
                 "Personal and advertising injury" arising                "Personal     and   advertising    injury",
                 out of the actual, alleged or threatened                 including but not limited to, compliance
                 discharge, dispersal, seepage, migration,                with any action authorized or required by
                 release or escape of "pollutants" at any                 law, which arises out of or would not have
                 time.                                                    occurred, in whole or in part, but for the
              n. Fungi, Mold and Mildew                                   "asbestos hazard."

                 ''Personal and advertising Injury" arising               As used in this exclusion, "asbestos
                 out of fungi, including but not limited to,              hazard" means actual, alleged or


            06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office          Page 8 of 18
                                                          With Its Permission.
05/18/2005 11 :39 AMCase
                     2D0A7 _ 1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 141 of 350




                   threatened exposure to asbestos in any             2. Exclusions
                   manner or form whatsoever, either
                   directly or Indirectly, the failure to warn,          We will not pay expenses for "bodily injury":
                   advise or instruct related to asbestos, the           a. Any Insured                           ~c   '00, a-s., ali:fflS
                   failure to prevent exposure tQ asbestos,
                   or the presence of asbestos in any place                 To any      insured,      except   "volunteer
                   whatsoever, whether or not within a                      workers".
                   building or structure.                                b. Hired Person
              q. Lead                                                       To a person hired to do work for or on
                   "Personal     and     advertising   injury",             behalf of any insured or a tenant of any
                   including but not limited to, compliance                 insured.
                   with any action authorized or required by             c. Injury On Normally Occupied Premises
                   law, which arises out of, in whole or in
                   part, the ingestion, inhalation, absorption              To a person injured on that part of
                   or exposure to lead, either directly or                  premises you own or rent that the person
                   indirectly, in any manner or form                        normally occupies.
                   whatsoever.                                           d. Workers Compensation And Similar
           COVERAGE C MEDICAL PAYMENTS                                      Laws

           1. Insuring Agreement                                            To a person, whether or not an
                                                                            "employee" of any Insured, if benefits for
              a.   We will pay medical expenses as                          the "bodily injury" are payable or must be
                   described below for "bodily injury" caused               provided under a workers' compensation
                   by an accident:                                          or disability benefits law or a similar law.
                   {1) On premises you own or rent;                      e. Athletics Activities
                   (2) On ways next to premises you own or                  To a person injured while taking part in
                       rent; or                                             athletics.
                   (3) Because of your operations;                       f. Products-Completed Operations
                       provided that                                        Hazard

                       (a)   The accident takes place in the                Included within the "products-completed
                             "coverage territory" and during                operations hazard".
                             the policy period;                          g. Coverage A Exclusions
                       (b)   The expenses are incurred and                  Excluded under Coverage A.
                             reported to us within one year of
                             the date of the accident; and               h. War
                       (c)   The Injured person submits to                  Due to war, whether or not declared, or
                             examination, at our expense, by                any act or condition incident to war. War
                             physicians of our choice as                    Includes civil war, insurrection, rebellion
                             often as we reasonably require.                or revolution.
              b. We will make these payments regardless                  I. Clubs
                 of fault. These payments will not exceed                   If you are a club, to any of your members.
                   the applicable limit of insurance. We will
                   pay reasonable expenses for:                          j. Medical Expenses
                   (1) First aid administered at the time of an             Arising from or In connection with any
                       accident;                                            medical expenses for services by you,
                                                                            any of your employees or any person or
                   (2) Necessary medical, surgical, x-ray                   organization under a contract to you to
                       and    dental    services, including                 provide such services.
                       prosthetic devices; and
                                                                         k. Fungi, Mold and MIidew
                   (3) Necessary       ambulance, hospital,
                       professional    nursing and funeral                  Arising out of fungi, including but not
                       services.                                            limited to, mold or mildew, and any
                                                                            microtoxins, spores, scents, vapors,


           06 CGL0098 00 07 03           Includes Copyright Material from Insurance Services Office        Page 9 of 18
                                                            With its Permission.
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 142 of 350




                    gases, or byproducts produced or                     d. All reasonable expenses incurred by the
                    released by fungi, regardless of any other              insured at our request to assist us in the
                    cause, event, material, product and/or                  investigation or defense of the claim or
                    building component that contributed                     "suit", including actual loss of eamiqru; .~, 1 ~ . ~ ~5
                    concurrently or in any sequetice to that                to $250 a day because of time off from
                    liability, damage, loss, cost. expense or               work.
                    other type of obligation.
                                                                         e. All costs taxed against the insured in the
               I. Lead                                                      "suit".
                    Arising out of, in whole or in part, the             f. Prejudgment interest awarded against the
                    ingestion,   inhalation, absorption or                  insured on that part of the judgment we
                    exposure to lead, either directly or                    pay. If we make an offer to pay the
                    indirectly, in any manner or form                       applicable limit of insurance, we will not
                    whatsoever.                                             pay any prejudgment interest based on
                                                                            that period of time after the offer.
                                                                         g. All interest on the full amount of any
                                                                            judgment that accrues after entry of the
               m.    Asbestos                                               judgment and before we have paid,
                                                                            offered to pay, or deposited in court the
                    Which arises out of or woulq not have                   part of the judgment that is within the
                    occurred, in whole or in part, but for the              applicable limit of insurance.
                    "asbestos hazard.•
                                                                         These payments will not reduce the limits of
                    As used in this exclusion, ·asbestos                 insurance.
                    hazard" means actual, alleged or
                    threatened exposure to asbestos in any           SECTION 11- WHO IS AN INSURED
                    manner or form whatsoever, either                1. If you are designated in the Declarations as:
                    directly or indirectly, the failure to warn.
                    advise or instruct related to asbestos, the          a. An individual, you and your spouse are
                    failure to prevent exposure to asbestos,                insureds, but only with respect to the
                    or the presence of asbestos in any place                conduct of a business of which you are
                    whatsoever, whether or not within a                     the sole owner.
                    building or structure.
                                                                         b. A partnership or joint venture, you are an
               n.Pollution                                                  insured. Your members, your partners,
                                                                            and their spouses are also insureds, but
                    Arising out of the actual, alleged or                   only with respect to the conduct of your
                    threatened        discharge,   dispersal,               business.
                    seepage, migration, release or escape of
                    "pollutants" at any time.                            c. A limited liability company, you are an
                                                                            insured. Your members are also insureds,
           SUPPLEMENTARY PAYMENTS-                                          but only with respect to the conduct of
           COVERAGES A AND B                                                your business. Your managers are
           1. We will pay, with respect to any claim we                     insureds, but only with respect to their
              investigate or settle, or any "suit" against an               duties as your managers.
              insured we defend:                                         d. An organization other than a partnership,
              a.    All expenses we incur.                                  joint venture or limited liability company,
                                                                            you are an insured. Your "executive
              b. Up to $250 for cost of bail bonds required                 officers" and directors are insureds, but
                    because of accidents or traffic law                     only with respect to their duties as your
                    violations arising out of the use of any                officers or directors. Your stockholders
                    vehicle to which the Bodily Injury Liability            are also insureds, but only with respect to
                    Coverage applies. We do not have to                     their liability as stockholders.
                    furnish these bonds.
                                                                         e. A trust, you are an insured. Your trustees
              c.    The    cost   of   bonds to       release               are also insureds, but only with respect to
                    attachments, but only for bond amounts                  their duties as trustees.
                    within the applicable limit of insurance.
                    We do not have to furnish these bonds.           2. Each of the following is also an insured:



           06 CGL0098 00 07 03           Includes Copyright Material from Insurance Services Office      Page 10 of 18
                                                            With its Permission.
05/18/2005 11:39 AMCase
                    2D0A7 _ 1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 143 of 350




              a. Your "volunteer workers"      only while            b. Any person (other than your "employee"
                performing duties related to the conduct                or   'Volunteer   worker"),   or   any
                of your business, or your "employees",                  organization while acting as your real
                other than either your "executive officers11            estate manager.                      ~c   05, i~ • : , 1 ; ~
                (if you are an organization other than a
                partnership, joint venture or limited                c. Any person or organization having proper
                !!ability company) or your managers (if                 temporary custody of your property if you
                you are a limited liability company), but               die, but only:
                only for acts within the scope of their                 (1) With respect to liability arising out of
                employment by you or while performing                       the maintenance or use of that
                duties related to the conduct of your                       property; and
                business. However, none of these
                "employees" or "volunteer workers" are                  (2) Until your legal representative has
                insureds for:                                               been appointed.

                (1) "Bodily injury" or     "personal   and           d. Your legal representative if you die, but
                    advertising injury";                                only with respect to duties as such. That
                                                                        representative will have all your rights
                   (a) To you, to your partners or                      and duties under this policy.
                       members (if you are a partnership
                       or joint venture), to your members         3. With    respect to      "mobile equipment"
                       (if you are a limited liability               registered in your name under any motor
                       company), to a co-"employee"                  vehicle registration law, any person is an
                       while in the course of his or her             insured while driving such equipment along a
                       employment or performing duties               public highway with your permission. Any
                       related to the conduct of your                other person or organization responsible for
                       business, or to your other                    the conduct of such person is also an
                       "volunteer       workers"     while           insured, but only with respect to liability
                       performing duties related to the              arising out of the operation of the equipment,
                       conduct of your business;                     and only if no other insurance of any kind is
                                                                     available to that person or organization for
                   (b) To the spouse, child, parent,                 thls liability. However, no person or
                       brother or sister of that co-                 organization is an insured with respect to:
                       "employee" or "volunteer worker"
                       as a consequence of Paragraph                 a. "Bodily injury" to a co-"employee" of the
                       (1 )(a) above;                                   person driving the equipment; or

                   (c) For which there is any obligation to          b. "Property damage" to property owned by,
                       share damages with or repay                      rented to, in the charge of or occupied by
                       someone else who must pay                        you or the employer of any person who is
                       damages because of the injury                    an insured under this provision.
                       described in Paragraphs {1}(a) or          4. Any organization you newly acquire or form,
                       (b) above; or                                 other than a partnership, joint venture or
                   {d) Arising out of his or her providing           limited liability company, and over which you
                       or failing to provide professional            maintain ownership or majority interest, will
                       health care services.                         qualify as a Named Insured if there is no
                                                                     other similar insurance available to that
                (2} "Property damage" to property:                   organization. However:
                   (a) Owned, occupied or used by,                   a. Coverage under this provision is afforded
                                                                        only until the 90th day after you acquire
                   (b) Rented to, in the care, custody or
                                                                        or form the organization or the end of the
                       control of, or over which physical
                                                                        policy period, whichever is earlier;
                       control is being exercised for any
                       purpose by                                    b. Coverage A does not apply to "bodily
                                                                        injury" or "property damage" that occurred
                   you, any of your "employees",
                                                                        before you acquired or formed the
                   "volunteer workers", any partner or
                                                                        organization; and
                   member (If you are a partnership or
                   joint venture), or any member (if you             c. Coverage B does not apply to "personal
                   are a limited liability company).                    and advertising injury'' arising out of an


           06 CGL0098 00 07 03       Includes Copyright Material from Insurance Services Office      Page 11 of 18
                                                        With its Permission.
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 144 of 350




                  offense committed before you acquired or               you or temporarily occupied by you with
                  formed the organization.                               permission of the owner.
            No person or organization is an insured with              7. Subject to _P~r~graph 5, above,_ the M}~~i®.! _:uL ~~
            respect to the conduct of any current or past                Expense Limit 1s the most we will pay=un~l' ·
            partnership, joint venture or ,limited liability             Coverage C for all medical expenses
            company that is not shown as a· Named Insured                because of "bodily injury" sustained by any
            in the Declarations.                                         one person.
            SECTION Ill - LIMITS OF INSURANCE                        The Limits of Insurance apply to the policy
                                                                     period set forth in the Declarations or any
            1, The Limits of Insurance shown in the                  endorsements thereto.
               Declarations and the rules below fix the most
               we will pay regardless of the number of:
               a. Insureds;
               b. Claims made or "suits" brought; or                 SECTION IV - COMMERCIAL GENERAL
                                                                     LIABILITY CONDITIONS
               c. Persons or organizations making claims
                  or bringing "suits".                               1. Bankruptcy
            2. The General Aggregate Limit is the most we                Bankruptcy or insolvency of the insured or of
               will pay for the sum ot.                                  the insured's estate will not relieve us of our
                                                                         oblfgations under this policy.
               a. Medical expenses under Coverage C;
                                                                     2. Duties In The Event Of Occurrence,
               b. Damages under Coverage A, except
                                                                        Offense, Claim Or Suit
                  damages because of "bodily injury" or
                  "property damage" included in the                      a. You must see to it that we are notified as
                  "products-completed operations hazard";                   soon as practicable of an "occurrence" or
                  and                                                       an offense which may result in a claim.
                                                                            To the extent possible, notice should
               c. Damages under Coverage       B.
                                                                            include:
            3. The       Products-Completed       Operations               (1) How,      when     and     where       the
               Aggregate Limit is the most we will pay under                    "occurrence" or offense took place:
               Coverage A for damages because of "bodily
               injury" and "property damage" included in the               (2) The names and addresses of any
               "products-completed operations hazard".                          injured persons and witnesses; and
            4. Subject to Paragraph 2. above, the Personal                 (3) The nature and location of any injury
               and Advertising Injury Limit is the most we                     or damage arising out of the
               will pay under Coverage B for the sum of all                    "occurrence" or offense.
               damages because of all "personal and
                                                                         Notice of an "occurrence" or an offense is
               advertising injury" sustained by any one
                                                                         not notice of a claim.
               person or organization.
                                                                         b. If a claim is made or "suit" is brought
            5. Subject to Paragraphs 2. or 3. above,
                                                                            against any insured, you must
               whichever applies, the Each Occurrence
               Limit is the most we will pay for the sum of:               (1) Immediately record the specifics of the
                                                                                claim or "suit" and the date received;
               a. Damages under Coverage A; and
                                                                                and
               b. Medical expenses under Coverage C                        (2) Notify us as soon as practicable.
               because of all "bodily injury" and "property                 You must see to It that we receive written
               damage" arising out of any one "occurrence".                 notice of the claim or "suit" as soon as
            6. Subject to Paragraph 5. above, the Damage                    practicable.
               To Premises Rented To You Limit is the                    c. You and any other Involved insured must:
               most we will pay under Coverage A for
               damages because of "property damage" to                     (1) Immediately send us copies of any
               any one premises, while rented to you, or in                     demands, notices, summonses or
               the case of damage by fire, while rented to                      legal papers received in connection
                                                                                with the claim or "suit";


            06 CGL0098 00 07 03          Includes Copyright Material from Insurance Services Office      Page 12 of 18
                                                            With its Pennisslon.
05/18/2005 11 :39 AMCase
                     2D0A7 _ 1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 145 of 350




                 (2) Authorize us to obtain records and                    compute the earned premium for that
                     other information;                                    period and send notice to the first Named
                                                                           Insured. The due date for audit and
                 (3) Cooperate with us in the investigation
                                                                           retrospective premiums is the date slwWffi. u. -;;g~
                     or settlement of the claim or defense
                                                                           as the due date on the bill. If the sum of
                     against the "suit"; and •
                                                                           the advance and audit premiums paid for
                 (4) Assist us, upon our request, in the                   the policy period is greater than the
                     enforcement of any right against any                  earned premium, we will return the
                     person or organization which may be                   excess to the first Named Insured.
                     liable to the insured because of injury
                                                                       c. The first Named Insured must keep
                     or damage to which this insurance
                                                                          records of the information we need for
                     may also apply.
                                                                          premium computation, and send us
              d. No insured will, except at that insured's                copies at such times as we may request.
                 own cost, voluntarily make a payment,
                 assume any obligation, or incur any
                 expense, other than for first aid, without         6. Representations
                 our consent.
                                                                       By accepting this policy, you agree:
           3. Legal Action Against Us
                                                                       a. The statements in the Declarations are
              No person or organization has a right under                 accurate and complete;
              this policy:
                                                                       b. Those statements are based upon
              a. To join us as a party or otherwise bring us              representations you made to us; and
                 into a "suir asking for damages from an
                 insured; or                                           c. We have issued this policy in reliance
                                                                          upon your representations.
              b. To sue us on this policy unless all of its
                 terms have been fully complied with.               7. Separation Of Insureds

              A person or organization may sue us to                   Except with respect to the limits of
              recover on an agreed settlement or on a final            Insurance, and any rights or duties
              judgment against an insured; but we will not             specifically assigned in this policy to the first
              be liable for damages that are not payable               Named Insured, this insurance applies:
              under the terms of this policy or that are in            a. As if each Named Insured were the only
              excess of the applicable limit of insurance.                Named Insured; and
              An agreed settlement means a settlement
              and release of liability signed by us, the               b. Separately to each insured against whom
              insured and the claimant or the claimant's                  claim is made or "suit" is brought
              legal representative.                                8. Transfer Of Rights Of Recovery Against
           4. Other Insurance                                          Others To Us

              This insurance is excess over any other valid            If the insured has rights to recover all or part
              and collectible insurance that applies to any            of any payment we have made under this
              claim or "suit' to which this insurance applies.         policy, those rights are transferred to us. The
              whether such other insurance is written on a             insured must do nothing after loss to impair
              primary, excess, contingent or on any other              our rights. At our request, the insured will
              basis (except if that other insurance is                 bring "suit" or transfer those rights to us and
              specifically written to apply excess of this             help us enforce them.
              insurance), and this insurance will not              9. When We Do Not Renew
              contribute with any other such insurance.
                                                                      If we decide not to renew this policy, we will
           5. Premium Audit                                           mail or deliver to the first Named Insured
              a. We will compute all premiums for this                shown in the Declarations written notice of
                 policy in accordance with our rules and              the nonrenewal not less than 30 days before
                 rates.                                               the expiration date.

              b. Premium shown in this policy as advance               If notice is mailed, proof of mailing will be
                 premium is a deposit premium only. At                 sufficient proof of notice.
                 the close of each audit period we will            10. Cancellation


           06 CGL0098 00 07 03         Includes Copyright Material from Insurance Services Office       Page 13 of 18
                                                          With its Permission.
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 146 of 350




               a. The First Named Insured shown in the                    a. The First Named Insured is authorized to
                  Declarations may cancel this policy by                        act on behalf of all persons or
                  mailing or delivering to us         advance                   organizations Insured under this policy
                  written notice of cancellation.                               with respect to all matters pertaim~ -itO, 1s , ~0"~
                                                                                the insurance afforded by the policy,
               b. We may cancel this policy by mailing or
                  delivering to the First Named Insured                   b. Each      Named Insured       is jointly and
                  written notice of cancellation at least:                      severally liable for:
                 (1)   10 days before the effective date of               (1)        All premiums due under this policy;
                       cancellation if we cancel for non-                            and
                       payment of premium; or
                                                                          (2}        Alf obligations that arise due to the
                 (2)   30 days before the effective date of                          self-insured retention including claim
                       cancellation if we cancel for any                             expenses
                       other reason.
                                                                          (3)        Any other financial obligations of the
               c. We will mail or deliver our notice to the                          Named Insured to us arising out of
                  First Named lnsured's last mailing                                 any agreements contained in this
                  address known to us.                                               policy.
               d. Notice of cancellation will state the             14.     Transfer of Your Rights and Duties
                  effective date of cancellation. The policy                 under this policy
                  period will end on that date.
                                                                            Your rights and duties under this policy
               e. If this policy is cancelled, we will send the             may not be transferred without our written
                  First Named Insured any premium refund                    consent, except in the case of death to an
                  due. If we cancel, the refund will be pro                 individual Named Insured.
                  rata. If the First Named Insured cancels,
                  the refund may be less than pro rata.                      If you die, your rights and duties will be
                  The cancellation will be effective even if
                                                                             transferred to your legal representative
                                                                             but only within the scope of duties as your
                  we have not made or offered a refund.
                                                                             legal representative.     Until your legal
               f. If notice is mailed, proof of mailing will be              representative is appointed, anyone
                  sufficient proof of notice.                                having proper temporary custody of your
                                                                             property will have your rights and duties
            11. Changes                                                      but only with respect to that property.
                 This policy contains all agreements                SECTION V - DEFINITIONS
                 between you and us concerning the
                 insurance afforded. Th!s policy's terms            1. "Advertisement'' means a notice that is
                 can be amended or waived only by                      broadcast or published to the general public
                 endorsement issued by us and made a                   or specific market segments about your
                 part of this policy.                                  goods, products or services for the purpose
                                                                       of attracting customers or supporters. For the
            12. Inspection                                             purposes of this definition:
                 We shall be permitted but not obligated to               a. Notices  that are published include
                 inspect, sample and monitor on a                            material placed on the Internet or on
                 continuing basis the insured's property or                  similar     electronic  means       of
                 operations, at any time. Neither our right                  communication; and
                 to make inspections, sample and monitor
                 nor the actual undertaking thereof nor any               b. Regarding web-sites, only that part of a
                 report thereon shall constitute an                          web-site that is about your goods,
                 undertaking, on behalf of the insured or                    products or services for the purposes of
                 others, or determine or warrant that                        attracting customers or supporters is
                 property or operations are safe, healthful                  considered an advertisement.
                 or conform to acceptable engineering
                                                                    2. "Auto" means a land motor vehicle, trailer or
                 practice or are in compliance with any law,
                                                                       semitrailer designed for travel on public
                 rule or regulation.
                                                                          roads, including any attached machinery or
            13. Named Insureds                                            equipment. But "auto" does not include
                                                                          "mobile equipment".



            06 CGL0098 00 07 03         Includes Copyright Material from Insurance Services Office          Page 14 of 18
                                                           With its Permission.
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 147 of 350




            3. "Bodily injury'' means bodily injury, sickness           a. The repair, replacement, adjustment or
               or disease sustained by a person, including                 removal of "your product" or "your work";
               death resulting from any of these at any time.              or
                                                                                      •                          0SC -~ , 1.S. 3005
            4. "Coverage territory" means:                              b. Your fulfilling the terms of the contract or
                                                                           agreement.
               a. The United States of America {including
                  its territories and possessions). Puerto           9. "Insured contract" means:
                  Rico and Canada;
                                                                        a. A written contract for a lease of premises.
               b. International waters or airspace, but only               However, that portion of the written
                  if the injury or damage occurs in the                    contract for a lease of premises that
                  course of travel or transportatfon between               indemnifies any person or organization
                  any places included in Paragraph a.                      for damage by fire to premises while
                  above;or                                                 rented to you or temporarily occupied by
                                                                           you with permission of the owner is not
               c. All other parts of the world if the injury or
                                                                           an "insured contract";
                  damage arises out of:
                                                                        b. A written sidetrack agreement;
                  (1) Goods or products made or sold by
                      you in the territory      described    in         c. Any easement or license agreement,
                      Paragraph a. above;                                  except in connection with construction or
                                                                           demolition operations on or within 50 feet
                  (2) The activities of a person whose home
                                                                           of a railroad;
                      is in the territory described in
                      Paragraph a. above, but is away for a             d. An obligation, as required by ordinance,
                      short time on your business; or                      to indemnify a municipality, except in
                                                                           connection with work for a municipality;
                  (3) "Personal and advertising injury"
                      offenses that take place through the              e. A    written      elevator      maintenance
                      Internet or similar electronic means of              agreement;
                      communication
                                                                        f. That part of any other written contract or
               provided the insured's responsibility to pay                written agreement pertaining to your
               damages ls determined in a "suit'' on the                   business (including an indemnification of
               merits, in the territory described in                       a municipality in connection with work
               Paragraph a. above or in a settlement we                    performed for a municipality) under which
               agree to.                                                   you assume the tort liability of another
                                                                           party to pay for "bodily injury" or "property
           5. "Employee" includes a "leased worker''.                      damage"      to    a   third     person     or
               "Employee" does not include a "temporary                    organization. Tort liability means a liability
               worker".                                                    that would be imposed by law in the
            6. "Executive officer'' means a person holding                 absence of any written contract or written
               any of the officer positions created by your                agreement.
               charter, constitution, by-laws or any other                 Paragraph f. does not include that part of
               similar governing document.                                 any written contract or written agreement:
            7. "Hostile fire" means one which becomes                     (1) That indemnifies a railroad for "bodily
               uncontrollable or breaks out from where it                     injury" or "property damage" arising
               was intended to be.                                            out of construction or demolition
            8. "Impaired property" means tangible property,                   operations, within 50 feet of any
               other than "your product" or "your work", that                 railroad property and affecting any
               cannot be used or is less useful because:                      railroad bridge or trestle, tracks, road-
                                                                              beds, tunnel, underpass or crossing;
               a. It incorporates "your product" or "your
                  work" that is known or thought to be                    (2) That    indemnifies     an architect,
                  defective,  deficient, inadequate or                         engineer or surveyor for injury or
                  dangerous; or                                                damage arising out of:
               b. You have failed to fulfill the terms of a                    (a) Preparing, approving, or failing to
                  contract or agreement;                                           prepare or approve, maps, shop
                                                                                   drawings,    opinions,     reports,
               if such property can be restored to use by:                         surveys, field orders, change


           06 CGL0098 00 07 03          Includes Copyright Material from Insurance Services Office       Page 15 of 18
                                                           With its Permission.
05/18/2005 11:39 AMCase
                    2D0A7 _ 1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 148 of 350




                            orders      or     drawings       and              (2) Road construction or resurfacing
                            specifications; or                                      equipment such as graders, scrapers
                                                                                    or rollers;
                       (b) Giving directions or instructions, or                                                  ~c ~ . .1~,a~
                           failing to give them, if that is the             e. Vehicles not described in Paragraphs a.,
                           primary cause of, the injury or                      b., c. or d. above that are not self-
                           damage; or         ·                                 propelled and are maintained primarily to
                                                                                provide mobility to permanently attached
                    (3) Under which the insured, if an
                                                                                equipment of the following types:
                        architect,  engineer or surveyor,
                        assumes liability for an injury or                       (1) Air    compressors,       pumps    and
                        damage arising out of the insured's                          generators,      including    spraying,
                        rendering    or failure    to render                         welding,        building      cleaning,
                        professional services, including those                       geophysical exploration, lighting and
                        listed in Paragraph (2) above or                             well servicing equipment; or
                        supervisory, inspection, architectural
                        or engineering activities.                               (2) Cherry pickers and similar devices
                                                                                     used to raise or lower workers;
            10. "Leased worker" means a person leased to
               you by a labor leasing firm under an
                                                                            f. Vehicles not described in Paragraphs a.,
                                                                                 b., c. or d .. above maintained primarily for
               agreement between you and the labor
                                                                                 purposes other than the transportation of
               leasing firm, to perform duties related to the
                                                                                 persons or cargo.
               conduct of your business. "Leased worker"
               does not include a "temporary worker''.                           However, self-propelled vehicles with the
            11. "Loading or unloading" means the handling                        following types of permanently attached
               of property:                                                      equipment are not "mobile equipment''
                                                                                 but will be considered "autos":
               a.   After it is moved from the place where it is
                                                                                 (1) Equipment designed primarily for:
                    accepted for movement into or onto an
                    aircraft, watercraft or "auto";                                 (a) Snow removal;
               b. While it is in or on an aircraft, watercraft                      (b) Road     maintenance,     but     not
                    or "auto"; or                                                       construction or resurfacing; or
               c. While it is being moved from an aircraft,                         (c) Street cleaning;
                  watercraft or "auto" to the place where it
                    is finally delivered;                                        (2) Cherry pickers and similar devices
                                                                                     mounted on automobile or truck
              but "loading or unloading" does not include                            chassis and used to raise or lower
              the movement of property by means ot a                                 workers; and
              mechanical device, other than a hand truck,
              that is not attached to the aircraft, watercraft                   (3) Air    compressors,       pumps    and
              or "auto".                                                             generators,      including    spraying,
                                                                                     welding,        building      cleaning,
           12."Mobile equipment" means any of the                                    geophysical exploration, lighting and
              following types of land vehicles, including                            well servicing equipment.
              any attached machinery or equipment:
                                                                        13. "Occurrence" means an accident, including
               a.   Bulldozers, farm machinery, forklifts and               continuous or repeated exposure to
                    other vehicles designed for use principally             substantially the same general harmful
                    off public roads;                                       conditions.
              b. Vehicles maintained for use solely on or               14. "Personal and advertising injury" means
                    next to premises you own or rent;                       injury, including consequential "bodily injury",
                                                                            arising out of one or more of the following
               c. Vehicles that travel on crawler treads;
                                                                            offenses:
              d. Vehicles, whether self-propelled or not,
                    maintained primarily to provide mobility to
                                                                            a.   False arrest, detention or imprisonment;
                    permanently mounted:                                    b. Malicious prosecution;
                    (1) Power cranes,         shovels,    loaders,          c. The wrongful eviction from, wrongful entry
                        diggers or drills; or                                  into, or invasion of the right of private
                                                                               occupancy of a room, dwelling or

           06 CGL0098 00 07 03              Includes Copyright Material from Insurance Services Office         Page 16 of 18
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05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 149 of 350




                  premises that a person occupies,                                     contractor    or    subcontractor
                  committed by or on behalf of its owner,                              working on the same project.
                  landlord or lessor;
                                                                                     Work that may need 5e,e,i~ • 1.~ • 2 -'ffl5
               d. Oral or written publication, in any manner,                        maintenance, correction, repair or
                  of material that slanders or libels a person                       replacement, but which is otherwise
                  or organization or disparages a person's                           complete,   will  be   treated   as
                  or organization's goods, products or                               completed.
                  services;
                                                                           b. This does not include "bodily injury" or
               e. Oral or written publication of material, in                   "property damage" arising out of:
                  any manner, that violates a person's right
                  of privacy;                                                   (1) The transportation of property, unless
                                                                                    the injury or damage arises out of a
               f. The use of another's advertising idea in                          condition in or on a vehicle not owned
                  your "advertisement"; or                                          or operated by you, and that condition
                                                                                    was created by the "loading or
               g. Infringing upon another's copyright, trade                        unloading" of that vehicle by any
                  dress or slogan in your "advertisement''.
                                                                                    insured;
               All "personal and advertising injury" arising                    (2) The existence of tools, uninsta!led
               out of the same or similar material,                                 equipment or abandoned or unused
               regardless of the mode in which such                                 materials; or
               material is communicated, including but not
               limited to publication by means of Internet,                     (3} .Products or operations for which the
               extra-net. email or website, will be                                  classification,   listed     in   the
               considered as arising solely out of one                               Declarations or in a policy schedule,
               offense.                                                              states      that   products-completed
                                                                                     operations are subject to the General
            15. "Pollutants" mean any solid, liquid, gaseous                         Aggregate Limit.
                or thermal irritant or contaminant, including
                smoke, vapor, soot, fumes, acids, alkalis,              17. "Property damage" means:
                chemicals and waste. Waste includes
                materials to be recycled, reconditioned or
                                                                           a.   Physical injury to tangible property,
                                                                                including all resulting loss of use of that
                reclaimed.
                                                                                property. All such loss of use shall be
            16. "Products-completed    operations     hazard"                   deemed to occur at the time of the
                means:                                                          physical injury that caused it; or
               a. All "bodily injury" and "property damage"                b. Loss of use of tangible property that is not
                  occurring away from premises you own or                       physically injured. All such loss of use
                  rent and arising out of "your product'' or                    shall be deemed to occur at the time of
                  "your work" except .                                          the "occurrence" that caused it.
                 (1) Products that are still in your physical              For the purposes of this insurance, electronic
                     possession; or                                        data is not tangible property.
                 (2) Work that has not yet been completed                  As used in this definition, electronic data
                     or abandoned. However, "your work"                    means information, facts or programs stored
                     will be deemed completed at the                       as or on, created or used on, or transmitted
                     earliest of the following times:                      to or from computer software, including
                                                                           systems and applications software, hard or
                     (a) When all of the work called for in                floppy disks, CO-ROMS, tapes, drives, cells,
                         your contract has been completed.                 data processing devices or any other media
                    (b) When all of the work to be done at                 which are used with electronically controlled
                        the job site has been completed if                 equipment.
                        your contract calls for work at more            18. "Suit" means a civil proceeding in which
                        than one job site.                                  damages because of "bodily injury",
                     (c) When that part of the work done at                 "property damage" or "personal and
                         a job site has been put to its                     advertising injury" to which this insurance
                         intended use by any person or                      applies are alleged. "Suit" includes:
                         organization other than another


            06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office            Page 17 of 18
                                                              With its Permission.
05/18/2005 11:39 AMCase
                    2D0A7 _ 1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 150 of 350




               a. An arbitration proceeding in which such                   (2) Materials,   parts  or  equipment
                  damages are claimed and to which the                          furnished in connection with such
                  insured must submit or does submit with                       work or operations.
                  our consent; or
                                                                         b. Includes
               b. Any other alternative dispute resolution
                     proceeding in which such damages are                   (1) Warranties or representations made at
                     claimed and to which the insured submits                   any time with respect to the fitness,
                     with our consent.                                          quality, durability, performance or use
                                                                                of "your work", and
            19."Temporary worker' means a person who is
               furnished to you to substitute for a                         (2) The providing of or failure to provide
               permanent "employeeu on leave or to meet                         warnings or instructions.
               seasonal or short-term workload conditions.
            20. "Volunteer worker" means a person who is
               not your "employee", and who donates his or
               her work and acts at the direction of and
               within the scope of duties determined by you,
               and is not paid a fee, salary or other
               compensation by you or anyone else for their
               work perfonned for you.
            21."Your product~:
               a. Means:
                    (1) Any goods or products, other than real
                        property,    manufactured,       sold,
                        handled, distributed or disposed of by:
                       (a) You;
                       (b) Others trading under your name; or
                       (c) A person or organization whose
                           business or assets you have
                           acquired; and
                    (2) Containers   (otherthan vehicles),
                        materials,   parts or   equipment
                        furnished in connection with such
                        goods or products.
               b. Includes
                    (1) Warranties or representations made at
                        any time with respect to the fitness,
                        quality, durability, performance or use
                        of "your product"; and
                    {2) The providing of or failure to provide
                        warnings or instructions.
               c.   Does not Include vending machines or
                    other property rented to or located for the
                    use of others but not sold.
           22. "Your work":
               a. Means:
                    (1) Work or operations performed by you
                       or on your behalt, and




           06 CGL0098 00 07 03           Includes Copyright Material from Insurance Services Office     Page 18 of 18
                                                            With its Permission.
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 151 of 350




                                            ~fArch
                                            Insurance Group

                                                Signature Page


            YOUR COMPLETE POLICY CONSISTS OF THE POLICY JACKET WITH THE
            COVERAGE FORMS, DECLARATIONS, AND ENDORSEMENTS, IF ANY.


            IN WITNESS WHEREOF, Arch Specialty Insurance Company has caused this policy to
            be executed and attested, and, if required by state law, this policy shall not be valid
            unless countersigned by a duly authorized representative of the company.




            Ralph E. Jones Ill                             Martin J. Nilsen

            President                                      Secretary




            06 ML0002 00 07 03
05/18/2005 11:39 AMCase
                    2D0A7 _ 1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 152 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                      SERVICE OF SUIT

            It is agreed that in the event   of the failure of this Company to pay any amount claimed to be due
            hereunder, this Company, at the request of the Insured, will submit to the jurisdiction of any Court of
            Competent Jurisdiction within the United States and will comply with all requirements necessary to give
            such Court jurisdiction and all matters arising hereunder shall be determined in accordance with the law
            and·practice of such Court.

            It is further agreed that service of process in such suit may be made upon the highest one in authority
            bearing the title •commissioner", "Director" or ·superintendent" of Insurance of the state or
            commonwealth wherein the property covered by this policy Is located, and that in any suit instituted against
            it upon this contract this Company will abide by the final decision of such Court or any Appellate Court in
            the event of an appeal.         The one in authority bearing the title "Commissioner", "Director" or
            "Superintendent" of Insurance of the state or commonwealth wherein the property covered by this policy is
            located is hereby authorized and directed to accept service of process on behalf of this Company in any
            such suit and/or upon the lnsured's request to give a written undertaking to the Insured that they will enter
            a general appearance upon this Company's behalf in the event such a suit shall be Instituted.



            All other terms and conditions of this poHcy remain unchanged.




            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: DPC 0005591 00
            Named Insured:
            Endorsement Effective Date:


            02 Ml 0003 00 08 02
05/18/2005 11:39 AMCase
                    2D0A7 _ 1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 153 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 BLANKET ADDITIONAL INSURED ENDORSEMENT
                                           DEDUCTIBLE VERSION
            This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE FORM

            SECTION II - WHO IS AN INSURED is amended to lndude as an additional insured those persons or
            organizations who are required under a written contract with the Named Insured to be named as an
            additional insured, but only with respect to liability arising out of your operations, "your work", or premises
            owned by or rented to you.

            As used in this endorsement, the words •you· and •your" refer to the Named Insured.

            All other terms and conditions of this Policy remain unchanged.




            Endorsement Number: 1
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: DPC 0005591 00
            Named Insured:
            Endorsement Effective Date:


            00 CGL0108 00 08 04                                                                                Page 1 of 1
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 154 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     OTHER INSURANCE - BROAD FORM, CGL POLICY ENDORSEMENT ,~c ·~. :uL 2 00"5

            It is hereby agreed that the follow.ing paragraph is added to Section IV, Commercial General Liability
            Conditions, Item 4:                ·

                Where the named insured is required by a written contract to provide insurance that is primary and
                non-contributory, and the written contract so requiring is executed by the named insured before any
                loss, this insurance will be primary, but only if and to the extent required by that written contract.

            This endorsement is part of your policy. It supersedes and controls anything to the contrary. It ls
            otherwise subject to all other terms of the policy.

            All other terms and conditions of this Policy remain unchanged.




            Endorsement Number: 2
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below Is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: DPC 0005591 00
            Named Insured:
            Endorsement Effective Date:


            00 CGL0130 00 01 04                                                                             Page 1 of 1
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 155 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     WAIVER OF SUBROGATION ENDORSEMENT DEDUCTIBLE POLICY

            This endorsement modifies insurance· provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                           SCHEDULE

             Name of Person or Organization:        Where required by written contract.


            (If no entry appears above, information required to complete this endorsement will be shown in the Decla-
            rations as applicable to this endorsement.)

           The TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US Condition (Section IV - COM-
           MERCIAL GENERAL LIABILITY CONDITIONS) is amended by the addition of the following:

           We waive any right of recovery we may have against the person or organization shown In the Schedule
           above because of payments we make for injury or damage arising out of your operations or your work
           done under a written contract with that person or organization.

           All other terms and conditions of this Policy remain unchanged.




           Endorsement Number: 3
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: OPC 0005591 00
           Named Insured:
           Endorsement Effective Date:

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05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 156 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                               CROSS SUITS EXCLUSION
            This insurance does not apply to and 'we will not have the duty to investigate or defend any suit brought
            against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
            or loss arising out of: damages of one Named Insured against another Named Insured.

            All other terms and conditions of this Policy remain unchanged.




           Endorsement Number: 4
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: DPC 0005591 00
            Named Insured:
            Endorsement Effective Date:


            00 CGL0007 00 05 04                                                                            Page 1 of 1
                                                                                               - - - - ----·-                  - - -
05/18/2005 11:39 AMCase
                    2D0A7 _ 1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 157 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                           INTELLECTUAL PROPERTY EXCLUSION
            This insurance does not apply to and we will not have the duty to Investigate or defend any suit brought against
            you, or pay any costs or expenses of such investigation and defense for liability, claims, damage or loss arising
            out of:

            any "bodily injury'', "property damage", or "personal and advertising injury" arising out of or directly or indirectly
            related to the actual or alleged publication or utterance or oral or written statements which are claimed as an
            infringement violation or defense of any of the following rights or laws:

           1. copyright. other than infringement of oopyrighted advertising materials;
           2. patent;
           3. trade secrets;
           4. trade dress; or
           5. trade marl< or service marl< or certification mark or collective mark or trade name, other than trademarked or
                service marked titles or slogans.
           All other terms and conditions of this policy remain unchanged.




           Endorsement Number.5
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           poricy.)

           Policy Number. DPC 0005591 00

           Named Insured:

           Endorsement Effective Date:


           02 CGL001800 10 02
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 158 of 350




            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        RESIDENTIAL AND RESIDENTIAL CONVERSION EXCLUSION
                                                                                                                S C -~ 5 . ·l :8 .,3-Q;QS
           This insurance does not apply to and we will have no duty to Investigate or defend or provide coverage
           for any suit brought against yorJ, or pay any costs or expenses of such Investigation and defense for
           liability, claims, damage or loss arising out of:

               1.   the development or construction, in whole or In part, or existence of a non-commercial dwelling
                    or residence; or

               2.   the development or construction of any building, in whole or in part, which has been converted,
                    in whole or part, to a non-commercial dwernng or residence at any time after the inception date
                    of this insurance policy.

               For purposes of this endorsement, non•commercial dWellings or residences shall include, but are not
               limited to, homes, cooperatives, town homes, lofts and condominiums.

           However, this exclusion does not apply to the construction, management or ownership of apartment
           buildings, hotels or motels by you.

           All other terms and conditions of this Policy remain unchanged.




           Endorsement Number: 6
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Polley Number: DPC 0005591 00
           Named Insured:
           Endorsement Effective Date:


           00 CGL0080 00 02 05                                                                             Page 1 of 1
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 159 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        ENGINEERS, ARCHITECTS OR
                                SURVEYORS PROFESSIONAL LIABILITY EXCLUSION
            This endorsement modifies insurance provided under the foRowing:

               COMMERCIAL GENERAL LIABILITY COVERAGE PART

            The foltowlng exclusion is added to Paragraph 2.,          Professional services include:
            Exclusions of Section I - Coverage A - Bodily              1. The preparing, approving, or failing to prepare or
            Injury And Property Damage Liability and Para•                 approve, maps, shop drawings, opinions, re-
            graph 2., Exclusions of Section I - Coverage B -               ports, surveys, field orders, change orders or
            Personal And Advertising Injury Liability:                     drawings and specifications; and
            This insurance does not apply to "bodily injury",          2. Supervisory, inspection, architectural or engi-
            "property damage" or "personal and advertising                 neering activities.
            injury'' arising out of the rendering of or fa~ure to
            render any professional services by you or any engi-
            neer, architect or surveyor who is either employed by
            you or performing work on your behalf in such capac-
            ity.

            All other terms and conditions of this policy remain unchanged.




            EndorsementNumber.7
            This endorsement rs effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement is issued subsequent to preparation of the pol-
            ~                                                                                                    .



            Policy Number. DPC 0005591 00

            Named Insured:

            Endorsement Effective Date:


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05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 160 of 350




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               EARTH MOVEMENT OR SUBSIDENCE EXCLUSION

           This insurance does not apply to and we will not have the duty to investigate or defend any suit brought
           against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
           or loss arising out of:
           the subsidence, settling, sinking, slipping, falling away, caving in, shifting, eroding, consolidating,
           compacting, flowing, rising, tilting or any other similar movement of earth or mud, regardless of whether
           such movement Is a naturally occurring phenomena or Is man-made.

           All other terms and conditions of this policy remain unchanged.




           Endorsement Number: 8
           This endorsement is effective on the inception date of this policy unless otheiwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: DPC 0005591 00
           Named Insured:
           Endorsement Effective Date:



           02 CGL0011 00 10 02                                                                             Page 1 of 1
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 161 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                    WRAP-UP EXCLUSION
           This insurance does not apply to aod we will not have the duty to investigate or defend any suit brought against
           you, or pay any costs or expenses·of such investigation and defense for liability, claims, damage or loss arising
            out of:

           wrap-ups, owner controlled insurance program, contractor controlled insurance programs, or similar rating
           program.

           AA other terms and conditions of this policy remain unchanged.




           Endorsement Number:9
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           poficy.)

           Policy Number: DPC 0005591 00

           Named Insured:

           Endorsement Effective Date:


           00 CGL0041 00 12 02
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 162 of 350



                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                             EXTERIOR INSULATION AND FINISH SYSTEM EXCLUSION
            This insurance does not apply to and we will not have the duty to investigate or defend any suit brought • rn • a@oo
            against you, or pay any costs or exp~nses of such investigation and defense for liability, claims, damage
            or loss arising out of:

            1.     "bodily injury", ''property damage", or "personal and advertising injury" caused directly or indirectly,
                  in whole or in part, by the design, manufacture, construction, fabrication, preparation, installation,
                  application, maintenance or repair, including remodeling, service, correction, or replacement, of an
                  "exterior insulation and finish system" or any part thereof, any substantially similar system or any part
                  thereof, including the application or use of conditioners, primers, accessories, flashings, coatings,
                  caulkings or sealants in connection with such a system; or

            2. Any moisture-related or dry rot related "property damage" to a house or other building to which an
               "exterior insulation and finish system" has been applied, if that "property damage" is caused directly
               or indirectly, in whole or in pa1t by the "exterior insulation and finish system";

            Regardless of any other cause or event that contributed concurrently or in any sequence to that injury or
            damage.

            For the purposes of this endorsement, an "exterior insulation and finish system" means an exterior
            cladding or finish system applied to a house or other building, and consisting of:

                      a) A rigid or semi-rigid sheathing or insulation board, including gypsum-based, wood-based, or
                         insulation-based materials; and

                      b) The adhesive and/or mechanical fasteners used to attach the insulation board to the
                         substrate; and

                      c)   A reinforcing mesh that is embedded in   a base coat applied to the insulation board; and
                      d) A finish coat providing surface texture and color.

            However, an "exterior insulation and finish system" does not include a cement-based, polymer-enhanced
            stucco cladding system which:

                      a) Incorporates a weather -resistive barrier pursuant to applicable building codes ; and
                      b)   Incorporates ribbed insulation sheathing with ribs aligned vertically to provide drainage; and

                      c)   The manufacturer of the stucco components has a valid ICBO Evaluation Services listing in
                           good standing; and

                      d) There is no mixing of drfferent manufacturer's products for the stucco system

            So long as that cement•based, enhanced stucco cladding system satisfies all requirements of the
            applicable model building code and the applicable local building code.

            All other terms and conditions of this Policy remain unchanged.

            Endorsement Number: 10
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below is required only when this endorsement Is issued subsequent to preparation of the
            policy.)
            Policy Number: OPC 0005591 00
            Named Insured:
            Endorsement Effective Date:

            00 CGL0016 00 03 04                                                                                Page 1 of 1
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 163 of 350




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                     SILICA EXCLUSION
           This policy does not apply to:

           Any claim, ''suit,• demand or loss that alleges "bodily injury,• "property damage,· or ~personal and
           advertising injury" (including but not limited to, compliance with any request, demand, order, or statutory
           or regulatory requirement or any other action authorized or required by law). including any costs, fees,
           expenses, penalties, judgments, fines, or sanctions arising therefrom, which arises out of, or relates to, in
           whole or In part, the "silica hazard" or would not have occurred, In whole or in part, but for the "silica
           hazard".

           As used in this exclusion, "silica hazard" means:

               (1 )    actual, alleged or threatened exposure to "silica" either directly or indirectly, or

               (2)     the actual or alleged failure to warn, advise or instruct related to "silica·, or

               (3)     the actual or alleged failure to prevent exposure to "silica", or

               (4)     the actual or alleged presence of "silica• whether or not within a building or structure.

           As used in this exclusion, "silica· means any substance, regardless of its form or state, containing silicon,
           including but not limited to silicon, silica, silicates and silicone.

           All other terms and conditions of this Policy remain unchanged.




           Endorsement Number: 11
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: DPC 0005591 00
           Named Insured:
           Endorsement Effective Date:


           00 CGL0141 00 03 04                                                                                Page 1 of 1
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 164 of 350




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         · CHROMATED COPPER ARSENATE ("CCA") EXCLUSION

           This insurance does not apply to and we will not have the duty to Investigate or defend any suit brought
           against you, or pay any costs or expenses of such investigation and defense for liability, claims. damage
           or loss arising out of any product treated with, preserved with, or containing chromated copper arsenate
           ("CCA").


           All other terms and conditions of this Policy remain unchanged.




           Endorsement Number:12
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: DPC 0005591 00
           Named Insured:
            Endorsement Effective Date:



            00 CGL0092 00 05 03                                                                       Page 1 of 1
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 165 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                          RADON CONTAMINATION EXCLUSION
            This insurance does not apply to and we will not have the duty to investigate or defend any suit brought against
            you, or pay any costs or expenses of such investigation and defense for fiabmty, daims, damage or loss arising
            out of the presence, Ingestion, inhalation or absorption of radon in any form.

            All other terms and conditions of this policy remain unchanged.




            Endorsement Number: 13
            This endorsement is effective on the inception date of this poricy unless otherwise stated herein.
            (The inrormation below is required only when this endorsement Is Issued subsequent to preparation of the
            poficy.)

            Policy Number: DPC 0005591 00

            Named Insured:

            Endorsement Effective Date:


            00 CGL0066 00 02 03
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 166 of 350




               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              TOTAL POLLUTION EXCLUSION

           Exclusion 2. f. or SECTION 1- COYERAGES- COVERAGE A. BODILY INJURY AND PROPERTY
           DAMAGE is deleted and replaced by the following:

           f. Pollution

           "Bodily injury" or "property damageu arising out of the actual, alleged or threatened discharge, dispersal,
           seepage, migration, release or escape of "pollutants" at any time, from any site, premises or location. This
           exclusion includes but is not limited to:

           Any loss, cost, or expense arising out of any:

           a) Reques~ demand, or order that any Insured or others test for, monitor, clean up, remove, contain, trea~
              detoxify, neutratize, or in any way respond to or assess the effects of "pollutants"; or
           b) Claim or suit by or on behalf on a governmental authority for damages because of testing for, monitoring,
              cleaning up, removing, containing. treating, detoxifying, or neutralizing, or in any way responding to or
              assessing the effects of "pomutants".

           Alf·other terms and conditions of this policy remain unchanged.




           Endorsement Number:14
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The infolTTlation below is required only when this endorsement is issued subsequent to preparation of the
           poficy.)

           Policy Number. DPC 0005591 00

           Named Insured:

           Endorsement Effective Date:


           02 CGL0023 00 10 02
05/18/2005 11:39 AMCase
                    2D0A7 _ 1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 167 of 350




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         SUBCONTRACTOR ENDORSEMENT: DEDUCTIBLE POLICY

           The Conditions of this policy are amended to include the following:

               1. Certificates of Insurance for Commercial General Liability coverage, with limits at least equal to or
                  greater than $1 ,000,000 each "occurrence• for "bodily injury• and "property damage• and
                  $1,000,000 per offense for •personal and advertising injury•, will be obtained by the Named
                  Insured from all "subcontractors" prior to commencement of any work performed for any insured.

               2. The Named Insured will obtain agreements, in writing, from all "subcontractors" pursuant to which
                  the •subcontractor{s}" will be required to defend, indemnify and hold harmless the Named
                  Insured, and any other insured under the policy for whom the •subcontractor" is working, for any
                  claim or "suir for "bodily injury•, "property damage", and "personal injury and advertising injury"
                  arising out of the work performed by the •subcontractor."

               3. The Named Insured, and any other insured under the policy for whom the "subcontractor" is
                  working, will be named as acldltional insured on all of the "subcontractors" Commercial General
                  liability policy(s).

               4.   For items 1. through 3. above, documentation will be retained for a minimum of eight years from
                    the expiration date of this policy.

           If any of the above conditions are not satisfied, a deductible of $100,000 per "occurrence• or offense will
           apply to any claim or usuir under this policy seeking damages for "bodlly injury", "property damage'' and
           ~personal injury and advertising injury" arising out of the work performed by the "subcontractor" for the
           insured. (If no deductible amount is shown above, then the deductible will be deemed to be $1 ,000,000
           per ·occurrence" or offense).

           For the purposes of this endorsement only, "subcontractor" or "subcontractors" means any person or
           entity who is not an employee of an insured and does work or performs services for or on behalf of an
           insured.

           All other terms and conditions of this Polley remain unchanged.




           Endorsement Number: 15
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number: DPC 0005591 00
           Named Insured:
           Endorsement Effective Date:


           00 CGL0125 00 03 05                                                                             Page 1 of 1
05/18/2005 11 :39 AMCase
                     2D0A7 _ 1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 168 of 350




               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             DESIGNATED CONSTRUCTION PROJECT($) GENERAL AGGREGATE LIMIT ANJ) 95 , a:ts • .ae0::;
             POLICY AGGREGATE LIMIT ENDORSEMENT- DEDUCTIBLE POLICY VERSION
            Designated Construction Projects: ANY CONSTRUCTION PROJECT AT WHICH YOU PERFORM
            OPERATIONS.




           (If no entry appears above, information required to complete this endorsement will be shown in the Declarations
           as applicable to this endorsement.)
           A. Subject to paragraph F., below, for all sums                  4. The limits shown in the Declarations for
                which the Insured becomes legally obligated to                  Each Occurrence for "Bodily Injury and
                pay as damages, which can be attributed only                    Property Damage Liability'', Each Occur•
                to ongoing operations at a single designated                    rence for "Damages To Premises Rented
                construction project shown in the Schedule                     To You", and Each Offense for "Personal
                above, damages caused by "occurrences" un•                      and Advertising Injury'' continue to apply.
                der SECTION I - COVERAGE A. BODILY                              However, instead of being subject to the
                INJURY AND PROPERTY DAMAGE, which                               General Aggregate Limit shown in the Dec•
                can be attributed only to ongoing operations at a               larations, such limits will be subject to the
                single designated construction project shown in                 appllcable Designated Construction Project
                the Schedule above:                                             General Aggregate Limit.
                 1. A separate Designated Construction Project         B. For all sums which the Insured becomes legally
                    General Aggregate Limit applies to each                obligated to pay as damages caused by "occur•
                    designated construction project, and that              rences" under SECTION I - COVERAGE A.
                    limit is equal to the amount of the General             BODILY INJURY AND PROPERTY DAMAGE,
                    Aggregate Limit shown in the Declarations.             which cannot be attributed only to ongoing op.
                 2. The Designated Construction Project Gen-               erations at a single designated construction pro-
                    eral Aggregate Limit is the most we will pay           ject  shown in the Schedule above:
                    for the sum of all damages under SECTION                1. Any    payments made under SECTION I -
                    I - COVERAGE A. BODILY INJURY AND                          COVERAGE A. BODILY INJURY AND
                    PROPERTY DAMAGE, except damages                             PROPERTY DAMAGE for damages shall
                    because of "bodily injury" or "property dam-                reduce the amount available under the
                    age" Included in the "products-completed                   General Aggregate Limit or the Products-
                    operations hazard", regardless of the num•                 Completed Operations Aggregate Limit,
                    ber of:                                                    whichever ls applicable; and
                    a. Insureds;                                            2. Such payments shall not reduce any Desig•
                    b. Claims made or "suits" brought; or                       nated Construction Project General Aggre-
                                                                               gate Limit.
                    c. Persons or organizations making claims
                         or bringing "suits".                          C. When coverage for liability arising out of the
                                                                           "products.completed operations hazard" is pro.
                3. Any payments made under SECTION I -                     vided, any payments for damages because of
                    COVERAGE A. BODILY INJURY AND                          ''bodily injury'' or "property damage" included in
                    PROPERTY DAMAGE for damages shall                      the "products-completed operations hazard" will
                    reduce the Designated Construction Project             reduce the Products.Completed Operations
                    General Aggregate Limit for that designated            Aggregate Limit, and not reduce the General
                    construction project Such payments shall               Aggregate Limit or the Designated Construction
                    not reduce the General Aggregate Limit                 Project General Aggregate Limit
                    shown in the Declarations nor shall they re-
                    duce any other Designated Construction
                    Project General Aggregate Limit for any
                    other designated construction project shown
                    in the Schedule above.


           02 CGL0109 00 09 03       Includes Copyright Material from Insurance Services Office                  Page 1 of2
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05/18/2005 11:39 AMCase
                    2D0A7 _ 1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 169 of 350




            D. If the applicable designated construction project
                                                                       E. The provisions of SECTION m- LIMITS OF
               has been abandoned, delayed, or abandoned                  INSURANCE not otherwise modified by this
               and then restarted, or if the authorized contract-
                                                                          endorsement shall continue to apply as sjjpu-_ .. .,, .....°""
               ing parties deviate from plans, blueprints, de-              lated.                                  $;;\; ~ .... ~ ..............
               signs, specifications or timetables,. the project
               will still be deemed to be the ~me construction         F. Regardless of the Number of projects and any
               project.                                                    other circumstance, the amount we will pay un-
                                                                           der this insurance policy shall be no more than
                                                                           the "Policy Aggregate" shown below:
                                                                       Policy Aggregate Limit                  $5,000,000
                                                                       In the event that no dollar amount is shown next to
                                                                       the Policy Aggregate Limit above, the Policy Aggre-
                                                                       gate Limit is $10,000,000.


           An other terms and conditions of this policy remain unchanged.




           Endorsement Number: 16
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number. DPC 0005591 00
           Named Insured:
           Endorsement Effective Date:

           02 CGL0109 00 09 03        Includes Copyright Material from Insurance Services Office              Page2of2
                                                         With its PermiSSion.
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 170 of 350




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                             NON-STACKING ENDORSEMENT
            If any "occurrence" or offense covered under this policy is also covered in whole or part under any other
            commercial general liability policy issued to you by us, (or any of our related or affiliated companies),
            including but not limited to prior policies issued to you by us, (or any of our related or affiliated
            companies), the most we will pay under all such policies covering the occurrence or offense is the single
            highest available applicable limit of liability of one of the policies which cover the "occurrence" or offense.
            This provision does not apply to policies written by us, (or any of our related or affiliated companies), as
            insurance that applies excess of this policy.

            All other terms and conditions of this policy remain unchanged.




            Endorsement Number: 17
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            {The information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: DPC 0005591 00
            Named Insured:
            Endorsement Effective Date:


            00 CGL0117 00 12 03                                                                                 Page 1 of 1
                                                                                          - - - - - - ·--          -   - -
05/18/2005 11:39 AMCase
                    2D0A7 _ 1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 171 of 350




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   EMPLOYEE BENEFITS LIABILITY COVERAGE

                               THIS ENDORSEMENT PROVIDES CLAIMS-MADE COVERAGE.
                                PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.

           This endorsement modifies insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                           SCHEDULE




                                                                                                         -
           Coverage            Limit Of Insurance                   Deductible                           Premium

           Employee Benefits $1,000,000                Each         $10,000                   Each
           Programs                                    Employee                               Employee

                               $1,000,000              Aggregate

           Retroactive Date:   11/10/2003
           If no entry appears above with respect to the Aggregate, then the Aggregate limit will be $1,000,000.

           If no entry appears above with respect to the Retroactive Date, then the Retroactive Date will be the
           Policy Period inception date.

           A. The following is added to Section I - Coverages:

               COVERAGE - EMPLOYEE BENEFITS LIABILITY

               1. Insuring Agreement
                  a.   We will pay those sums that the insured becomes legally obligated to pay as damages
                       because of any negligent act. error or omission by the insured, or of any person for whom the
                       insured is legally liable, in the "administration• of the insureds · employee benefit program·, to
                       which this insurance applies.

                       But
                       (1) The amount we will pay for damages is limited as described in Paragraph D. of this
                           endorsement; and

                       (2) Our right and duty to defend ends when we have used up the applicable limit of
                           insurance in the payment of judgments or settlements.

                       No other obligation or liability to pay sums or perform acts or services is covered unless
                       explicitly provided for under Supplementary Payments.

                   b. This insurance applies to damages only if:
                       (1) The negligent act, error or omission did not take place before the Retroactive date, if any,
                           shown in the Schedule, nor after the end of the policy period; and

                       {2) A "claim" for damages, because of an act, error or omission, . is first made against any
                           insured. in accordance with Paragraph c. below, during the policy period or an Extended
                           Reporting Period we provide under Paragraph F. of this endorsement.


           00 CGL0038 00 02 04         Includes Copyright Material from Insurance Services Office            Page 1 of 8
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05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 172 of 350




                    c.   A "claim" seeking damages will be deemed to have been made when notice of such "claim" is
                         received and recorded by any insured or by us, whichever comes first.

                         A "claim" received and recorded by the insured within sixty {60} days after the end of th§'C   -35 ° 1.~ • 2 ~
                         policy period will be considered to have been received within the policy period, if no
                         subsequent policy is•available to cover the claim.

                    d. All "claims" for damages made by an "employee" because of any act, error or omission, or a
                       series of related acts, errors or omissions, including damages claimed by such "employee's"
                       dependents and beneficiaries, will be deemed to have been made at the time the first of
                       those "claims" is made against any insured.

            2.   Exclusions

                 This insurance does not apply to:

                    a.   Dishonest, Fraudulent, Criminal Or Malicious Act

                         Damages arising out of any intentional, dishonest, fraudulent, criminal or malicious act, error
                         or omission, committed by any insured, including the willful or reckless violation of any
                         statute.                ·

                    b.   Bodily Injury, Property Damage, Or Personal And Advertising Injury

                         "Bodily injury", "property damage" or "personal and advertising injury".

                    c.   Failure To Perform A Contract

                         Damages arising out of failure of pelformance of contract by any insurer.

                    d.   Insufficiency Of Funds

                         Damages arising out of an insufficiency of funds to meet any obligations under any plan
                         included in the "employee benefit program".

                    e.   Inadequacy Of Performance Of Investment/Advice Given With Respect To Participation

                         Any "claim" based upon:

                         (1) Failure of any investment to perform;

                         (2) Errors in providing information on past performance of investment vehicles; or

                         (3) Advice given to any person with respect to that person's decision to participate or not to
                             participate in any plan included in the "employee benefit program".

                    f.   Workers' Compensation And Similar Laws
                         Any "claim" arising out of your failure to comply with any workers' compensation,
                         unemployment compensation insurance, social security or disability benefits laws or any
                         similar laws.

                    g. ERISA
                         Damages for which any insured is liable because of liability imposed on a fiduciary by the
                         Employee Retirement Income Security Act of 1974, as now or hereafter amended, or by any
                         similar federal, state or local laws.



            00 CGL0038 00 02 04          Includes Copyright Material from Insurance Services Office           Page 2 of 8
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05/18/2005 11:39 AMCase
                    2D0A7   1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 173 of 350




                   h.   Available Benefits

                        Any "claim" for benefits to the extent that such benefits are available, with reasonable effort
                        and cooperation of the insured, from the applicable funds accrued or other colledibfe; .1-"8. ~~~
                        insurance.

                   i.   Taxes, Fines Or Penalties

                        Taxes, fines or penalties, including those imposed under the Internal Revenue Code or any
                        similar state or local law.

                   j.   Employment-Related Practices

                        Damages arising out of employment-related practices to:

                        (1) A person arising out of any:

                           (a) Refusal to employ;

                           (b) Termination of a persons employment; or

                           (c) Employment-related practices, policies, acts or omissions, including but not limited to
                               coercion, demotion, evaluation, reassignment, discipline, defamation, harassment,
                               humiliation or discrimination directed at that person; or

                           (d) Action under Title VII of the 1964 Civil Rights Act and/or any amendments thereto; or

                        (2) any other person as a consequence of any injury or damage to that person at whom any
                            of the employment-related practices described in paragraphs (a), (b), (c), or (d) above is
                            directed.

                        This exclusion applies:

                           (1) Whether or not the insured may be held liable as an employer or in any other
                               capacity; and

                           (2) To any obligation to share damages with or repay someone else who must pay
                               damages because of any such injury.

           B. For the purposes of the coverage provided by this endorsement, Paragraphs 2. and 4. of Section II -
              Who Is An Insured are replaced by the following:

              2. Each of the following is also an insured:

                  a.    Each of your "employees· who is or was authorized to administer your "employee benefit
                        program".

                  b.    Any persons, organizations or "employees" having proper temporary authorization to
                        administer your "employee benefit program" if you die, but only until your legal representative
                        is appointed.

                  c.    Your legal representative if you die, but only with respect to duties as such. That
                        representative will have all your rights and duties under this Endorsement.

              4. Any organization you newly acquire or form, other than a partnership, joint venture or limited
                 liability company, and over which you maintain ownership or majority interest, will qualify as a
                 Named Insured if no other similar insurance applies to that organization. However.



           00 CGL0038 00 02 04         Includes Copyright Material from Insurance Services Office          Page 3 of8
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05/18/2005 11 :39 AMCase
                     2D0A7  _ 1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 174 of 350




                   a.   Coverage under this provision is afforded only until ninety (90) days after you acquire or fonn
                        the organization or the end of the policy period, whichever Is earlier.

                   b. Coverage under this provision does not apply to any act, error or omission thahw&B> •. .u~ .. -.a~
                                              .
                      committed before you acquired or formed the organization .

           C. For the purposes of the coverage provided by this endorsement, Paragraph 3. of Section 11 - Who Is
              An Insured does not apply.

           D. For the purposes of the coverage provided by this endorsement, Section IV - Limits Of Insurance is
              replaced by the following:

              1. Limits Of Insurance

                   a. The Limits of Insurance shown in the Schedule and the rules below fix the most we will pay
                      regardless of the number of:

                        (1) Insureds;

                        (2) "Claims" made or "suits" brought

                        (3) Persons or organizations making "claims• or bringing "suits";

                        {4) Acts, errors or omissions; or

                        (5) Benefits included in your "employee benefit program".

                   b. The Aggregate Limit is the most we will pay for all damages to which this Insurance applies.

                   c.   Subject to the Aggregate Limit, the Each Employee Limit is the most we will pay for all
                        damages sustained by any one •employee", including damages sustained by such
                        "employee's" dependents and beneficiaries, as a result of:

                        (1) A negligent act, error or omission; or

                        (2) A series of related acts, errors or omissions negligently committed in the "administration"
                            of your "employee benefit program".

                            However, the amount paid under this endorsement shall not exceed, and will be subject
                            to, the limits and restrictions that apply to the payment of benefits in any plan Included in
                            the "employee benefit program".

                   The limits of the coverage provided by this endorsement apply to the pollcy period set forth in the
                   Declarations or any endorsements thereto.

              2.   Deductible

                   a. Our obligation to pay damages on behalf of the insured applies only to the amount of
                      damages in excess of the deductible amount stated in the Schedule as applicable to Each
                      Employee. The limits of insurance shall not be reduced by the amount of this deductible.

                   b. The deductible amount stated in the Schedule applies to all damages sustained by any one
                      "employee", including such "employee's" dependents and beneficiaries, because of all acts,
                      errors or omissions to which this insurance applies.

                   c. The terms of this insurance, including those with respect to:
                        (1) Our right and duty to defend any "suits" seeking those damages; and


           00 CGL0038 00 02 04          Includes Copyright Material from Insurance Services Office           Page4 of 8
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05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 175 of 350




                        (2) Your duties, and the duties of any other involved insured, in the event of an act, error or
                            omission, or "claim";

                        apply irrespective of the application of the deductible amount.

                   d. We may pay any part or all of the deductible amount to effect settlement of any •claim" or
                      "suit" and, upon notification of the action taken, you shall promptly reimburse us for such part
                      of the deductible amount as we have paid.

            E. For the purposes of the coverage provided by this endorsement, Conditions 2. and 4. of Section IV-
               Commercial General Conditions are replaced by the following:

               2. Duties In The Event Of An Act Error Or Omission, Or "Claim" Or "Suit"

                   a. You must see to it that we are notified as soon as practicable of an act, error or omission
                      which may result In a "claim". To the extent possible, notice should include:

                        ( 1) What the act, error or omission was and when it occurred; and

                        (2) The names and addresses of anyone who may suffer damages as a result of the act,
                            error or omission. ·

                   b. If a "claim" is made or "suit' is brought against any insured, you must

                        ( 1) Immediately record the specifics of the "claim" or "suit" and the date received; and

                        (2) Notify us as soon as practicable.

                        You must see to it that we receive written notice of the "claim" or "suit" as soon as
                        practicable.

                   c.   You and any other involved insured must:

                        (1) Immediately send us copies of any demands, notices, summonses or legal papers
                            received in connection with the "claim" or "suit";

                        (2) Authorize us to obtain records and other information:

                        (3) Cooperate with us in the investigatfon or settlement of the "claim" or defense against the
                            "suit"; and

                        (4) Assist us, upon our request, in the enforcement of any right against any person or
                            organization which may be liable to the insured because of an act, error or omission to
                            which this insurance may also apply.

                   d. No insured will, except at that insured's own cost, voluntarily make a payment, assume any
                      obligation or incur any expense without our consent.

               4. Other Insurance
                   If other valid and collectible insurance is available to the insured for a loss we cover under this
                   endorsement. our obligations are limited as follows:




            00 CGL0038 00 02 04         Includes Copyright Material from Insurance Services Office           Page 5 of 8
                                                      With its Permission.
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 176 of 350




                      a.   Primary Insurance

                      This insurance is primary except when b. below applies. If this insurance is primary, our
                      obligations are not affected unless any of the other insurance is also primary. Then, we wi!tst,ape; .1.B ,.200~
                      with all that other insurance ~y the method described in c. below.

                      b.   Excess Insurance

                           (1) This insurance is excess over any of the other insurance, whether primary, excess,
                               contingent or on any other basis, that is effective prior to the beginning of the policy
                               period and that applies to an act, error or omission on other than a claims-made basis, if
                               the other insurance has a policy period which continues after the Retroactive Date shown
                               in the Schedule of this insurance.

                           (2) When this insurance is excess, we will have no duty to defend the insured against any
                               "suit'' if any other insurer has a duty to defend the insured against that "suit". If no other
                               insurer defends, we will undertake to do so, but we will be entitled to the insured's rights
                               against all those other insurers.

                           (3) When this insurance is excess over other insurance, we will pay only our share of the
                               amount of the loss, if any, that exceeds the sum of the total amount that all such other
                               insurance would pay for the loss in absence of this insurance; and the total of all
                               deductible and self-insured amounts under all that other insurance.

                           (4) We will share the remaining loss, if any, with any other insurance that is not described in
                               this Excess Insurance provision and was not bought specifically to apply in excess of the
                               Limits of Insurance shown in the Schedule of this endorsement.

                      c.   Method Of Sharing

                           Except with respect to the insurance described in item b.(1) above, if all of the other
                           insurance permits contribution by equal shares, we will follow this method also. Under this
                           approach each insurer contributes equal amounts until it has paid its applicable limit of
                           insurance or none of the loss remains, whichever comes first.

                           If any of the other insurance does not permit contribution by equal shares, we will contribute
                           by limits. Under this method, each insurer's share rs based on the ratio of its applicable limits
                           of insurance of all insurers.

            F.   For the purposes of the coverage provided by this endorsement, the following Extended Reporting
                 Period provisions are added, or, if this endorsement is attached to a claims-made Coverage Part,
                 replaces any similar Section in that Coverage Part:

                 EXTENDED REPORTING PERIOD
                 1.   You will have the rlght to purchase an Extended Reporting Period, as described below, if:

                      a. This endorsement is canceled or not renewed; or
                      b.   We renew or replace this endorsement with insurance that:

                           (1) Has a Retroactive Date later than the date shown in the Schedule of this endorsement; or

                           (2) Does not apply to an act, error or omission on a claims-made basis.

                 2. The Extended Reporting Period does not extend the policy period or change the scope of
                      coverage provided. It applies only to "claims" for acts, errors or omissions that were first



            00 CGL0038 00 02 04            Includes Copyright Material from lnsurance Services Office            Page 6 of 8
                                                         With its Permission.
05/18/2005 11 :39 AMCase
                     2D0A7 _ 1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 177 of 350




                    committed before the end of the policy period but not before the Retroactive Date, if any, shown
                    in the Schedule. Once in effect, the Extended Reporting Period may not be canceled.

               3. An Extended Reporting Period of five (5) years is available, but only by an endorsement and;f.or-Q5 • 1,s, 2-005
                  an extra charge.

                    You must give us a written request for the endorsement within sixty (60) days after the end of the
                    policy period. The Extended Reporting Period will not go into effect unless you pay the additional
                    premium promptly when due.

                    We will determine the additional premium In accordance with our rules and rates. In doing so, we
                    may take Into account the following:

                    a.   The "employee benefit programs" insured;

                    b.   Previous types and amounts of insurance;

                    c.   Limits of insurance available under this endorsement for future payment of damages; and

                    d. Other related factors.

                    The additional premium will not exceed 100% of the annual premium for this endorsement.

                    The Extended Reporting Period endorsement applicable to this coverage shall set forth the terms,
                    not inconsistent with this Section, applicable to the Extended Reporting Period, including a
                    provision to the effect that the insurance afforded for "claims" first received during such period is
                    excess over any other valid and collectible insurance available under policies in force after the
                    Extended Reporting Period starts.

               4.   If the Extended Reporting Period is in effect, we will provide an extended reporting period
                    aggregate l!mit of Insurance described below, but only for claims first received and recorded
                    during the Extended Reporting Period. The extended reporting period aggregate limit of
                    insurance will be equal to the dollar amount shown in the Schedule of this endorsement under
                    Limits of Insurance.
                    Paragraph D.1.b. of this endorsement will be amended accordingly. The Each Employee Limit
                    shown in the Schedule will then continue to apply as set forth In Paragraph D. 1.c.

           G. For the purposes of the coverage provided by this endorsement only, the following definitions are
              added to the Section Vl•Definitions:

               1. "Administration" means:
                    a.   Providing information to "employees", including their dependents and beneficiaries, with
                         respect to eligibility for or scope of "employee benefit programs";

                    b.   Handling records In connection with the "employee benefit program"; or

                    c.   Effecting, continuing or terminating any "employee's" participation in any benefit included in
                         the "employee benefit program".

                    However, "administration" does not include handling payroll deductions.

              2.    "Cafeteria plans" means plans authorized by applicable law to allow employees to elect to pay for
                    certain benefits with pre-tax dollars.

              3. "Claim" means any demand, or ''suit", made by an "employee" or an "employee's" dependents
                 and beneficiaries, for damages as the result of an act, error or omission.


           00 CGL0038 00 02 04          Includes Copyright Material from Insurance Services Office           Page 7 of 8
                                                      With its Permission.
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 178 of 350




                 4.    "Employee benefit program" means a program providing some or all of the following benefits to
                       "employees", whether provided through a "cafeteria plan" or otherwise:

                       a.   Group life insurance; group accident or health insurance; dental, vision and hearing~ns;,., i~. ~~~
                            and pexible spending accounts; provided that no one other than an "employee" may
                            subscribe to such .·benefits and such benefits are made generally available to those
                            "employees" who satisfy the plan's eligibility requirements;

                       b. Profit sharing plans, employee savings plans, employee stock ownership plans, pension
                            plans and stock subscription plans, provided that no one other than an "employee" may
                            subscribe to such benefits and such benefits are made generally available to all "employees"
                            who are eligible under the plan for such benefits;

                       c.   Unemployment insurance, social security benefits, workers' compensation and disability
                            benefits;

                       d.   Vacation plans, including buy and sell programs; leave of absence programs, including
                            military, maternity, family, and civil leave; tuition assistance plans; transportation and health
                            club subsidies; and

                       e.   Any other similar benefits.designated in the Schedule or added thereto by endorsement.

            I.   For the purposes of the coverage provided by this endorsement, Definitions 5. and 18. In the
                 Definitions Section are replaced by the following:

                 5     "Employee" means a person actively employed, formerly employed, on leave of absence or
                       disabled, or retired. "Employee" includes a "leased worker''. "Employee" does not include a
                       "temporary worker''.

                 18. "Suit'' means a civil proceeding in which damages because of an act, error or omission to which
                       this insurance applies are alleged. "Suit" includes:

                       a.   An arbitration proceeding in which such damages are claimed and to which the insured must
                            submit or does submit with our consent; or

                       b.   Any other alternative dispute resolution proceeding in which such damages are claimed and
                            to which the insured submits with our consent.

            All other terms and conditions of this Policy remain unchanged.




            Endorsement Number: 18

           This endorsement is effective on the inception date of this policy unless otherwise stated herein.

            (The Information below is required only when this endorsement is issued subsequent to preparation of the
            policy.)

            Policy Number: DPC 0005591 00

            Named Insured:

            Endorsement Effective Date:


            00 CGL0038 00 02 04             Includes Copyright Material from Insurance Services Office           Page 8 of 8
                                                          With Its Permission.
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 179 of 350




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    STOP GAP - EMPLOYERS LIABILITY COVERAGE ENDORSEMENT -
                                         WASHINGTON
                                                .
               This endorsement modifies Insurance provided under the following:

               COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                               SCHEDULE

            ..imits Of Insurance
            Bodily Injury By Accident:       $1,000,000                   Each Accident
            Bodily Injury By Disease:        $1 ,000,000                  Aggregate Limit
            Bodily Injury By Disease:        $1 ,000,000                  Each Employee


            f no entry appears with respect to any of the limits shown above, then the limit will be deemed to be
            $1,000,000
               A. The following 1s added to Section I - Coverages:

               COVERAGE - STOP GAP - EMPLOYERS LIABILITY

                  1. Insuring Agreement

                     a. We will pay those sums that the insured becomes legally obligated by Washington Law to
                        pay as damages because of "bodily injury by accident" or "bodily injury by disease" to your
                        "employee" to which this insurance applies. We will have the right and duty to defend the
                        insured against any "suir seeking those damages. However, we will have no duty to
                        defend the insured against any "suit" seeking damages to which this insurance does not
                        apply. We may, at our discretion, investigate any accident and settle any claim or "suit" that
                        may result. But:

                         (1) The amount we will pay for damages is limited as described in Section 111- Limits Of
                                Insurance; and

                         (2)     Our right and duty to defend end when we have used up the applicable limit of
                                insurance in the payment of judgments or settlements under this coverage.

                         No other obligation or liability to pay sums or perform acts or services is covered unless
                         explicitly provided for under Supplementary Payments.

                     b. This insurance applies to "bodily Injury by accident'' or "bodily injury by disease" only if:

                         (1) The:

                               (a) "Bodily injury by accident'' or "bodily injury by disease• takes place in the "coverage
                               territory";

                               (b) "Bodily injury by accident'' or "bodily injury by disease" arises out of and in the course
                               of the injured "employee's" employment by you; and

                               (c) "Employee", at the time of the injury, was covered under a worker's compensation
                               policy and subject to a "workers compensation law'' of Washington: and

                         (2) The:



           00 CGL0119 48 03 04                                                                                   Page 1 of6
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 180 of 350




                            {a)     "Bodily injury by accident" is caused by an accident that occurs during the policy
                                    period; or

                            (b)     "Bodily injury by disease" is caused by or aggravated by conditions of employment;5. i~. 2~°Q
                                    by you, and the injured "employee's" last day of last exposure to the conditions
                                    causing oraggravating such "bodily injury by disease" occurs during the policy
                                    period.

                   c. The damages we will pay, where recovery is permitted by law, include damages:

                      (1)    For:

                             (a) Which you are liable to a third party by reason of a claim or "suit'' against you by
                                 that third party to recover the damages claimed against such third party as a result
                                 of injury to your "employee";

                             (b) Care and loss of services; and

                             (c) Consequential "bodily injury by accident" or "bodily injury by disease" to a spouse,
                                 child, parent, brother or sister of the injured "employee";

                             provided that these damages are the direct consequence of "bodily injury by accident"
                             or "bodily injury by disease" that arises out of and in the course of the injured
                             "employee's" employment by you; and

                      (2)    Because of "bodily injury by accident" or "bodily injury by disease" to your "employee"
                             that arises out of and in the course of employment, claimed against you in a capacity
                             other than as employer.

                2. Exclusions

                   This insurance does not apply to:

                   a. Intentional Injury

                      "Bodily injury by accident" or "bodily injury by disease" intentionally caused or aggravated by
                      you, or "bodily injury by accident" or "bodily injury by disease" resulting from an act which is
                      determined to have been committed by you if it was reasonable to believe that an injury is
                      substantially certain to occur.

                   b. Fines Or Penalties

                      Any assessment, penalty, or fine levied by any regulatory inspection agency or authority.

                   c. Statutory Obligations

                      Any obligation of the insured under a workers' compensation, disability benefits or
                      unemployment compensation law or any similar law.

                   d. Contractual Liability
                      Liability assumed by you under any contract or agreement.

                   e. Violation Of Law
                      "Bodily Injury by accident" or "bodily injury by disease" suffered or caused by any employee
                      while employed in violation of law with your actual knowledge or the actual knowledge of
                      any of your aexecutive officers".



           00 CGL0119 48 03 04                                                                               Page 2 of 6
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 181 of 350




                    f. Termination, Coercion Or Discrimination

                       Damages arising out of coercion, criticism, demotion, evaluation, reassignment, discipline,
                       defamation, harassment, humiliation, discrimination against or termination of any     f.c Q!j:. 1.~ • a~
                       "employee", or arising o.ut of other employment or personnel decisions concerning the
                       insured.            ·

                    g. Failure To Comply With "Workers Compensation Law"

                       "Bodily injury by accident'' or' "bodily injury by disease" to an "employee" when you are:

                       (1)   Deprived of common law defenses; or

                       (2) Otherwise subject to penalty;

                       because of your failure to secure your obligations or other failure to comply with any
                       "workers compensation law".

                    h. Violation Of Age Laws Or Employment Of Minors

                       "Bodily injury by accident" or "bodily injury by disease" suffered or caused by any person:

                       (1) Knowingly employed by you in violation of any law as to age; or

                       (2) Under the age of 14 years, regardless of any such law.

                    i. Federal Laws

                       Any premium, assessment, penalty, fine, benefit, liability or other obligation imposed by or
                       granted pursuant to:

                       (1) The Federal Employer's Liability Act (45 USC Section 51-60);

                       (2) The Non-appropriated Fund Instrumentalities Act (5 USC Sections 8171-8173);

                       (3) The Longshore and Harbor Workers' Compensation Act (33 USC Sections 910-950};

                       (4) The Outer Continental Shelf lands Act {43 USC Section 1331-1356);

                       (5) The Defense Base Act (42 USC Sections 1651-1654);

                       (6) The Federal Coal Mine Health and Safety Act of 1969 (30 USC Sections 901-942);

                       (7) The Migrant and Seasonal Agricultural Worker Protection Act (29 USC Sections 1801-
                           1872);

                       (8) Any other workers compensation, unemployment compensation or disability laws or
                             any similar law; or

                       (9) Any subsequent amendments to the laws listed above.

                    j. Punitive Damages

                       Multiple, exemplary or punitive damages.

                    k. Crew Members
                       "Bodily injury by accident'' or "bodily injury by disease" to a master or member of the crew of
                       any vessel or any member of the flying crew of an aircraft.



            00 CGL0119 48 03 04                                                                            Page 3 of6
05/18/2005 11:39 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 182 of 350




              B. The Supplementary Payments provisions apply to Coverage - Stop Gap Employers Liability as well
                 as to Coverages A and B.

              C. For the purposes of this endorsement, Section II - Who Is An Insured, is replaced by the followm!F5. 1..~. a ~

                 If you are designated in the Declarations as:

                 1. An individual, you and your spouse are insureds, but only with respect to the conduct of a
                    business of which you are the sole owner.

                 2. A partnership or joint venture, you are an insured. Your members, your partners, and their
                    spouses are also insureds, but only with respect to the conduct of your business.

                 3. A limited liability company, you are an insured. Your members are also insureds, but only with
                    respect to the conduct of your busrness. Your managers are insureds, but only with respect to
                    their duties as your managers.

                 4. An organization other than a partnership, joint venture or limited liability company, you are an
                    insured. Your "executive officers" and directors are insureds, but only with respect to their
                    duties as your officers or directors. Your stockholders are also insureds, but only with respect to
                    their liability as stockholders.

                 No person or organization rs an insured with respect to the conduct of any current or past
                 partnership, joint venture or limited liability company that is not shown as a Named Insured in the
                 Declarations.

              D. For the purposes of this endorsement, Section Ill Limits Of Insurance, is replaced by the following:

                 1. The Limits of Insurance shown in the Schedule of this endorsement and the rules below fix the
                    most we will pay regardless of the number of:

                    a. Insureds;

                    b. Claims made or "suits" brought; or

                    c. Persons or organizations making claims or bringing "suits".

                 2. The "Bodily Injury By Accident'' - Each Accident Limit shown in the Schedule of this
                    endorsement is the most we will pay for all damages covered by this insurance because of
                    "bodily injury by accident" to one or more "employees" in any one accident.

                 3. The "Bodily Injury By Disease" - Aggregate Limit shown in the Schedule of this endorsement is
                    the most we will pay for all damages covered by this insurance and arising out of "bodily injury
                    by disease", regardless of the number of "employees" who sustain "bodily injury by disease".

                 4. Subject to Paragraph D.3. of this endorsement, the "Bodily Injury By Disease" - Each
                    "Employeeh Limit shown in the Schedule of this endorsement is the most we will pay for all
                    damages because of "bodily injury by disease" to any one "employee".

                 The limits of the coverage apply to the policy period set forth in the Declarations   or any
                 endorsements thereto.

              E. For the purposes of this endorsement, Condition 2. - Duties !n The Event Of Occurrence, Claim Or
                 Suit of the Conditions Section !V is deleted and replaced by the following:




           00 CGL0119 48 03 04                                                                                  Page4 of6
05/18/2005 11 :39 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 183 of 350




                 2. Duties The Event Of Injury, Claim Or Suit

                    a.   You must see to it that we or our agent are notified as soon as practicable of a "bodily injury
                         by accident'' or "bodily injury by disease" which may result in a claim. To the extent sc '0:a. 1.s, 2 ~
                         possible, notice should.include:

                         (1) How, when and where the "bodily injury by accident'' or "bodily injury by disease" took
                             place;

                         (2} The names and addresses of any injured persons and witnesses; and

                         (3) The nature and location of any injury.

                    b.   If a claim is made or "suit" is brought against any insured, you must:

                         (1) Immediately record the specifics of the claim or "suit" and the date received; and

                         (2) Notify us as soon as practicable.

                         You must see to it that we receive written notice of the claim or "suit" as soon as
                         practicable.

                    c.   You and any other involved insured must:

                         (1) Immediately send us copies of any demands, notices, summonses or legal papers
                             received in connection with the injury, claim, proceeding or "suit";

                         (2) Authorize us to obtain records and other information;

                         (3} Cooperate with us and assist us, as we may request, in the investigation or settlement
                             of the claim or defense against the ttsuir;

                         (4) Assist us, upon our request, in the enforcement of any right against any person or
                             organization which may be liable to the insured because of injury to which this
                             insurance may also apply; and

                         (5) Do nothing after an injury occurs that would interfere with our right to recover from
                             others.

                    d.   No insured will, except at that insured's own cost, voluntarily make a payment, assume any
                         obligation, or incur any expense, other than for first aid, without our consent.

              F. For the purposes of this endorsement, Paragraph 4. of the Definitions Section is replaced by the
                 following:

                 4. "Coverage territory" means:

                    a. The United States of America (including its territories and possessions), Puerto Rico and
                       Canada;

                    b.   International waters or airspace, but only if the injury or damage occurs in the course of
                         travel or transportation between any places included in a. above; or

                    c.   All other parts of the world if the injury or damage arises out of the activities of a person
                         whose home is in the territory described in a. above, but who is away for a short time on
                         your business;




            00 CGL0119 48 03 04                                                                                Page 5 of6
05/18/2005 11 :40 AMCase
                     2D0A7  1327
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 184 of 350




                      provided the insured's responsibility to pay damages is determined in the United States
                      (including its territories and possessions), Puerto Rico, or Canada, in a suit on the merits
                      according to the substantive law in such territory, or in a settlement we agree to.

               G. The following are added to the Definitions Section:
                                             .
                  1. 'Workers Compensation Law" means the Workers Compensation Law and any Occupational
                     Disease Law of Washington. This does not include provisions of any law providing non-
                     occupational disability benefits.

                  2. "Bodily injury by accidenf' means bodily injury, sickness or disease sustained by a person,
                     including death, resulting from an accident. A disease is not "bodily injury by accident" unless it
                     results directly from "bo<fily injury by accident''.

                  3. "Bodily injury by disease'' means a disease sustained by a person, including death. "Bodily
                     injury by disease• does not include a disease that results directly from an accident.

               H. For the purposes of this endorsement, the definition of "bodily injury" does not apply.

            All other terms and conditions of this Policy remain unchanged.




           Endorsement Number. 19
           This endorsement is effective on the inception date of this policy unless otherwise slated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Policy Number. DPC 0005591 00
           Named Insured:
           Endorsement Effective Date:


           00 CGL0119 48 03 04                                                                              Page 6 of6
05/18/2005 11:40 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 185 of 350




               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

               PREMIUM COMPUTATION ENDORSEMENT - DEDUCTIBLE POLICY VERSION
           1. The Deposit Premium set forth io of the Declarations is adjustable, and is only an estimated premium for the
           Audit Period shown below.         ·

           The final earned premium for the Audit Period shall be detenninecl as specified in Item S. Premium Audit of
           SECTION rv - Commercial General Liability Conditions. The Audit Premium shall be computed by
           applying the Rate of -       per each ~ of the Premium Base identified in 2. below. Such Rate is net of
           any taxes, licenses, ortees". The final premium calculation is subject to the Minimum Retained Premium as
           stated in the Declarations.

           2. The Premium Base shall be identified in (A) and (B) below:

                   (A) PREMIUM BASE

                            l8I   gross "salesnexcluding -aircraft products·

                                      0     '1ntercompany sales'' and

                                      D     "foreign sales•.

                            D "Payroll" as determined immediately below:
                                      0     Gross Unmodified "Payroll"

                                      D     Workers Compensation Payrolr"

                                      0     Workers Compensation Payroll• excluding:

                                               (1) "Clerical Office Employees"
                                               (2) "Salesmen, Collectors, MessengersN
                                               (3) Drivers and their helpers if principal duties are to work on or fn
                                                   connection with "autos"

                            0     Other (Describe)

                            Estimated Exposures       - - -' - - - - - - - -- - - - - - - -


                   (8) SPECIFIC DELETIONS FROM PREMIUM BASE, IF ANY:

                            D     Designated Products described in the following endorsements:

                            D     Designated Operations described in the following endorsements:

                            D     Other, described in the foDowing endorsements




           02 CGL0107 00 09 03                                                                                      Page 1 of 2
05/18/2005 11:40 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 186 of 350




            3. The Audit Period is:

                             181   Annual

                             0     Semi-Annual

                             0     Monthly

                             0     Other

            4. The Audit Period is measured from the Effective Date of the Insurance Policy.

           All other terms and conditions of this policy remain unchanged.




           Endorsement Number: 20
           This endorsement is effective on the inception date of this poHcy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.)
           Polley Number: OPC 0005591 00
           Named Insured:
           Endorsement Effective Date:


           02 CGL0107 00 09 03                                                                            Page 2of2
05/18/2005 11:40 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 187 of 350




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                               DEDUCTIBLE LIABILITY ENDORSEMENT
                                                                          Schedule

            1. Specific coverages to which a deductible(s) applies and amount of deductible(s):
                                               Coverage                                                     Amount of Deductible
                t8:l   All coverages .............. ....... .. .......... ............... .................. ........ $ 10,000
                D      ProductsfCompleted Operations.................. ............ ......... .......... $ _ _
                D      All coverages other than Products/Completed Application......... ....... $ _ _

            2. The deductible applies to:
                18:1 Indemnity and Expenses
                0      Indemnity Only

            3. A deductible aggregate applies as follows:

                D      The deductible aggregate amount for all coverages, which is the maximum amount of deductible
                       payments for which the insured is responsible, is: $ _ _. The deductible aggregate is subject
                       to adjustment upwards based on a rate of$ _ _ per 1000 _ _. Once the loss payments
                       actually paid by us, and reimbursed by the insured to us, equal_
                                                                                      s the deductible aggregate
                       amount, the insured's deductible will be reduced to S _ _ . The estimated exposure base, at
                       inception, is$ _ _.
                (If no aggregate is shown , then there is no aggregate on the cumulative amount of deductible
                payments for which the insured is responsible.)


           Application of the Deductible Liability Endorsement
           The deductible(s} set forth in the Schedule apply to indemnity and expenses, {or indemnity only if the
           appropriate box is checked in the Schedule), on a "per occurrence• basis. The insured is responsible for
           payment of the deduclible(s).
           The insured is responsible for all payments within the deductible amount. Subject to the Limits of Liability
           and all other terms and conditions for this policy, our obligation to pay damages and expenses on your
           behalf applies only to the amount of damages and expenses in excess of the deductible amounts set forth
           in the Schedule. We may pay part or the entire deductible amount to effect settlement of any "claim" or
           "suit" and, upon notification of the action taken, you shall promptly reimburse us for such part of the
           deductible amount that has been paid by us.
            Our limits of liability are not increased by the presence of a deductible.
           All other terms and conditions of this Policy remain unchanged.

           Endorsement Number; 21
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The infonnalion below is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: DPC 0005591 00
           Named Insured:
           Endorsement Effectlve Date:

           00 CGL0099 00 10 03                                                                                                   Page 1 of 1
05/18/2005 11:40 AMCase
                    2D0A7  1327
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 188 of 350




            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                              TOTAL TERRORISM EXCLUSION
            This endorsement modifies insu~ance provided under the Policy.

            A.   The following definitions are added:

                  1. ''Terrorism" means activities against persons, organizations or property of any nature:

                      a.   that involve the following or preparation for the following:

                           (1)   use or threat of force   or violence; or
                           (2)   commission or threat of a dangerous act; or

                           (3)   commission or threat of an act that interferes with or disrupts an electronic,
                                 communication, Information, or mechanicarsystem; and

                      b. When:

                           (1)   the effect is to intimidate or coerce a government or a civilian population or any
                                 segment thereof, or to disrupt any segment of the economy; and/or

                           (2)   it appears that the Intent is to intimidate or coerce a government or a civilian
                                 population, or to further a philosophical, political, Ideological, religious, social or
                                 economic objective or to express (or express opposition to) a philosophical, political,
                                 ideological, religious, social or economic objective.

                 2. "Injury or damage" means any injury or damage covered under any Coverage Part or Policy to
                    which this endorsement is applicable. and includes but is not limited to "bodily injury", ''property
                    damage", "persona! and advertising injury", •injury" or ··environmental damage• as may be
                    defined in any applicable Coverage Part or Policy.

            B.   The following exclusion is added:

                 TERRORISM EXCLUSION

                 We will not pay for any "injury or damage" caused directly or indirectly by "terrorism", including
                 action in hindering or defending against an actual or expected incident of "terrorism". Any "injury or
                 damage" is excluded regardless of any other cause or event that contributes concurrently·or in any
                 sequence to such "Injury or damage".

            All other terms and conditions of this Policy remain unchanged.




            Endorsement Number:             22
            This endorsement is effective on the inception date of this policy unless otherwise stated herein.
            (The information below Is required only when this endorsement is issued subsequent to preparation of the
            policy.)
            Policy Number: DPC 0005591 00
            Named Insured:
            Endorsement Effective Date:


            00 CGL0184 00 01 05                                                                             Page 1 of 1
11/04/2005 02:36 PM Case
                    AA41D   6995
                         2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 189 of 350




               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            NAMED INSURED ENDORSEMENT

           It is hereby agreed that Item 1: of the Declarations is amended to include the following entities as a Named
           Insured:
           EBENAL GENERAL SPECIAL PROJECTS, INC.                                     FILE COPY
                                                                                           .




           All other terms and conditions of this policy remain unchanged.




           Endorsement Number:23
           This endorsement is effective on the inception date of this policy unless otherwise stated herein.
           (The information below is required only when this endorsement is issued subsequent to preparation of the
           policy.) •

           Policy Number: DPC 0005591 00

           Named Insured: EBENAL GENERAL CONTRACTORS, INC.

           Endorsement Effective Date: 04/01/05


           00 CGL0072 00 03 03
1

01/09/2006 02:48 PM AA41D_16871
                      Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 190 of 350


                                 FILE COPY
              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



            It is understood and agreed that Endorsement 23, Named Insured Endorsement, Form #00 CGL0072 00
            03 03, is amended to include the following entity as a Named Insured:

            MERIDIAN-PACIFIC HIGHWAY,LLC




            All other terms and conditions of this Policy remain unchanged.

            Issued By: Arch Specialty Insurance Company
            Endorsement Number24
            Policy Number: DPC 0005591 00
            Named Insured: Ebenal General Contractors, Inc.
            Endorsement Effective Date: 04/01/05




                                                                                           President


            00 ML0207 00 11 03                                                                    Page 1 of 1
                                                                                                          - -----··   - - -- - -- - -
05/16/2005 10:32 AMCase
                    2D0A7  1147
                        2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 191 of 350
               Arc'n \nsurance                       ARCH SPECIALTY INSURANCE COMPANY
               oper~t~.. :i                                ADMINISTRATIVE OFFICE
                                                       ONE LIBERTY PLAZA, 53RD FLOOR
                .MA~ \ 3 '2005                               NEW YORK NY 10006
                                           NOTICE OF CANCELLATION OF INSURANCE
                 ~ercy Ameruoso
                  lri\\ia\:
               Named Insured & Mailing Address:                                         Producer: 00157


               EBENAL GENERAL CONTRACTORS, INC.                                         CRC INSURANCE SERVICES, INC.
               4326 PACIFIC HIGHWAY                                                     P.O. BOX 11407
               BELLINGHAM WA 98226                                                      BIRMINGHAM AL 35246-0338




                                 Policy No.: DPC000559100
                            Type of Policy: GENERAL LIABILITY CL.AIMS MADE
                       Date of Cancellation: 05/26/2005; 12:01 A.M. Local Time at the mailing address of the Named Insured.

                   We are cancelling this policy. Your insurance will cease on the Date of Cancellation shown above.


                   The reason for cancellation is non payment of premium. Your insurance will cease on the date of cancellation
                   shown above and your policy of insurance will be cancelled as of the effective date shown on your policy.




                                  Home Office Copy


                                                                                                   Date Mailed:   ·
                                                                                                   12th day of May, 2005        ..
                 Named Insured


                 EBENAL GENERAL CONTRACTORS, INC.
                 4326 PACIFIC HIGHWAY
                 BELLINGHAM WA 98226

                                                                                                                           WACC14NONPMNT
                                                                                                                              051220051NNY
    FORM# CC9697WA51995                                                                                                          Page 1 o l 1
    OOEN 3.0 .05.053                                           Copy for Named Insured
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 192 of 350




                         Exhibit 4
            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 193 of 350




                                            DECLARATION


I declare under penalty of perjury under the law of California that the following is true and correct.


Annexed hereto as Exhibit A is a true and accurate copy of Arch Specialty Insurance Company policy

number DPC000559101 issued to Ebenal General Contractors, Inc., 4326 Pacific Highway Bellingham,

Washington 98226 in effect from April 1, 2006 to April 1, 2007 including any and all applicable

endorsements and forms made a part thereof.

Executed on the 1st day of September, 2021, at Corte Madera, CA.




                                                                                              Sean Basco
                                                                   Regional Vice President, E&S Casualty
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 194 of 350




               Exhibit A
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 195 of 350




                                         lvf Arch                    FILE COPY
                                         Insurance Group·
                          ARCH SPECIALTY INSURANCE COMPANY
                                         (A Wisconsin Corporation)
Home Office Address:                                                           Administrative Address:
300 First Stamford Place, 5th Floor                                       One Liberty Plaza, 53rd Floor
Stamford, CT 06902                                                                New York, NY 10006
                                                                                   Tel: (800) 817-3252

                         COMMERCIAL GENERAL LIABILITY POLICY
                                           DECLARATIONS
Policy No.:   DPC 0005591 01                              Renewal of: DPC 0005591 00

Effective Date: 04/01/06
Expiration Date: 04/01/07
                 At 12:01 am standard time at the mailing address of the Named Insured shown below.

Item 1.   Named Insured and Producer
          Named Insured:              EBENAL GENERAL CONTRACTORS, INC.
          Mailing Address:            4326 PACIFIC HIGHWAY
                                      BELLINGHAM, WA 98226


          Producer:                   CRC INSURANCE SERVICES, INC.
          Mailing Address:          1420 FIFTH AVE.
                                    SUITE 1610
                                    SEATTLE, WA 98101

          Surplus Line Producer:      JO WALKOWSKI
                                      CRC INSURANCE SERVICES, INC.
          Mailing Address:            1420 FIFTH AVE.
                                      SUITE 1610
                                      SEATTLE, WA 98101

          Surplus Lines License Number: CRCINS'"98358

Item 2.   Named Insured Classified as
          D  Individual           D Partnership           181
                                                            Corporation    D   Trust
          0  Joint Venture        D LLC                   □ LLP            D   Other

Item 3.   Limits of Insurance

          Each Occurrence Limit                       $1,000,000

          Personal and Advertising Injury Limit       $1,000,000      Any one person or organization

          Damage to Premises Rented to You Limit      $100,000        Any one premises




06 CGL0047 00 08 05                                                                        Page 1 of 2
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 196 of 350




          Medical Expense Limit                            $5,000                Any one person

          General Aggregate Limit (Other Than              $2,000,000
          Products - Completed Operations)




Item 4.
          Aggregate Limit

          Polley Premium:

          Deposit Premium:
                              $-
          Products - Completed Operations




                              $- $-              D
                                                           $2,000,000




                                                     A flat charge per each policy period
                                                 ~ Adjustable, per the Premium Computation Endorsement

          Minimum Retained Audit Premium:

          Minimum Retained Premium: 35 % of Deposit Premium, not subject to adjustment in the event
                                         of cancellation by you.

Item 5.   Forms & Endorsements attached:             See Schedule of Forms and Endorsements Form 00
                                                     ML0012 00 01 03



IN CONSIDERATION OF THE PAYMENT OF PREMIUM AND IN RELIANCE UPON STATEMENTS MADE
IN THE APPLICATION, THIS POLICY INCLUDING ALL ENDORSEMENTS ISSUED HEREIN SHALL
CONSTlT\JTE THE CONTRACT BETWEEN THE COMPANY AND THE NAMED INSURED.




Arch Specialty Insurance Company Is licensed in the state of Wisconsin only.
Arch Specialty Insurance Company is not licensed in the state of New Yori< and is not subject to its supervision.

06 CGL0047 00 08 05                                                                                    Page2 of 2
                Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 197 of 350




                            SCHEDULE OF FORMS AND ENDORSEMENTS


    NAMED INSURED: EBENAL GENERAL CONTRACTORS, INC.           TERM: 4/1/2006   to 4/1/2007
    POLICY NUMBER: DPC 0005591 01



    ENDT. NO.   I    FORM NO.               TITLE

                     06 CGL0047 00 08 05    COMMERCIAL GENERAL LIABILITY POLICY DECLARATIONS
                     00 ML0012 00 01 03     SCHEDULE OF FORMS AND ENDORSEMENTS
                     06 CGL0098 00 07 03    COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                     06 ML0002 00 07 03     SIGNATURE PAGE
                     02 ML0003 00 08 02     SERVICE OF SUIT
    1                00 CGL0108 00 08 04    BLANKET ADDITIONAL INSURED ENDORSEMENT
                                            DEDUCTIBLE VERSION
    2                00 CGL0130 00 01 04    OTHER INSURANCE - BROAD FORM, CGL POLICY
                                            ENDORSEMENT
    3                00 CGL0121 00 01 04    WAIVER OF SUBROGATION ENDORSEMENT DEDUCTIBLE
                                            POLICY
    4                00 CGL0007 00 05 04    CROSS SUITS EXCLUSION
    5                02 CGL0018 00 10 02    INTELLECTUAL PROPERTY EXCLUSION
    6                00 CGLO0B0 00 01 06    RESIDENTIAL AND RESIDENTIAL CONVERSION EXCLUSION
    1                00 CGL0039 00 12 02    ENGINEERS, ARCHITECTS OR SURVEYORS PROFESSIONAL
                                            LIABILITY EXCLUSION
    8                 02 CGL0011 00 10 02   EARTH MOVEMENT OR SUBSIDENCE EXCLUSION
    9                 00 CGL0041 00 12 02   WRAP-UP EXCLUSION
    10                00 CGL0016 00 03 04   EXTERIOR INSULATION AND FINISH SYSTEM EXCLUSION
    11                00 CGL0141 00 03 04   SILICA EXCLUSION
    12               ·oo CGL0092 00 05 03   CHROMATED COPPER ARSENATE ("CCA"l EXCLUSION
    13                00 CGL0066 00 02 03   RADON CONTAMINATION EXCLUSION
    14                02 CGL0023 00 10 02   TOTAL POLLUTION EXCLUSION
    15                02 CGL0010 00 10 02   DESIGNATED WORK - EXCLUSION
    16                00 CGL0038 00 02 04   EMPLOYEE BENEFITS LIABILITY COVERAGE
    17                00 CGL0119 48 03 04   STOP-GAP EMPLOYERS LIABILITY COVERAGE
                                            ENDORSEMENT - WASHINGTON
    18               00 CGL0072 00 03 03    NAMED INSURED ENDORSEMENT
    19               00 CGL0125 00 03 05    SUBCONTRACTOR ENDORSEMENT: DEDUCTIBLE POLICY
    20               00 CGL0109 00 01 06    DESIGNATED CONSTRUCTION PROJECT($) GENERAL .
                                            AGGREGATE LIMIT AND POLICY AGGREGATE LIMIT
                                            ENDORSEMENT - DEDUCTIBLE POLICY VERSION
    21               00 CGL0117 00 12 03    NON-STACKING ENDORSEMENT
    22               00 CGL0220 00 01 06    TOTAL TERRORISM EXCLUSION
    23               00 CGL0107 00 07 05    PREMIUM COMPUTATION ENDORSEMENT - DEDUCTIBLE
                                            POLICY - VERSION I
    24               00 CGL0099 00 12 05    DEDUCTIBLE LIABILITY ENDORSEMENT




00 ML0012 00 01 03                                                                      Page 1 of 1
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 198 of 350




                                         ~~Arch
                                          Insurance Group
 ARCH SPECIAL TY INSURANCE                                     COMMERCIAL GENERAL LIABILITY
 COMPANY
 300 First Stamford Place, 5th Floor                                             06 CGL0098 00 07 03
 Stamford, CT 06902


                  COMMERCIAL GENERAL LIABILITY COVERAGE FORM

Various provisions in this policy restrlct                      (2) Our right and duty to defend end when
coverage. Read the entire policy carefully to                       we have used up the applicable limit
determine rights, duties and what is and is not                     of insurance in the payment of
covered.                                                            judgments or settlements under
                                                                    Coverages A or B or medical
Throughout this policy the words "you" and                          expenses under Coverage C.
"your'' refer to the Named Insured shown in the
Declarations, and any other person or                           No other obligation or liability to pay sums
organization qualifying as a Named Insured                      or perform acts or services is covered
under this policy. The words ''we", "us" and "our''             unless explicitly provided for under
refer to the company providing this insurance.                  Supplementary Payments - Coverages
                                                                A and B.
The word "insured" means any person or
organization qualifying as such under SECTION                b. This insurance applies to "bodily injury"
11- WHO IS AN INSURED.                                          and "property damage" only if:

Other words and phrases that appear in                         (1) The   "bodily injury" or "property
quotation marks have special meaning. Refer to                     damage"      is    caused   by    an
SECTION V-DEFINITIONS.                                             "occurrence" that takes place in the
                                                                   "coverage territory"; and
SECTION I - COVERAGES
                                                               (2) The    "bodily injury" or "property
COVERAGE A BODILY INJURY AND                                       damage" occurs during the policy
PROPERTY DAMAGE LIABILITY                                          period.
1. Insuring Agreement                                        2. Exclusions
   a.   We will pay those sums that the insured              This insurance does not apply to:
        becomes legally obligated to pay as
        damages because of "bodily injury" or                a. Expected Or Intended Injury
        "property damage" to which this                         "Bodily injury" or "property damage"
        insurance applies. We will have the right               expected or intended from the standpoint
        and duty to defend the insured against                  of the insured. This exclusion does not
        any "suit" seeking those damages.                       apply to "bodily injury" resulting from the
        However, we will have no duty to defend                 use of reasonable force to protect
        the insured against any "suit" seeking                  persons or property.
        damages for "bodily injury" or "property
        damage" to which this insurance does not             b. Contractual Liability
        apply. We may, at our sole discretion,                  "Bodily injury" or "property damage" for
        investigate any "occurrence" and settle                 which the insured is obligated to pay
        any claim or "suit" that may result. But:               damages by reason of the assumption of
        (1) The amount we will pay for damages                  liability in a contract or agreement. This
           is limited as described in Section Ill -             exclusion does not apply to liability for
           Limits Of Insurance: and                             damages:



06 CGL0098 00 07 03          Includes Copyright Material from Insurance Services Office       Page 1 of 18
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          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 199 of 350




     ,1) That the insured would have ln the                   (2) To any obligation to share damages
          absence of the contract or agreement;                   with or repay someone else who must
          or                                                      pay damages because of the injury.
    (2)    Assumed in a contract or agreement                  This exclusion does not apply to liability
           that is an "insured contract", provided             assumed by the insured under an
           the "bodily injury" or "property                    Minsured contract''.
           damage" occurs subsequent to the
           execution     of the contract or
                                                            f. Pollutlon
           agreement.                                         (1) "Bodily injury" or "property damage"
                                                                  arising out of the actual, alleged or
   c. Liquor Liability
                                                                  threatened       discharge, dispersal,
      "Bodily injury" or "property damage" for                    seepage, migration, release or escape
      which any insured may be held liable by                     of "pollutants":
      reason of:
                                                                  (a) At or from any premises, site or
     (1) Causing or contributing           to   the                   location which is or was at any
         intoxication of any person;                                  time owned or occupied by, or
                                                                      rented or loaned to, any Insured.
     (2) The furnishing of alcoholic beverages
                                                                      However, this subparagraph does
         to a person under the legal drfnking
                                                                      not apply to:
         age or under the influence of alcohol;
          or                                                          (i) "Bodily injury" if sustained
                                                                          within a building and caused by
     (3) Any statute, ordinance or regulation                             smoke, fumes, vapor or soot
         relating to the sale, gift, distribution or
                                                                          from equipment used to heat
         use of alcoholic beverages.
                                                                          that building;
      This exclusion applies only if you are in                      (II) "Bodlly Injury" or "property
      the      business      of    manufacturing,
                                                                          damage" for which you may be
      distributing, selling, serving or furnishing
                                                                          held liable, if you are a
      alcoholic beverages.
                                                                          contractor and the owner or
  d. Workers' Compensation And Similar                                    lessee of such premises, site or
     Laws                                                                 location has been added to
                                                                          your policy as an additional
      Any obligation of the insured under a                               Insured with respect to your
      workers' compensation, disability benefits                          ongoing operations performed
      or unemployment compensation law or                                 for that additional insured at
      any similar law(s).                                                 that premises, site or location
   e. Employer's Liability                                                and such premises, site or
                                                                          location is not and never was
      "Bodily injury" to:                                                 owned or occupied by, or
     (1) An "employee" of the Insured arising                             rented or loaned to, any
          out of and in the course of:                                    insured,     other   than   that
                                                                          additional insured; or
          (a) Employment by the insured; or
                                                                    (Iii) "Bodily injury" or "property
          (b) Performing duties related to the                            damage" arising out of heat,
              conduct of the insured's business;                          smoke or fumes from a "hostile
              or                                                          fire";
     (2) The spouse, child, parent, brother or                    (b) At or from any premises, site or
         sister of that "employee" as a                               location which is or was at any
          consequence of Paragraph (1)                                time used by or for any Insured or
          above.                                                      others for the handling, storage,
     This exclusion applies:                                          disposal, processing or treatment
                                                                      of waste;
     (1) Whether the insured may be liable as
         an employer or in any other capacity;                    (c) Which are or were at any time
         and                                                          transported,    handled,    stored,
                                                                      treated, disposed of, or processed
                                                                      as waste by or for any insured or

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        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 200 of 350




            any person or organization for                                   smoke or fumes from a "hostile
            whom you        may be legally                                   fire".
            responsible; or
                                                                   (e) At or from any premises, site or
        (d) At or from any premises, site or                           location on which any insured or
            locatfon on which any insured or                           any contractors or subcontractors
            any contractors or subcontractors                          working directly or indirectly on any
            working directly or indirectly on any                      insured's behalf are performing
            insured's behalf are performing                            operations if the operations are to
            operations if the "pollutants" are                         test for, monitor, clean up, remove,
            brought on or ta the premises, site                        contain,      treat,   detoxify    or
            or location in connection with such                        neutralize, or in any way respond
            operations by such            insured,                     to, or assess the effects of,
            contractor     or     subcontractor.                       "pollutants".
            However, this subparagraph does
            not apply to:                                    (2)   Any loss, cost or expense arising out
                                                                   of any:
            (I) "Bodily    injury" or "property                    (a) Request,      demand,       order or
               damage" arising out of the
                                                                       statutory or regulatory requirement
               escape of fuels, lubricants or
                                                                       that any insured or others test for,
               other operating fluids which are
               needed to perform the normal                            monitor, clean up, remove, contain,
               electrical,         hydraulic      or                   treat, detoxify or neutralize, or in
               mechanical                  functions                   any way respond to, or assess the
               necessary for the operation of                          effects of, "pollutants"; or
               "mobile equipment" or its parts,                    (b) Claim or suit by or on behalf of a
               if such fuels, lubricants or other                      governmental         authority   for
               operating         fluids      escape                    damages because of testing for,
               from a vehicle part designed to                         monitoring, cleaning up, removing,
               hold, store or receive them.                            containing, treating, detoxifying or
               This exception does not apply if                        neutralizing, or in any way
               the "bodily injury" or "property                        responding to, or assessing the
               damage" arises out of the                               effects of, "pollutants".
               intentional discharge, dispersal
               or release of the fuels,                            However, this paragraph does not
               lubricants or other operating                       apply to liability for damages because
               fluids,   or if such fuels,                         of "property damage" that the insured
               lubricants or other operating                       would have in the absence of such
               fluids are brought on or to the                     request, demand, order or statutory or
               premises; site or location with                     regulatory requirement, or such claim
               the intent that they be                             or "suit'' by or on behalf of a
               discharged,         dispersed      or               governmental authority.
               released as part of the
               operations being performed by               g. Aircraft, Auto Or Watercraft
               such insured, ·contractor or                   "Bodily injury" or "property damage"
               subcontractor;                                 arising    out    of      the    ownership,
           (ii) "Bodily  injury" or "property                 maintenance, use or entrustment to
               damage" sustained within a                     others of any aircraft, "auto" or watercraft
               building and caused by the                     owned or operated by or rented or loaned
               release of gases, fumes or                     to any insured. Use includes operation
               vapors from materials brought                  and "loading or unloading".
               into that building in connection
               with       operations      being               This exclusion does not apply to:
               performed by you or on your                   (1) A watercraft while ashore on premises
               behalf by a contractor or                         you own or rent;
               subcontractor; or
                                                             (2) A watercraft you do not own that is:
          (iii) "Bodily
                      injury" or "property                         (a) Less than 26 feet long; and
               damage" arising out of heat,


06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office         Page 3 of 18
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        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 201 of 350




        (b) Not being used to carry persons or                  Paragraphs (1 ), (3) and (4) of this
            property for a charge;                              exclusion do not apply to "property
                                                                damage" (other than damage by fire) to
     {3) Parking an "auto" on, or on the ways
         next to, premises you own or rent,                     premises, including the contents of such
         provided the "auto" is not owned by or                 premises, rented to you for a period of 7
         rented or loaned to you or the insured;                or fewer consecutive days.

     (4) "Bodily injury" or "property damage"                   Paragraph (2) of this exclusion does not
         arising out of the operation of any of                 apply if the premises are "your work" and
         the equipment listed In Paragraph                      were never occupied, rented or held for
         f.(2) or f.(3) of the definition of "mobile            rental by you.
         equipment".                                            Paragraphs (3), (4), (5) and (6) of this
   h. Mobile Equipment                                          exclusion do not apply to liability
                                                                assumed under a sidetrack agreement.
     "Bodily injury"    or     "property   damage"
     arising out of:                                            Paragraph (6) of this exclusion does not
                                                                apply to "property damage" included in
     (1) The     transportation    of   "mobile                 the    "products•completed     operations
         equipment" by an "auto" owned or                       hazard".
         operated by or rented or loaned to any
         insured; or            ·
     (2) The use of "mobile equipment" in, or                k. Damage To Your Product
         while In practice for, or while being                  "Property damage" to "your product"
         prepared for, any prearranged racing,                  arising out of "your product" or any part of
         speed, demolition, or stunting activity,               "your product".
   i. War                                                     I. Damage To Your Work
      "Bodily injury" or "property damage" due                  "Property damage" to "your work" arising
      to war, whether or not declared, or any                   out of "your work" or any part of "your
      act or condition incident to war. War                     work" and included in the "products•
      includes but is not limited to; civil war,                completed operations hazard".
      insurrection, usurped power, rebellion or
      revolution.                                               This exclusion does not apply If the
                                                                damaged work or the work out of which
   j. Damage To Property                                        the damage arises was performed on
     "Property damage" to:                                      your behalf by a subcontractor.
     (1) Property you own, rent, or occupy;                 m. Damage To Impaired Property               Or
                                                               Property Not Physlcally Injured
     (2) Premises you sell, give away or
         abandon, if the "property damage"                      "Property damage" to "impaired property"
         arises out of any part of those                        or property that has not been physically
         premises;                                              injured, arising out of:
     (3) Property loaned     to you;                           (1) A defect, deficiency, inadequacy or
                                                                   dangerous condition in "your product''
     (4) Personal property in the care, custody                    or "your work"; or
         or control of the insured;
                                                               (2) A delay or failure by you or anyone
     (5) That partlcular part of real property on                  acting on your behalf to perform a
         which you or any contractors or                           contract or agreement in accordance
         subcontractors working dlrectly or                        with its terms.
         indirectly  on     your    behalf are
         performing operations, if the "property                This exclusion does not apply to the loss
         damage" arises        out of those                     of use of other property arising out of
         operations; or                                         sudden and accidental physical injury to
                                                                "your product" or "your work" after it has
     (6) That particular part of any property                   been put to its intended use.
         that must be restored, repaired or
         replaced because "your work" was                   Exclusions j. through m. do not apply to
         incorrectly performed on it.                       damage by fire to premises while rented to


06 CGL0098 00 07 03          Includes Copyright Material from Insurance Services Office       Page4 of 18
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           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 202 of 350




  you or temporarily occupied by you with                            an insured under any such policy but
  permission of the owner. A separate limit of                       for its termination upon exhaustion of
  insurance applies to this coverage as                              its limit of liability; or
  described in SECTION Ill - LIMITS OF
                                                                 (2) resulting   from     the    "hazardous
  INSURANCE.
                                                                     properties" of "nuclear material" and
   n.   Recall Of Products, Work Or Impaired                         with respect to which {a) any person
        Property                                                     or organization is required to maintain
                                                                     financial protection pursuant to the
        Damages claimed for any loss, cost or                        Atomic Energy Act of 1954, or any
        expense incurred by you or others for the
                                                                     law amendatory thereof, or (b) the
        loss of use, withdrawal, recall, inspection,
                                                                     "insured" is, or had this policy not
        repair, replacement, adjustment, removal                     been issued would be, entitled to
        or disposal of:                                              indemnity from the United States of
        (1) "Your product";                                          America, or any agency thereof,
                                                                     under any agreement entered into by
        (2) "Your work"; or                                          the United States of America, or any
        (3) "Impaired property";                                     agency thereof, with any person or
                                                                     organization; or
        if such product, work, or property is
        withdrawn or recalled from the market or                 (3) under    any     Medical    Payments
        from use by any person or organization                       coverage, to expenses incurred with
        because of a known or suspected defect,                      respect to "bodily injury" resulting
        deficiency, inadequacy or dangerous                          from the "hazardous properties" of
        condition in it.                                             "nuclear material" and arising out of
                                                                     the operation of a "nuclear facility" by
   o. Personal And Advertising Injury                                any person or organization; or
        "Bodily injury" arising out of "personal                (4) under any Liability Coverage, to
        and advertising injury".                                    "bodily. injury" or "property damage"
   p. Asbestos                                                      resulting from "hazardous properties"
                                                                    of ''nuclear material", if:
        "Bodily injury" or "property damage",
        including but not limited to, compliance                    (a) The "nuclear material" (a) is at any
        with any action authorized or required by                       "nuclear facility" owned by, or
        law, which arises out of or would not have                      operated by or on behalf of, an
        occurred, in whole or in part, but for the                      "insured"  or (b)      has been
        "asbestos hazard."                                              discharged or dispersed therefrom;

        As used in this exclusion, "asbestos                        (b) The "nuclear material" is contained
        hazard" means actual, alleged or                                in "spent fuel" or "waste" at any
        threatened exposure to asbestos in any                          time possessed, handled, used,
        manner or form whatsoever, either                               processed, stored, transported or
        directly or indirectly, the failure to warn,                    disposed of, by or on behalf of an
        advise or instruct related to asbestos, the                     "insured"; or
        failure to prevent exposure to asbestos,                    (c) The "bodily injury" or "property
        or the presence of asbestos in any place                        damage" arises out of the
        whatsoever, whether or not within a                             furnishing by an "insured" of
        building or structure.                                          services,      materials,   parts or
   q. Nuclear Liability                                                 equipment In connection with the
                                                                        planning,                 construction,
        "Bodily injury" or "property damage''                           maintenance, operation or use of
        (1) with respect to which an "insured"                          any "nuclear facility", but if such
            under the policy is also an insured                         facility is located within the United
            under a nuclear energy liability policy                     States of America, its territories or
            issued by Nuclear Energy Liability                          possessions or Canada, thls
            Insurance Association, Mutual Atomic                        excluslon (3) applies only to
            Energy Liability Underwriters, Nuclear                      "property      damage"      to    such
            Insurance Association of Canada or                          "nuclear facility" and any property
            any of their successors, or would be                        thereat.


06 CG L0098 00 07 03          Includes Copyright Material from Insurance Services Office         Page 5 of 18
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           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 203 of 350




   As used in this exclusion:                                  conducted on such site and all premises
                                                               used for such operations.
  (1) "Hazardous          properties"      includes
      radioactive,       toxic    or      explosive          (7) "Nuclear reactor'' means any apparatus
      properties.                                                designed or used to sustain nuclear
                                                                 fission in a self.supporting chain
  (2) Nuclear    material"   means "source                       reaction or to contain a critical mass of
      material", "Special nuclear material" or
                                                                 fissionable material.
      "by•product material".
                                                             (8) "Property damage" includes all forms of
  (3) "Source material", "special nuclear                        radioactive contamination of property.
      material", and "by•product material"
      have the meanings given them in the                    r. Employment Related Practices
      Atomic Energy Act of 1954 or in any law
                                                               Any "bodily injury" to:
      amendatory thereof.
                                                               (1) · A person arising out of any:
  (4)    "Spent fuel" means any fuel element or
         fuel component, solid or liquid, which                      (a) Refusal to employ;
         has been used or exposed to radiation
         in a "nuclear reactor".                                     (b) Termination  of      that   person's
                                                                         employment; or
  (5) 'Waste" means any waste material (a)
      containing "by.product material" other                         (c) Employment.related practices,
      than the tailings or wastes produced by                            policies, act or omissions such as
      the extraction or concentration cf                                 coercion, demotion, evaluation,
      uranium or thorium from any ore                                    reassignment, discipline,
      processed primarily for its "source                                defamation, harassment,
      material" content, and (b) resulting from                          humiliatfon or discrimination
      the operation by any person or                                     directed at that person;
      organization of any "nuclear facility"                         (d) Action under Title VII of the 1964
      included under the first two paragraphs                            Civil Rights Act and/or any
      of the definition of "nuclear facility".                           amendments thereto; or
  (6) "Nuclear facility" means:                                (2)     The spouse, child, parent, brother or
         (a) Any "nuclear reactor";                                    sister of that person as a
                                                                       consequence of any injury or
         (b) Any equipment or device designed                          damage to that person at whom any
             or used for (I) separating the                            of the employment.related practices
             isotopes of uranium or plutonium,                         described in Paragraphs (a), (b)t
             (ii) processing or utilizing "spent                       (c) or (d) above is directed.
             fuel", or (Ill) handling, processing or
             packaging "waste";                                This exclusion applies:

         (c) Any equipment or device used for                  (1)     Whether the insured may be held
             the    processing,    fabricating   or                    liable as an employer or in any other
             alloying of "special nuclear material"                    capacity; and
             lf at any time the total amount of                (2)     To any obligation to share damages
             such material in the custody of the                       with or repay someone else who
             "insured" at the premises where                           must pay damages because of the
             such equipment or device is located                       injury.
             consists of or contains more than 25
             grams of plutonium or uranium 233               s. Prior Loss
             or any combination thereof, or more                Any "bodily injury" or "property damage ",
             than 250 grams of uranium 235;                     if such injury or damage is a continuation
         (d) Any structure, basin, excavation,                  of, or arises out of injury or damage that
             premises or place prepared or used                 commenced prior to the inception date of
             for the storage or disposal of                     the policy.
             "waste";                                        t. Fungi, Mold and Mildew
        and includes the site on which any of the               "Bodily injury" or "Property damage"
        foregoing is located, all operations                    arising out of fungi, including but not


06 CGL0098 00 07 03          Includes Copyright Material from Insurance Services Office         Page 6 of 18
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          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 204 of 350




        limited to, mold or mildew, and any               2. Exclusions
        microtoxins, spores, scents, vapors,
        gases, or byproducts produced or                     This Insurance does not apply to:
        released by fungi, regardless of any other           a. Knowing     Violation     Of     Rights   Of
        cause, event, material, product and/or                  Another
        building component that contributed
        concurrently or in any sequence to that                 "Personal and advertising injury" caused
        liabiHty, damage, loss, cost, expense or                by or at the direction of the insured with
        other type of obligation.                               the knowledge that the act would violate
                                                                the rights of another and would inflict
   u.   Lead                                                    "personal and advertising injury".
        "Bodily injury" or "property damage",                b, Material Published With Knowledge Of
        including but not limited to, compliance                Falsity
        with any action authorized or required by
        law, which arises out of, in whole or in                "Personal and advertising injury" arising
        part, the ingestion, inhalation, absorption             out of oral or written publication of
        or exposure to lead, either directly or                 material, if done by or at the direction of
        indirectly, in any manner or form                       the insured with knowledge of its falsity.
        whatsoever.                                          c. Material Published Prior To Policy
COVERAGE B PERSONAL AND                                         Period
ADVERTISING INJURY LIABILITY                                    "Personal and advertising injury" arising
1. Insuring Agreement                                           out of oral or written publication of
                                                                material whose first publication took place
   a. We wlll pay those sums that the insured                   before the beginning of the policy period.
        becomes legally obligated to pay as
        damages because of "personal and                     d. Criminal Acts
        advertising injury" to which this insurance             "Personal and advertising injury" arising
        applies. We will have the rlght and duty to             out of a criminal act committed by or at
        defend the insured against any "suit"                   the direction of the insured.
        seeking those damages. However, we will
        have no duty to defend the insured                   e. Contractual Liability
        against any "suit" seeking damages for                  "Personal and advertising Injury" for
        "personal and advertising injury" to which              which the insured has assumed liability in
        this insurance does not apply. We may, at               a contract or agreement. This exclusion
        our discretion, investigate any offense                 does not apply to liability for damages
        and settle any claim or "suit" that may                 that the insured would have in the
        result. But:                                            absence of the contract or agreement.
        (1) The amount we will pay for damages               f. Breach Of Contract
            is limited as described in Section Ill -
            Limits Of Insurance ; and                           ''Personal and advertising injury" arising
                                                                out of a breach of contract.
        (2) Our right and duty to defend end when
            we have used up the applrcable limit             g. Quality Or Performance Of Goods -
            of insurance in the payment of                      Failure To Conform To Statements
            judgments or settlements under                      "Personal and advertising injury" arising
            Coverages A or B or medical                         out of the failure of goods, products or
            expenses under Coverage C.                          services to conform with any statement of
        No other obligation or liability to pay sums            quality or performance made in your
        or perform acts or services is covered                  "advertisement".
        unless explicitly provided for under                 h. Wrong Description Of Prices
        Supplementary Payments - Coverages
        A and B.                                                "Personal and advertising injury" arising
                                                                out of the wrong description of the price
   b. This insurance applies to "personal and                   of goods, products or services stated in
        advertising injury" caused by an offense                your "advertisement''.
        arising out of your business but only if the
        offense was committed in the "coverage
        territory" during the policy period.

06 CGL0098 00 07 03          Includes Copyright Material from Insurance Services Office        Page 7 of 18
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        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 205 of 350




    i. Infringement Of Copyright, Patent,                      mold or mildew, and any microtoxins,
      Trademark Or Trade Secret                                spores, scents, vapors, gases, or
                                                               byproducts produced or released by
      "Personal and advertising injury'' arising
                                                               fungi, regardless of any other cause,
      out of the infringement of copyright,
                                                               event, material, product and/or building
      patent, trademark, trade secret or other
                                                               component that contributed concurrently
      intellectual property rights.
                                                               or in any sequence to that liability,
   j, Insureds In Media And Internet Type                      damage, loss, cost, expense or other type
      Businesses                                               of obligation.
      "Personal   and    advertising  injury"               o. Employment-Related Practices
      committed by an insured whose business
                                                               "Personal and Advertising Injury"
      Is:
                                                               arising out of employment-related
     (1) Advertising, broadcasting, publishing                 practices to:
         or telecasting;
                                                               (1) A person arising out of any:
     (2) Designing or determining content of
                                                                    (a) Refusal to employ;
         web-sites for others; or
                                                                    (b) Temilnatlon    of     a       person's
     (3) An Internet search, access, content or
                                                                        employment; or
         service provider.
      However, this exclusion does not apply to
                                                                    (c) Employment-related practices,
                                                                        policies, act or omissions,
      Paragraphs 14.a., b. and c. of "personal
                                                                        including but not limited to,
      and advertising injury" under Section V -
      Definitions.                                                      coercion, demotion, evaluation,
                                                                        reassignment, discipline,
      For the purposes of this exclusion, the                           defamation, harassment,
      placing of frames, borders or links, or                           humiliation or discrimination
      advertising, for you or others anywhere                           directed at that person; or
      on the lntemet, is not by itself, considered
      the business of advertising, broadcasting,
                                                                    (d) Action under Title VII of the 1964
                                                                        Civil Rights Act and/or any
      publishing or telecasting.
                                                                        amendments thereto; or
   k. Electronic    Chatrooms      Or    Bulletin
                                                              (2) any other person as a consequence
      Boards
                                                                  of any injury or damage to that
     "Personal and advertising injury'' arising                   person at whom any of the
     out of an electronic chatroom or bulletin                    employment-related         practices
     board the insured hosts, owns, or over                       described in Paragraphs (a), (b), (c)
     which the insured exercises control.                         or {d) above is directed.
   I. Unauthorized Use Of Another's Name                      This exclusion applies:
      Or Product
                                                              (1)     Whether or not the insured may be
     "Personal and advertising injury'' arising                       held liable as an employer or in any
     out of the unauthorized use of another's                         other capacity; and
     name or product in your e-mail address,
     domain name or metatag, or any other
                                                              (2)     To any obligation to share damages
                                                                      with or repay someone else who
     similar tactics to mislead another's
                                                                      must pay damages because of any
     potential customers.
                                                                      such injury.
  m. Pollution
                                                            p. Asbestos
     "Personal and advertising injury" arising
                                                              "Personal     and    advertising    injury'',
     out of the actual, alleged or threatened
                                                              including but not limited to, compliance
     discharge, dispersal, seepage, migration,
                                                              with any action authorized or required by
     release or escape of "pollutants" at any
                                                              law, which arises out of or would not have
     time.
                                                              occurred, in whole or in part, but for the
  n. Fungi, Mold and MIidew                                   aasbestos hazard.    ff



     "Personal and advertising injury'' arising               As used in this exclusion, ~asbestos
     out of fungi, including but not limited to,              hazard" means actual, alleged or

06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office          Page 8 of 18
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           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 206 of 350




        threatened exposure to asbestos in any              2. Exclusions
        manner or form whatsoever, either
        directly or indirectly, the failure to warn,           We will not pay expenses for "bodily injury'':
        advise or instruct related to asbestos, the            a. Any Insured
        failure to prevent exposure to asbestos,
        or the presence of asbestos in any place                  To any       insured,     except   ''volunteer
        whatsoever, whether or not within a                       workers".
        building or structure.                                 b. Hired Person
   q.Lead                                                         To a person hired to do work for or on
        "Personal     and     advertising   Injury'',             behalf of any insured or a tenant of any
        including but not limited to, compliance                  insured.
        with any action authorized or required by              c. Injury On Normally Occupied Premises
        law, which arises out of, in whole or in
        part, the ingestion, inhalation, absorption               To a person injured on that part of
        or exposure to lead, either directly or                   premises you own or rent that the person
        Indirectly, in any manner or form                         normally occupies.
        whatsoever.                                            d. Workers Compensation And Similar
COVERAGE C MEDICAL PAYMENTS                                       Laws
1. Insuring Agreement                                             To a person, whether or not an
                                                                  "employee" of any insured, if benefits for
   a.   We will pay medical expenses as                           the "bodily injury'' are payable or must be
        described below for "bodily injury" caused                provided under a workers' compensation
        by an accident:                                           or disability benefits law or a similar law.
        (1) On premises you own or rent;                       e. Athletics Activities
        (2) On ways next to premises you own or                   To a person injured while taking part In
            rent; or                                              athletics.
        (3) Because of your operations;                        f. Products-Completed Operations
            provided that:                                        Hazard
            (a)   The accident takes place in the                 Included within the "products-completed
                  "coverage territory" and during                 operations hazard".
                  the policy period;                           g. ~overage A Exclusions
            (b)   The expenses are incurred and                   Excluded under Coverage A.
                  reported to us within one year of
                  the date of the accident; and                h, War
            (c)   The injured person submits to                   Due to war, whether or not declared, or
                  examination, at our expense, by                 any act or condition incident to war. War
                  physicians of our choice as                     includes civil war, insurrection, rebellion
                  often as we reasonably require.                 or revolution.

  b. We will make these payments regardless                    I. Clubs
     of fault These payments will not exceed                      If you are a club, to any of your members.
        the applicable limit of insurance. We will
        pay reasonable expenses for:                           j. Medical Expenses
        (1) First aid administered at the time of an              Arising from or in connection with any
            accident;                                             medical expenses for services by you,
                                                                  any of your employees or any person or
        (2) Necessary medical, surgical, x-ray                    organization under a contract to you to
            and    dental    services,     including              provide such services.
            prosthetic devices; and
                                                               k. Fungi, Mold and MIidew
        (3) Necessary        ambulance,  hospital,
            professional     nursing and funeral                  Arising out of fungi, including but not
            services.                                             limited to, mold or mildew, and any
                                                                  microtoxins, spores, scents, vapors,


06 CGL0098 00 07 03            Includes Copyright Material from Insurance Services Office        Page 9 of 18
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          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 207 of 350




        gases, or byproducts produced or                      d. All reasonable expenses incurred by the
        released by fungi, regardless of any other               insured at our request to assist us In the
        cause, event, material, product and/or                   investigation or defense of the claim or
        building component that contributed                      "suit'', including actual loss of earnings up
        concurrently or in any sequence to that                  to $250 a day because of time off from
        liability, damage, loss, cost, expense or                work.
        other type of obligation.
                                                              e. All costs taxed against the Insured in the
   I. Lead                                                       "suit".
        Arising out of, in whole or in part, the              f. Prejudgment Interest awarded against the
        ingestion,   inhalation, absorption or                   insured on that part of the judgment we
        exposure to lead, either directly or                     pay. If we make an offer to pay the
        indirectly, in any manner or form                        applicable limit of insurance, we will not
        whatsoever.                                              pay any prejudgment interest based on
                                                                 that period of time after the offer.
                                                              g. All interest on the full amount of any
                                                                 judgment that accrues after entry of the
   m. Asbestos                                                   judgment and before we have paid,
                                                                 offered to pay, or deposited in court the
        Which arises out of or would not have                    part of the judgment that is within the
        occurred, in whole or In part, but for the               applicable limit of insurance.
        "asbestos hazard. 8


                                                              These payments will not reduce the limits of
        As used in this exclusion, "asbestos                  insurance.
        hazard" means actual, alleged or
        threatened exposure to asbestos in any            SECTION 11- WHO IS AN INSURED
        manner or form whatsoever, either.
                                                           1. If you are designated in the Declarations as:
        directly or indirectly, the failure to warn,
        advise or instruct related to asbestos, the           a. An individual, you and your spouse are
        failure to prevent exposure to asbestos,                 insureds, but only with respect to the
        or the presence of asbestos in any place                 conduct of a business of which you are
        whatsoever, whether or not within a                      the sole owner.
        building or structure.
                                                              b. A partnership or joint venture, you are an
   n. Pollution                                                  insured. Your members, your partners,
                                                                 and their spouses are also insureds, but
        Arising out of the actual, alleged or                    only with respect to the conduct of your
        threatened        discharge,   dispersal,                business.
        seepage, migration, release or escape of
        "pollutants" at any time.                             c. A  limited liability company, you are an
                                                                 insured. Your members are also insureds,
SUPPLEMENTARY PAYMENTS -                                         but only with respect to the conduct of
COVERAGES A AND B                                                your business. Your managers are
1. We will pay, with respect to any claim we                     insureds, but only with respect to their
   investigate or settle, or any "suit" against an               duties as your managers.
   insured we defend:
                                                              d. An organization other than a partnership,
   a. All expenses we incur.                                     joint venture or limited liability company,
                                                                 you are an insured. Your "executive
   b, Up to $250 for cost of bail bonds required                 officers" and directors are insureds, but
      because of accidents or traffic law                        only with respect to their duties as your
      violations arising out of the use of any                   officers or directors. Your stockholders
      vehicle to which the Bodily Injury Liability               are also insureds, but only with respect to
      Coverage applies. We do not have to                        their liability as stockholders.
      furnish these bonds.
                                                              e. A trust, you are an insured. Your trustees
   c.   The cost of        bonds     to   release                are also insureds, but only with respect to
        attachments, but only for bond amounts                   their duties as trustees.
        within the applicable limit of insurance.
        We do not have to furnish these bonds.            2. Each of the following is also an insured:



06 CGL0098 00 07 03           Includes Copyright Material from Insurance Services Office       Page 10 of 18
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        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 208 of 350




   a. Your "volunteer workers" only while                  b. Any person (other than your "employee"
      performing duties related to the conduct                or    "volunteer  worker"),  or   any
      of your business, or your "employees",                  organization while acting as your real
      other than either your "executive officers"             estate manager.
      (if you are an organization other than a
                                                           c. Any person or organization having proper
      partnership, joint venture or limited
                                                              temporary custody of your property if you
      liability company) or your managers (if
                                                              die, but only:
      you are a limited liability company), but
      only for acts within the scope of their                 (1) With respect to liability arising out of
      employment by you or while performing                       the maintenance       or   use of that
      duties related to the conduct of your                       property; and
      business. However, none of these
      "employees" or "volunteer workers" are                  (2) Until your legal representative has
      insureds for:                                               been appointed.

     (1) "Bodily   injury" or   "personal    and           d. Your legal representative if you die, but
         advertising injury":                                 only with respect to duties as such. That
                                                              representative will have all your rights
        (a) To you, to your partners or                       and duties under this policy.
            members (if you are a partnership
            or joint venture), to your members          3. With    respect to "mobile equipment''
            (if you are a limited liability                registered in your name under any motor
            company), to a co-"employee"                   vehicle registration law, any person is an
            while in the course of his or her              insured while driving such equipment along a
            employment or performing duties                public highway with your permission. Any
            related to the conduct of your                 other person or organization responsible for
            business, or to your other                     the conduct of such person is also an
            "volunteer       workers"     while            insured, but only with respect to liability
            performing duties related to the               arising out of the operation of the equipment,
            conduct of your business;·                     and only if no other insurance of any kind is
                                                           available to that person or organization for
        (b) To the spouse, child, parent,                  this liability. However, no person or
            brother or sister of that co-                  organization is an insured with respect to:
            "employee" or "volunteer worker''
            as a consequence of Paragraph                  a. "Bodily injury" to a co-"employee" of the
            (1 ){a) above;                                    person driving the equipment; or

        (c) For which there is any obligation to           b. "Property damage" to property owned by,
             share damages with or repay                      rented to, in the charge of or occupied by
             someone else who must pay                        you or the employer of any person who is
             damages because of the injury                    an insured under this provision.
             described in Paragraphs (1)(a) or          4. Any organization you newly acquire or form,
           · (b) above; or                                 other than a partnership, joint venture or
        (d) Arising out of his or her providing            limited liability company, and over which you
            or failing to provide professional             maintain ownership or majority interest, will
            health care seivices.                          qualify as a Named Insured if there is no
                                                           other similar insurance available to that
     (2) "Property damage" to property:                    organization. However:
        (a) Owned, occupied or used by,                    a. Coverage under this provision is afforded
                                                              only until the 90th day after you acquire
        (b) Rented to, in the care, custody or
                                                              or form the organization or the end of the
            control of, or over which physical
                                                              policy period, whichever is earlier;
            control is being exercised for any
            purpose by                                     b. Coverage A does not apply to "bodily
         you, any of your "employees",                        injury" or "property damage" that occurred
                                                              before you acquired or formed ·the
         "volunteer workers", any partner or
                                                              organization; and
         member (if you are a partnership or
         joint venture), or any member (if you             c. Coverage B does not apply to "personal
         are a limited liability company).                    and advertising injury" arising out of an


06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office        Page 11 of 18
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          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 209 of 350




        offense committed before you acquired or              you or temporarily occupied by you with
        formed the organization.                              permission of the owner.
No person or organization is an insured with               7, Subject to Paragraph 5. above, the Medical
respect to the conduct of any current or past                 Expense Limit Is the most we will pay under
partnership, joint venture or limited liability               Coverage C for all medical expenses
company that is not shown as a Named Insured                  because of "bodily injury" sustained by any
in the Declarations.                                          one person.
SECTION Ill - LIMITS OF INSURANCE                          The Limits of Insurance apply to the policy
                                                           period set forth in the Declarations or any
1. The Limits of Insurance shown in the                    endorsements thereto.
   Declarations and the rules below fix the most
   we will pay regardless of the number of:
   a.   Insureds;
   b. Claims made or "suits" brought; or                   SECTION IV - COMMERCIAL GENERAL
                                                           LIABILITY CONDITIONS
   c.   Persons ·or organizations making claims
        or bringing "suits".                               1. Bankruptcy
2. The General Aggregate Limit is the most we                 Bankruptcy or insolvency of the insured or of
   will pay for the sum of:                                   the lnsured's estate will not relieve us of our
                                                              obligations under this policy.
   a. Medical expenses under Coverage C;
                                                           2. Duties In The Event Of Occurrence,
   b. Damages under Coverage A, except                        Offense, Claim Or Sult
      damages because of "bodily injury" or
      "property damage" included in the                       a.   You must see to It that we are notified as
      "products-completed operations hazard";                      soon as practicable of an "occurrence" or
      and                                                          an offense which may result in a claim.
                                                                   To the extent possible, notice should
   c. Damages under Coverage B.                                    include:
3, The       Products-Completed       Operations
                                                                   (1) How,    when      and     where     the
   Aggregate Limit is the most we will pay under
                                                                       "occurrence" or offense took place;
   Coverage A for damages because of "bodily
   injury" and "property damage" Included In the                   (2) The names and addresses of any
   "products-completed operations hazard".                             injured persons and witnesses; and
4. Subject to Paragraph 2. above, the Personal                     (3) The nature and location of any injury
   and Advertising Injury Limit is the most we                         or damage arising out of the
   will pay under Coverage B for the sum of all                        "occurrence" or offense.
   damages because of all "personal and
   advertising injury" sustained by any one                    Notice of an "occurrence» or an offense is
   person or organization. ·                                   not notice of a claim.

5. Subject to Paragraphs 2. or 3. above,                      b. If a claim is made or "suit" is brought
   whichever applies, the Each Occurrence                        against any insured, you must:
   Limit is the most we will pay for the sum of:                   (1) Immediately record the specifics of the
   a. Damages under Coverage A; and                                    claim or "suit" and the date received;
                                                                       and
   b. Medical expens~s under Coverage C
                                                                   (2) Notify us as soon as practicable.
   because of all "bodily injury" and "property
   damage" arising out of any one "occurrence".                    You must see to it that we receive written
                                                                   notice of the claim or "suit'' as soon as
6. Subject to Paragraph 5. above, the Damage                       practicable.
   To Premises Rented To You Limit is the
   most we will pay under Coverage A for                      c. You and any other involved insured must:
   damages because of "property damage" to                         (1) Immediately send us copies of any
   any one premises, while rented to you, or in                        demands, notices, summonses or
   the case of damage by fire, while rented to                         legal papers received in connection
                                                                       with the claim or "suit";


06 CGL0098 00 07 03           Includes Copyright Material from Insurance Services Office          Page 12 of 18
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           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 210 of 350




        (2) Authorize us to obtain records and                  compute the earned premium for that
            other information;                                  period and send notice to the first Named
                                                                Insured. The due date for audit and
        (3) Cooperate with us in the investigation
                                                                retrospective premiums is the date shown
            or settlement of the claim or defense
                                                                as the due date on the bill. If the sum of
            against the "suit"; and
                                                                the advance and audit premiums paid for
        (4) Assist us, upon our request, in the                 the policy period is greater than the
            enforcement of any right against any                earned premium, we will return the
            person or organization which may be                 excess to the first Named Insured.
            liable to the insured because of injury
                                                             c. The first Named Insured must keep
            or damage to which this insurance
                                                                records of the information we need for
            may also apply.
                                                                premium computation, and send us
   d. No insured will, except at that lnsured's                 copies at such times as we may request.
        own cost, voluntarily make a payment,
        assume any obligation, or incur any
        expense, other than for first aid, without        6. Representations
        our consent.
                                                             By accepting this policy, you agree:
3. Legal Action Against Us
                                                             a. The statements in the Declarations are
   No person or organization has a right under                  accurate and complete;
   this policy:
                                                             b. Those   statements are based upon
   a. To join us as a party or otherwise bring us               representations you made to us; and
        into a "suit'' asking for damages from an
        insured; or                                          c. We have issued this policy in reliance
                                                                upon your representations.
   b. To sue us on this policy unless all of its
        terms have been fully compiled with.
                                                          7, Separation Of Insureds

   A person or organization may sue us to                    Except with respect to the Limits of
   recover on an agreed settlement or on a final             Insurance, and any rights or duties
   judgment against an insured; but we will not              specifically assigned in this policy to the first
   be liable for damages that are not payable                Named Insured, this Insurance applies:
   under the terms of this policy or that are in             a. As if each Named Insured were the only
   excess of the applicable limit of insurance.                 Named Insured; and
   An agreed settlement means a settlement
   ~nd release of liability signed by us, the                b. Separately to each insured against whom
   insured and the claimant or the claimant's                   claim is made or "suit" is brought.
   legal representative.                                  8. Transfer Of Rights Of Recovery Against
_4. Other Insurance                                          Others To Us
   This insurance is excess over any other valid             If the insured has rights to recover all or part
   and collectible insurance that applies to any             of any payment we have made under this
   claim or "suit' to which this insurance applies,          policy, those rights are transferred to us. The
   whether such other insurance Is written on a              insured must do nothing after loss to impair
   primary, excess, contingent or on any other               our rights. At our request, the insured will
   basis (except if that other insurance is                  bring "suit" or transfer those rights to us and
   specifically written to apply excess of this              help us enforce them.
   insurance), and this insurance will not                9. When We Do Not Renew
   contribute with any other such insurance.
                                                             If we decide not to renew this policy, we will
5. Premium Audit                                             mail or deliver to the first Named Insured
   a.   We will compute all premiums for this                shown in the Declarations written notice of
        policy in accordance with our rules and              the nonrenewal not less than 30 days before
        rates.                                               the expiration date.

   b. Premium shown in this policy as advance                If notice is mailed, proof of mailing will be
        premium is a deposit premium only. At                sufficient proof of notice.
        the close of each audit period we will           10. Cancellation


06 CGL0098 00 07 03          Includes Copyright Material from Insurance Services Office       Page 13 of 18
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           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 211 of 350




   a. The First Named Insured shown in the                     a.    The First Named Insured Is authorized to
      Declarations may cancel this policy by                         act on behalf of all persons or
      mailing or delivering to us advance                            organizations insured under this policy
      written notice of cancellation.                                with respect to all matters pertaining to
                                                                     the insurance afforded by the policy.
   b. We may cancel this policy by mailing or
      delivering to the First Named Insured                    b. Each Named Insured is jointly and
      written notice of cancellation at least:                       severally liable for:
     (1)     10 days before the effective date of              (1)        All premiums due under this policy;
             cancellation if we cancel for non~                           and
             payment of premium; or
                                                               (2)        All obligations that arise due to the
     (2)     30 days before the effective date of                         self-insured retention including claim
             cancellation if we cancel for any                            expenses
             other reason.
                                                               (3)        Any other financial obligations of the
   c. We will mail or deliver our notice to the                           Named Insured to us arising out of
      First Named lnsured's         last   mailing                        any agreements contained in this
      address known to us.                                                policy.
   d, Notice of cancellation will     state the          14.        Transfer of Your Rights and Duties
      effective date of cancellation. The policy                     under this policy
      period will end on that date.
                                                                    Your rights and duties under this. policy
   e, If this policy Is cancelled, we will send the                 may not be transferred without our written
      First Named Insured any premium refund                        consent, except in the case of death to an
      due. If we cancel, the refund will be pro                     individual Named Insured.
      rata. If the First Named Insured cancels,
      the refund may be less than pro rats.
                                                                    If you die, your rights and duties wm be
                                                                    transferred to your legal representative
      The cancellation will be effective even if
                                                                    but only within the scope of duties as your
      we have not made or offered a refund.
                                                                    legal representative.     Until your legal
   f. If notice is mailed, proof of mailing will be                 representative is appointed, anyone
      sufficient proof of notice.                                   having proper temporary custody of your
                                                                    property will have your rights and duties
11. Changes
                                                                    but only with respect to that property.
     This policy contains all agreements
                                                         SECTION V - DEFINITIONS
     between you and us concerning the
     insurance afforded. This policy's terms             1. "Advertisement" means a notice that is
     can be amended or waived only by                          broadcast or publi_shed to the general public
     endorsement issued by us and made a                       or specific market segments about your
     part of this policy.                                      goods, products or services for the purpose
                                                               of attracting customers or supporters. For the
12. Inspection
                                                               purposes of this definition:
      We shall be permitted but not obligated to
                                                               a. Notices that are published include
      inspect, sample and monitor on a
                                                                  material placed on the Internet or on
      continuing basis the insured's property or
                                                                  similar     electronic  means       of
      operations, at any time. Neither our right
                                                                  communication; and
      to make inspections, sample and monitor
      nor the actual undertaking thereof nor any               b. Regarding web-sites, only that part of a
      report thereon shall constitute an                          web-site that Is about your goods,
      undertaking, on behalf of the insured or                    products or services for the purposes of
      others, or determine or warrant that                        attracting customers or supporters Is
      property or operations are safe, healthful                  considered an advertisement.
      or conform to acceptable engineering
      practice or are in compliance wlth any law,
                                                         2. "Auto" means a land motor vehicle, trailer or
                                                               semitrailer designed for travel on public
    · rule or regulation.
                                                               roads, including any attached machinery or
13. Named Insureds                                             equipment. But "auto" does not include
                                                               "mobile equipment".



06 CGL0098 00 07 03         Includes Copyright Material from Insurance Services Offlce           Page 14 of 18
                             ·                 With its Pennission.
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 212 of 350




3. "Bodily injury" means bodily injury, sickness             a.. The repair, replacemen~ adjustment or
   or disease sustained by a person, Including                    removal of "your product'' or "your work";
   death resulting from any of these at any time.                 or
4. "Coverage territory" means:                               b. Your fulfilling the terms of the contract or
                                                                  agreement
   a. The United States of America (including
      its territories and possessions), Puerto           9. "Insured contract" means:
      Rico and Canada;
                                                             a.   A written contract for a lease of premises.
   b. International waters or airspace, but only                  However, that portion . of the written
      if the injury or damage occurs in the                       contract for a lease of premises that
      course of travel or transportation between                  indemnifies any person or organization
      any places included in Paragraph a.                         for damage by fire to premises while
      above;or                                                    rented to you or temporarily occupied by
                                                                  you with permission of the owner is not
   c. All other parts of the world if the injury or
                                                                  an "insured contract";
      damage arises out of:
                                                             b. A written sidetrack agreement;
        (1) Goods or products made or sold by
            you In the territory described in                c. Any easement or license agreement,
            Paragraph a. above;                                 except in connection with construction or
                                                                demolition operations on or within 50 feet
        (2) The activities of a person whose home               of a railroad;
            is in the territory described in
            Paragraph a. above, but is away for a            d. An obligation, as required by ordinance,
            short time on your business; or                       to indemnify a municipality, except in
                                                                  connection with work for a municipality;
        (3) "Personal and advertising injury''
            offenses that take place through the             e. A      written      elevator     maintenance
            Internet or similar electronic means of               agreement;
            communication
                                                             f. That part of any other written contract or
   provided the lnsured's responsibility to pay                 written agreement pertaining to your
   damages is determined in a "suit'' on the                    business (including an indemnification of
   merits, in the territory described in                        a municipality In connection with work
   Paragraph a. above or in a settlement we                     performed for a municipality) under which
   agree to.                                                    you assume the tort liability of another
                                                                party to pay for "bodily injury'' or "property
S. "Employee" includes a "leased worker".                       damage" to a third               person or
   "Employee" does not include a "temporary                     organization. Tort liability means a liability
   worker''.                                                    that would be imposed by law in the
6. "Executive officer'' means a person holding                  absence of any written contract or written
   any of the officer positions created by your                 agreement.
   charter, constitution, by-laws or any other                    Paragraph f. does not include that part of
   similar governing document.                                    any written contract or written agreement:
7. "Hostile fire" means one which becomes                         (1) That indemnifies a railroad for "bodily
   uncontrollable or breaks out from where it                         injury'' or "property damage" arising
   was intended to be.                                                out of construction or demolition
8, "Impaired property" means tangible property,                       operations, within 50 feet of any
   other than "your product" or "your work", that                     railroad property and affecting any
   cannot be used or is less useful because:                          railroad bridge or trestle, tracks, road-
                                                                      beds, tunnel, underpass or crossing;
   a.   It incorporates "your product" or "your
        work" that is known or thought to be                      (2) That   indemnifies    an architect,
        defective,   deficient, inadequate or                         engineer or surveyor for injury or
        dangerous; or .                                               damage arising out ot
   b. You have failed to fulfill the terms of a                      (a) Preparing, approving, or failing to
      contract or agreement;                                             prepare or approve, maps, shop
                                                                         drawings,    opinions,     reports,
   if such property can be restored to use by:                           surveys, field orders, change

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           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 213 of 350




               orders      or     d~wings       and               (2) Road construction or resurfacing
               specifications; or                                     equipment such as graders, scrapers
                                                                      or rollers;
           (b} Giving directions or instructions, or
               failing to give them, if that is the          e. Vehicles not described in Paragraphs a.,
               primary cause of the injury or                   b., c. or d. above that are not self-
               damage; or                                          propelled and are maintained primarily to
                                                                   provide mobility to permanently attached
        (3) Under which the insured, if an
                                                                   equipment of the following types:
            architect,  engineer or surveyor,
            assumes liability for an injury or                    (1) Air    compressors,       pumps    and
            damage arising out of the insured's                       generators,      including    spraying,
            rendering or failure to render                            welding,        building      cleaning,
            professional services, including those                    geophysical exploration, lighting and
            listed in Paragraph (2) above or                          well servicing equipment; or
            supervisory, inspection, architectural
            or engineering activities.                            (2) Cherry pickers and similar devices
                                                                      used to raise or lower workers;
·10. "Leased worker'' means a person leased to
     you by a labor leasing firm under an                     f. Vehicles not described In Paragraphs a.,
   agreement between you and the labor                           b.,. c. or d.. above maintained primarily for
   leasing firm, to perform duties related to the                  purposes other than the transportation of
   conduct of your business. "Leased worker"                       persons or cargo.
   does not include a "temporary worker''.                        However, self-propelled vehicles with the
11. "Loading or unloading" means the handling                     following types of permanently attached
   of property:    ·                                              equipment are not "mobile equipment"
                                                                  but will be considered "autos":
   a.   After it is moved from the place where it is
        accepted for movement into or onto an                     (1) Equipment designed primarily for:
        aircraft, watercraft or "auto";                              (a) Snow removal;
   b. While it is in or on an aircraft, watercraft                   (b) Road    maintenance,      but   not
        or "auto"; or                                                    construction or resurfacing; or
   c. While it is being moved from an aircraft,                      (c) Street cleaning;
        watercraft or "auto" to the place where It
        is finally delivered;                                     (2) Cherry pickers and similar devices
                                                                      mounted    on   automobile    or truck
   but "loading or unloading" does not Include                        chassis and used to raise or lower
   the movement of property by means of a                             workers; and
   mechanical device, other than a hand truck,
   that is not attached to the aircraft, watercraft               (3) Air    compressors,       pumps    and
   or "auto".                                                         generators,      including    spraying,
                                                                      welding,        building      cleaning,
12. "Mobile equipment" means any of the                               geophysical exploration, lighting and
   following types of land vehicles, including                        well serviclng equipment.
   any attached machinery or equipment:
                                                         13."0ccurrence" means an accident, including
   a. Bulldozers, farm machinery, forklifts and              continuous or repeated exposure to
        other vehicles designed for use principally          substantially the same general harmful
        off public roads;                                    conditions.
   b. Vehicles maintained for use solely on or           14. "Personal and advertising injury" means
        next to premises you own or rent;                    Injury, including consequential "bodily injury'',
   c. Vehicles that travel on crawler treads;                arising out of one or more of the following
                                                             offenses:
   d. Vehicles, whether self-propelled or not,
        maintained primarily to provide mobility to          a.   False arrest, detention or imprisonment;
        permanently mounted:                                 b. Malicious prosecution;
        (1) Power cranes, shovels,          loaders,         c.   The wrongful eviction from, wrongful entry
            diggers or drills; or                                 into, or invasion of the right of private
                                                                  occupancy of a room, dwelling or

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        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 214 of 350




      premises that a person occupies,                                 contractor    or    subcontractor
      committed by or on behalf of its owner,                          working on the same project.
      landlord or lessor;
                                                                    Work that may need service,
   d. Oral or written publication, in any manner,                   maintenance, correction, repair or
      of material that slanders or libels a person                  replacement, but which is otherwise
      or organization or disparages a person's                      complete,   will  be   treated   as
      or organization's goods, products or                          completed.
      services;
                                                           b. This does not include "bodily injury" or
   e. Oral or written publication of material, in               "property damage" arising out of:
      any manner, that violates a person's right
                                                                (1) The transportation of property, unless
      of privacy;
                                                                    the injury or damage arises out of a
   f, The use of another's advertising idea in                      condition in or on a vehicle not owned
      your "advertisement"; or                                      or operated by you, and that condition
                                                                    was created by the "loading or
   g. Infringing upon another's copyright, trade
                                                                    unloading" of that vehicle by any
      dress or slogan in your "advertisement''.
                                                                    insured;
   All "personal and advertising injury" arising
                                                                (2) The existence of tools, uninstalled
   out of the same or similar material,                             equipment or· abandoned or unused
   regardless of the mode in which such
                                                                    materials; or
   material is communicated, including but not
   limited to publication by means of Internet.                 (3) Products or operations for which the
   extra-net, email or website, will be                             classification,   listed     in   the
   considered as arising solely out of one                          Declarations or in a policy schedule,
   offense.                                                         states      that   products-completed
                                                                    operations are subject to the General
15."Pollutants" mean any solid, liquid, gaseous
                                                                    Aggregate Limit.
   or thermal. irritant or contaminant, including
   smoke, vapor, soot, fumes, acids, alkalis,          17. "Property damage" means:
   chemicals and waste. waste includes
   materials to be recycled, reconditioned or
                                                           a.   Physical injury to tangible property,
                                                                including all resulting loss of use of that
   reclaimed.
                                                                property. All such loss of use shall be
16. "Products.completed    operations     hazard"               deemed to occur at the time of the
   means:                                                       physical injury that caused it; or
   a. All "bodily injury" and "property damage"            b. Loss of use of tangible property that is not
      occurring away from premises you own or                   physically injured. All such loss of use
      rent and arising out of "your product" or                 shall be deemed to occur at the time of
      "your work" except:                                       the "occurrence" that caused it.
     (1) Products that are still in your physical          For the purposes of this insurance, electronic
         possession; or                                    data is not tangible property.
     (2) Work that has not yet been completed              As used in this definition, electronic data
         or abandoned. However, "your work"                means information, facts or programs stored
         will be deemed completed at the                   as or on, created or used on, or transmitted
         earliest of the following times:                  to or from computer software, including
                                                           systems and applications software, hard or
         (a) When all of the work called for in            floppy disks, CD-ROMS, tapes, drives, cells,
             your contract has been completed.             data processing devices or any other media
         (b) When all of the work to be done at            which are used with electronically controlled
             the job site has been completed if            equipment.
             your contract calls for work at more      18."Suit" means a civil proceeding in which
             than one job site.                           damages because of "bodily injury",
         (c) When that part of the work done at           "property damage" or "personal and
             a job site has been put to its               advertising injury" to which this insurance
             intended use by any person or                applies are alleged. "Suit" includes:
             organization other than another


06 CGL0098 00 07 03        Includes Copyright Material from Insurance Services Office       Page 17 of 18
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          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 215 of 350




     a. An arbitration proceeding in which such                 (2) Materials, . parts  or equipment
        damages are claimed and to which the                        furnished in connection with such
        insured must submit or does submit with                     work or operations.
        our consent; or
                                                             b. Includes
     b. Any other alternative dispute resolution
        proceeding in which such damages are                   (1) Warranties or representations made at
        claimed and ta which the insured submits                   any time with respect to the fitness,
        with our consent.                                          quality, durability, performance or use
                                                                   of "your work", and
 19. "Temporary worker'' means a person who is
     furnished to you to substitute for a                       (2) The providing of or failure to provide
     permanent "employee" on leave or to meet                       warnings or instructions.
     seasonal or shorMerm wor~load conditions.
 20. "Volunteer worker" means a person who is
     not your "employee", and who donates his or
     her work and acts at the direction of and
     within the scope of duties determined by you,
     and is not paid a fee, salary or other
     compensation by you or anyone else for their
     work performed for you.
· 21."Your product'':
     a. Means:
        (1) Any goods or products, other than real
            property,      manufactured,      sold,
            handled, distributed or disposed of by:
           (a) You;
           (b) Others trading under your name; or
           (c) A person or organization whose
               business or assets       you   have
               acquired; and
       (2) Containers    (other than vehicles),
            materials,   parts  or    equipment
            furnished in connection · with such
            goods or products.
     b. Includes
       (1) Warranties or representations made at
           any time with respect to the fitness,
           quality, durability, performance or use
           of "your product"; and
       (2) The providing of or failure to provide
            warnings or instructions.
     c. Does not include vending machines or
        other property rented to or located for the
        use of others but not sold.
 22. "Your work":
     a. Means:
       (1) Work or operations performed by you
           or on your behalf; and




 06 CGL0098 00 07 03 ·       Includes Copyright Material from Insurance Services Office    Page 18 of 18
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       Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 216 of 350




                                i~Arch
                                Insurance Group

                                   Signature Page


YOUR COMPLETE POLICY CONSISTS OF THE POLICY JACKET WITH THE ·
COVERAGE FORMS, DECLARATIONS, AND ENDORSEMENTS, IFANY.


IN WITNESS WHEREOF, Arch Specialty Insurance Company has caused this policy to
be executed and attested, and, if required by state law, this policy shall not be valid
unless countersigned by a duly authorized representative of the company.




Ralph E. Jones Ill                             Martin J. Nilsen

President                                      Secretary




06 ML0002 00 07 03
        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 217 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                          SERVICE OF SUIT

It is agreed that in the event of the failure of this Company to pay any amount claimed to be due
hereunder, this Company, at the request of the Insured, will submit to the jurisdiction of any Court of
Competent Jurisdiction within the United States and will comply with all requirements necessary to give
such Court jurisdiction and all matters arising hereunder shall be determined in accordance with the law
and practice of such Court.

It is further agreed that service of process In such suit may be made upon the highest one in authority
bearing the title ~commissioner'', "Director" or "Superintendent" of Insurance of the state or
commonwealth wherein the property covered by this policy is located, and that in any suit instituted against
it upon this contract this Company will abide by the final decision of such Court or any Appellate Court in
the event of an appeal. The one in authority bearing the title ·commissioner", "Director" or
"Superintendent" of Insurance of the state or commonwealth wherein the property covered by this policy Is
located is hereby authorized and directed to accept service of process on behalf of this Company in any
such suit and/or upon the lnsured's request to give a written undertaking to the Insured that they will enter
a general appearance upon this Company's behalf in the event such a suit shall be instituted.



All other terms and conditions of this policy remain unchanged.




This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is Issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


02 ML0003 00 08 02
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 218 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLV.
                     BLANKET ADDITIONAL INSURED ENDORSEMENT
                               DEDUCTIBLE VERSION
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
SECTION II - WHO IS AN INSURED is amended to include as an additional insured those persons or
organizations who are required under a written contract with the Named Insured to be named as an
additional insured, but only with respect to liability arising out of your operations, Myour work•, or premises
owned by or rented to you.

As used in this endorsement, the words ~you" and "your'' refer to the Named Insured.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 1
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below Is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0108 00 08 04                                                                                Page 1 of 1
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 219 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         OTHER INSURANCE - BROAD FORM, CGL POLICY ENDORSEMENT

It is hereby agreed that the following paragraph is added to Section IV, Commercial General Liability
Conditions, Item 4:

    Where the named insured is required by a written contract to provide insurance that is primary and
    non-contributory, and the written contract so requiring is executed by the named insured before any
    loss, this insurance will be primary, but only if and to the extent required by that written contract.

This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
otherwise subject to all other terms of the policy.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 2
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
PoHcy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0130 00 01 04                                                                             Page 1 of 1
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 220 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         WAIVER OF SUBROGATION ENDORSEMENT DEDUCTIBLE POLICY
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                SCHEDULE

 Name of Person or Organization:         Where required by written contract.


(If no entry appears above, information required to complete this endorsement will be shown in the Decla-
rations as applicable to this endorsement.)

The TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO us Condition (Section IV - COM-
MERCIAL GENERAL LIABILITY CONDITIONS) is amended by the addition of the following:

We waive any right of recovery we may have against the person or organization shown In the Schedule
above because of payments we make for injury or damage arising out of your operations or your work
done under a written contract with that person or organization.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 3
This endorsement is effective on the inception date of this policy unless otherwise stated herein:
(The information below is required only when this endorsement is issued subsequent to preparation of the
p~cy.)                                                                                                .
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:

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         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 221 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    CROSS SUITS EXCLUSION

This insurance does not apply to and we will not have the duty to investigate or defend any suit brought
against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
or loss arising out of: damages of one Named Insured against another Named Insured.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 4
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0007 00 05 04                                                                            · Page 1 of 1
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 222 of 350




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             INTELLECTUAL PROPERTY EXCLUSION·
This insurance does not apply to and we will not have the duty to investigate or defend any suit brought
against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
or loss arising out of:

any "bodily injury", "property damage", or "personal and advertising injury" arising out of or directly or
indirectly related to the actual or alleged publication or utterance or oral or written statements which are
claimed as an infringement, violation or defense of any of the following rights or laws:

 1.    copyright, other than Infringement of copyrighted advertising materials;
.2.    patent;
 3.    trade secrets;
 4.    trade dress; or
 5.    trade mark or service mark or certification mark or collective mark or trade name, other than
       trademarked or service marked titles or slogans.
All other terms and conditions of this policy remain unchanged.




Endorsement Number:5
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 01

Named Insured:

Endorsement Effective Date:


02 CGL0018 00 10 02
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 223 of 350




 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              RESIDENTIAL AND RESIDENTIAL CONVERSION EXCLUSION
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

This insurance does not apply to any claim, "suit", demand or loss that alleges, in whole or in part:

A.   "Bodily injury", "property damage", or "personal and advertising rnjury" that in any way arises out of,
     relates to or results from the development or construction, ln whole or in part, of any:

     1)   "Non-commercial dwelllng or residence"; or

     2)   Building converted at any time, in whole or in part, to a "non-commercial dwelling or residence•.

B. "Property damage" included within the "products-completed operations hazard" to any:
     1) "Non-commercial dwelling or residence"; or

     2)   Building which is converted, in whole or in part, to a "non-commercial dwelling or residence" at
          any time.

For purposes of this endorsement, "non-commercial dwellings or residences" include, but are not limited
to, homes, condominiums, cooperatives, town homes, lofts and time-share properties. However, "non-
commercial dwellings or residences" do not include:

     1) Apartment buildings wherein all of the residential units are held for rental or lease to the general
         public;

     2) Hotels or motels, except any units within or otherwise part of such hotels or motels that are
        condominiums, time-share properties or similar types of property sold to others.

AU other terms and conditions of this Policy remain unchanged.




Endorsement Number: 6
This endorsement is effective on the inception date   of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL00B0 00 01 06                                                                               Page   1 of 1
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 224 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                          ENGINEERS, ARCHITECTS OR
                  SURVEYORS PROFESSIONAL LIABILITY EXCLUSION
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF•INSURED RETENTION COVERAGE FORM

The following exclusion is added to Paragraph 2., Exclusions of Section I - Coverage A - Bodily Injury
And Property Damage Llablllty and Paragraph 2., Exclusions of Section I - Coverage B - Personal
And Advertising Injury Liability:

This insurance does not apply to "bodily injury'', "property damage" or "personal and advertising injury"
arising out of the rendering of or failure to render any professional services by you or any engineer, archi-
tect or surveyor who is either employed by you or performing work on your behalf in such capacity.

Professional services include:

1. The preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
    surveys, field orders, change orders or drawings and specifications; and

2. Supervisory, inspection. architectural or engineering activities.
All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 7
This endorsement Is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)                                 ·
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0039 00 12 02              Copyright, Insurance Services Office, Inc., 1997               Page 1 of 1
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 225 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    EARTH MOVEMENT OR SUBSIDENCE EXCLUSION
This insurance does not apply to and we wilt not have the duty to investigate or defend any suit brought
against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
or loss arising out of:

the subsidence, settling, sinking, slipping, falling away, caving in, shifting, eroding, consolidating,
compacting, flowing, rising, tilting or any other similar movement of earth or mud, regardless of whether
such movement is a naturally occurring phenomena or is man-made.

All other terms and conditions of this policy remain unchanged.




Endorsement Number: 8
This endorsement is effective on the Inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:



02 CGL0011 00 10 02                                                                             Page 1 of 1
        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 226 of 350
                                                                                                            l



 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       WRAP-UP EXCLUSION
This Insurance does not apply to and we will not have the duty to investigate or defend any suit brought
against you, or pay any costs or expenses of such Investigation and defense for liability, claims, damage
or loss arising out of:

wrap-ups, owner controlled insurance program, contractor controlled insurance programs, or similar rating
program.

All other terms and conditions of this policy remain unchanged.




Endorsement Number:9
This endorsement is effective on the inception date of this pollcy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 01

Named Insured:

Endorsement Effective Date:


00 CGL0041 00 12 02
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 227 of 350




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                 EXTERIOR INSULATION AND FINISH SYSTEM EXCLUSION
This insurance does not apply to and we will not have the duty to investigate or defend any suit brought
against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
or loss arising out of:

1.     "bodily injury", "property damage", or "personal and advertising injury" caused directly or indirectly,
      in whole or in part, by the design, manufacture, construction, fabrication, preparation, installation,
      application, maintenance or repair, including remodeling, service, correction, or replacement, of an
      "exterior insulation and finish system" or any part thereof, any substantially similar system or any part
      thereof, including the application or use of conditioners, primers, accessories, flashings, coatings,
      caulkings or sealants in connection with such a system; or

2. Any moisture-related or dry rot related "property damage" to a house or other building to which an
      "exterior insulation and finish system" has been applied, if that "property damage" is caused directly
      or indirectly, in whole or in part, by the "exterior insulation and finish system";

Regardless of any other cause or event that contributed concurrently or in any sequence to that injury or
damage.

For the purposes of this endorsement, an "exterior insulation and finish system" means an exterior
cladding or finish system applied to a house or other building, and consisting of:

          a) A rigid or semi-rigid sheathing or insulation board, including gypsum-based, wood-based, or
             insulation-based materials; and

          b) The adhesive and/or mechanical fasteners used to attach the insulation board to the
             substrate; and

          c)   A reinforcing mesh that is embedded in a base coat applied to the insulation board; and

          d) A finish coat providing surface texture and color.

However, an "exterior insulation and finish system" does not include a cement-based, polymer-enhanced
stucco cladding system which:

          a) Incorporates a weather -resistive barrier pursuant to applicable building codes; and

          b) Incorporates ribbed insulation sheathing with ribs aligned vertically to provide drainage; and

          c) The manufacturer of the stucco components has a valid ICBC Evaluation Services Listing in
             good standing; and

          d) There is no mixing of different manufacturer's products for the stucco system

So long as that cement-based, enhanced stucco cladding system satisfies all requirements of the
applicable model building code and the applicable local building code.

All other terms and conditions of this Policy remain unchanged.


Endorsement Number: 10
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:

00 CGL0016 00 03 04                                                                                Page 1 of 1
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 228 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                          SILICA EXCLUSION

This policy does not apply to:

Any claim, "suit," demand or loss that alleges "bodily injuryt "property damage," or "personal and
advertising injury" (including but not limited to, compliance with any request, demand, order, or statutory
or regulatory requirement or any other action authorized or required by law), including any costs, fees,
expenses, penalties, judgments, fines, or sanctions arising therefrom, which arises out of, or relates to, in
whole or in part, the "silica hazard" or would not have occurred, in whole or in part, but for the "silica
hazard".

As used in this exclusion, "silica hazard" means:

    (1)     actual, alleged or threatened exposure to "silica" either directly or indirectly, or

    (2)     the actual or alleged failure to warn, advise or instruct related to "silica", or

    (3)     the actual or alleged failure to prevent exposure to "silica·, or

    (4)     the actual or alleged presence of "silica" whether or not within a building or structure.

As used in this exclusion, "silica" means any substance, regardless of its form or state, containing silicon,
including but not limited to sillcon, silica, silicates and silicone.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 11
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0141 00 03 04                                                                                Page 1 of 1
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                 Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 229 of 350




        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       CHROMATED COPPER ARSENATE (11 CCA") EXCLUSION

      This insurance does not apply to and we will not have the duty to Investigate or defend any suit brought
      against you, or pay any costs or expenses of such Investigation and defense for liability, claims, damage
      or loss arising out of any product treated with, preserved with, or containing chromated copper arsenate
      ("CCA").


      All other terms and conditions of this Policy remain unchanged.




      Endorsement Number:12
      This endorsement is effective on the inception date of this policy unless otherwise stated herein.
      (The information below is required only when this endorsement is issued subsequent to preparation of the
      policy.)
      Policy Number: OPC 0005591 01
      Named Insured:
      Endorsement Effective Date:



      DO CGLOD92 00 05 03                                                                        Page 1 of 1
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 230 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            RADON CONTAMINATION EXCLUSION
This insurance does not apply to and we will not have the duty to investigate or defend any suit brought
against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
or loss arising out of the presence, ingestion, inhalation or absorption of radon in any form.

All other terms and conditions of this policy remain unchanged.




Endorsement Number:13
This endorsement is effective on the Inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 01

Named Insured:

Endorsement Effective Date:


00 CGL0066 00 02 03
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               Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 231 of 350




        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ                                   IT CAREFULLY.
                                      TOTAL POLLUTION EXCLUSION

      Exclusion 2. f. of SECTION 1· COVERAGES- COVERAGE A. BODILY INJURY AND PROPERTY
      DAMAGE is deleted and replaced by the following:

      f. Pollution

      "Bodily injury" or "property damage" arising out of the actual, alleged or threatened discharge, dispersal,
      seepage, migration, release or escape of "pollutants" at any time, from any site, premises or location. This
      exclusion includes but is not limited to:

      Any loss, cost, or expense arising out of any:

      a) Request, demand, or order that any Insured or others test for, monitor, clean up, remove, .contain,
         treat, detoxify, neutralize, or in any way respond to or assess the effects of "pollutants"; or
      b) Claim or suit by or on behalf on a governmental authority for damages because of testing for;
         monitoring, cleaning up, removing, containing, treating, detoxifying, or neutrallzlng, or in any way
         responding to or assessing the effects of "pollutants".

      All other terms and conditions of this policy remain unchanged.




      Endorsement Number:14
      This endorsement is effective on the inception date of this policy unless otherwise stated herein.
      (The information below is required only when this endorsement is issued subsequent to preparation of the
      policy.)

      Policy Number: DPC 0005591 01

      Named Insured:

      Endorsement Effective Date:


      02 CGL0023 00 10 02
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 232 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               DESIGNATED WORK - EXCLUSION
This insurance does not apply to and we wiU not have the duty to investigate or defend any suit brought
against you, or pay any costs or expenses of such investigation and defense for liability, claims, damage
or loss arising out of: "bodily injury" or "property damage" included in the "products-completed operations
hazard" and arising out of "your work" shown in the Schedule below.

SCHEDULE

Description of your work: ANY OF "YOUR WORK" RELATED TO APARTMENTS OR APARTMENT
BUILDINGS.

All other terms and conditions of this policy remain unchanged.




Endorsement Number:15
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 01

Named Insured:

Endorsement Effective Date:
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         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 233 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           EMPLOYEE BENEFITS LIABILITY COVERAGE
                       THIS ENDORSEMENT PROVIDES CLAIMS-MADE COVERAGE.
                        PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                  SCHEDULE




                                                                                              -
Coverage              Limit Of Insurance                  Deductible                          Premium
Employee Benefits $1 ,000,000                 Each        $10,000                  Each
Programs                                      Employee                             Employee

                      $1 ,000,000             Aggregate

Retroactive Date:      11/10/2003
If no entry appears above with respect to the Aggregate, then the Aggregate limit will be $1,000,000.

If no entry appe~rs above with respect to the Retroactive Date, then the Retroactive Date will be the
Policy Period inception date.

A. The following is added to Section I - Coverages:

   COVERAGE - EMPLOYEE BENEFITS LIABILITY

    1. Insuring Agreement
        a. We will pay those sums that the insured becomes legally obligated to pay as damages
           because of any negligent act, error or omission by the insured, or of any person for whom the
           insured is legally liable, in the "administration• of the insureds "employee benefit program". to
           which this insurance applies.

            But:

            (1) The amount     we will pay for damages is limited as described in Paragraph D. of this
                   endorsement; and

            (2) Our right and duty to defend ends when we have used up the applicable limit of
                insurance in the payment of judgments or settlements.

            No other obligation or liability to pay sums or perform acts or services is covered unless
            explicitly provided for under Supplementary Payments.

        b. This insurance applies to damages only if:

            (1) The negligent act. error or omission did not take place before the Retroactive date, if any,
                   shown in the Schedule, nor after the end of the policy period: and

            (2) A "claim" for damages, because of an act, error or omission, is first made against any
                insured, in accordance with Paragraph c. below, during the policy period or an Extended
                Reporting Period we provide under Paragraph F. of this endorsement.


00 CGL0038 00 02 04           Includes Copyright Material from Insurance Services Office        Page 1 of 8
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        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 234 of 350




       c. A "clalm" seeking damages will be deemed to have been made when notice of such •clalmff Is
          received and recorded by any insured or by us, whichever comes first

            A "claim" received and recorded by the insured within sixty (60) days after the end of the
            policy period will be considered to have been received within the policy period, if no
            subsequent policy is available to cover the claim.

       d. All "claims" for damages made by an Nemployee" because of any act, error or omission, or a
          series of related acts, errors or omissions, including damages claimed by such "employee's"
          dependents and beneficiaries, will be deemed to have been made at the time the first of
          those "claims" is made against any insured.

2. Exclusions

   This insurance does not apply to:

       a. Dishonest, Fraudulent, Criminal Or Malicious Act
            Damages arising out of any intentional, dishonest, fraudulent, criminal or malicious act, error
            or omission, committed by any insured, including the wlllful or reckless violation of any
            statute.
       b. Bodily Injury, Property Damage, Or Personal And Advertising Injury

            "Bodily injury", "property damage" or "personal and advertising Injury''.

       c.   Failure To Perform A Contract

            Damages arising out of failure of perfonnance of contract by any insurer.

       d. Insufficiency Of Funds

            Damages arising out of an insufficiency of funds to meet any obligations under any plan
            included in the "employee benefit program".

       e. Inadequacy Of Performance Of Investment/Advice Given With Respect To Participation

            Any "claim" based upon:

            {1) Failure of any investment to perform;

            {2) Errors in providing information on past performance of investment vehicles; or

            (3) Advice given to any person with respect to that person's decision to participate or not to
                participate in any plan included in the "employee benefit program".
       f.   Workers' Compensation And Similar Laws

            Any "claim" arising out of your failure to comply with any workers' compensation,
            unemployment compensation insurance, social security or disability benefits laws or any
            similar laws.

       9. ERISA
            Damages for which any insured is liable because of liability imposed on a fiduciary by the
            Employee Retirement Income Security Act of 1974, as now or hereafter amended, or by any
            similar federal, state or local laws.



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            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 235 of 350




       h.     Available Benefits

              Any "claim" for benefits to the extent that such benefits are available, with reasonable effort
              and cooperation of the insured, from the applicable funds accrued or other collectible
              insurance.

       I.     Taxes, Fines Or Penalties

              Taxes, fines or penalties, including those imposed under the Internal Revenue Code or any
              similar state or local law.

       j.     Employment-Related Practices

              Damages arising out of employment-related practices to:

              ( 1) A person arising out of any:

                 (a) Refusal to employ:

                 (b) Termination of a persons employment; or

                 (c) Employment.related practices, policies, acts or omissions, including but not limited to
                     coercion, demotion, evaluation, reassignment, discipline, defamation, harassment,
                     humiliation or discrimination directed at that person; or

                 (d) Action under Title VII of the 1964 Civil Rights Act and/or any amendments thereto; or

              (2) any other person as a consequence of any injury or damage to that person at whom any
                  of the employment-related practices described in paragraphs (a), (b), (c), or (d) above is
                  directed.

              This exclusion applies:

                 (1) Whether or not the insured may be held liable as an employer or in any other
                     capacity; and

                 (2) To any obllgation to share damages with or repay someone else who must pay
                     damages because of any such injury.

B. For the purposes of the coverage provided by this endorsement. Paragraphs 2. and 4. of s~tion II -
   Who Is An Insured are replaced by the following:

   2. Each of the following Is also an insured:

       a. Each of your "employees" who is or was authorized to administer your "employee benefit
              program".

       b. Any persons, organizations or "employees" having proper temporary authorization to
          administer your "employee benefit program" if you die, but only until your legal representative
          is appointed.

       c. Your legal representative if you dle, but only with respect to duties as such. That
              representative will have all your rights and duties under this Endorsement.

   4. Any organization you newly acquire or form, other than a partnership, joint venture or limited
      liability company, and over which you maintain ownership or majority interest. will qualify as a
      Named Insured if no other similar insurance applies to that organization. However:



00 CGL0038 00 02 04           Includes Copyright Material from Insurance Services Office         Page 3of 8
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          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 236 of 350




         a.   Coverage under this provision is afforded only until ninety (90) days after you acquire or form
              the organization or the end of the policy period, whichever is earlier.

         b.   Coverage under this provision does not apply to any act, error or omission that was
              committed before you acquired or formed the organization.

C. For the purposes of the coverage provided by this endorsement, Paragraph 3. of Section 11 -Who Is
   An Insured does not apply.

D. For the purposes of the coverage provided by this endorsement, Section IV - Limits Of Insurance is
   replaced by the following:

    1.   Limits Of Insurance

         a.   The Limits of Insurance shown in the Schedule and the rules below fix the most we will pay
              regardless of the number of:

              (1) Insureds;

              (2) "Claims" made or "suits" brought;

              (3) Persons or organizations making "claims" or bringing "suits";

              (4) Acts, errors or omissions; or

              (5) Benefits included in your "employee benefit program".

         b.   The Aggregate Limit is the most we will pay for all damages to which this insurance applies.

         c.   Subject to the Aggregate limit, the Each Employee Limit is the most we will pay for all
              damages sustained by any one "employee", including damages sustained by such
              "employee's" dependents and beneficiaries, as a result of:

              (1) A negligent act, error or omission; or

              (2) A series of related acts, errors or omissions negligently committed in the "administration"
                  of your "employee benefit program".

                  However, the amount paid under this endorsement shalt not exceed, and will be subject
                  to, the limits and restrictions that apply to the payment of benefits in any plan included in
                  the "employee benefit program".

         The limits of the coverage provided by this endorsement apply to the policy period set forth in the
         Declarations or any endorsements thereto.

   2.    Deductible

         a.   Our obligation to pay damages on behalf of the insured applies only to the amount of
              damages in excess of the deductible amount stated in the Schedule as applicable to Each
              Employee. The limits of insurance shall not be reduced by the amount of this deductible.

         b.   The deductible amount stated in the Schedule applies to all damages sustained by any one
              "employee", including such "employee's" dependents and beneficiaries, because of all acts,
              errors or omissions to which this insurance applies.

         c.   The terms of this insurance, including those with respect to:

              (1} Our right and duty to defend any "suits" seeking those damages; and


00 CGL0038 00 02 04            Includes Copyright Material from Insurance Services Office          Page 4 of 8
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        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 237 of 350




            (2) Your duties, and the duties of any other involved insured, in the event of an act, error or
                omission, or "claim";

            apply irrespective of the application of the deductible amount.

       d. We may pay any part or all of the deductible amount to effect settlement of any "claim" or
          ''suit" and, upon notification of the action taken, you shall promptly reimburse us for such part
          of the deductible amount as we have paid.

E. For the purposes of the coverage provided by this endorsement, Conditions 2. and 4. of Section IV-
   Commercial General Conditions are replaced by the following:

   2. Duties In The Event Of An Act, Error Or Omission, Or "Claim" Or "Suit"

       a. You must see to it that we are notified as soon as practicable of an act, error or omission
          which may result in a "claim". To the extent possible, notice should Include:

            (1) What the act, error or omission was and when it occurred; and

            (2) The names and addresses of anyone who may suffer damages as a result of the act,
                error or omission.

       b. If a "claim" is made or "suit' is brought against any insured, you must:
            (1) Immediately record the specifics of the "claim" or "suit'' and the date received; and

            (2) Notify us as soon as practicable.

            You must see to It that we receive written notice of the "claim" or "suit" as soon as
            practicable.

       c. You and any other involved insured must:
            (1) Immediately send us copies of any demands, notices, summonses or legal papers
                received In connection with the "claim" or "suit";

            (2) Authorize us to obtain records and other Information;

            (3) Cooperate with us in the investigation or settlement of the "claim" or defense against the
                "suit"; and

            (4) Assist us, upon our request, in the enforcement of any right against any person or
               organization which may be liable to the insured because of an act, error or omission to
               which this insurance may also apply.

       d.   No insured will, except at that. insured's own cost, voluntarily make a payment, assume any
            obligation or incur any expense without our consent.

   4. Other Insurance

       If other valid and collectible insurance is available to the insured for a loss we cover under this
       endorsement, our obligations are limited as follows:




00 CGL0038 00 02 04           Includes Copyright Material from Insurance Services Office         Page 5 of 8
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           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 238 of 350




          a.   Primary Insurance

          This insurance is primary except when b. below applies. If this insurance is primary, our
          obligations are not affected unless any of the other insurance is also primary. Then, we will share
          with all that other insurance by the method described in c. below.

          b.   Excess Insurance

               (1) This insurance is excess over any of the other insurance, whether primary, excess,
                   contingent or on any other basis, that is effective prior to the beginning of the policy
                   period and that applies to an act, error or omission on other than a claims-made basis, if
                   the other insurance has a policy period which continues after the Retroactive Date shown
                   in the Schedule of this insurance.

               (2) When this insurance is excess, we will have no duty to defend the insured against any
                   "suit" if any other insurer has a duty to defend the insured against that "suit". If no other
                   insurer defends, we will undertake to do so, but we will be entitled to the insured's rights
                   against all those other insurers.

               (3) When this insurance is excess over other insurance, we will pay only our share of the
                   amount of the loss, if any, that exceeds the sum of the total amount that all such other
                   insurance would pay for the loss in absence of this insurance; and the total of all
                   deductible and self-insured amounts under all that other insurance.

               (4) We will share the remaining loss, if any, with any other insurance that is not described in
                   this Excess Insurance provision and was not bought specifically to apply in excess of the
                   Limits of Insurance shown in the Schedule of this endorsement.

          c.   Method Of Sharing

               Except with respect to the insurance described in item b.(1) above, if all of the other
               insurance permits contribution by equal shares, we will follow this method also. Under this
               approach each insurer contributes equal amounts until it has paid its applicable limit of
               insurance or none of the loss remains, whichever comes first.

               If any of the other insurance does not permit contribution by equal shares, we will contribute
               by limits. Under this method, each Insurer's share is based on the ratio of its applicable limits
               of insurance of all insurers.

F.   For the purposes of the coverage provided by this endorsement, the following Extended Reporting
     Period provisions are added, or, if this endorsement is attached to a claims-made Coverage Part,
     replaces any similar Section in that Coverage Part:

     EXTENDED REPORTING PERIOD

     1.   You will have the right to purchase an Extended Reporting Period, as described below, if:

          a.   This endorsement is canceled or not renewed; or

          b.   We renew or replace this endorsement with insuran_ce that:

               (1) Has a Retroactive Date later than the date shown in the Schedule of this endorsement; or

               (2) Does not apply to an act, error or omission on a claims-made basis.

     2.   The Extended Reporting Period does not extend the policy period or change the scope of
          coverage provided. It applies only to "claims" for acts, errors or omissions that were first



00 CGL0038 00 02 04            Includes Copyright Material from Insurance Services Office           Page 6 of 8
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          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 239 of 350




         committed before the end of the policy period but not before the Retroactive Date, if any, shown
         in the Schedule. Once in effect, the Extended Reporting Period may not be canceled.

    3.   An Extended Reporting Period of five (5) years is available,' but only by an endorsement and for
         an extra charge.

         You must give us a written request for the endorsement within sixty (60) days after the end of the
         policy period. The Extended Reporting Period will not go into effect unless you pay the additional
         premium promptly when due.

         We will determine the additional premium in accordance with our rules and rates. In doing so, we
         may take into account the following:

         a.   The "employee benefit programs" insured;

         b.   Previous types and amounts of insurance;

         c.   Limits of insurance available under this endorsement for future payment of damages; and

         d.   Other related factors.

         The additional premium will not exceed 100% of the annual premium for this endorsement.

         The Extended Reporting Period endorsement applicable to this coverage shall set forth the terms,
         not inconsistent with this Section, applicable to the Extended Reporting Period, including a
         provision to the effect that the insurance afforded for "claims" first received during such period is
         excess over any other valid and collectible insurance available under polrcies in force after the
         Extended Reporting Period starts.

   4.    If the Extended Reporting Period is in effect, we will provide an extended reporting period
         aggregate limit of insurance described below, but only for claims first received and recorded
         during the Extended Reporting Period. The extended reporting period aggregate limit of
         insurance will be equal to the dollar amount shown in the Schedule of this endorsement under
         Limits of Insurance.

         Paragraph O.1.b. of this endorsement will be amended accordingly. The Each Employee Limit
         shown in the Schedule will then continue to apply as set forth in Paragraph D.1.c.

G. For the purposes of the coverage provided by this endorsement only, the following definitions are
   added to the Section VI-Definitions:                                            ·

    1.   "Administration" means:

         a.   Providing information to "employees", including their dependents and beneficiaries, with
              respect to eligibility for or scope of "employee benefit programs";

         b.   Handling records in connection with the "employee benefit program"; or

         c.   Effecting, continuing or terminating any "employee's" participation in any benefit included in
              the "employee benefit program".

         However, "administration" does not include handling payroll deductions.

    2.   "Cafeteria plans" means plans authorized by applicable law to allow employees to elect to pay for
         certain benefits with pre-tax dollars.

    3.   "Claim" means any demand, or "suit", made by an "employee" or an "employee's" dependents
         and beneficiaries, for damages as the result of an act, error or omission.


00 CGL0038 00 02 04           Includes Copyright Material from Insurance Services Office          Page 7 of 8
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          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 240 of 350




     4.   "Employee benefit program" means a program providing some or all of the following benefits to
          "employees", whether provided through a "cafeteria plan" or otherwise:

          a.   Group life insurance; group accident or health insurance; dental, vision and hearing plans;
               and flexible spending accounts; provided that no one other than an "employee" may
               subscribe to such benefits and such benefits are made generally available to those
               "employees" who satisfy the plan's eligibility requirements;

          b.   Profit sharing plans, employee savings plans, employee stock ownership plans, pension
               plans and stock subscription plans, provided that no one other than an "employee" may
               subscribe to such benefits and such benefits are made generally available to all "employees"
               who are eligible under the plan for such benefits:

          c.   Unemployment insurance, social security benefits, workers' compensation and disability
               benefits;

          d. Vacation plans, including buy and sell programs; leave of absence programs, including
             military, maternity, family, and civil leave; tuition assistance plans; transportation and health
             club subsidies; and

          e. Any other similar benefits designated in the Schedule or added thereto by endorsement.

I.   For the purposes of the coverage provided by this endorsement, Definitions 5. and 18, in the
     Definitions Section are replaced by the following:

     5    "Employee" means a person actively employed, formerly employed, on leave of absence or
          disabled, or retired. "Employee" includes a "leased worker''. "Employee" does not include a
          "temporary worker''.

     18. "Suit" means a civil proceeding in which damages because of an act, error or omission to which
         this insurance applies are alleged. "Suit" includes:

          a. An arbitration proceeding in which such damages are claimed and to which the insured must
             submit or does submit with our consent; or

          b. Any other a.lternative dispute resolution proceeding in which such damages are claimed and
             to which the insured submits with our consent.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 16

This endorsement is effective on the inception date of this policy unless otherwise stated herein.

(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 01

Named Insured:

Endorsement Effective Date:


00 CGL0038 00 02 04           Includes Copyright Material from Insurance Services Office          Page 8 of 8
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        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 241 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
         STOP GAP - EMPLOYERS LIABILITY COVERAGE ENDORSEMENT -
                              WASHINGTON
   This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                  SCHEDULE

Limits Of Insurance
 Bodily Injury By Accident:      $1,000,000                  Each Accident
 Bodily Injury By Disease:       $1,000,000                  Aggregate Limit
IBodlly Injury By Disease:       $1,000,000                  Each Employee


If no entry appears with respect to any of the limits shown above, then the limit will be deemed to be
1$1,000,000
    A The following is added to Section I - Coverages:
   COVERAGE - STOP GAP - EMPLOYERS LIABILITY

      1. Insuring Agreement

          a. We will pay those sums that the insured becomes legally obligated by Washington Law to
             pay as damages because of "bodily injury by accident" or "bodily injury by disease" to your
             "employee" to which this insurance applies. We will have the right and duty to defend the
             insured against any "suit" seeking those damages. However, we will have no duty to
             defend the Insured against any "suit" seeking damages to which this insurance does not
             apply. We may, at our discretion, investigate any accident and settle any claim or •suit" that
             may result. But:
             (1) The amount we will pay for damages is limited as described In Section Ill - Limits Of
                    Insurance; and
             (2)     Our right and duty to defend end when we have used up the applicable limit of
                    insurance in the payment of judgments or settlements under this coverage.
             No other obligation or liability to pay sums or perform acts or services is covered unless
             exp!icltly provided for under Supplementary Payments.
          b. Thls insurance applies to "bodily injury by acc_ident" or "bodily injury by disease" only if:
             (1) The:
                   (a) "Bodily injury by accident'' or "bodily injury by disease" takes place in the "coverage
                   territory'';
                   (b) "Bodily injury by accident" or "bodily injury by disease" arises out of and in the course
                   of the Injured "employee's" employment by you; and
                   (c) "Employee", at the time of the injury, was covered under a worker's compensation
                   policy and subject to a "workers compensation law" of Washington; and
              (2) The:



00 CGL0119 48 03 04                                                                                 Page 1 of 6
       Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 242 of 350




                (a)     "Bodily injury by accident" is caused by an accident that occurs during the policy
                        period; or

                (b)     "Bodily injury by disease" Is caused by or aggravated by conditions of employment
                        by you, and the injured "employee's" last day of last exposure to the conditions
                        causing or aggravating such "bodily injury by disease" occurs during the policy .
                        period.

        c. The damages we will pay, where recovery is permitted by law, include damages:

          (1)    For:

                 (a) Which you are liable to a third party by reason of a claim or "suit'' against you by
                     that third party to recoverthe damages claimed against such third party as a result
                     of injury to your "employee";

                 (b) Care and loss of services; and

                 (c) Consequential "bodily injury by accident" or "bodily injury by disease" to a spouse,
                     child, parent. brother or sister of the injured "employee";

                 provided that these damages are the dlrect consequence of "bodily Injury by accident"
                 or "bodily injury by disease" that arises out of and in the course of the injured
                 "employee's" employment by you; and

          (2)    Because of "bodily injury by accident" or "bodily injury by disease" to your "employee"
                 that arises out of and in the course of employment, claimed against you in a capacity
                 other than as employer.

     2. Exclusions

        This insurance does not apply to:

        a. Intentional Injury

           "Bodily injury by accident" or "bodily injury by disease" intentionally caused or aggravated by
           you, or "bodily injury by accident" or "bodily Injury by disease" resulting from an act which is
           determined to have been committed by you if it was reasonable to believe that an injury is
           substantially certain to occur.

        b. Fines Or Penalties

           Any assessment, penalty, or fine levied by any regulatory inspection agency or authority.

        c. Statutory Obligations

           Any obligation of the insured under a workers' compensation, disability benefits or
           unemployment compensation law or any similar law.

        d. Contractual Liability

           Liability assumed by you under any contract or agreement.

        e. Violation Of Law

           "Bodily injury by accident" or "bodily injury by disease" suffered or caused by any employee
           while employed in violation of law with your actual knowledge or the actual knowledge of
           any of your "executive officers".



00 CGL0119 48 03 04                                                                              Page2of6
       Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 243 of 350




        f. Termination, Coercion Or Discrimination
           Damages arising out of coercion, criticism, demotion, evaluation, reassignment, discipline,
           defamation, harassment, humiliation, discrimination against or termination of any
           "employee", or arising out of other employment or personnel decisions concerning the
           insured.

        g. Failure To Comply With "Workers Compensation Law"

           "Bodily injury by accident'' or "bodily injury by disease" to an "employee" when you are:

           (1)   Deprived of common law defenses; or

           (2} Otherwise subject       to penalty:
           because of your failure to secure your obligations or other failure to comply with any
           "workers compensation law".                     ·

        h. Violation Of Age Laws Or Employment Of Minors

           "Bodily injury by accident" or "bodily injury by disease" suffered or caused by any person:

           (1) Knowingly employed by you in violation of any law as          to age; or
           (2) Under the age of 14 years, regardless of any such law.

        I. Federal Laws

           Any premium, assessment, penalty, fine, benefit, liability or other obligation imposed by or
           granted pursuant to:

           (1) The Federal Employer's Uability Act (45 USC Section 51-60);

           (2) The Non-appropriated Fund Instrumentalities Act (5 USC Sections 8171-8173);

           (3) The Longshore and Harbor Workers' Compensation Act (33 USC Sections 910-950);

           (4) The Outer Continental Shelf Lands Act (43 USC Section 1331-1356);

           {5) The Defense Base Act (42 USC Sections 1651-1654);

           (6) The Federal Coal Mine Health and Safety Act of 1969 (30 USC Sections 901-942);

           (7) The Migrant and Seasonal Agricultural Worker Protection Act (29 USC Sections 1801-
               1872);

           (8) Any other workers compensation, unemployment compensation or disability laws or
                 any similar law; or

           (9) Any subsequent amendments             to the laws listed above.
        j. Punitive Damages
           Multiple, exemplary or punitive damages.

        k. Crew Members

           "Bodily injury by accident" or "bodily injury by disease" to a master or member of the crew of
           any vessel or any member of the flying crew of an aircraft.



00 CGL0119 48 03 04                                                                           Page 3 of 6
        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 244 of 350




   B. The Supplementary Payments provisions apply to Coverage - Stop Gap Employers liability as well
      as to Coverages A and B.

   C. For the purposes of this endorsement, Section II - Who Is An Insured, is replaced by the following:

      If you are designated in the Declarations as:

      1. An individual, you and your spouse are insureds, but only with respect to the conduct of a
         business of which you are the sole owner.
      2. A partnership or joint venture, you are an insured. Your members, your partners, and their
         spouses are also Insureds, but only with respect to the conduct of your business.
      3. A limited liability company, you are an insured. Your members are also insureds, but only with
         respect to the conduct of your business. Your managers are insureds, but only with respect to
         their duties as your managers.
      4. An organization other than a partnership, joint venture or limited liability company, you are an
         insured. Your "executive officers" and directors are insureds, but only with respect to their
         duties as your officers or directors. Your stockholders are also insureds, but only with respect to
         their liability as stockholders.
      No person or organization is an insured with respect to the conduct of any current or past
      partnership, joint venture or limited liability company that is not shown as a Named Insured in the
      Declarations.

   D. For the purposes of this endorsement, Section Ill Limits Of Insurance, is replaced by the following:

      1. The Limits of Insurance shown in the Schedule of this endorsement and the rules below fix the
         most we will pay regardless of the number of:
         a. Insureds;

         b. Claims made or "suits" brought; or
         c. Persons or organizations making claims or bringing "suits".
      2. The "Bodily Injury By Accident" - Each Accident Limit shown in the Schedule of this
         endorsement is the most we will pay for all damages covered by this insurance because of
         "bodily injury by accident'' to one or more "employees" in any one accident.
      3. The "Bodily Injury By Disease" - Aggregate Limit shown in the Schedule of this endorsement is
         the most we will pay for all damages covered by this insurance and arising out of "bodily Injury
         by disease", regardless of the number of "employees" who sustain "bodily injury by disease".
      4. Subject to Paragraph 0.3. of this endorsement, the "Bodily Injury By Disease" - Each
         "Employee" Limit shown in the Schedule of this endorsement is the most we will pay for all
         damages because of "bodily injury by disease" to any one "employee".
      The limits of the coverage apply to.the policy period set forth in the Declarations or any
      endorsements thereto.

   E. For the purposes of this endorsement, Condition 2. - Duties In The Event Of Occurrence, Claim Or
     Suit of the Conditions Section IV is deleted and replaced by the following:




00 CGL0119 48 03 04                                                                                Page4 of 6
       Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 245 of 350




     2. Duties The Event Of Injury, Claim Or Suit

        a. You must see to it that we or our agent are notified as soon as practicable of a "bodily injury
           by accident" or "bodily injury by disease" which may result in a claim. To the extent
           possible, notice should include:

             (1) How, when and where the "bodily injury by accident" or "bodily injury by disease" took
                 place;

             (2) The names and addresses of any injured persons and witnesses; and

             (3) The nature and location of any injury.

        b.   If a claim is made or "suit" is brought against any insured, you must:

             (1) Immediately record the specifics of the claim or "suit" and the date received; and

             (2) Notify us as soon as practicable.

             You must see to it that we receive written notice of the claim or "suit" as soon as
             practicable.

        c.   You and any other involved insured must:
             (1) Immediately send us copies of any demands, notices, summonses or legal papers
                 received in connection with the injury, claim, proceeding or "suit";

             (2) Authorize us to obtain records and other information;

             (3) Cooperate with us and assist us, as we may request, in the investigation or settlement
                 of the claim or defense against the "suit";

             (4) Assist us, upon our request, in the enforcement of any right against any person or
                 organization which may be liable to the insured because of injury to which this
                 insurance may also apply; and
             (5) Do nothing after an injury occurs_ that would interfere with our right to recover from
                 others.
        d.   No insured will, except at that insured's own cost, voluntarily make a payment, assume any
             obligation, or incur any expense, other than for first aid, without our consent.

  F. For the purposes of this endorsement, Paragraph 4. of the Definitions Section is replaced by the
     following:

     4. "Coverage territory" means:

        a.   The United States of America (including its territories and possessions), Puerto Rico and
             Canada;

        b.   International waters or airspace, but only if the injury or damage occurs in the course of
             travel or transportation between any places included in a. above; or
        c.   All other parts of the world if the injury or damage arises out of the activities of a person
             whose home is in the territory described in a. above, but who is away for a short time on
             your business;




00 CGL0119 48 03 04                                                                                Page 5 of6
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 246 of 350




          provided the insured's responsibility to pay damages is determined in the United States
          (including its territories and possessions), Puerto Rico, or Canada, in a suit on the merits
          according to the substantive law in such territory, or in a settlement we agree to.

   G. The following are added to the Definitions Section:

       1. 'Workers Compensation Law" means the Workers Compensation Law and any Occupational
          Disease Law of Washington. This does not include provisions of any law providing nonM
          occupational disability benefits.

      2. "Bodily injury by accident" means bodily injury, sickness or disease sustained by a person,
         including death, resulting from an accident. A disease is not "bodily injury by accident" unless it
         results directly from "bodily injury by accident".

      3. "Bodily injury by disease" means a disease sustained by a person, including death. "Bodily
         injury by disease" does not include a disease that results directly from an accident.

   H. For the purposes of this endorsement, the definition of "bodily injury" does not apply.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 17
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0119 48 03 04                                                                              Page6 of6
- - - - - - - - - - - - - - - - - - - - · · · · · - --------
                        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 247 of 350




                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              NAMED INSURED ENDORSEMENT

               It is hereby agreed that Item 1. of the Declarations is amended to include the following entities as a
               Named Insured:
               EBENAL GENERAL CONTRACTORS, INC.
               EBENAL GENERAL SPECIAL PROJECTS, INC.
               MERIDIAN PACIFIC HIGHWAY, LLC




              All other terms and conditions of this policy remain unchanged.




               Endorsement Number: 18
              This endorsement is effective on the inception date of thfs policy unless otherwise stated herein.
               (The information below 1s required only when this endorsement is issued subsequent to preparation of the
               policy.)

               Policy Number: DPC 0005591 01

               Named Insured:

               Endorsement Effective Date:


              00 CGL0072 00 03 03
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 248 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               SUBCONTRACTOR ENDORSEMENT: DEDUCTIBLE POLICY

The Conditions of this policy are amended to include the following:

    1.   Certificates of Insurance for Commercfal General Liability coverage, with limits at least equal to or
         greater than $1,000,000 each "occurrence" for "bodily injury" and "property damage" and
         $1,000,000 per offense for "personal and advertising injury", will be obtained by the Named
         Insured from all "subcontractors" prior to commencement of any work performed for any insured.

    2.   The Named Insured will obtain agreements, in writing, from all "subcontractors" pursuant to which
         the "subcontractor(s)" will be required to defend, indemnify and hold harmless the Named
         Insured, and any other insured under the policy for whom the "subcontractor'' is working, for any
         claim or "suit" for "bodily injury", "property damage", and "personal injury and advertising injury"
         arising out of the work performed by the "subcontractor."

    3.   The Named Insured, and any other insured under the policy for whom the "subcontractor" is
         working, will be named as additional Insured on all of the ''subcontractors" Commercial General
         Liability policy(s).

    4.   For items 1. through 3. above, documentation will be retained for a minimum of eight years from
         the expiration date of this policy.

If any of the above conditions are not satisfied, a deductible of $100,000 per "occurrence" or offense will
apply to any claim or "suit" under this policy seeking damages for "bodily injury", "property damage" and
"personal injury and advertising injury" arising out of the work performed by the "subcontractor'' for the
insured. (If no deductible amount is shown above, then the deductible will be deemed to be $1,000,000
per "occurrence· or offense).

For the purposes of this endorsement only, "subcontractor'' or "subcontractors" means any person or
entity who is not an employee of an insured and does work or performs services for or on behalf of an
insured.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 19
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0125 00 03 05                                                                               Page 1 of 1
            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 249 of 350




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT: CAREFULLY.

 DESIGNATED CONSTRUCTION PROJECT(S) GENERAL AGGREGATE LIMIT AND
 POLICY AGGREGATE LIMIT ENDORSEMENT - DEDUCTIBLE POLICY VERSION

                                                 SCHEDULE

Designated Construction Projects:
    ANY CONSTRUCTION PROJECT AT WHICH YOU PERFORM OPERATIONS.




A.    Subject to paragraph F. below, for all sums which the insured becomes legally obligated to pay as
      damages caused by "occurrences" under COVERAGE A. BODILY INJURY AND PROPERTY
      DAMAGE (SECTION I} which can be attributed only to ongoing operations at a single designated
      construction project shown in the Schedule above:                     ·

       1.    A separate Designated Construction Project General Aggregate Limit applies to each desig-
             nated construction project, and that limit is equal to the amount of the General Aggregate Limit
             shown in the Declarations.

       2.    The Designated Construction Project General Aggregate Limit is the most we will pay for the
             sum of all damages under COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
             (SECTION I), except damages because of "bodily injury" or "property damage" included in the
             "products-completed operations hazard", regardless of the number of:

             a.   Insureds;

             b.   Claims made or "suits" brought; or

             c.   Persons or organizations making claims or bringing "suits".

       3.    Any payments made under COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
             (SECTION I} for damages shall reduce the Designated Construction Project General Aggregate
             Limit for that designated construction project. Such payments shall not reduce the General Ag-
             gregate Limit shown in the Declarations nor shall they reduce any other Designated Construc-
             tion Project General Aggregate Limit for any other designated construction project shown in the
             Schedule above.

      4.     The limits shown in the Declarations for Each Occurrence and for Damage To Premises
             Rented To You continue to apply. However, Instead of being subject to the General Aggregate
             Limit shown in the Declarations, such limits will be subject to the applicable Designated Con-
             struction Project General Aggregate Umit.

B.    For all sums which the insured becomes legally obligated to pay as damages caused by "occur-
      rences" under COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE (SECTION I), which
      cannot be attributed only to ongoing operations at a single designated construction project shown in
      the Schedule above:

      1.     Any payments made under COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
             (SECTION I) for damages shall reduce the amount available under the General Aggregate
             Limit or the Products-Completed Operations Aggregate Limit, whichever is applicable; and

      2.     Such payments shall not reduce any Designated Construction Project General Aggregate Limit.




00 CGL0109 00 01 06 Includes Copyright Material from Insurance Services Office, Inc.             Page 1 of 2
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 250 of 350




C.   When coverage for liability arising out of the "products-completed operations hazard" is provided,
     any payments for damages because of "bodily injury" or "property damage" Included in the "products-
     completed operations hazard" will reduce the Products-Completed Operations Aggregate Limit, and
     not reduce the General Aggregate Limit or the Designated Construction Project General Aggregate
     Limit.

D.   If the applicable designated construction project has been abandoned, delayed, or abandoned and
     then restarted, or if the authorized contracting parties deviate from plans, blueprints, designs, speci-
     fications or timetables, the project will still be deemed to be the same construction project.

E.   The provisions of SECTION Ill - LIMITS OF INSURANCE not otherwise modified by this endorse-
     ment shall continue to apply as stipulated.

F.   Regardless of the number of projects and any other circumstance, the amount we will pay under this
     insurance policy shall be no more than Iha Policy Aggregate Limit shown below:
     Policy Aggregate Limit          $5,000,000

     In the event that no dollar amount is shown next to the Policy Aggregate Limit above, the Policy Ag-
     gregate Limit is $10,000,000.

All other terms and condltions of this Policy remain unchanged.




Endorsement Number: 20
This endorsement Is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0109 00 01 06 Includes Copyright Material from Insurance Services Office, Inc.             Page2of 2
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 251 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 NON-STACKING ENDORSEMENT
If any "occurrence" or offense covered under this policy Is also covered in whole or part under any other
commercial general liability policy issued to you by us, (or any of our related or affiliated companies),
including but not limited to prior policies issued to you by us, (or any of our related or affiliated
companies), the most we will pay under all such policies covering the occurrence or offense is the single
highest available applicable limit of liability of one of the policies which cover the "occurrence" or offense.
This provision does not apply to policies written by us, (or any of our related or affiliated companies), as
insurance that applies excess of this policy.

All other terms and conditions of this policy remain unchanged.




Endorsement Number: 21
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The Information below is required only when this endorsement Is Issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0117 00 12 03                                                                                 Page 1 of 1
        Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 252 of 350




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY
                                TOTAL TERRORISM EXCLUSION
This endorsement modifies insurance provided urider this policy.

A.   The followlng definitions are added and apply under this endorsement whenever the term terrorism,
     or the phrase any injury or damage, are enclosed in quotation marks:

     1. "Terrorism" means activities against persons, organizations or property of any nature:
         a. That involve the following or preparation for the following:

             (1)   use or threat of force or violence; or

             (2)   commission   or threat of a dangerous act; or
             (3)   commission or threat of an act that interferes with or disrupts an electronic,
                   communication, information, or mechanical system; and

         b. When:
             (1)   the effect is to intimidate or coerce a government or a civilian population or any
                   segment thereof, or to disrupt any segment of the economy; and/or

             (2)   it appears that the intent is to Intimidate or coerce a government or a civilian
                   population, or to further a philosophical, political, ideological, religious, social or
                   economic objective or to express (or express opposition to) a philosophical, political,
                   ideological, religious, social or economic objective.

     2. "Any injury or damage" means any injury or damage covered under this policy to which this
         endorsement is applicable, and Includes but is not limited to "bodily injury'', "property damage",
         "personal and advertising injury", "injury" or "environmental damage" as may be defined in this
         policy.

B.   The following exclusion is added:

     EXCLUSION OF TERRORISM
     This insurance does not apply to any claim, "suit", demand, or loss that alleges "any injury or
     damage" that, in any way, in whole or in part, arises out of, relates to or results from "terrorism",
     including action in hindering or defending against an actual or expected incident of "terrorism". "Any
     injury or damage" is excluded regardless of any other cause or event that contributes concurrently
     or in any sequence to such Injury or damage. This exclusion also applies when one or more of the
     following are attributed to an incident of "terrorism·:

     1. The "terrorism" is carried out by means of the dispersal or application of radioactive material, or
         through the use of a nuclear weapon or device that involves or produces a nuclear reaction,
         nuclear radiation or radioactive contamination: or

     2. Radioactive material is released, and it appears that one purpose of the "terrorism" was to
         release such material; or

     3. The "terrorism" involves the use, release, or escape of nuclear materials, or that directly or
        indirectly results in nuclear reaction, nuclear radiation or radioactive contamination; or




00 CGL0220 00 01 06                                                                            Page 1 of 2
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 253 of 350




     4. The "terrorism" is carried out by means of the dispersal or application of pathogenic or
          poisonous biological or chemical materials; or

     5.   Pathogenic or poisonous biological or chemical materials are released, and it appears that one
          purpose of the "terrorism" was to release such materials.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 22
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0220 00 01 06                                                                             Page 2 of 2
- - - - - -- - - - - - - - - - - - - -                     --    -------------- -


                     Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 254 of 350




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY
                                    PREMIUM COMPUTATION ENDORSEMENT-
                                       DEDUCTIBLE POLICY - VERSION I
          This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE FORM

          1,   The Deposit Premium set forth In Item 4.of the Declarations is adjustable, and is only an estimated
               premium for the Audit Period shown below.

               The final earned premium for the Audit Period shall be determined as specified in Item 5 Premium
               Audit of SECTION IV • COMMERCIAL GENERAL LIABILITY CONDITIONS. The Audit Premium
               shall be computed by applying the Rate of        11111111--
                                                                         per each - - - of the Premium Base
               identified in 2 below. Such Rate is net of any taxes, licenses, or fees. However, the final premium
               calculation for the policy period shall be no less than the Minimum Retained Audit Premium as
               stated in Item 4 the Declarations.

               Unless otherwise specified in this Policy, the Audit Period will be the same as the policy period; or If
               this policy is cancelled, the Audit Period will be from the Effective Date of the policy to the effective
               date of cancellation.
          2.   The Premium Base shall be identified in (A) and (B) below:

               (A)    PREMIUM BASE
                      181   Gross ··sales'' excluding "aircraft products"

                            ~     "intercompany sales" and

                            t8l   "foreign sales".

                      0     "Payroll" as determined immediately below:

                            D     Gross Unmodified "Payroll"

                            D     Workers Compensation Payroll"

                            D     Workers Compensation Payroll" excluding:

                                  (1)   "Clerical Office Employees"

                                  (2)   "Salesmen, Collectors, Messengers"

                                  (3)   Drivers and their helpers if principal duties are to work on or in connection
                                        with "autos"

                      0     Other (Describe)

                       Estimated Exposures      -i-------------------
               (8)    SPECIFIC DELETIONS FROM PREMIUM BASE, IF ANY:
                      D     Designated Products: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                      D     Designated Operations: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




          00 CGL0107 00 07 05                                                                              Page 1 of 2
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 255 of 350




            D     Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     3.    The following paragraph g is added to condition 10 Cancellation (in SECTION IV -
           COMMERCIAL GENERAL UABILITY CONDITIONS):

           g.     If this policy is cancelled, the Minimum Retained Audit Premium shown in Item 4 of the
                  Policy Declarations will be pro-rated commensurate with the resulting coverage period,
                  and that pro-rated amount will be the new Minimum Retained Audit Premium.
                  Notwithstanding the premium calculation determined by a premium audit, the amount of
                  the Deposit Premium that we retain shall be no less than the pro-rated Minimum
                  Retained Audit Premium. In the event that the First Named Insured cancels the policy,
                  then the amou.nt of the Deposit Premium that we retain shall be no less than the pro-
                  rated Minimum Retained Audit Premium, or the Minimum Retained Premium shown in
                  Item 4 of the Policy Declarations, whichever is greater.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 23
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Polley Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:


00 CGL0107 00 07 05                                                                             Page 2 of 2
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 256 of 350



 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLV.
                              DEDUCTIBLE LIABILITY ENDORSEMENT
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                     Schedule
1. Specific coverages to which a deductlble(s) applies and amount of deductible(s}:
                              Coverage                                                Amount of Deductible
    ~     All coverages ...........................................................      $10,000
    D     Products/Completed Operations................................. ,....... .      $ __
    D     All coverages other than Products/Completed Operations                         $ __

2. The deductible applies to:
    181   Damages and Supplementary Payments
    D     Damages Only

3. A Deductible Aggregate applies as follows:
    D     The deductible(s) shown ln item 1 of this Schedule is subject to a Deductible Aggregate amount
          of$ _ _ . The Deductible Aggregate is subject to adjustment upwards based on a rate of
          $ _ _ per _ _. Such adjustment wil_l be made on a pro-rata basis in the proportion that the
          final exposure base for the policy period bears to the estimated exposure base as of the
          Effective Date of this policy, which is$ _ _. Subject to the foregoing, once the loss payments
          actually paid by us, and reimbursed by you to us, equals the Deductible Aggregate amount, your
          deductible(s) (shown in item 1. above) will be reduced to $ _ _.
    (If no Deductible Aggregate is shown, then there Is no aggregate on the cumulative amount of
    deductible a ments for which the insured is res onsible.

Application of the Deductible Liability Endorsement
The deductible(s) set forth in the Schedule apply to damages and Supplementary Payments, (or
damages only if the appropriate box is cheeked in the Schedule), on a per-uoccurrence" or per-offense
basis. The insured is responsible for payment of the deductible{s}.
The insured is responsible for all payments within the deductible amount. Subject to the Limits of
Insurance and all other terms and conditions for this policy, our obligation to pay damages and expenses
on your behalf applies only to the amount of damages and expenses in excess of the deductible amounts
set forth in the Schedule. We may pay part or the entire deductible amount to effect settlement of any
claim or "suit" and, upon notification of the action taken, you shall promptly reimburse us for such part of
the deductible amount that has been paid by us.
The Limits of Insurance are not increased by the presence of a deductible.
All other terms and conditions of this Policy remain unchanged.


Endorsement Number: 24
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 01
Named Insured:
Endorsement Effective Date:

00 CGL0099 00 12 05                                                                                      Page 1 of 1
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 257 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               NAMED INSURED ENDORSEMENT

It is hereby agreed that Item 1. of the Declarations is amended to include the following entities as a
Named Insured:
EBENAL GENERAL CONTRACTORS, INC.
EBENAL GENERAL SPECIALTY PROJECTS, INC.
MERIDIAN PACIFIC HIGHWAY, LLC
ROCKPORT HOLDINGS LLC




All other terms and conditions of this policy remain unchanged.




Endorsement Number:26
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 01

Named Insured: Ebenal General Contractors, Inc.

Endorsement Effective Date: 07/12/06


00 CGL0072 00 03 03
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 258 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                ENDORSEMENT SUBSTITUTION

        1.   Endorsement number 18, titled "Named Insured Endorsement", Form 00 CGL0072 00 03 03,
             is hereby deleted from this policy effective 7/12/06.

        2.   Endorsement number 26, titled "Named Insured Endorsement", Form 00 CGL0072 00 03 03,
             is hereby added to this policy effective 7/12/06.




All other terms and conditions of this Policy remain unchanged.

Issued By: Arch Specialty Insurance Company
Endorsement Number:25
Policy Number: DPC 0005591 01
Named Insured: Ebenal General Contractors, Inc.
Endorsement Effective Date: 7/12/2006




                                                                              President




00 ML0207 00 11 03                                                                        Page 1 of 1
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 259 of 350




                         Exhibit 5
            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 260 of 350




                                            DECLARATION


I declare under penalty of perjury under the law of California that the following is true and correct.


Annexed hereto as Exhibit A is a true and accurate copy of Arch Specialty Insurance Company policy

number DPC000559102 issued to Ebenal General Contractors, Inc., 4326 Pacific Highway Bellingham,

Washington 98226 in effect from April 1, 2007 to April 1, 2008 including any and all applicable

endorsements and forms made a part thereof.

Executed on the 1st day of September, 2021, at Corte Madera, CA.




                                                                                              Sean Basco
                                                                   Regional Vice President, E&S Casualty
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 261 of 350




               Exhibit A
              Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 262 of 350




                                       i~Arch
                                       Insurance Group®
                           ARCH SPECIAL TY INSURANCE COMPANY
                                        (A Nebraska Corporation)
Home Office Address:                                                            Administrative Address:
10306 Regency Parkway Drive                                                One Liberty Plaza, 53rd Floor
Omaha, NE 68113                                                                    New York, NY 10006
                                                                                    Tel: (800) 817-3252

                          COMMERCIAL GENERAL LIABILITY POLICY

                                          DECLARATIONS
Policy No.:    DPC 0005591 02                            Renewal of: DPC 0005591 00

Effective Date: 04/01/07
Expiration Date: 04/01 /08
                 At 12:01 am standard time at the mailing address of the Named Insured shown below.

Item 1,   Named Insured and Producer
          Named Insured:          EBENAL GENERAL CONTRACTORS, INC.
          Mailing Address:        4326 PACIFIC HIGHWAY
                                  BELLINGHAM, WA 98226


          Producer:                    CRC INSURANCE SERVICES, INC.
          Mailing Address:             1420 FIFTH AVENUE
                                       SUITE 1610
                                       SEATTLE, WA 98101

          Surplus Line Producer:       JO WALKOWSKI
                                       CRC INSURANCE SERVICES, INC.
          Mailing Address:             1420 FIFTH AVENUE
                                       SUITE 1610
                                       SEATTLE, WA98101

          Surplus Lines License Number: CRCINS*98358

Item 2.   Named Insured Classified as
          D  Individual              D Partnership       ~                D   Trust
                                                         Corporation
          D     Joint Venture            □ LLC           □ LLP            D   Other

Item 3.   Limits of Insurance

          Each Occurrence Limit                    $ 1,000,000

          Personal and Advertising Injury Limit    $ 1,000,000     Any one person or organization

          Damage to Premises Rented to You Limit $100,000          Any one premises




06 CGL0047 00 03 07                                                                         Page 1 of 2
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 263 of 350



           General Aggregate Limit (Other Than            $2,000,000
           Products - Completed Operations)

           Products - Completed Operations                $2,000,000
           Aggregate Limit

Item 4.    Policy Premium: $ -

           Deposit Premium:    $-
           Minimum Retained Audit Premium: $ -
                                                   D   A flat charge per each policy period
                                                   12] Adjustable, per the Premium Computation
                                                       Endorsement




Item 5.        -
           Minimum Retained Premium:


           Forms & Endorsements
           attached:
                                                  Not subject to adjustment in the event of cancellation by
                                                  you.

                                                   See Schedule of Forms and Endorsements Form 00
                                                   ML0012 00 01 03



IN CONSIDERATION OF THE PAYMENT OF PREMIUM AND IN RELIANCE UPON STATEMENTS MADE
IN THE APPLICATION, THIS POLICY INCLUDING ALL ENDORSEMENTS ISSUED HEREIN SHALL
CONSTITUTE THE CONTRACT BETWEEN THE COMPANY AND THE NAMED INSURED.




Arch Specialty Insurance Company is licensed in the state of Nebraska only.
Arch Specialty Insurance Company is not licensed in the state of New York and is not subject to its supervision.

06 CGL0047 00 03 07                                                                                   Page 2 of2
                Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 264 of 350




                              SCHEDULE OF FORMS AND ENDORSEMENTS


    NAMED INSURED: EBENAL GENERAL CONTRACTORS, INC.                  TERM: 4/1/2007 to 4/1/2008
    POLICY NUMBER: DPC 0005591 02



    ENDT. NO.   I    FORM NO.                      TI_TLE
                     06   CGL0047 00 03 07         COMMERCIAL GENERAL LIABILITY POLICY DECLARATIONS
                     00   ML0012 00 01 03          SCHEDULE OF FORMS AND ENDORSEMENTS
                     00   CGL0098 00 09 06         COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                     06   ML0002 00 12 06          SIGNATURE PAGE
                     02   ML0003 00 08 02          SERVICE OF SUIT
    1                00   CG L0006 00 09 06        BLANKET ADDITIONAL INSURED ENDORSEMENT
    2                00   CGL0130 00 09 06         OTHER INSURANCE - BROAD FORM, CGL POLICY
                                                   ENDORSEMENT
    3                00 CGL0121 00 09 06           WAIVER OF SUBROGATION ENDORSEMENT
    4                00 CGL0072 00 09 06           NAMED INSURED ENDORSEMENT
    5                00 CGL0039 00 09 06           ENGINEERS, ARCHITECTS OR SURVEYORS PROFESSIONAL
                                                   LIABILITY EXCLUSION ENDORSEMENT
    6                00   CGL0041   00   09   06   WRAP-UP EXCLUSION ENDORSEMENT
    7                00   CGL0007   00   09   06   CROSS SUITS EXCLUSION ENDORSEMENT
    8                00   CGL0038   00   09   06   EMPLOYEE BENEFITS LIABILITY COVERAGE ENDORSEMENT
    9                00   CGL00B0   00   09   06   RESIDENTIAL AND RESIDENTIAL CONVERSION EXCLUSION
                                                   ENDORSEMENT
    10               00 CGL0109 00 09 06           DESIGNATED CONSTRUCTION PROJECT(S) GENERAL
                                                   AGGREGATE LIMIT AND POLICY AGGREGATE LIMIT
                                                   ENDORSEMENT
    11               00 CGL0125 00 09 06           SUBCONTRACTOR ENDORSEMENT (DEDUCTIBLE POLICY)
    12               00 CGL0237 00 09 06           EXTERIOR INSULATION AND FINISH SYSTEM ABSOLUTE
                                                   EXCLUSION ENDORSEMENT
    13               00 CGL0011 00 09 06           EARTH MOVEMENT OR SUBSIDENCE EXCLUSION
                                                   ENDORSEMENT
    14               00 CG L0092 00 09 06          CHROMATED COPPER ARSENATE ("CCA") EXCLUSION
                                                   ENDORSEMENT
    15               00   CGL0066   00   09   06   RADON CONTAMINATION EXCLUSION ENDORSEMENT
    16               00   CGL0023   00   09   06   TOTAL POLLUTION EXCLUSION ENDORSEMENT
    17               00   CGL0010   00   09   06   DESIGNATED WORK- EXCLUSION ENDORSEMENT
    18               00   CGL0119   48   09   06   WASHINGTON STOP GAP- EMPLOYERS LIABILITY
                                                   COVERAGE ENDORSEMENT
    19               00 CGL0107 00 09 06           PREMIUM COMPUTATION ENDORSEMENT- DEDUCTIBLE
                                                   POLICY - VERSION I
    20               00 CGL0099 00 09 06           DEDUCTIBLE LIABILITY ENDORSEMENT
    21               00 CGL0220 00 09 06           TOTAL TERRORISM EXCLUSION ENDORSEMENT




00 ML0012 00 01 03                                                                           Page 1 of 1
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 265 of 350



                   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights,
duties and what is and is not covered.

Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations,
and any other person or organization qualifying as a Named Insured under this policy. The words "we",
"us" and "our" refer to the company providing this insurance.

The word "insured" means any person or organization qualifying as such under SECTION II - WHO IS
AN INSURED.

Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION V-
DEFINITIONS.

SECTION I - COVERAGES

BODILY INJURY, PROPERTY DAMAGE, PERSONAL AND ADVERTISING INJURY

1.   Insuring Agreement

     a.     We will pay those sums that the insured becomes legally obligated to pay as damages
            because of "bodily injury", "property damage", or "personal and advertising injury" to which this
            insurance applies. We will have the right and duty to defend the insured against any "suit"
            seeking those damages. However, we will have no duty to defend the insured against any
            "suit" seeking damages for any injury or damage to which this insurance does not apply. We
            may, at our sole discretion, investigate any "occurrence" or offense and settle any claim or
            "suit" that may result. But:

            (1)   The amount we will pay for damages is limited as described in SECTION Ill - LIMITS
                  OF INSURANCE; and

            (2)   Our right and duty to defend end when we have used up the applicable limit of insurance
                  in the payment of judgments or settlements to which this insurance applies.

     No other obligation or liability to pay sums or perform acts or services is covered unless explicitly
     provided for under the SUPPLEMENTARY PAYMENTS part of this policy.

     b.     This insurance applies to:

            (1)   "Bodily injury" and "property damage" only if:

                  (a)   The "bodily injury" or "property damage" is caused by an "occurrence" that takes
                        place in the "coverage territory";

                  (b)   The "bodily injury" or "property damage" occurs during the "policy period"; and

                  (c)   The "bodily injury" or "property damage" commences after the Effective Date of this
                        policy. "Bodily injury" or "property damage" which is a continuation of or arises out
                        of, relates to or results from, in whole or in part, injury or damage that commences
                        before the Effective Date of this policy does not commence after the Effective Date
                        of this policy.

            (2)   "Personal and advertising injury" only if:

                  (a)   The "personal and advertising injury" is caused by an offense arising out of your
                        business and committed in the "coverage territory";

                  (b)   The offense is committed during the "policy period"; and




00 CGL0098 00 09 06        Includes copyrighted material of Insurance Services Office, Inc.     Page 1 of 24
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 266 of 350



                  (c)   The "personal and advertising injury" commences after the Effective Date of this
                        policy. "Personal and advertising injury" which is a continuation of or arises out of,
                        relates to or results from, in whole or in part, injury that commences before the
                        Effective Date of this policy does not commence after the Effective Date of this
                        policy.

     c.     If any "occurrence" or offense covered under this policy is also covered in whole or in part
            under any other commercial general liability policy issued to you by us (or by any of our
            related or affiliated companies) including but not limited to prior policies issued to you by us,
            (or by any of our related or affiliated companies), the most that will be paid under all such
            policies covering the "occurrence" or offense is the single highest applicable limit of liability of
            one of the policies which cover the "occurrence" or offense. This provision does not apply to
            policies written by us (or by any of our related or affiliated companies) as insurance that
            applies in excess of this insurance.

2.   Exclusions

     The exclusions contained herein and any exclusions contained in endorsements to this policy apply
     regardless of whether any cause, event, material or product contributed concurrently or in any
     sequence to the injury or damage.

     This insurance does not apply to any claim, "suit", demand or loss that alleges:

     a.     Expected Or Intended Injury

            "Bodily injury" or "property damage" that in any way, in whole or in part, arises out of, relates
            to or results from injury or damage expected or intended from the standpoint of the insured.
            This exclusion does not apply to "bodily injury" resulting from the use of reasonable force to
            protect persons or property.

     b.     Contractual Liability

           "Bodily injury" or "property damage" for which the insured is obligated to pay damages by
           reason of the assumption of liability in a contract or agreement. This exclusion does not apply
           to liability for damages:

           (1)   That the insured would have in the absence of the contract or agreement; or

           (2)   Assumed in a contract or agreement that is an "insured contract", provided the "bodily
                 injury" or "property damage" occurs subsequent to the execution of the contract or
                 agreement. Solely for the purposes of liability assumed in an "insured contract",
                 reasonable attorney fees and necessary litigation expenses incurred by or for a third
                 party are deemed to be damages because of "bodily injury" or "property damage",
                 provided:

                 (a)    Liability to such party for, or for the cost of, that party's defense has also been
                        assumed in the same "insured contract";

                 (b)    Such party is not an insured (other than an additional insured added by
                        endorsement to this policy); and

                 (c)    Such attorney fees and litigation expenses are for defense of that party against a
                        civil or alternative dispute resolution proceeding in which damages to which this
                        insurance applies are alleged.

     c.    Liquor Liability

           "Bodily injury" or "property damage" for which any insured may be held liable by reason of:

           (1)   Causing or contributing to the intoxication of any person;



00 CGL0098 00 09 06       Includes copyrighted material of Insurance Services Office, Inc.       Page 2 of 24
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 267 of 350



            (2)   The furnishing of alcoholic beverages to a person under the legal drinking age or under
                  the influence of alcohol; or

            (3)   Any statute, ordinance or regulation relating to the sale, gift, distribution or use of
                  alcoholic beverages.

            This exclusion applies only if you are in the business of manufacturing, distributing, selling,
            serving or furnishing alcoholic beverages.

     d.     Workers' Compensation And Similar Laws

            Any obligation of the insured under a workers' compensation, disability benefits or
            unemployment compensation law or any similar law(s).

     e.     Employer's Liability

           "Bodily injury" that in any way, in whole or in part, arises out of, relates to or results from injury
           to:

           (1)    An "employee" or '1emporary worker" of the insured arising out of and in the course of:

                  (a)   Employment by the insured; or

                  (b)   Perfonming duties related to the conduct of the insured's business; or

           (2)    The spouse, child, parent, brother or sister of that "employee" as a consequence of
                  Paragraph (1) above.

                  This exclusion applies:

                  (1)   Whether the insured may be liable as an employer or in any other capacity; and

                  (2)   To any obligation to share damages with or repay someone else who must pay
                        damages because of the injury.

           This exclusion does not apply to liability assumed by the insured under an "insured contract".

    f.     Pollution

           (1)    Any "bodily injury", "property damage" or "personal and advertising injury" that in any
                  way, in whole or in part, arises out of, relates to or results from the actual, alleged or
                  threatened discharge, dispersal, seepage, migration, release or escape of "pollutants":

                  (a)   At or from any premises, site or location which is or was at any time owned or
                        occupied by, or rented or loaned to, any insured. However, this subparagraph does
                        not apply to:

                        (i)      "Bodily injury" if sustained within a building and caused by smoke, fumes,
                                 vapor or soot produced by or originating from equipment that is used to heat,
                                 cool or dehumidify the building, or equipment that is used to heat water for
                                 personal use by the building's occupants or their guests;

                        (ii)     "Bodily injury" or "property damage" for which you may be held liable, if you
                                 are a contractor and the owner or lessee of such premises, site or location
                                 has been added to your policy as an additional insured with respect to your
                                 ongoing operations perfonmed for that additional insured at that premises,
                                 site or location and such premises, site or location is not and never was
                                 owned or occupied by, or rented or loaned to, any insured, other than that
                                 additional insured; or




00 CGL0098 00 09 06            Includes copyrighted material of Insurance Services Office, Inc.   Page 3 of 24
       Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 268 of 350



                      (iii)    "Bodily injury" or "property damage" arising out of heat, smoke or fumes from
                               a "hostile fire";

               (b)    At or from any premises, site or location which is or was at any time used by or for
                      any person or entity for the handling, storage, disposal, processing or treatment of
                      waste;

               (c)    Which are or were at any time transported, handled, stored, treated, disposed of,
                      or processed as waste by or for any insured or any person or organization for
                      whom you may be legally responsible;

               (d)    At or from any premises, site or location on which any insured or any contractors or
                      subcontractors working directly or indirectly on any insured's behalf are performing
                      operations if the "pollutants" are brought on or to the premises, site or location in
                      connection with such operations by such insured, contractor or subcontractor.
                      However, this subparagraph does not apply to:

                      (i)      "Bodily injury" or "property damage" arising out of the escape of fuels,
                               lubricants or other operating fluids which are needed to perform the normal
                               electrical, hydraulic or mechanical functions necessary for the operation of
                               "mobile equipment" or its parts, if such fuels, lubricants or other operating
                               fluids escape from a vehicle part designed to hold, store or receive them.
                               This exception does not apply if the "bodily injury" or "property damage"
                               arises out of the intentional discharge, dispersal or release of the fuels,
                               lubricants or other operating fluids, or if such fuels, lubricants or other
                               operating fluids are brought on or to the premises, site or location with the
                               intent that they be discharged, dispersed or released as part of the
                               operations being performed by such insured, contractor or subcontractor;

                      (ii)     "Bodily injury" or "property damage" sustained within a building and caused
                               by the release of gases, fumes or vapors from materials brought into that
                               building in connection with operations being performed by you or on your
                               behalf by a contractor or subcontractor; or

                      (iii)    "Bodily injury" or "property damage" arising out of heat, smoke or fumes from
                               a "hostile fire";

               (e)    At or from any premises, site or location on which any insured or any contractors or
                      subcontractors working directly or indirectly on any insured's behalf are performing
                      operations if the operations are to test for, monitor, clean up, remove, contain,
                      treat, detoxify or neutralize, or in any way respond to, or assess the effects of,
                      11
                       pollutants"; or

               (f)    To the extent that any such "bodily injury" or "property damage" is included in the
                      "products-completed operations hazard".

         (2)   Any loss, cost or expense that in any way, in whole or in part, arises out of, relates to or
               results from any:

               (a)    Request, demand, order, or statutory or regulatory requirement, or any other action
                      authorized or required by law, that any insured or others investigate, test for,
                      monitor, clean up, remove, dispose of, contain, treat, abate, remediate, detoxify or
                      neutralize, or in any way respond to, or assess the effects of, "pollutants"; or

               (b)    Claim or "suit" by or on behalf of a governmental authority for damages because of
                      investigating, testing for, monitoring, cleaning up, removing, disposing of,
                      containing, treating, abating, remediating, detoxifying or neutralizing, or in any way
                      responding to, or assessing the effects of, "pollutants".




00 CGL0098 00 09 06         Includes copyrighted material of Insurance Services Office, Inc.   Page 4 of 24
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 269 of 350



                  However, this paragraph does not apply to liability for damages because of "property
                  damage" that the insured would have in the absence of such request, demand, order or
                  statutory or regulatory requirement, or such claim or "suit" by or on behalf of a
                  governmental authority.
     g.     Aircraft, Auto Or Watercraft

            "Bodily injury" or "property damage" that in any way, in whole or in part, arises out of, relates
            to or results from the ownership, maintenance, use or entrustment to others of any aircraft,
            "auto" or watercraft owned or operated by or rented or loaned to any insured. Use includes
            operation and "loading or unloading".

            This exclusion applies even if the claims against any insured allege negligence or other
            wrongdoing in the supervision, hiring, employment, training or monitoring of others by that
            insured, if the "occurrence" or offense which caused the injury or damage involved the
            ownership, maintenance, use or entrustment to others of any aircraft, "auto" or watercraft that
            is owned or operated by or rented or loaned to any insured.

            This exclusion does not apply to:

            (1)   A watercraft while ashore on premises you own or rent;

            (2)   A watercraft you do not own that is:

                  (a)   Less than 26 feet long; and

                  (b)   Not being used to carry persons or property for a charge;

            (3)   Parking an "auto" on, or on the ways next to, premises you own or rent, provided the
                  "auto" is not owned by or rented or loaned to you or the insured;

            (4)   "Bodily injury" or "property damage" arising out of the operation of any of the equipment
                  listed in Paragraph f.(2) or f.(3) of the definition of "mobile equipment".

    h.      Mobile Equipment

            "Bodily injury" or "property damage" that in any way, in whole or in part, arises out of, relates
            to or results from:

            (1)   The transportation of "mobile equipment" by an "auto" owned or operated by or rented or
                  loaned to any insured; or

            (2)   The use of "mobile equipment" in, or while in practice for, or while being prepared for,
                  any prearranged racing, speed, demolition, or stunting activity.

    i.      War

            "Bodily injury", "property damage" or "personal and advertising injury" that in any way, in whole
            or in part, arises out of, relates to or results from:

           (1)    War, including undeclared or civil war; or

           (2)    Warlike action by a military force, including action in hindering or defending against an
                  actual or expected attack, by any government, sovereign or other authority using military
                  personnel or other agents; or

           (3)    Insurrection, rebellion, revolution, usurped power, or action taken by governmental
                  authority in hindering or defending against any of these.

    j.      Damage To Property

           "Property damage" to:


00 CGL0098 00 09 06       Includes copyrighted material of Insurance Services Office, Inc.      Page 5 of 24
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 270 of 350



           (1)   Property you own, rent, or occupy, including any costs or expenses incurred by you, or
                 any other person or entity, for repair, replacement, enhancement, restoration or
                 maintenance of such property for any reason, including prevention of injury to a person
                 or damage to another's property;

           (2)   Premises you sell, give away or abandon, if the "property damage" arises out of any part
                 of those premises;

          (3)    Property loaned to you;

          (4)    Personal property in the care, custody or control of the insured;

          (5)    That particular part of real property on which you or any contractors or subcontractors
                 working directly or indirectly on your behalf are performing operations, if the "property
                 damage" arises out of those operations; or

          (6)    That particular part of any property that must be restored, repaired or replaced because
                 "your work" was incorrectly performed on it.

          Paragraphs (1 ), (3) and (4) of this exclusion do not apply to "property damage" (other than
          damage by fire) to premises, including the contents of such premises, rented to you for a
          period of 7 or fewer consecutive days.

           Paragraph (2) of this exclusion does not apply if the premises are "your work" and were never
           occupied, rented or held for rental by you.

           Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a
           sidetrack agreement.

          Paragraph (6) of this exclusion does not apply to "property damage" included in the "products-
          completed operations hazard".

    k.    Damage To Your Product

          "Property damage" to "your product" arising out of "your product" or any part of "your product".

    I.    Damage To Your Work

          "Property damage" to "your work" arising out of "your work" or any part of "your work" and
          included in the "products-completed operations hazard".

          This exclusion does not apply if the damaged work or the work out of which the damage arises
          was performed on your behalf by a subcontractor.

    m.    Damage To Impaired Property Or Property Not Physically Injured

          "Property damage" to "impaired property" or property that has not been physically injured,
          arising out of:

          (1)    A defect, deficiency, inadequacy or dangerous condition in "your product" or "your work";
                 or

          (2)    A delay or failure by you or anyone acting on your behalf to perform a contract or
                 agreement in accordance with its terms.

          This exclusion does not apply to the loss of use of other property arising out of sudden and
          accidental physical injury to "your product" or "your work" after it has been put to its intended
          use.




00 CGL0098 00 09 06      Includes copyrighted material of Insurance Services Office, Inc.     Page 6 of 24
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 271 of 350



     Exclusions j. through m. do not apply to damage by fire to premises while rented to you or
     temporarily occupied by you with penmission of the owner. A separate limit of insurance applies to
     this coverage as described in SECTION Ill - LIMITS OF INSURANCE.

     n.     Recall Of Products, Work Or Impaired Property

            Damages claimed for any loss, cost or expense incurred by you or others for the loss of use,
            withdrawal, recall, inspection, repair, replacement, adjustment, removal or disposal of:
            (1)   "Your product";

           (2)    "Your work"; or

           (3)    "Impaired property";

           if such product, work, or property is withdrawn or recalled from the market or from use by any
           person or organization because of a known or suspected defect, deficiency, inadequacy or
           dangerous condition in it.

     o.    Asbestos

           "Bodily injury", "property damage" or "personal and advertising injury" that in any way, in
           whole or in part, arises out of, relates to or results from the "asbestos hazard".

           This exclusion includes but is not limited to compliance with any request, demand, order, or
           statutory or regulatory requirement, or any other action authorized or required by law, or any
           loss, cost or expense arising out of or relating to the investigation of, abating, testing for,
           monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating
           or disposing of, or in any way responding to, or assessing the effects of asbestos, as well as
           any costs, fees, expenses, penalties, judgments, fines or sanctions arising from or relating
           thereto.

           As used in this exclusion, "asbestos hazard" means:

           (1)    the actual, alleged or threatened exposure to, consumption of, ingestion of, inhalation of,
                  absorption of, existence of, or presence of, asbestos in any manner or fonm whatsoever,
                  either directly or indirectly;

           (2)    the actual or alleged failure to warn, advise or instruct related to asbestos in any manner
                  or fonm whatsoever;

           (3)    the actual or alleged failure to prevent exposure to asbestos in any manner or form
                  whatsoever;

           (4)    the actual or alleged presence of asbestos in any manner or fonm whatsoever, in any
                  place whatsoever, whether or not within a building or structure, including its contents.

           As used in this exclusion, "asbestos" means any substance, regardless of its fonm or state,
           containing asbestos.

    p.     Nuclear Liability

           Any injury or damage:

           (1)    with respect to which an insured under the policy is also an insured under a nuclear
                  energy liability policy issued by Nuclear Energy Liability Insurance Association, Mutual
                  Atomic Energy Liability Underwriters, Nuclear Insurance Association of Canada or any of
                  their successors, or would be an insured under any such policy but for its tenmination
                  upon exhaustion of its limit of liability; or




00 CGL0098 00 09 06       Includes copyrighted material of Insurance Services Office, Inc.     Page 7 of 24
       Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 272 of 350



          (2)   resulting from the "hazardous properties" of "nuclear material" and with respect to which
                (a) any person or organization is required to maintain financial protection pursuant to the
                Atomic Energy Act of 1954, or any law amendatory thereof, or (b) the insured is, or had
                this policy not been issued would be, entitled to indemnity from the United States of
                America, or any agency thereof, under any agreement entered into by the United States
                of America, or any agency thereof, with any person or organization; or

          (3)   under any Medical Payments coverage, to expenses incurred with respect to "bodily
                injury" resulting from the "hazardous properties" of "nuclear material" and arising out of
                the operation of a "nuclear facility" by any person or organization; or

          (4)   under any Liability Coverage, to any injury or damage resulting from "hazardous
                properties" of "nuclear material", if:

                (a)   The "nuclear material" (a) is at any "nuclear facility" owned by, or operated by or on
                      behalf of, an insured or (b) has been discharged or dispersed therefrom;

                (b)   The "nuclear material" is contained in "spent fuel" or "waste" at any time
                      possessed, handled, used, processed, stored, transported or disposed of, by or on
                      behalf of an insured; or

                (c)   The injury or damage arises out of the furnishing by an insured of services,
                      materials, parts or equipment in connection with the planning, construction,
                      maintenance, operation or use of any "nuclear facility", but if such facility is located
                      within the United States of America, its territories or possessions or Canada, this
                      exclusion (c) applies only to "property damage" to such "nuclear facility" and any
                      property thereat.

         As used in this exclusion:

         (1)    "Hazardous properties" includes radioactive, toxic or explosive properties.

         (2)    Nuclear material" means "source material", "Special nuclear material" or "by-product
                material".

         (3)    "Source material", "special nuclear material", and "by-product material" have the
                meanings given them in the Atomic Energy Act of 1954 or in any law amendatory
                thereof.

         (4)    "Spent fuel" means any fuel element or fuel component, solid or liquid, which has been
                used or exposed to radiation in a "nuclear reactor".

         (5)    "Waste" means any waste material (a) containing "by-product material" other than the
                tailings or wastes produced by the ex1raction or concentration of uranium or thorium from
                any ore processed primarily for its "source material" content, and (b) resulting from the
                operation by any person or organization of any "nuclear facility" included under the first
                two paragraphs of the definition of "nuclear facility".

         (6)    "Nuclear facility" means:

                (a)   Any "nuclear reactor";

                (b)   Any equipment or device designed or used for (i) separating the isotopes of
                      uranium or plutonium, (ii) processing or utilizing "spent fuel", or (iii) handling,
                      processing or packaging "waste";

                (c)   Any equipment or device used for the processing, fabricating or alloying of "special
                      nuclear material" if at any time the total amount of such material in the custody of
                      the insured at the premises where such equipment or device is located consists of




00 CGL0098 00 09 06     Includes copyrighted material of Insurance Services Office, Inc.        Page 8 of 24
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 273 of 350



                       or contains more than 25 grams of plutonium or uranium 233 or any combination
                       thereof, or more than 250 grams of uranium 235;

                 (d)   Any structure, basin, excavation, premises or place prepared or used for the
                       storage or disposal of "waste";

           and includes the site on which any of the foregoing is located, all operations conducted on
           such site and all premises used for such operations.

           (7)   "Nuclear reactor" means any apparatus designed or used to sustain nuclear fission in a
                 self-supporting chain reaction or to contain a critical mass of fissionable material.

           (8)   "Property damage" includes all fomrs of radioactive contamination of property.

    q.     Employment Related Practices

           Any injury or damage to:

           (1)   A person arising out of any:

                 (a)   Refusal to employ;

                 (b)   Temrination of that person's employment; or

                 (c)   Employment-related practices, policies, acts or omissions such as hiring,
                       promotion, coercion, demotion, evaluation, reassignment, discipline, defamation,
                       harassment, humiliation or discrimination directed at that person;

                 (d)   Action under Title VII of the 1964 Civil Rights Act and/or any amendments thereto;
                       or

          (2)    The spouse, child, parent, brother or sister of that person as a consequence of any injury
                 or damage to that person at whom any of the employment-related practices described in
                 Paragraphs (a), (b), (c) or (d) above is directed.

           This exclusion applies:

          (1)    Whether the insured may be held liable as an employer, prospective employer, or in any
                 other capacity; and

          (2)    To any obligation to share damages with or repay someone else who must pay damages
                 because of the injury.

    r.    Prior Loss

          Any "bodily injury", "property damage" or "personal and advertising injury", if such injury or
          damage is a continuation of, or arises out of injury or damage that commenced prior to the
          Effective Date of the policy.

    s.    Fungi or Bacteria

          "Bodily injury", "property damage" or "personal and advertising injury" that in any way, in whole
          or in part, arises out of, relates to or results from the "fungi or bacteria hazard".

          This exclusion includes but is not limited to compliance with any request, demand, order, or
          statutory or regulatory requirement, or any other action authorized or required by law, or any
          loss, cost or expense arising out of or relating to the investigation of, abating, testing for,
          monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating
          or disposing of, or in any way responding to, or assessing the effects of "fungi or bacteria", as
          well as any costs, fees, expenses, penalties, judgments, fines, or sanctions arising from or
          relating thereto.



00 CGL0098 00 09 06      Includes copyrighted material of Insurance Services Office, Inc.     Page 9 of 24
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 274 of 350



           This exclusion does not apply to any "fungi or bacteria" that are, are on, or are contained in
           food or beverages.

          This exclusion applies regardless of whether any cause, event, material or product contributed
          concurrently or in any sequence to any such injury or damage.

          As used in this exclusion, "fungi or bacteria hazard" means:

          (1)    actual, alleged or threatened exposure to, consumption of, ingestion of, inhalation of,
                 absorption of, existence of, or presence of, "fungi or bacteria" in any manner or fomn
                 whatsoever, either directly or indirectly;

          (2)    the actual or alleged failure to warn , advise or instruct related to "fungi or bacteria" in
                 any manner or fomn whatsoever;

          (3)    the actual or alleged failure to prevent exposure to "fungi or bacteria" in any manner or
                 form whatsoever; or

          (4)    the actual or alleged presence of "fungi or bacteria" in any manner or form whatsoever,
                 in any place whatsoever, whether or not within a building or structure, including its
                 contents.

          As used in this exclusion, "fungi or bacteria" include, without limitation, mold, mildew, yeast,
          spores, mycotoxins, endotoxins, or other pathogens, as well as any particulates or byproducts
          of any of the foregoing, either directly or indirectly.

    t.    Lead

          "Bodily injury", "property damage", or "personal and advertising injury" that in any way, in
          whole or in part, arises out of, relates to, or results from the "lead hazard".

          This exclusion includes but is not limited to compliance with any request, demand, order, or
          statutory or regulatory requirement, or any other action authorized or required by law, or any
          loss, cost or expense arising out of or relating to the investigation of, abating, testing for,
          monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating
          or disposing of, or in any way responding to, or assessing the effects of, lead, as well as any
          costs, fees, expenses, penalties, judgments, fines, or sanctions arising from or relating
          thereto.

          As used in this exclusion, "lead hazard" means:

          (1)    the actual, alleged or threatened exposure to, consumption of, ingestion of, inhalation of,
                 absorption of, existence of, or presence of, lead in any manner or fomn whatsoever,
                 either directly or indirectly;

          (2)    the actual or alleged failure to warn, advise or instruct related to lead in any manner or
                 fomn whatsoever;

          (3)    the actual or alleged failure to prevent exposure to lead in any manner or fomn
                 whatsoever; or

          (4)    the actual or alleged presence of lead in any manner or fomn whatsoever, in any place
                 whatsoever, whether or not within a building or structure, including its contents.

    u.    Intellectual Property

          "Bodily injury", "property damage", or "personal and advertising injury" that in any way, in
          whole or in part, arises out of, relates to or results from the actual or alleged publication or
          utterance or oral or written statements which are claimed as an infringement, violation or
          defense of any of the following rights or laws:



00 CGL0098 00 09 06      Includes copyrighted material of Insurance Services Office, Inc.     Page 10 of 24
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 275 of 350



           (1)    copyright, other than infringement in your "advertisement" of copyright or slogan;

          (2)     patent;

          (3)    trade secrets;

          (4)    trade dress; or

          (5)    trademark, service mark, certification mark, collective mark or trade name, other than
                 trademarked or service marked titles or slogans.

    v.    Various Personal and Advertising Injury Offenses

          "Personal and advertising injury":

          (1)    Caused by or at the direction of the insured with the knowledge that the act would violate
                 the rights of another and would inflict "personal and advertising injury";

          (2)    That in any way, in whole or in part, arises out of, relates to or results from oral or written
                 publication of material or any television, radio or other electronic publication or broadcast
                 of any kind whatsoever (including but not limited to publication by means of Internet,
                 extranet, e-mail or website), if done by or at the direction of the insured with knowledge
                 of its falsity;

          (3)    That in any way, in whole or in part, arises out of, relates to or results from oral or written
                 publication of material or any television, radio or other electronic publication or broadcast
                 of any kind whatsoever (including but not limited to publication by means of Internet,
                 extranet, e-mail or website) whose first publication or broadcast took place before the
                 beginning of the "policy period";

          (4)    That in any way, in whole or in part, arises out of, relates to or results from a criminal act
                 committed by or at the direction of the insured;

          (5)    For which the insured has assumed liability in a contract or agreement. This exclusion
                 does not apply to liability for damages that the insured would have in the absence of the
                 contract or agreement;

          (6)    That in any way, in whole or in part, arises out of, relates to or results from a breach of
                 contract;

          (7)    That in any way, in whole or in part, arises out of, relates to or results from the failure of
                 goods, products or services to conform with any statement of quality or performance
                 made in your "advertisement";

          (8)    That in any way, in whole or in part, arises out of, relates to or results from the wrong
                 description of the price of goods, products or services stated in your "advertisement";

          (9)    Committed, in whole or in part, by an insured whose business is:

                 (a)   Advertising, broadcasting, publishing or telecasting;

                 (b)   Designing or determining content of web-sites for others; or

                 (c)   An Internet search, access, content or service provider.

                 However, this exclusion does not apply to Paragraphs 15. a., b. and c. of "personal and
                 advertising injury" under SECTION V - DEFINITIONS.

                 For the purposes of this exclusion, the placing of frames, borders or links, or advertising,
                 for you or others anywhere on the Internet, is not by itself, considered the business of
                 advertising, broadcasting, publishing or telecasting.



00 CGL0098 00 09 06         Includes copyrighted material of Insurance Services Office, Inc.    Page 11 of 24
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 276 of 350



            (1 OJ Arising out of an electronic chatroom or bulletin board the insured hosts, owns, or over
                  which the insured exercises control;

            (11) Arising out of the unauthorized use of another's name or product in your e-mail address,
                  domain name or metatag, or any other similar tactics to mislead another's potential
                  customers.

     w.     Silica

            "Bodily injury", "property damage", or "personal and advertising injury" that in any way, in
            whole or in part, arises out of, relates to or results from:

            (1)   the actual, alleged or threatened exposure to, consumption of, ingestion of, inhalation of
                  or absorption of, "silica", either directly or indirectly;

            (2)   the actual, alleged or threatened exposure to, consumption of, ingestion of, inhalation of,
                  absorption of, existence of or presence of, "silica dust" either directly or indirectly;

            (3)   the actual or alleged failure to warn, advise or instruct related to "silica" in any manner or
                  form whatsoever;

            (4)   the actual or alleged failure to prevent exposure to "silica".

            This exclusion includes but is not limited to compliance with any request, demand, order, or
            statutory or regulatory requirement, or any other action authorized or required by law, or any
            other claim, "suit", demand, loss, cost or expense arising out of, relating to or resulting from
            the investigation of, abating, testing for, monitoring, cleaning up, removing, containing,
            treating, detoxifying, neutralizing, remediating or disposing of, or in any way responding to, or
            assessing the effects of "silica", as well as any costs, fees, expenses, penalties, judgments,
            fines, or sanctions arising or resulting therefrom or relating thereto.

           As used in this exclusion:

            (1)   "Silica" means any substance containing silicon dioxide (SiO2), including, but not limited
                  to, crystalline or non-crystalline silica, silica particles, silica compounds, "silica dust" or
                  synthetic silica, including but not limited to precipitated silica, silica gel, fumed silica or
                  silica flour.

            (2)   "Silica dust" means dust containing "silica" alone or mixed with any other dust or fiber(s).

     x.     Electronic Data

            Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access,
            or inability to manipulate "electronic data".

SUPPLEMENTARY PAYMENTS

1.   We will pay, with respect to any claim we investigate or settle, or any "suit" against an insured we
     defend:

     a.    All expenses we incur.

     b.    Up to $250 for cost of bail bonds required because of accidents or traffic law violations arising
           out of the use of any vehicle to which the Bodily Injury Liability Coverage applies. We do not
           have to furnish these bonds.

     c.     The cost of bonds to release attachments, but only for bond amounts within the applicable
            limit of insurance. We do not have to furnish these bonds.




00 CGL0098 00 09 06        Includes copyrighted material of Insurance Services Office, Inc.       Page 12 of 24
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 277 of 350



     d.     All reasonable expenses incurred by the insured at our request to assist us in the investigation
            or defense of the claim or "suit", including actual loss of earnings up to $250 a day because of
            time off from work.

     e.     All costs taxed against the insured in the "suit".

     f.     Prejudgment interest awarded against the insured on that part of the judgment we pay. If we
            make an offer to pay the applicable limit of insurance, we will not pay any prejudgment interest
            based on that period of time after the offer.

     g.     All interest on the full amount of any judgment that accrues after entry of the judgment and
            before we have paid, offered to pay, or deposited in court the part of the judgment that is
            within the applicable limit of insurance.

     These payments will not reduce the limits of insurance.

2.   If we defend an insured against a "suit" and an indemnitee of the insured is also named as a party
     to the "suit", we will defend that indemnitee if all of the following conditions are met:

     a.     The "suit" against the indemnitee seeks damages for which the insured has assumed the
            liability of the indemnitee in a contract or agreement that is an "insured contract";

     b.     This insurance applies to such liability assumed by the insured;

     c.    The obligation to defend, or the cost of the defense of, that indemnitee has also been
           assumed by the insured in the same "insured contract";

     d.    The allegations in the "suit" and the information we know about the "occurrence" are such that
           no conflict appears to exist between the interests of the insured and the interests of the
           indemnitee;

     e.    The indemnitee and the insured ask us to conduct and control the defense of that indemnitee
           against such "suit" and agree that we can assign the same counsel to defend the insured and
           the indemnitee; and

     f.    The indemnitee:

           (1)   Agrees in writing to:

                 (a)   Cooperate with us in the investigation, settlement or defense of the "suit";

                 (b)   Immediately send us copies of any demands, notices, summonses or legal papers
                       received in connection with the "suit";

                 (c)   Notify any other insurer whose coverage is available to the indemnitee; and

                 (d)   Cooperate with us with respect to coordinating other applicable insurance available
                       to the indemnitee; and

           (2)   Provides us with written authorization to:

                 (a)   Obtain records and other information related to the "suit"; and

                 (b)   Conduct and control the defense of the indemnitee in such "suit".

     So long as the above conditions are met, attorneys fees incurred by us in the defense of the
     indemnitee, necessary litigation expenses incurred by us and necessary litigation expenses incurred
     by the indemnitee at our request will be paid as SUPPLEMENTARY PAYMENTS. Notwithstanding
     the provisions of Paragraph 2. b. (2) of SECTION I - COVERAGES, such payments will not be
     deemed to be damages for "bodily injury" and "property damage" and will not reduce the limits of
     insurance.



00 CGL0098 00 09 06       Includes copyrighted material of Insurance Services Office, Inc.    Page 13 of 24
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 278 of 350



     Our obligation to defend the insured's indemnitee and to pay for attorney fees and necessary
     litigation expenses as Supplementary Payments ends when:

           a.    We have used up the applicable limit of insurance in the payment of judgments or
                 settlements: or

           b.    The conditions set forth above, or the terms of the agreement described in paragraph f.
                 above are no longer met.

SECTION II - WHO IS AN INSURED

1.   If you are designated in the Declarations as:

     a,    An individual, you and your spouse are insureds, but only with respect to the conduct of a
           business of which you are the sole owner.

     b.    A partnership or joint venture, you are an insured. Your members, your partners, and their
           spouses are also insureds, but only with respect to the conduct of your business.

     c.    A limited liability company, you are an insured. Your members are also insureds, but only with
           respect to the conduct of your business. Your managers are insureds, but only with respect to
           their duties as your managers in the conduct of your business.

     d.    An organization other than a partnership, joint venture or limited liability company, you are an
           insured. Your "executive officers" and directors are insureds, but only with respect to their
           duties as your officers or directors in the conduct of your business. Your stockholders are also
           insureds, but only with respect to their liability as stockholders.

     e.    A trust, you are an insured. Your trustees are also insureds, but only with respect to their
           duties as trustees in the conduct of your business.

2.   Each of the following is also an insured:

     a.    Your "volunteer workers" only while performing duties directly related to the conduct of your
           business, or your "employees", other than either your "executive officers" (if you are an
           organization other than a partnership, joint venture or limited liability company) or your
           managers (if you are a limited liability company), but only for acts within the scope of their
           employment by you or while performing duties directly related to the conduct of your business.
           However, none of these "employees" or "volunteer workers" are insureds for:

           (1)   "Bodily injury" or "personal and advertising injury":

                 (a)   To you, to your partners or members (if you are a partnership or joint venture), to
                       your members (if you are a limited liability company), to a co-"employee" while in
                       the course of his or her employment or performing duties directly related to the
                       conduct of your business, or to your other "volunteer workers" while performing
                       duties directly related to the conduct of your business;

                 (b)   To the spouse, child, parent, brother or sister of that co-"employee" or "volunteer
                       worker" as a consequence of Paragraph (1 )(a) above;

                 (c)   For which there is any obligation to share damages with or repay someone else
                       who must pay damages because of the injury described in Paragraphs (1 )(a) or (b)
                       above; or

                 (d)   Arising out of his or her providing or failing to provide professional health care
                       services.

           (2)   "Property damage" to property:

                 (a)   Owned, occupied or used by; or


00 CGL0098 00 09 06       Includes copyrighted material of Insurance Services Office, Inc.   Page 14 of 24
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 279 of 350



                  (b)   Rented to, in the care, custody or control of, or over which physical control is being
                        exercised for any purpose by

                  you, any of your "employees", "volunteer workers", any partner or member (if you are a
                  partnership or joint venture), or any member (if you are a limited liability company).

     b.     Any person (other than your "employee" or "volunteer worker"), or any organization while
            acting as your real estate manager.

     c.     Any person or organization having proper temporary custody of your property if you die, but
            only:

            (1)   With respect to liability arising out of the maintenance or use of that property; and

            (2)   Until your legal representative has been appointed.

     d.     Your legal representative if you die, but only with respect to duties as such. That
            representative will have all your rights and duties under this policy.

3.   Any organization you newly acquire or form, other than a partnership, joint venture or limited liability
     company, and over which you maintain ownership or majority interest, will qualify as a Named
     Insured if there is no other insurance available to that organization. However, coverage under this
     provision:
                                         th
     a.     Is afforded only until the 90 day after you acquire or form the organization or the end of the
            "policy period", whichever is earlier;

     b.     Does not apply to "bodily injury" or "property damage" that occurred before you acquired or
            formed the organization; and
     c.     Does not apply to "personal and advertising injury" arising out of an offense committed before
            you acquired or formed the organization.

     Further:

     (1)    Any newly acquired or formed organization that is not reported to us within the lime period
            described in subparagraph 3. a. above is not an insured under this policy; and
                                         th
     (2)    Following the end of the 90 day described in subparagraph 3. a. above with respect to such
            newly acquired or formed organization, we reserve the right to exclude coverage, or to charge
            additional premium, or to amend the terms and conditions of coverage.

No person or organization is an insured with respect to the conduct of any current or past partnership,
joint venture or limited liability company that is not shown as a Named Insured in the Declarations.

SECTION Ill - LIMITS OF INSURANCE

1.   The Limits of Insurance shown in the Declarations and the rules below fix the most we will pay
     regardless of the number of:

     a.     Insureds;

     b.     Claims made or "suits" brought; or

     c.     Persons or organizations making claims or bringing "suits".

2.   The General Aggregate Limit is the most we will pay for the sum of:

     a.     Damages for "bodily injury" or "property damage", except such damages included in the
            "products-completed operations hazard"; and

     b.     Damages for "personal and advertising injury".


00 CGL0098 00 09 06       Includes copyrighted material of Insurance Services Office, Inc.      Page 15 of24
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 280 of 350



3.   The Products-Completed Operations Aggregate Limit is the most we will pay for damages because
     of "bodily injury" and "property damage" included in the "products-completed operations hazard".

4.   Subject to Paragraph 2. above, the Personal and Advertising Injury Limit is the most we will pay for
     the sum of all damages because of all "personal and advertising injury" sustained by any one
     person or organization.

5.   Subject to Paragraphs 2. or 3. above, whichever applies, the Each Occurrence Limit is the most we
     will pay for the sum of all damages because of all "bodily injury" and "property damage" arising out
     of any one "occurrence".

6.   Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will
     pay for damages because of "property damage" to any one premises, while rented to you, or in the
     case of damage by fire, while rented to you or temporarily occupied by you with permission of the
     owner.

The Limits of Insurance apply to the "policy period" set forth in the Declarations or any endorsements
thereto.

SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS

1.   Bankruptcy

     Bankruptcy or insolvency of the insured or of the insured's estate will not relieve us of our
     obligations under this policy.

2.   Duties In The Event Of Occurrence, Offense, Claim Or Suit

     a.    You must see to it that we are notified as soon as practicable of an "occurrence" or an offense
           which may result in a claim. To the extent possible, notice should include:

           (1)   How, when and where the "occurrence" or offense took place;

           (2)   The names and addresses of any injured persons and witnesses; and

           (3)   The nature and location of any injury or damage arising out of the "occurrence" or
                 offense.

     Notice of an "occurrence" or an offense is not notice of a claim.

     b.    If a claim is made or "suit" is brought against any insured, you must:

           (1)   Immediately record the specifics of the claim or "suit" and the date received; and

           (2)   Notify us as soon as practicable.

     You must see to it that we receive written notice of the claim or "suit" as soon as practicable.

     c.    You and any other involved insured must:

           (1)   Immediately send us copies of any demands, notices, summonses or legal papers
                 received in connection with the claim or "suit";
           (2)   Authorize us to obtain records and other information;

           (3)   Cooperate with us in the investigation or settlement of the claim or defense against the
                 suit"; and
                 11




           (4)   Assist us, upon our request, in the enforcement of any right against any person or
                 organization which may be liable to the insured because of injury or damage to which
                 this insurance may also apply.



00 CGL0098 00 09 06      Includes copyrighted material of Insurance Services Office, Inc.     Page 16 of 24
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 281 of 350



     d.    No insured will, except at that insured's own cost, voluntarily make a payment, assume any
           obligation, or incur any expense, other than for first aid, without our consent.

3.   Legal Action Against Us

     No person or organization has a right under this policy:
     a.    To join us as a party or otherwise bring us into a "suit" asking for damages from an insured; or

     b.    To sue us on this policy unless all of its terms have been fully complied with.

     A person or organization may sue us to recover on an agreed settlement or on a final judgment
     against an insured; but we will not be liable for damages that are not payable under the terms of this
     policy or that are in excess of the applicable limit of insurance. An agreed settlement means a
     settlement and release of liability signed by us, the insured and the claimant or the claimant's legal
     representative.

4.   Other Insurance

     This insurance is excess over any other valid and collectible insurance that applies to any claim or
     "suit' to which this insurance applies, whether such other insurance is written on a primaiy, excess,
     contingent or on any other basis (except if that other insurance is specifically written to apply excess
     of this insurance), and this insurance will not contribute with any other such insurance. However,
     this condition does not apply to Commercial General Liability insurance policies issued to you by us
     as described in subparagraph c. of the Insuring Agreement (Part 1 of SECTION I -
     COVERAGES).

5.   Premium Audit

     a.    We will compute all premiums for this policy in accordance with our rules and rates.

     b,    The premium shown in this policy as the Deposit Premium is an advance premium only. At the
           close of each audit period we will compute the earned premium for that period and send notice
           to the first Named Insured. The due date for audit and retrospective premiums is the date
           shown as the due date on the bill. If the sum of the Deposit and any audit premiums paid for
           the "policy period" is greater than the earned premium, we will return the excess to the first
           Named Insured. However, such return is subject to the Minimum Retained Audit Premium
           shown in Item 4. of the Declarations.

     c.    The first Named Insured must keep records of the information we need for premium
           computation, and send us copies at such times as we may request.

6.   Representations

     By accepting this policy, you agree:

     a.    The statements in the Declarations are accurate and complete;

     b.    Those statements are based upon representations you made to us; and

     c.    We have issued this policy in reliance upon your representations.

7.   Separation Of Insureds

     Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this
     policy to the first Named Insured, this insurance applies:
     a.    As if each Named Insured were the only Named Insured; and

     b.    Separately to each insured against whom claim is made or "suit" is brought.

8.   Transfer Of Rights Of Recovery Against Others To Us


00 CGL0098 00 09 06      Includes copyrighted material of Insurance Services Office, Inc.     Page 17 of 24
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 282 of 350



      If the insured has rights to recover all or part of any payment we have made under this policy, those
      rights are transferred to us. The insured must do nothing after loss to impair our rights. At our
      request, the insured will bring "suit" or transfer those rights to us and help us enforce them.

9.    Cancellation

      a.    The first Named Insured shown in the Declarations may cancel this policy by mailing or
            delivering to us advance written notice of cancellation.

      b.    We may cancel this policy by mailing or delivering to the first Named Insured written notice of
            cancellation at least:

            (1)    10 days before the effective date of cancellation if we cancel for non-payment of
                   premium; or

            (2)    30 days before the effective date of cancellation if we cancel for any other reason.
      c.    We will mail or deliver our notice to the first Named lnsured's last mailing address known to
            us.

      d.    Notice of cancellation will state the effective date of cancellation. The "policy period" will end
            on that date.

      e.    If this policy is cancelled, we will send the first Named Insured any premium refund due. If we
            cancel, the refund will be pro rata. If the first Named Insured cancels, the refund may be less
            than pro rata, and any refund will be subject to the Minimum Retained Premium shown in the
            Declarations. The cancellation will be effective even if we have not made or offered a refund.

      f.    If this policy is cancelled and the Policy Premium is adjustable, the Minimum Retained Audit
            Premium shown in Item 4 of the Declarations will be pro-rated commensurate with the
            resulting coverage period, and that pro-rated amount will be the new Minimum Retained Audit
            Premium. Notwithstanding the premium calculation determined by a premium audit, or by
            premium additions or returns during the "policy period", the amount of the Deposit Premium
            that we retain shall be no less than the pro-rated Minimum Retained Audit Premium. In the
            event that the first Named Insured cancels the policy, the amount that we retain shall be no
            less than the pro-rated Minimum Retained Audit Premium, or the Minimum Retained Premium
            shown in Item 4 of the Declarations, whichever is greater.

      g.    If the policy is subject to audit, a premium audit will be conducted to determine the amount of
            return premium due (subject to the minimum premiums described above). If the policy is
            cancelled by the first Named Insured, and the insured does not allow us to conduct the
            premium audit or fails to cooperate with us in its completion, then no premium will be returned.

      h.    If notice is mailed, proof of mailing will be sufficient proof of notice.

10.   Changes

      This policy contains all agreements between you and us concerning the insurance afforded. This
      policy's terms can be amended or waived only by endorsement issued by us and made a part of this
      policy.

11.   Inspection

      We shall be permitted, but not obligated, to inspect, sample and monitor on a continuing basis the
      insured's property or operations at any time. Neither our right to make inspections, sample and
      monitor nor the actual undertaking thereof nor any report thereon shall constitute an undertaking, on
      behalf of the insured or others, to determine or warrant that property or operations are safe or
      healthful or conform to acceptable engineering practice or are in compliance with any law, rule or
      regulation.

12.   Named Insureds


00 CGL0098 00 09 06        Includes copyrighted material of Insurance Services Office, Inc.    Page 18 of 24
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 283 of 350



      a.    The first Named Insured shown in the Declarations is authorized to act on behalf of all persons
            or organizations insured under this policy with respect to all matters pertaining to the
            insurance afforded by the policy.

      b.    Each Named Insured is jointly and severally liable for:

            (1)   All premiums due under this policy;

            (2)   All obligations that arise due to any deductibles applicable under this policy; and

            (3)   Any other financial obligations of the Named Insured to us arising out of any agreements
                  contained in this policy.

13.   Transfer of Your Rights and Duties under this policy

      Your rights and duties under this policy may not be transferred without our written consent, except
      in the case of death to an individual Named Insured. If you die, your rights and duties will be
      transferred to your legal representative but only within the scope of duties as your legal
      representative. Until your legal representative is appointed, anyone having proper temporary
      custody of your property will have your rights and duties but only with respect to that property.

SECTION V - DEFINITIONS

1.    "Advertisement" means a notice that is broadcast, published or distributed to market segments or to
      the general public, about your goods, products or services for the purpose of attracting customers or
      supporters. For the purposes of this definition:

      a.    Notices that are published include material placed on the Internet or on similar electronic
            means of communication; and

      b.    Regarding web-sites, only that part of a web-site that is about your goods, products or
            services for the purposes of attracting customers or supporters is considered an
            "advertisement".

2.    "Auto" means:

      a.    A land motor vehicle, trailer or semitrailer designed for travel on public roads, including any
            attached machinery or equipment;

      b.    Any other land vehicle that is subject to a compulsory or financial responsibility law or other
            motor vehicle insurance law in the state where it is licensed or principally garaged.

      However, "auto" does not include "mobile equipment".

3.    "Bodily injury" means bodily injury, sickness or disease sustained by a person, including death
      resulting from any of these at any time.

4.    "Coverage territory" means:

      a.    The United States of America (including its territories and possessions), Puerto Rico and
            Canada;

      b.    International waters or airspace, but only if the injury or damage occurs in the course of travel
            or transportation between any places included in Paragraph a. above; or

      c.    All other parts of the world if the injury or damage arises out of:

            (1)   Goods or products made or sold by you in the territory described in Paragraph a. above;

            (2)   The activities of a person whose home is in the territory described in Paragraph a.
                  above, but is away for a short time on your business; or



00 CGL0098 00 09 06        Includes copyrighted material of Insurance Services Office, Inc.    Page 19 of 24
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 284 of 350



             (3)   "Personal and advertising injury" offenses that take place through the Internet or similar
                   electronic means of communication

             provided the insured's responsibility to pay damages is determined in a "suit" on the merits, in
             the territory described in Paragraph a. above or in a settlement we agree to.

5.    "Electronic data" means information, facts or programs stored as or on, created or used on, or
      transmitted to or from computer software, including systems and applications software, hard or
      floppy disks, CD-ROMS, tapes, drives, cells, data processing devices or any other media which are
      used with electronically controlled equipment.

6.    "Employee" includes a "leased worker". "Employee" does not include a "temporary worker".

7.    "Executive officer" means a person holding any of the officer positions created by your charter,
      constitution, by-laws or any other similar governing document.

8.    "Hostile fire" means one which becomes uncontrollable or breaks out from where it was intended to
      be.

9.    "Impaired property" means tangible property, other than "your product" or "your work", that cannot
      be used or is less useful because:

      a.    It incorporates "your product" or "your work" that is known or thought to be defective, deficient,
            inadequate or dangerous; or

      b.    You have failed to fulfill the terms of a contract or agreement;

      if such property can be restored to use by:

      a.    The repair, replacement, adjustment or removal of "your product" or "your work"; or

      b.    Your fulfilling the terms of the contract or agreement.

10,   "Insured contract" means:

      a.    A written contract for a lease of premises. However, that portion of the written contract for a
            lease of premises that indemnifies any person or organization for damage by fire to premises
            while rented to you or temporarily occupied by you with permission of the owner is not an
            "insured contract";

      b.    A written sidetrack agreement;

      c.    Any easement or license agreement, except in connection with construction or demolition
            operations on or within 50 feet of a railroad;

      d.    An obligation, as required by ordinance, to indemnify a municipality, except in connection with
            work for a municipality;

      e.    A written elevator maintenance agreement;

      f.    That part of any other written contract or written agreement pertaining to your business
            (including an indemnification of a municipality in connection with work performed for a
            municipality) under which you assume the tort liability of another party to pay for "bodily injury"
            or "property damage" to a third person or organization. Tort liability means a liability that would
            be imposed by law in the absence of any written contract or written agreement.

            Paragraph f. does not include that part of any written contract or written agreement:

            (1)    That indemnifies a railroad for "bodily injury" or "property damage" arising out of
                   construction or demolition operations within 50 feet of any railroad property and affecting
                   any railroad bridge or trestle, tracks, road-beds, tunnel, underpass or crossing;



00 CGL0098 00 09 06        Includes copyrighted material of Insurance Services Office, Inc.     Page 20 of 24
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 285 of 350



             (2)   That indemnifies an architect, engineer or surveyor for injury or damage arising out of:

                   (a)   Preparing, approving, or failing to prepare or approve, maps, shop drawings,
                         opinions, reports, surveys, field orders, change orders or drawings and
                         specifications; or

                   (b)   Giving directions or instructions, or failing to give them, if that is the primary cause
                         of the injury or damage; or
            (3)    Under which the insured, if an architect, engineer or surveyor, assumes liability for an
                   injury or damage arising out of the insured's rendering or failure to render professional
                   services, including those listed in Paragraph (2) above or supervisory, inspection,
                   architectural or engineering activities.

11.   "Leased worker" means a person leased to you by a labor leasing firm under an agreement
      between you and the labor leasing firm, to perform duties related to the conduct of your business.
      "Leased worker" does not include a "temporary worker".

12.   "Loading or unloading" means the handling of property:

      a.    After ii is moved from the place where ii is accepted for movement into or onto an aircraft,
            watercraft or "auto";

      b.    While it is in or on an aircraft, watercraft or "auto"; or

      c.    While it is being moved from an aircraft, watercraft or "auto" to the place where it is finally
            delivered;

      but "loading or unloading" does not include the movement of property by means of a mechanical
      device, other than a hand truck, that is not attached to the aircraft, watercraft or "auto".

13.   "Mobile equipment" means any of the following types of land vehicles, including any attached
      machinery or equipment:

      a.    Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public
            roads;

      b.    Vehicles maintained for use solely on or next to premises you own or rent;

      c.    Vehicles that travel on crawler treads;

      d.    Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently
            mounted:

            (1)    Power cranes, shovels, loaders, diggers or drills; or

            (2)    Road construction or resurfacing equipment such as graders, scrapers or rollers;

      e.    Vehicles not described in Paragraphs a., b., c. or d. above that are not self-propelled and are
            maintained primarily to provide mobility to permanently attached equipment of the following
            types:
            (1)    Air compressors, pumps and generators, including spraying, welding, building cleaning,
                   geophysical exploration, lighting and well servicing equipment; or

            (2)    Cherry pickers and similar devices used to raise or lower workers;

      f.    Vehicles not described in Paragraphs a., b., c. or d .. above maintained primarily for purposes
            other than the transportation of persons or cargo.

            However, self-propelled vehicles with the following types of permanently attached equipment
            are not "mobile equipment" but will be considered "autos":


00 CGL0098 00 09 06        Includes copyrighted material of Insurance Services Office, Inc.       Page 21 of 24
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 286 of 350



            (1)   Equipment designed primarily for:

                  (a)   Snow removal;

                  (b)   Road maintenance, but not construction or resurfacing; or

                  (c)   Street cleaning;

            (2)   Cherry pickers and similar devices mounted on automobile or truck chassis and used to
                  raise or lower workers; and

            (3)   Air compressors, pumps and generators, including spraying, welding, building cleaning,
                  geophysical exploration, lighting and well servicing equipment.

      However, "mobile equipment" does not include land vehicles that are subject to a compulsory or
      financial responsibility law or other motor vehicle insurance law in the state where it is licensed or
      principally garaged. Land vehicles subject to a compulsory or financial responsibility law or other
      motor vehicle insurance law are considered "autos".

14.   "Occurrence" means an accident, including continuous or repeated exposure to substantially the
      same general harmful conditions.

15,   "Personal and advertising injury" means injury, including consequential "bodily injury", arising out of
      one or more of the following enumerated offenses (referred to throughout this policy as offense):

      a.    False arrest, detention or imprisonment;

      b.    Malicious prosecution;

      c.    The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of
            a room, dwelling or premises that a person occupies, committed by or on behalf of its owner,
            landlord or lessor;

      d.    Oral or written publication, in any manner, of material that slanders or libels a person or
            organization or disparages a person's or organization's goods, products or services;

      e.    Oral or written publication of material, in any manner, that violates a person's right of privacy;

      f.    The use of another's advertising idea in your "advertisement"; or

      g.    Infringing upon another's copyright or slogan in your "advertisement".

      All "personal and advertising injury" arising out of the same or similar material, regardless of the
      mode in which such material is communicated, including but not limited to publication by means of
      Internet, extra-net, email or website, will be considered as arising solely out of one offense.

16.   "Policy period" means the period of time from the Effective Date shown in the Declarations to the
      earlier of the Expiration Date shown in the Declarations or if cancelled, the effective date of
      cancellation.

17.   "Pollutants" mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,
      vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes, without limitation, materials
      to be recycled, reconditioned or reclaimed.

18,   "Products-completed operations hazard":

      a.    Means all "bodily injury" and "property damage" occurring away from premises you own or
            rent and arising out of "your product" or "your work" except:

            (1)   Products that are still in your physical possession; or




00 CGL0098 00 09 06       Includes copyrighted material of Insurance Services Office, Inc.       Page 22 of 24
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 287 of 350



            (2)   Work that has not yet been completed or abandoned. However, "your work" will be
                  deemed completed at the earliest of the following times:

                  (a)   When all of the work called for in your contract has been completed.

                  (b)   When all of the work to be done at the job site has been completed if your contract
                        calls for work at more than one job site.

                  (c)   When that part of the work done at a job site has been put to its intended use by
                        any person or organization other than another contractor or subcontractor working
                        on the same project.

            Work that may need service, maintenance, correction, repair or replacement, but which is
            otherwise complete, will be treated as completed.

      b.    Does not include "bodily injury" or "property damage" arising out of:

            (1)   The transportation of property, unless the injury or damage arises out of a condition in or
                  on a vehicle not owned or operated by you, and that condition was created by the
                  "loading or unloading" of that vehicle by any insured;

            (2)   The existence of tools, uninstalled equipment or abandoned or unused materials; or

            (3)   Products or operations for which the classification, listed in the Declarations or in a policy
                  schedule, states that products-completed operations are subject to the General
                  Aggregate Limit.

19.   "Property damage" means:

      a.    Physical injury to tangible property, including all resulting loss of use of that property. All such
            loss of use shall be deemed to occur at the time of the physical injury that caused it; or

      b.    Loss of use of tangible property that is not physically injured. All such loss of use shall be
            deemed to occur at the time of the "occurrence" that caused it.

      For the purposes of this insurance, "electronic data" is not tangible property.

20.   "Suit" means a civil proceeding in which damages because of "bodily injury", "property damage" or
      "personal and advertising injury" to which this insurance applies are alleged. "Suit" includes:

      a.    An arbitration proceeding in which such damages are claimed and to which the insured must
            submit or does submit with our consent; or

      b.    Any other alternative dispute resolution proceeding in which such damages are claimed and to
            which the insured submits with our consent.

21.   "Temporary worker" means a person who is furnished to you to substitute for a penmanent
      "employee" on leave or to meet seasonal or short-tenm workload conditions.

22.   "Volunteer worke~· means a person who is not your "employee", and who donates his or her work
      and acts at the direction of and within the scope of duties determined by you, and is not paid a fee,
      salary or other compensation by you or anyone else for their work perfonmed for you.

23.   "Your product":

      a.    Means:

            (1)   Any goods or products, other than real property, manufactured, sold, handled,
                  distributed or disposed of by:

                  (a)   You;



00 CGL0098 00 09 06        Includes copyrighted material of Insurance Services Office, Inc.      Page 23 of 24
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 288 of 350



                   (b)   Others trading under your name; or

                   (c)   A person or organization whose business or assets you have acquired; and

             (2)   Containers (other than vehicles), materials, parts or equipment furnished in connection
                   with such goods or products.

      b.     Includes

             (1)   Warranties or representations made at any time with respect to the fitness, quality,
                   durability, performance or use of "your product"; and

             (2)   The providing of or failure to provide warnings or instructions.

      c.     Does not include vending machines or other property rented to or located for the use of others
             but not sold.

24.   "Your work":

      a.     Means:

             (1)   Work or operations performed by you or on your behalf; and

            (2)    Materials, parts or equipment furnished in connection with such work or operations.

      b.     Includes:

            (1)    Warranties or representations made at any lime with respect to the fitness, quality,
                   durability, performance or use of "your work", and

            (2)    The providing of or failure to provide warnings or instructions.




00 CGL0098 00 09 06        Includes copyrighted material of Insurance Services Office, Inc.   Page 24 of 24
       Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 289 of 350




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                             Insurance Group®

                                     Signature Page


IN WITNESS WHEREOF , Arch Specialty Insurance Company has caused this policy to
be executed and attested.




Mark D. Lyons                                         Martin J. Nilsen

President                                             Secretary




06 ML0002 00 12 06                                                       Page 1 of 1
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 290 of 350



  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                          SERVICE OF SUIT


It is agreed that in the event of the failure of this Company to pay any amount claimed to be due
hereunder, this Company, at the request of the Insured, will submit to the jurisdiction of any Court of
Competent Jurisdiction within the United States and will comply with all requirements necessary to give
such Court jurisdiction and all matters arising hereunder shall be determined in accordance with the law
and practice of such Court.

It is further agreed that service of process in such suit may be made upon the highest one in authority
bearing the title "Commissioner", "Director" or "Superintendent" of Insurance of the state or
commonwealth wherein the property covered by this policy is located, and that in any suit instituted against
it upon this contract this Company will abide by the final decision of such Court or any Appellate Court in
the event of an appeal.         The one in authority bearing the title "Commissioner", "Director' or
"Superintendent" of Insurance of the state or commonwealth wherein the property covered by this policy is
located is hereby authorized and directed to accept service of process on behalf of this Company in any
such suit and/or upon the lnsured's request to give a written undertaking to the Insured that they will enter
a general appearance upon this Company's behalf in the event such a suit shall be instituted.



All other terms and conditions of this policy remain unchanged.




This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


02 ML0003 00 08 02
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 291 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     BLANKET ADDITIONAL INSURED ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

SECTION II - WHO IS AN INSURED is amended to include as an additional insured those persons or
organizations who are required under a written contract with you to be named as an additional insured,
but only with respect to liability for "bodily injury", "property damage", or "personal and advertising injury"
caused, in whole or in part, by your acts or omissions or the acts or omissions of your subcontractors:

    A. In the performance of your ongoing operations or "your work"; or

    B. In connection with your premises owned by or rented to you.

As used in this endorsement, the words "you" and "your" refer to the Named Insured.


All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 1
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0006 00 09 06                                                                           Page 1 of 1
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 292 of 350



  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         OTHER INSURANCE - BROAD FORM, CGL POLICY ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

Under SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS, the following paragraph is
added to Condition 4. Other Insurance:

    Where the Named Insured is required by a written contract to provide insurance that is primary and
    non-contributory, and the written contract so requiring is executed by the Named Insured before any
    "occurrence" or offense, this insurance will be primary, but only if and to the extent required by that
    written contract.


All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 2
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0130 00 09 06                                                                              Page 1 of 1
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 293 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        WAIVER OF SUBROGATION ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

                                                SCHEDULE

 Name of Person or Organization:         Where required by written contract.




Under SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS, Condition 8. Transfer Of
Rights Of Recovery Against Others To Us is amended by the addition of the following provision:

We waive any right of recovery we may have against the person or organization shown in the SCHEDULE
above because of payments we make for injury or damage arising out of your operations or "your work"
done under a written contract with that person or organization.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 3
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0121 00 09 06       Includes copyrighted material of Insurance Services Office, Inc.      Page 1 of 1
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 294 of 350



  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               NAMED INSURED ENDORSEMENT

Item 1. of the Declarations is amended to include the following entities as Named lnsured(s):


EBENAL GENERAL CONTRACTORS, INC.
EBENAL GENERAL SPECIAL PROJECTS, INC.




All other terms and conditions of this policy remain unchanged.




Endorsement Number:4
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 02

Named Insured:

Endorsement Effective Date:


00 CGL0072 00 09 06                                                                             Page 1 of 1
            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 295 of 350



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ENGINEERS, ARCHITECTS OR SURVEYORS
                  PROFESSIONAL LIABILITY EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

Under SECTION I COVERAGES, 2. Exclusions is amended to include the following additional exclusion:

This insurance does not apply to any claim, "suit", demand or loss that alleges "bodily injury", "property
damage" or "personal and advertising injury" that in any way, in whole or in part, arises out of, relates to or
results from the rendering of or failure to render any professional services by you or any engineer, archi-
tect or surveyor who is either employed by you or performing work on your behalf in such capacity.

Professional services include:

1.    The preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
      surveys, field orders, change orders or drawings and specifications; and

2.    Supervisory, inspection, architectural or engineering activities.


All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 5
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0039 00 09 06         Includes copyrighted material of Insurance Services Office, Inc.      Page 1 of 1
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 296 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            WRAP-UP EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERALLIABILITY SELF-INSURED RETENTION COVERAGE FORM

Under SECTION I - COVERAGES, 2. Exclusions is amended to include the following additional
exclusion:

This insurance does not apply to any claim, "suit", demand or loss that alleges "bodily injury", "property
damage", or "personal and advertising injury" that in any way, in whole or in part, arises out of, relates to
or results from any wrap-up, owner controlled insurance program, contractor controlled insurance
program, or similar rating or consolidated program.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number:6
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 02

Named Insured:

Endorsement Effective Date:


00 CGL0041 00 09 06                                                                               Page 1 of 1
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 297 of 350



   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         CROSS SUITS EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

Under SECTION I - COVERAGES, 2. Exclusions is amended to included the following additional
exclusion:

This insurance does not apply to any claim, "suit" or demand made or asserted by or on behalf of one
Named Insured against another Named Insured.


All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 7
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0007 00 09 06                                                                             Page 1 of 1
               Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 298 of 350




    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 EMPLOYEE BENEFITS LIABILITY COVERAGE ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                    Schedule




                                                                                                 -
Coverage                Limit Of Insurance                   Deductible                          Premium

Employee Benefits $1 ,000,000                  Each          $10,000                 Each
Programs                                       Employee                              Employee

                       $1,000,000              Aggregate

Retroactive Date:       11/10/2003
if no entry appears above with respect to the Aggregate, then the Aggregate limit will be $1,000,000.

If no entry appears above with respect to the Retroactive Date, then the Retroactive Date will be the
"policy period" inception date.

A    The following is added to SECTION 1- COVERAGES:

     COVERAGE - EMPLOYEE BENEFITS LIABILITY

     1.   Insuring Agreement

          a. We will pay those sums that the insured becomes legally obligated to pay as damages
             because of any negligent act, error or omission by the insured, or of any person for whom the
             insured is legally liable, in the "administration" of the insureds "employee benefit program", to
             which this insurance applies.

                But:

                (1) The amount we will pay for damages is limited as described in Paragraph C. of this
                    endorsement; and

                (2) Our right and duty to defend ends when we have used up the applicable limit of
                    insurance in the payment of judgments or settlements.

                No other obligation or liability to pay sums or perform acts or services is covered unless
                explicitly provided for under SUPPLEMENTARY PAYMENTS.

          b.    This insurance applies to damages only if:

                (1) The negligent act, error or omission did not take place before the Retroactive date, if any,
                    shown in the Schedule, nor after the end of the policy period; and

                (2) A ''claim" for damages, because of an act, error or omission, is first made against any
                    insured, in accordance with Paragraph c . below, during the policy period or an Extended
                    Reporting Period we provide under Paragraph F. of this endorsement

          c.    A "claim" seeking damages will be deemed to have been made when notice of such "claim" is
                received and recorded by any insured or by us, whichever comes first.



00 CGL0038 00 09 06          Includes copyrig hted material of Insurance Services Office, Inc.      Page 1 of 8
            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 299 of 350



             A "claim" received and recorded by the insured within sixty (60) days after the end of the
             policy period will be considered to have been received within the policy period, if no
             subsequent policy is available to cover the claim.

       d.    All "claims" for damages made by an "employee" because of any act, error or omission, or a
             series of related acts, errors or omissions, including damages claimed by such "employee's"
             dependents and beneficiaries, will be deemed to have been made at the time the first of
             those "claims" is made against any insured.

   2. Exclusions

   This insurance does not apply to:

       a.    Dishonest, Fraudulent, Criminal Or Malicious Act

             Damages arising out of any intentional, dishonest, fraudulent, criminal or malicious act, error
             or omission, committed by any insured, including the willful or reckless violation of any
             statute.

       b.    Bodily Injury, Property Damage, Or Personal And Advertising Injury

             "Bodily injury", "property damage" or "personal and advertising injury".

       c.    Failure To Perform A Contract

             Damages arising out of failure of performance of contract by any insurer.

      d.     Insufficiency Of Funds

             Damages arising out of an insufficiency of funds to meet any obligations under any plan
             included in the "employee benefit program".

      e.     Inadequacy Of Performance Of Investment/Advice Given With Respect To Participation

             Any "claim" based upon:

             (1) Failure of any investment to perform;

             (2) Errors in providing information on past performance of investment vehicles; or

             (3) Advice given to any person with respect to that person's decision to participate or not to
                 participate in any plan included in the "employee benefit program".

      f.     Workers' Compensation And Similar Laws

            Any "claim" arising out of your failure to comply with any workers' compensation,
            unemployment compensation insurance, social security or disability benefits laws or any
            similar laws.

      g.     ERISA

            Damages for which any insured is liable because of liability imposed on a fiduciary by the
            Employee Retirement Income Security Act of 1974, as now or hereafter amended, or by any
            similar federal, state or local laws.




00 CGL0038 00 09 06       Includes copyrighted material of Insurance Services Office, Inc.        Page 2 of 8
              Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 300 of 350



         h.    Available Benefits

               Any "claim" for benefits to the extent that such benefits are available, with reasonable effort
               and cooperation of the insured, from the applicable funds accrued or other collectible
               insurance.

         i.    Taxes, Fines Or Penalties

               Taxes, fines or penalties, including those imposed under the Internal Revenue Code or any
               similar state or local law.

         j.    Employment-Related Practices

               Damages arising out of employment-related practices to:

               (1) A person arising out of any:

                  (a) Refusal to employ;

                  (b) Termination of a persons employment; or

                  (c) Employment-related practices, policies, acts or omissions, including but not limited to
                      coercion, demotion, evaluation, reassignment, discipline, defamation, harassment,
                      humiliation or discrimination directed at that person; or

                  (d) Action under Title VII of the 1964 Civil Rights Act and/or any amendments thereto; or

               (2) any other person as a consequence of any injury or damage to that person at whom any
                   of the employment-related practices described in paragraphs (a), (b), (c), or (d) above is
                   directed.

               This exclusion applies:

                  (1) Whether or not the insured may be held liable as an employer or in any other
                      capacity; and

                  (2) To any obligation to share damages with or repay someone else who must pay
                      damages because of any such injury.

B.   For the purposes of the coverage provided by this endorsement, Paragraphs 2. and 3. of SECTION II
     - WHO IS AN INSURED are deleted in their entirety and replaced by the following:

     2. Each of the following is also an insured:

         a.    Each of your "employees" who is or was authorized to administer your "employee benefit
               program".

         b.    Any persons, organizations or "employees" having proper temporary authorization to
               administer your "employee benefit program" if you die, but only until your legal representative
               is appointed.

         c.    Your legal representative if you die, but only with respect to duties as such. That
               representative will have all your rights and duties under this Endorsement.

     3. Any organization you newly acquire or form, other than a partnership, joint venture or limited
        liability company, and over which you maintain ownership or majority interest, will qualify as a
        Named Insured if no other similar insurance applies to that organization. However:




00 CGL0038 00 09 06         Includes copyrighted material of Insurance Services Office, Inc.      Page 3 of 8
             Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 301 of 350



        a.    Coverage under this provision is afforded only until ninety (90) days after you acquire or form
              the organization or the end of the policy period, whichever is earlier.

        b.    Coverage under this provision does not apply to any act, error or omission that was
              committed before you acquired or formed the organization.

C. For the purposes of the coverage provided by this endorsement, SECTION Ill - LIMITS OF
   INSURANCE is deleted in its entirety and replaced by the following:

   1.   Limits Of Insurance

        a.    The Limits of Insurance shown in the Schedule and the rules below fix the most we will pay
              regardless of the number of:

              ( 1) Insureds;

              (2) "Claims" made or "suits" brought;

              (3) Persons or organizations making "claims" or bringing "suits";

              (4) Acts, errors or omissions; or

              (5) Benefits included in your "employee benefit program".

        b.    The Aggregate Limit is the most we will pay for all damages to which this insurance applies.

        c.    Subject to the Aggregate Limit, the Each Employee Limit is the most we will pay for all
              damages sustained by any one "employee", including damages sustained by such
              "employee's" dependents and beneficiaries, as a result of:

              (1) A negligent act, error or omission; or

              (2) A series of related acts, errors or omissions negligently committed in the "administration"
                  of your "employee benefit program".

                  However, the amount paid under this endorsement shall not exceed, and will be subject
                  to, the limits and restrictions that apply to the payment of benefits in any plan included in
                  the "employee benefit program".

        The limits of the coverage provided by this endorsement apply to the policy period set forth in the
        Declarations or any endorsements thereto.

   2.   Deductible

        a.    Our obligation to pay damages on behalf of the insured applies only to the amount of
              damages in excess of the deductible amount stated in the Schedule as applicable to Each
              Employee. The limits of insurance shall not be reduced by the amount of this deductible.

        b.    The deductible amount stated in the Schedule applies to all damages sustained by any one
              "employee", including such "employee's" dependents and beneficiaries, because of all acts,
              errors or omissions to which this insurance applies.

        c.    The terms of this insurance, including those with respect to:

              (1) Our right and duty to defend any "suits" seeking those damages; and

              (2) Your duties, and the duties of any other involved insured, in the event of an act, error or
                  omission, or "claim";



00 CGL0038 00 09 06            Includes copyrighted material of Insurance Services Office, Inc.    Page 4 of 8
             Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 302 of 350



              apply irrespective of the application of the deductible amount.

        d.    We may pay any part or all of the deductible amount to effect settlement of any "claim" or
              "suit" and, upon notification of the action taken, you shall promptly reimburse us for such part
              of the deductible amount as we have paid.

D. For the purposes of the coverage provided by this endorsement, Conditions 2. and 4. of SECTION IV-
   COMMERCIAL GENERAL LIABILITY CONDITIONS are deleted in their entirety and replaced by the
   following:

   2.   Duties In The Event Of An Act, Error Or Omission, Or "Claim" Or "Suit"

        a.    You must see to it that we are notified as soon as practicable of an act, error or omission
              which may result in a "claim". To the extent possible, notice should include:

              (1) What the act, error or omission was and when it occurred; and

              (2) The names and addresses of anyone who may suffer damages as a result of the act,
                  error or omission.

        b.    If a "claim" is made or "suit' is brought against any insured, you must:

              (1) Immediately record the specifics of the "claim" or "suit" and the date received; and

              (2) Notify us as soon as practicable.

              You must see to it that we receive written notice of the "claim" or "suit" as soon as
              practicable.

        c.    You and any other involved insured must:

              (1) Immediately send us copies of any demands, notices, summonses or legal papers
                  received in connection with the "claim" or "suit";

              (2) Authorize us to obtain records and other information;

              (3) Cooperate with us in the investigation or settlement of the "claim" or defense against the
                  "suit"; and

              (4) Assist us, upon our request, in the enforcement of any right against any person or
                  organization which may be liable to the insured because of an act, error or omission to
                  which this insurance may also apply.

        d.    No insured will, except at that insured's own cost, voluntarily make a payment, assume any
              obligation or incur any expense without our consent.

   4.   Other Insurance

        If other valid and collectible insurance is available to the insured for a loss we cover under this
        endorsement, our obligations are limited as follows:

        a.    Primary Insurance

                 This insurance is primary except when b. below applies. If this insurance is primary, our
                 obligations are not affected unless any of the other insurance is also primary. Then, we
                 will share with all that other insurance by the method described in c. below.

        b.    Excess Insurance



00 CGL0038 00 09 06         Includes copyrighted material of Insurance Services Office, Inc.      Page 5 of 8
               Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 303 of 350



                (1) This insurance is excess over any of the other insurance, whether primary, excess,
                    contingent or on any other basis, that is effective prior to the beginning of the policy
                    period and that applies to an act, error or omission on other than a claims-made basis, if
                    the other insurance has a policy period which continues after the Retroactive Date shown
                    in the Schedule of this insurance.

                (2) When this insurance is excess, we will have no duty to defend the insured against any
                    "suit" if any other insurer has a duty to defend the insured against that "suit". If no other
                    insurer defends, we will undertake to do so, but we will be entitled to the insured's rights
                    against all those other insurers.

                (3) When this insurance is excess over other insurance, we will pay only our share of the
                    amount of the loss, if any, that exceeds the sum of the total amount that all such other
                    insurance would pay for the loss in absence of this insurance; and the total of all
                    deductible and self-insured amounts under all that other insurance.

                (4) We will share the remaining loss, if any, with any other insurance that is not described in
                    this Excess Insurance provision and was not bought specifically to apply in excess of the
                    Limits of Insurance shown in the Schedule of this endorsement.

          c.    Method Of Sharing

                Except with respect to the insurance described in item b.(1) above, if all of the other
                insurance permits contribution by equal shares, we will follow this method also. Under this
                approach each insurer contributes equal amounts until it has paid its applicable limit of
                insurance or none of the loss remains, whichever comes first.

                If any of the other insurance does not permit contribution by equal shares, we will contribute
                by limits. Under this method, each insurer's share is based on the ratio of its applicable limits
                of insurance of all insurers.

E.   For the purposes of the coverage provided by this endorsement, the following Extended Reporting
     Period provisions are added, or, if this endorsement is attached to a Claims-Made Coverage Form,
     replaces any similar Section in that Coverage Form:

     EXTENDED REPORTING PERIOD

     1.   You will have the right to purchase an Extended Reporting Period, as described below, if:

          a.    This endorsement is canceled or not renewed; or

          b.    We renew or replace this endorsement with insurance that:

                (1) Has a Retroactive Date later than the date shown in the Schedule of this endorsement;
                    or

                (2) Does not apply to an act, error or omission on a claims-made basis.

     2.   The Extended Reporting Period does not extend the policy period or change the scope of
          coverage provided. It applies only to "claims" for acts, errors or omissions that were first
          committed before the end of the policy period but not before the Retroactive Date, if any, shown
          in the Schedule. Once in effect, the Extended Reporting Period may not be canceled.

     3.   An Extended Reporting Period of five (5) years is available, but only by an endorsement and for
          an extra charge.




00 CGL0038 00 09 06           Includes copyrighted material of Insurance Services Office, Inc.       Page 6 of 8
               Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 304 of 350



          You must give us a written request for the endorsement within sixty (60) days after the end of the
          policy period. The Extended Reporting Period will not go into effect unless you pay the additional
          premium promptly when due.

          We will determine the additional premium in accordance with our rules and rates. In doing so, we
          may take into account the following:

          a.    The "employee benefit programs" insured;

          b.    Previous types and amounts of insurance;

          c.    Limits of insurance available under this endorsement for future payment of damages; and

          d.    Other related factors.

          The additional premium will not exceed 100% of the annual premium for this endorsement.

          The Extended Reporting Period endorsement applicable to this coverage shall set forth the terms,
          not inconsistent with this Section, applicable to the Extended Reporting Period, including a
          provision to the effect that the insurance afforded for "claims" first received during such period is
          excess over any other valid and collectible insurance available under policies in force after the
          Extended Reporting Period starts.

     4.   If the Extended Reporting Period is in effect, we will provide an extended reporting period
          aggregate limit of insurance described below, but only for claims first received and recorded
          during the Extended Reporting Period. The extended reporting period aggregate limit of
          insurance will be equal to the dollar amount shown in the Schedule of this endorsement under
          Limits of Insurance.

          Paragraph D.1.b. of this endorsement will be amended accordingly. The Each Employee Limit
          shown in the Schedule will then continue to apply as set forth in Paragraph D.1.c.

F.   For the purposes of the coverage provided by this endorsement only, the following definitions are
     added to the SECTION V -DEFINITIONS:

     1.   "Administration" means:

          a.    Providing information to "employees", including their dependents and beneficiaries, with
                respect to eligibility for or scope of "employee benefit programs";

          b.    Handling records in connection with the "employee benefit program"; or

          c.    Effecting, continuing or terminating any "employee's" participation in any benefit included in
                the "employee benefit program".

          However, "administration" does not include handling payroll deductions.

     2.   "Cafeteria plans" means plans authorized by applicable law to allow employees to elect to pay for
          certain benefits with pre-tax dollars.

     3.   "Claim(s)" means any demand, or "suit", made by an "employee" or an "employee's" dependents
          and beneficiaries, for damages as the result of an act, error or omission.

     4.   "Employee benefit program" means a program providing some or all of the following benefits to
          "employees", whether provided through a "cafeteria plan" or otherwise:

          a.    Group life insurance; group accident or health insurance; dental, vision and hearing plans;
                and flexible spending accounts; provided that no one other than an "employee" may



00 CGL0038 00 09 06           Includes copyrighted material of Insurance Services Office, Inc.     Page 7 of 8
              Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 305 of 350



               subscribe to such benefits and such benefits are made generally available to those
               "employees" who satisfy the plan's eligibility requirements;

         b.    Profit sharing plans, employee savings plans, employee stock ownership plans, pension
               plans and stock subscription plans, provided that no one other than an "employee" may
               subscribe to such benefits and such benefits are made generally available to all "employees"
               who are eligible under the plan for such benefits;

         c.    Unemployment insurance, social security benefits, workers' compensation and disability
               benefits;

         d.    Vacation plans, including buy and sell programs; leave of absence programs, including
               military, maternity, family, and civil leave; tuition assistance plans; transportation and health
               club subsidies; and

         e.    Any other similar benefits designated in the Schedule or added thereto by endorsement.

G. For the purposes of the coverage provided by this endorsement, Definitions 6. and 20. in SECTION V
   - DEFINITIONS are deleted in their entirety and replaced by the following:

    6.   "Employee" means a person actively employed, formerly employed, on leave of absence or
         disabled, or retired. "Employee" includes a "leased worker". "Employee" does not include a
         "temporary worker".

    20. "Suit" means a civil proceeding in which damages because of an act, error or omission to which
         this insurance applies are alleged. "Suit" includes:

         a.    An arbitration proceeding in which such damages are claimed and to which the insured must
               submit or does submit with our consent; or

         b.    Any other alternative dispute resolution proceeding in which such damages are claimed and
               to which the insured submits with our consent.


All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 8

This endorsement is effective on the inception date of this policy unless otherwise stated herein.

(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 02

Named Insured:

Endorsement Effective Date:



00 CGL0038 00 09 06         Includes copyrighted material of Insurance Services Office, Inc.        Page 8 of 8
            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 306 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     RESIDENTIAL AND RESIDENTIAL CONVERSION EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

Under SECTION I - COVERAGES, 2. Exclusions is amended to include the following additional
exclusion:

This insurance does not apply to any claim, "suit", demand or loss that alleges:

A.    "Bodily injury", "property damage", or "personal and advertising injury" that in any way arises out of,
      relates to or results from the development or construction, in whole or in part, of any:

      1)   "Non-commercial dwelling or residence"; or

      2)   Building converted at any time, in whole or in part, to a "non-commercial dwelling or residence".

B. "Property damage" included within the "products-completed operations hazard" to any:
      1)   "Non-commercial dwelling or residence"; or

      2)   Building which is converted, in whole or in part, to a "non-commercial dwelling or residence" at
           any time.

For purposes of this endorsement, "non-commercial dwellings or residences" include, but are not limited
to, homes, condominiums, cooperatives, town homes, lofts and time-share properties. However, "non-
commercial dwellings or residences" do not include:

      1) Apartment buildings wherein all of the residential units are held for rental or lease to the general
          public;

      2) Hotels or motels, except any units within or otherwise part of such hotels or motels that are
         condominiums, time-share properties or similar types of property sold to others.


All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 9
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0080 00 09 06                                                                               Page 1 of 1
            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 307 of 350




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 DESIGNATED CONSTRUCTION PROJECT(S) GENERAL AGGREGATE LIMIT AND
              POLICY AGGREGATE LIMIT ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

                                                   Schedule

Designated Construction Project(s}:
    ANY CONSTRUCTION PROJECT AT WHICH YOU PERFORM OPERATIONS.




A.    Subject to paragraph F. below, for all sums which the insured becomes legally obligated to pay as
      damages because of "bodily injury" or "property damage" to which this insurance applies and which
      can be attributed only to ongoing operations at a single desrgnated construction project shown in the
      Schedule above:

       1.   A separate Designated Construction Project General Aggregate Limit applies to each desig-
            nated construction project, and that limit is equal to the amount of the General Aggregate Limit
            shown in the Declarations.

      2.    The Designated Construction Project General Aggregate Limit is the most we will pay for the
            sum of all such damages except damages because of "bodily injury" or "property damage" in-
            cluded in the "products-completed operations hazard", regardless of the number of:

            a.   Insureds;

            b.   Claims made or "suits" brought; or

            c.   Persons or organizations making claims or bringing "suits".

       3.   Any payments made for such damages shall reduce the Designated Construction Project Gen-
            eral Aggregate Limit for that designated construction project. Such payments shall not reduce
            the General Aggregate Limit shown in the Declarations nor shall they reduce any other Desig-
            nated Construction Project General Aggregate Limit for any other designated construction pro-
            ject shown in the Schedule above.

      4.    The limits shown in the Declarations for Each Occurrence and for Damage To Premises
            Rented To You continue to apply. However, instead of being subject to the General Aggregate
            Limit shown in the Declarations, such limits will be subject to the applicable Designated Con-
            struction Project General Aggregate Limit.

B.    For all sums which the insured becomes legally obligated to pay as damages because of "bodily
      injury" or "property damage" to which this insurance applies and which cannot be attributed only to
      ongoing operations at a single designated construction project shown in the Schedule above:

      1.    Any payments made for such damages shall reduce the amount available under the General
            Aggregate Limit or the Products-Completed Operations Aggregate Limit, whichever is applica-
            ble; and




00 CGL0109 00 09 06          Includes copyrighted material of Insurance Services Office, Inc.   Page 1 of 2
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 308 of 350



     2.    Such payments shall not reduce any Designated Construction Project General Aggregate Limit.

C.   When coverage for liability arising out of the "products-completed operations hazard" is provided,
     any payments for damages because of "bodily injury" or "property damage" included in the "products-
     completed operations hazard" will reduce the Products-Completed Operations Aggregate Limit, and
     not reduce the General Aggregate Limit or the Designated Construction Project General Aggregate
     Limit.

D.   If the applicable designated construction project has been abandoned, delayed, or abandoned and
     then restarted, or if the authorized contracting parties deviate from plans, blueprints, designs, speci-
     fications or timetables, the project will still be deemed to be the same construction project.

E.   The provisions of SECTION Ill - LIMITS OF INSURANCE not otherwise modified by this endorse-
     ment shall continue to apply as stipulated.

F.   Regardless of the number of projects and any other circumstance, the amount we will pay under this
     insurance policy shall be no more than the Policy Aggregate Limit shown below:

     Policy Aggregate Limit:    $ 5,000,000

     In the event that no dollar amount is shown next to the Policy Aggregate Limit above, the Policy Ag-
     gregate Limit is $10,000,000.


All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 10
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0109 00 09 06        Includes copyrighted material of Insurance Services Office, Inc.      Page 2 of 2
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 309 of 350



  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               SUBCONTRACTOR ENDORSEMENT
                                   (DEDUCTIBLE POLICY)

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS is amended to include the following
additional conditions:

    1.   Certificates of Insurance for Commercial General Liability coverage, with limits at least equal to or
         greater than $1,000,000 each "occurrence" for "bodily injury" and "property damage" and
         $1,000,000 per offense for "personal and advertising injury", will be obtained by the Named
         Insured from all "subcontractors" prior to commencement of any work performed for any insured.

    2.   The Named Insured will obtain agreements, in writing, from all "subcontractors" pursuant to which
         the "subcontractor(s)" will be required to defend, indemnify and hold harmless the Named
         Insured, and any other insured under the policy for whom the "subcontractor'' is working, for any
         claim or "suit" for "bodily injury", "property damage", and "personal and advertising injury" arising
         out of the work performed by the "subcontractor."

    3.   The Named Insured, and any other insured under the policy for whom the "subcontractor" is
         working, will be named as additional insured on all of the "subcontractors" Commercial General
         Liability policy(s).

    4.   For items 1. through 3. above, documentation will be retained for a minimum of eight years from
         the expiration date of this policy.

If any of the above conditions are not satisfied, a deductible of $100,000 per "occurrence" or offense will
apply to any claim or "suit" under this policy seeking damages for "bodily injury", "property damage" and
"personal and advertising injury" arising out of the work performed by the "subcontractor" for the insured.
(If no deductible amount is shown above, then the deductible will be deemed to be $1,000,000 per
"occurrence" or offense). Provisions for the application of deductibles under this policy are set forth in the
DEDUCTIBLE LIABILITY ENDORSEMENT

For the purposes of this endorsement only, "subcontractor" or "subcontractors" means any person or
entity who is not an employee of an insured and does work or performs services for or on behalf of an
insured.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 11
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0125 00 09 06                                                                               Page 1 of 1
              Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 310 of 350


  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                          EXTERIOR INSULATION AND FINISH SYSTEM
                            ABSOLUTE EXCLUSION ENDORSEMENT
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

Under SECTION I - COVERAGES, 2. Exclusions is amended to include the following additional
exclusion:

This insurance does not apply to any claim, "suit", demand or loss that alleges "bodily injury", "property
damage", or "personal and advertising injury" that in any way, in whole or in part, arises out of, relates to
or results from:

    1.   The design, manufacture, construction, fabrication, preparation, installation, application,
         maintenance or repair, including remodeling, service, correction, or replacement, of an "exterior
         insulation and finish system" or any part thereof, or any substantially similar system or any part
         thereof, including the application or use of conditioners, primers, accessories, flashings, coatings,
         caulking or sealants in connection with such a system; or

    2.   Any moisture-related or dry-rot related decay, infection or infestation of a house or other building
         caused, in whole or in part, by the "exterior insulation and finish system"

For the purposes of this endorsement, an "exterior insulation and finish system" means an exterior
cladding or finish system applied to a house or other building, and consisting of:

         a) A rigid or semi-rigid sheathing or insulation board, including gypsum-based, wood-based, or
            insulation-based materials; and

         b)    The adhesive or mechanical fasteners used to attach the insulation board to the substrate;
               and

         c)    A reinforcing mesh that is embedded in a coating applied to the sheathing or insulation board;
               and

         d) A finish coat


All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 12
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:

00 CGL0237 00 09 06                                                                               Page 1 of 1
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 311 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         EARTH MOVEMENT OR SUBSIDENCE EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

Under SECTION I -COVERAGES, 2. Exclusions is amended to include the following additional
exclusion:

This insurance does not apply to any claim, "suit", demand or loss that alleges "bodily injury", "property
damage", or "personal and advertising injury" that in any way, in whole or in part, arises out of, relates to
or results from the subsidence, settling, sinking, slipping, falling away, caving in, shifting, eroding,
consolidating, compacting, flowing, rising, tilting or any other similar movement of earth or mud,
regardless of whether such movement is a naturally occurring phenomena or is man-made.


All other terms and conditions of this policy remain unchanged.




Endorsement Number: 13
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:




00 CGL0011 00 09 06                                                                               Page 1 of 1
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 312 of 350



  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     CHROMATED COPPER ARSENATE ("CCA") EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

Under SECTION I - COVERAGES, 2. Exclusions is amended to include the following additional
exclusion:

This insurance does not apply to any claim, "suit", demand or loss that alleges "bodily injury", "property
damage", or "personal and advertising injury" that in any way, in whole or in part, arises out of, relates to
or results from any product treated with, preserved with, or containing chromated copper arsenate
("CCA").


All other terms and conditions of this Policy remain unchanged.




Endorsement Number:14
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:




00 CGL0092 00 09 06                                                                         Page 1 of 1
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 313 of 350




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 RADON CONTAMINATION EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

Under SECTION I - COVERAGES, 2. Exclusions is amended to include the following additional
exclusion:

This insurance does not apply to any claim, "suit", demand or loss that alleges "bodily injury", "property
damage", or "personal and advertising injury" that in any way, in whole or in part, arises out of, relates to
or results from the presence, ingestion, inhalation or absorption of radon in any form.


All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 15
This endorsement is effective on the inception dale of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 02

Named Insured:

Endorsement Effective Date:


00 CGL0066 00 09 06                                                                             Page 1 of 1
              Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 314 of 350



  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        TOTAL POLLUTION EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

Under SECTION 1- COVERAGES, 2. Exclusions, Exclusion f. Pollution is deleted in its entirety and
replaced with the following exclusion:

f. Pollution

    1) Any "bodily injury", "property damage" or "personal and advertising injury" that in any way, in
         whole or in part, arises out of, relates to or results from the actual, alleged or threatened
         discharge, dispersal, seepage, migration, release or escape of "pollutants" at any time, from any
         site, premises or location.

    2)   Any loss, cost, or expense that in any way, in whole or in part, arises out of, relates to or results
         from any:

         a)    Request, demand, order, or statutory or regulatory requirement, or any other action
               authorized or required by law, that any insured or others investigate, test for, monitor, clean
               up, remove, dispose of, contain, treat, abate, remediate, detoxify, or neutralize, or in any way
               respond to or assess the effects of, "pollutants"; or

         b) Claim or "suit" by or on behalf on a governmental authority for damages because of
            investigating, testing for, monitoring, cleaning up, removing, containing, treating, abating,
            remediating, detoxifying or neutralizing, or in any way responding to or assessing the effects
            of, "pollutants".

All other terms and conditions of this Policy remain unchanged.




Endorsement Number:16
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 02

Named Insured:

Endorsement Effective Date:


00 CGL0023 00 09 06                                                                                Page 1 of 1
            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 315 of 350




   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    DESIGNATED WORK - EXCLUSION ENDORSEMENT

 This endorsement modifies insurance provided under the following:

 COMMERCIAL GENERAL LIABILITY COVERAGE FORM
 COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

                                                   Schedule

 Description of "your work": ANY OF "YOUR WORK" RELATED TO APARTMENTS OR APARTMENT
 BUILDINGS.




 Under SECTION 1- COVERAGES, 2. Exclusions is amended to include the following additlonal exclu-
 sion:

 This insurance does not apply to any claim, "suit", demand or loss that alleges "bodily injury" or "property
 damage" included in the "products-completed operations hazard" and that arises out of, relates to or re-
 sults from "your work" shown in the Schedule above.


 All other terms and conditions of this policy remain unchanged.




Endorsement Number: 17
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)

Policy Number: DPC 0005591 02

Named Insured:

Endorsement Effective Date:



 00 CGL0010 00 09 06        Includes copyrighted material of Insurance Services Office, Inc.     Page 1 of 1
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 316 of 350




 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

WASHINGTON STOP GAP - EMPLOYERS LIABILITY COVERAGE ENDORSEMENT
   This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                     Schedule

Limits Of Insurance
Bodily Injury By Accident:         $1,000,000                  Each Accident
Bodily Injury By Disease:          $1,000,000                  Aggregate Limit
Bodily Injury By Disease:          $1,000,000                  Each Employee


If no entry appears with respect to any of the limits shown above, then the limit will be deemed to be
$1,000,000


   A. The followlng is added to SECTION I - COVERAGES:

   COVERAGE - STOP GAP - EMPLOYERS LIABILITY

      1. Insuring Agreement

          a.   We will pay those sums that the insured becomes legally obligated by Washington Law to
               pay as damages because of "bodily injury by accident" or "bodily injury by disease" to your
               "employee" to which this insurance applies. We will have the right and duty to defend the
               insured against any "suit" seeking those damages. However, we will have no duty to
               defend the insured against any "suit" seeking damages to which this insurance does not
               apply. We may, at our discretion, investigate any accident and settle any claim or "suit" that
               may result. But:

               (1) The amount we will pay for damages is limited as described in SECTION Ill - LIMITS
                   OF INSURANCE; and

               (2)    Our right and duty to defend end when we have used up the applicable limit of
                      insurance in the payment of judgments or settlements under this coverage.

               No other obligation or liability to pay sums or perform acts or services is covered unless
               explicitly provided for under SUPPLEMENTARY PAYMENTS.

          b.   This insurance applies to "bodily injury by accident" or "bodily injury by disease" only if:

               (1) The:

                     (a) "Bodily injury by accident" or "bodily injury by disease" takes place in the "coverage
                     territory";

                     (b) "Bodily injury by accident" or "bodily injury by disease" arises out of and in the course
                     of the injured "employee's" employment by you; and

                     (c) "Employee", at the time of the injury, was covered under a worker's compensation
                     policy and subject to a "workers compensation law" of Washington; and




00 CGL0119 48 09 06                                                                                   Page 1 of6
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 317 of 350



             (2) The:

                 (a)     "Bodily injury by accident" is caused by an accident that occurs during the policy
                         period; or

                 (b)     "Bodily injury by disease" is caused by or aggravated by conditions of employment
                         by you, and the injured "employee's" last day of last exposure to the conditions
                         causing or aggravating such "bodily injury by disease" occurs during the policy
                         period.

         c. The damages we will pay, where recovery is permitted by law, include damages:

           (1)    For:

                  (a) Which you are liable to a third party by reason of a claim or "suit" against you by
                      that third party to recover the damages claimed against such third party as a result
                      of injury to your "employee";

                  (b) Care and loss of services; and

                  (c) Consequential "bodily injury by accident" or "bodily injury by disease" to a spouse,
                      child, parent, brother or sister of the injured "employee";

                  provided that these damages are the direct consequence of "bodily injury by accident"
                  or "bodily injury by disease" that arises out of and in the course of the injured
                  "employee's" employment by you; and

           (2)    Because of "bodily injury by accident" or "bodily injury by disease" to your "employee"
                  that arises out of and in the course of employment, claimed against you in a capacity
                  other than as employer.

     2. Exclusions

        This insurance does not apply to:

        a. Intentional Injury

            "Bodily injury by accident" or "bodily injury by disease" intentionally caused or aggravated by
            you, or "bodily injury by accident" or "bodily injury by disease" resulting from an act which is
            determined to have been committed by you if it was reasonable to believe that an injury is
            substantially certain to occur.

        b. Fines Or Penalties

           Any assessment, penalty, or fine levied by any regulatory inspection agency or authority.

        c. Statutory Obligations

           Any obligation of the insured under a workers' compensation, disability benefits or
           unemployment compensation law or any similar law.

        d. Contractual Liability

            Liability assumed by you under any contract or agreement.

        e. Violation Of Law




00 CGL0119 48 09 06                                                                               Page 2 of 6
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 318 of 350



           "Bodily injury by accident" or "bodily injury by disease" suffered or caused by any employee
           while employed in violation of law with your actual knowledge or the actual knowledge of
           any of your "executive officers".

        f. Termination, Coercion Or Discrimination

           Damages arising out of coercion, criticism, demotion, evaluation, reassignment, discipline,
           defamation, harassment, humiliation, discrimination against or termination of any
           "employee", or arising out of other employment or personnel decisions concerning the
           insured.

        g. Failure To Comply With "Workers Compensation Law"

           "Bodily injury by accident" or "bodily injury by disease" to an "employee" when you are:

           (1)   Deprived of common law defenses; or

           (2) Otherwise subject to penalty;

           because of your failure to secure your obligations or other failure to comply with any
           "workers compensation law".

        h. Violation Of Age Laws Or Employment Of Minors

           "Bodily injury by accident" or "bodily injury by disease" suffered or caused by any person:

           (1)   Knowingly employed by you in violation of any law as to age; or

           (2)   Under the age of 14 years, regardless of any such law.

        i. Federal Laws

           Any premium, assessment, penalty, fine, benefit, liability or other obligation imposed by or
           granted pursuant to:

           (1) The Federal Employer's Liability Act (45 USC Section 51-60);

           (2) The Non-appropriated Fund Instrumentalities Act (5 USC Sections 8171-8173);

           (3) The Longshore and Harbor Workers' Compensation Act (33 USC Sections 910-950);

           (4) The Outer Continental Shelf Lands Act (43 USC Section 1331-1356);

           (5) The Defense Base Act (42 USC Sections 1651-1654);

           (6) The Federal Coal Mine Health and Safety Act of 1969 (30 USC Sections 901-942);

           (7) The Migrant and Seasonal Agricultural Worker Protection Act (29 USC Sections 1801-
               1872);

           (8) Any other workers compensation, unemployment compensation or disability laws or
               any similar law; or

           (9) Any subsequent amendments to the laws listed above.

        j. Punitive Damages

           Multiple, exemplary or punitive damages.




00 CGL0119 48 09 06                                                                           Page 3 of6
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 319 of 350



           k. Crew Members

              "Bodily injury by accident" or "bodily injury by disease" to a master or member of the crew of
              any vessel or any member of the flying crew of an aircraft.

   B. The SUPPLEMENTARY PAYMENTS provisions under SECTION I - COVERAGES also apply to
      COVERAGE - STOP GAP - EMPLOYERS LIABILITY.

   C. For the purposes of this endorsement, SECTION II - WHO IS AN INSURED is deleted in its
      entirety and replaced by the following:

      If you are designated in the Declarations as:

      1. An individual, you and your spouse are insureds, but only with respect to the conduct of a
         business of which you are the sole owner.

      2. A partnership or joint venture, you are an insured. Your members, your partners, and their
         spouses are also insureds, but only with respect to the conduct of your business.

      3. A limited liability company, you are an insured. Your members are also insureds, but only with
         respect to the conduct of your business. Your managers are insureds, but only with respect to
         their duties as your managers.

      4.    An organization other than a partnership, joint venture or limited liability company, you are an
           insured. Your "executive officers" and directors are insureds, but only with respect to their
           duties as your officers or directors. Your stockholders are also insureds, but only with respect to
           their liability as stockholders.

      No person or organization is an insured with respect to the conduct of any current or past
      partnership, joint venture or limited liability company that is not shown as a Named Insured in the
      Declarations.

   D. For the purposes of this endorsement, SECTION Ill - LIMITS OF INSURANCE is deleted in its
      entirety and replaced by the following:

      1. The Limits of Insurance shown in the Schedule of this endorsement and the rules below fix the
         most we will pay regardless of the number of:

           a. Insureds;

           b. Claims made or "suits" brought; or

           c. Persons or organizations making claims or bringing "suits".

      2. The "Bodily Injury By Accident" - Each Accident Limit shown in the Schedule of this
         endorsement is the most we will pay for all damages covered by this insurance because of
         "bodily injury by accident" to one or more "employees" in any one accident.

      3.    The "Bodily Injury By Disease" -Aggregate Limit shown in the Schedule of this endorsement
           is the most we will pay for all damages covered by this insurance and arising out of "bodily
           injury by disease", regardless of the number of "employees" who sustain "bodily injury by
           disease".

     4. Subject to Paragraph D.3. of this endorsement, the "Bodily Injury By Disease" - Each
        "Employee" Limit shown in the Schedule of this endorsement is the most we will pay for all
        damages because of "bodily injury by disease" to any one "employee".




00 CGL0119 48 09 06                                                                               Page 4 o/6
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 320 of 350



      The limits of the coverage apply to the policy period set forth in the Declarations or any
      endorsements thereto.

   E. For the purposes of this endorsement, under SECTION IV - COMMERCIAL GENERAL LIABILITY
      CONDITIONS, Condition 2. - Duties In The Event Of Occurrence, Offense, Claim Or Suit is
      deleted in its entirety and replaced by the following:

      2. Duties In The Event Of Injury, Claim Or Suit

         a.   You must see to it that we or our agent are notified as soon as practicable of a "bodily injury
              by accident" or "bodily injury by disease" which may result in a claim. To the extent
              possible, notice should include:

              (1) How, when and where the "bodily injury by accident" or "bodily injury by disease" took
                  place;

              (2) The names and addresses of any injured persons and witnesses; and

              (3) The nature and location of any injury.

         b.   If a claim is made or "suit" is brought against any insured, you must:

              (1) Immediately record the specifics of the claim or "suit" and the date received; and

              (2) Notify us as soon as practicable.

              You must see to it that we receive written notice of the claim or "suit" as soon as
              practicable.

         c.   You and any other involved insured must:

              (1) Immediately send us copies of any demands, notices, summonses or legal papers
                  received in connection with the injury, claim, proceeding or "suit";

              (2) Authorize us to obtain records and other information;

              (3) Cooperate with us and assist us, as we may request, in the investigation or settlement
                  of the claim or defense against the "suit";

              (4) Assist us, upon our request, in the enforcement of any right against any person or
                  organization which may be liable to the insured because of injury to which this
                  insurance may also apply; and

              (5) Do nothing after an injury occurs that would interfere with our right to recover from
                  others.

         d.   No insured will, except at that insured's own cost, voluntarily make a payment, assume any
              obligation, or incur any expense, other than for first aid, without our consent.

   F. For the purposes of this endorsement, under SECTION V - DEFINITIONS, Definition 4. is deleted
      in its entirety and replaced by the following:

      4. "Coverage territory" means:

         a.   The United States of America (including its territories and possessions), Puerto Rico and
              Canada;

         b.   International waters or airspace, but only if the injury or damage occurs in the course of
              travel or transportation between any places included in a. above; or


00 CGL0119 48 09 06                                                                                Page 5 of 6
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 321 of 350



           c.   All other parts of the world if the injury or damage arises out of the activities of a person
                whose home is in the territory described in a. above, but who is away for a short time on
                your business;

           provided the insured's responsibility to pay damages is determined in the United States
           (including its territories and possessions), Puerto Rico, or Canada, in a suit on the merits
           according to the substantive law in such territory, or in a settlement we agree to.

  G. SECTION V - DEFINITIONS is amended to include the following additional definitions:

        1. "Workers compensation law" means the Workers Compensation Law and any Occupational
           Disease Law of Washington. This does not include provisions of any law providing non-
           occupational disability benefits.

        2. "Bodily injury by accident" means bodily injury, sickness or disease sustained by a person,
           including death, resulting from an accident. A disease is not "bodily injury by accident" unless it
           results directly from "bodily injury by accident".

        3. "Bodily injury by disease" means a disease sustained by a person, including death. "Bodily
           injury by disease" does not include a disease that results directly from an accident.

   H.    For the purposes of this endorsement, the definition of "bodily injury" under SECTION V -
         DEFINITIONS does not apply.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 18
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0119 48 09 06                                                                                 Page 6 of 6
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 322 of 350




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         PREMIUM COMPUTATION ENDORSEMENT-
                            DEDUCTIBLE POLICY - VERSION I

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

1.   The Deposit Premium set forth in Item 4.of the Declarations is adjustable, and is only an estimated
     premium for the Aud it Period shown below.

     The final earned premium for the Audit Period shall be determined as specified in Condition 5
     Premium Audit of SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS. The Audit
     Premium shall be computed by applying the Rate of -      " - - - - - - - - per each - -
     of the Premium Base identified in 2. below. Such Rate is net of any taxes, licenses, or fees.
     However, the final premium calculation for the policy period shall be no less than the Minimum
     Retained Audit Premium as stated in Item 4 the Declarations.

     Unless otherwise specified in this Policy, the Audit Period will be the same as the policy period; or if
     this policy is cancelled, the Aud it Period will be from the Effective Date of the policy to the effective
     date of cancellation.

2.   The Premium Base shall be identified in (A) and (8) below:

     {A}   Premium Base

           12]   Gross sales exclud ing aircraft products,

                 IZI    intracompany sales (e.g. subsidiary-to-subsidiary, partner-to-partner, etc.) and

                 12]    foreign sales.

           D     Payroll as determined immediately below:

                 D      Gross Unmodified Payroll

                 D      Workers Compensation Payroll

                 D      Workers Compensation Payroll excluding:

                        (1)   Clerical Office Employees

                        (2)   Salesmen, Collectors, Messengers

                        (3)   Drivers and their helpers if principal duties are to work on or in connection
                              with "autos"

           D     Other (Describe)

            Estimated Exposures       ~------------------



     (B)   Specific Deletions From Premium Base, If Any:

           D     Designated Products: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



00 CGL0107 00 09 06                                                                               Page 1 of 2
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 323 of 350



           D     Designated Operations: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           D     Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 19
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0107 00 09 06                                                                             Page 2 of 2
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 324 of 350


 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                               DEDUCTIBLE LIABILITY ENDORSEMENT
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                         Schedule
1. Specific coverages to which a deductible(s) applies and amount of deductible(s):
                               Coverage                                               Amount of Deductible
    0    All coverages ......................................................... ..      $10,000
    D    Products/Completed Operations ......................................... .       $ __
    D    All coverages other than Products/Completed Operations                          $ __

2. The deductible applies to:
    0    Damages and Supplementary Payments
    D    Damages Only

3. A Deductible Aggregate applies as follows:
    D    The deductible(s) shown in item 1 of this Schedule is subject to a Deductible Aggregate amount
         of $ ___ The Deductible Aggregate is subject to adjustment upwards based on a rate of
         $ _ _ per _ _ . Such adjustment will be made on a pro-rata basis in the proportion that the
         final exposure base for the policy period bears to the estimated exposure base as of the
         Effective Date of this policy, which is$ _ _ . Subject to the foregoing, once the loss payments
         actually paid by us, and reimbursed by you to us, equals the Deductible Aggregate amount, your
         deductible(s) (shown in item 1. above) will be reduced to$ _ _ .
    (If no Deductible Aggregate is shown, then there is no aggregate on the cumulative amount of
    deductible a ments for which the insured is res nsible.

Application of the Deductible Liability Endorsement

The deductible(s) set forth in the Schedule apply to damages and Supplementary Payments, (or
damages only if the appropriate box is checked in the Schedule), on a per-"occurrence" or per-offense
basis. The insured is responsible for payment of the deductible(s).

The insured is responsible for all payments within the deductible amount. Subject to the Limits of
Insurance and all other terms and conditions for this policy, our obligation to pay damages and expenses
on your behalf applies only to the amount of damages and expenses in excess of the deductible amounts
set forth in the Schedule. We may pay part or the entire deductible amount to effect settlement of any
claim or "suit" and, upon notification of the action taken, you shall promptly reimburse us for such part of
the deductible amount that has been paid by us.

The Limits of Insurance are not increased by the presence of a deductible.

All other terms and conditions of this Policy remain unchanged.


Endorsement Number: 20
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:

00 CGL0099 00 09 06                                                                                      Page 1 of 1
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 325 of 350



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                      TOTAL TERRORISM EXCLUSION ENDORSEMENT
This endorsement modifies insurance provided under this policy.

A.   The following definitions are added and apply under this endorsement whenever the term terrorism,
     or the phrase any injury or damage, are enclosed in quotation marks:

     1.   "Terrorism" means activities against persons, organizations or property of any nature:

          a.   That involve the following or preparation for the following:

               (1)   use or threat of force or violence; or

               (2)   commission or threat of a dangerous act; or

               (3)   commission or threat of an act that interferes with or disrupts an electronic,
                     communication, information, or mechanical system; and

          b. When:

               (1)   the effect is to intimidate or coerce a government or a civilian population or any
                     segment thereof, or to disrupt any segment of the economy; and/or

               (2)   it appears that the intent is to intimidate or coerce a government or a civilian
                     population, or to further a philosophical, political, ideological, religious, social or
                     economic objective or to express (or express opposition to) a philosophical, political,
                     ideological, religious, social or economic objective.

     2. "Any injury or damage" means any injury or damage covered under this policy to which this
          endorsement is applicable, and includes but is not limited to "bodily injury", "property damage",
          "personal and advertising injury", "injury" or "environmental damage" as may be defined in this
          policy.

B.   The following exclusion is added:

     EXCLUSION OF TERRORISM

     This insurance does not apply to any claim, "suit", demand, or loss that alleges "any injury or
     damage" that, in any way, in whole or in part, arises out of, relates to or results from "terrorism",
     including action in hindering or defending against an actual or expected incident of "terrorism". "Any
     injury or damage" is excluded regardless of any other cause or event that contributes concurrently
     or in any sequence to such injury or damage. This exclusion also applies when one or more of the
     following are attributed to an incident of "terrorism":

     1.   The "terrorism" is carried out by means of the dispersal or application of radioactive material, or
          through the use of a nuclear weapon or device that involves or produces a nuclear reaction,
          nuclear radiation or radioactive contamination; or

     2.   Radioactive material is released, and it appears that one purpose of the "terrorism" was to
          release such material; or

     3.   The "terrorism" involves the use, release, or escape of nuclear materials, or that directly or
          indirectly results in nuclear reaction, nuclear radiation or radioactive contamination; or




00 CGL0220 00 09 06                                                                              Page 1 of 2
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 326 of 350



     4.   The "terrorism" is carried out by means of the dispersal or application of pathogenic or
          poisonous biological or chemical materials; or

     5.   Pathogenic or poisonous biological or chemical materials are released, and it appears that one
          purpose of the "terrorism" was to release such materials.

All other terms and conditions of this Policy remain unchanged.




Endorsement Number: 21
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured:
Endorsement Effective Date:


00 CGL0220 00 09 06                                                                             Page 2 of 2
           Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 327 of 350



  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 CANCELLATION ENDORSEMENT
This endorsement modifies insu ranee provided under the following:

COMM ERCIAL GENERAL LIABILITY COVERAGE FORM
COMMERCIAL GENERAL LIABILITY SELF-INSURED RETENTION COVERAGE FORM

The Policy is cancelled as follows:

      1)   ln accordance with the provisions of this policy, and (if cancelled by us) the notice that was
           mailed to you, this policy is cancelled effective 08/27/07.

      2)   Return premium:

           D    Is subject to short-rate calculation.

           [gl Is subject to pro-rata calculation .

           D    Is subject to a minimum premium.

           D    Is not applicable.




           -
     3)    Return premium amount (if applicable) will be:



           OR

           D    Determined following a premium audit.

All other terms and conditions of t his Policy remain unchanged.




Endorsement Number: 22
This endorsement is effective on the inception date of this policy unless otherwise stated herein.
(The information below is required only when this endorsement is issued subsequent to preparation of the
policy.)
Policy Number: DPC 0005591 02
Named Insured : Ebenal General Contractors, Inc.
Endorsement Effective Date: 08/27/07


00 CGL0204 00 09 06                                                                             Page 1 of 1
Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 328 of 350




                         Exhibit 6
               Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 329 of 350




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     CMP        6



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4

 5

 6

 7                          IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

 8                                    IN AND FOR THE COUNTY OF WHATCOM

 9         TERRA FIRMA BELLINGHAM, LLC, a

10
           Washington limited liability company,                    80.
11                                             Plaintiff,           COMPLAINT FOR DAMAGES

                    V.
12

13         DAVID EBENAL, ROCKPORT HOLDINGS,
           LLC, a Washington limited liability company,
14         RONALD JEPSON, and RONALD T. JEPSON &
           ASSOCIATES, P.S., a Washington professional
15
           service corporation,
16
                                           Defendants.
17

18                    Plaintiff Terra Firma Bellingham, LLC, ("TFB") complains and alleges as follows:
19
                                                I.          INTRODUCTION
20
                      1.1    In June 2016, David Ebenal ("Ebenal") and TFB member Robert Mills signed
21
           a Purchase and Sale Agreement transferring a certain parcel of real property in Whatcom
22
           County to Mr. Mills (for subsequent assignment to TFB).
23
                      1.2    Located at 4264 Pacific Highway in the City of Bellingham, "the Property" (or
24
           "the site") was owned by Rockport Holdings, LLC ("Rockport"), an entity controlled by
25
           Ebenal.
26
                                                                          OLES MORRISON RINKER & BAKER LLP
                                                                                701                1700
                                                                                      PIKE STREET, SUITE
                                                                                SEATTLE,WA 98101-3930
           COMPLAINT FOR DAMAGES - 1
                                                                                 PHONE: (206)623-3427
                                                                                  FAX: (206) 682-6234
                                                                                                    Ebenal 000064
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 330 of 350




 1
                1.3   On Ebenal's advice and recommendation, TFB subsequently hired the
 2
     engineering firm of Ronald T. Jepson & Associates, P.S. and its principal, Ronald Jepson
 3
     ("Jepson") for professional services in connection with rezoning and permitting for the site.
4
                1.4   Both Jepson and Ebenal were specifically aware that TFB intended to
 5
     construct greenhouses on the parcel to cultivate marijuana under a Washington state grower's
 6
     license.
 7
                1.5   The causes of action at issue in this dispute arise from Ebenal's wrongful
 8
     behavior in connection with this transaction, primarily through breaches of contract and
 9
     misrepresentations concerning the Property, and Jepson's violation of his professional
10
     obligations.
11
                                              11.    PARTIES
12
                2.1   Plaintiff TFB is a Washington limited liability company in good standing with its
13
     principal place of business in Whatcom County, Washington.                 TFB has satisfied all
14
     prerequisites to maintain this action.
15
                2.2   David Ebenal has represented that he is the controlling Member of Rockport
16
     Holdings, LLC, and is personally domiciled in Whatcom County, Washington.
17
                2.3   Rockport Holdings, LLC is a Washington limited liability company doing
18
     business in Whatcom County, Washington.
19
                2.4   Ronald Jepson is a professional engineer domiciled in Whatcom County,
20
     Washington.
21
                2.5   Ronald T. Jepson & Associates, P.S., is a Washington professional service
22
     corporation doing business in Whatcom County, Washington.
23
                                   111.    JURISDICTION AND VENUE
24
                3.1   All prior paragraphs are re-alleged as though fully set forth herein.
25
                3.2   This Court has subject matter jurisdiction pursuant to RCW 2.08.010.
26
                                                                   OLES MORRISON RINKER & BAKER LLP
                                                                          701 PIKE STREET, SUITE 1700
                                                                          SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 2
                                                                           PHONE: (206) 623-3427
                                                                            FAX: (206) 682-6234
                                                                                                  Ebenal 000065
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 331 of 350




 1
             3.3     Venue in Whatcom County is proper pursuant to RCW 4.12 et seq. as this
2
     action concerns claims and contractual relationships related to a parcel of real property
3
     located in Whatcom County, Washington.
4
                                     IV.       FACTUAL ALLEGATIONS
 5
             4.1     All prior paragraphs are re-alleged as though fully set forth herein.
 6
                                           Purchase of The Property
 7
             4.2     In May 2016, TFB retained a Seattle attorney named David Otto for the
 8
     purpose of assisting TFB with the purchase of a large commercial site in the Bellingham area
 9
     suitable for industrial-scale marijuana cultivation.
10
             4.3     That same month, Ebenal began communicating with Mr. Otto about the
11
     possibility of selling property which he owned in the name of a wholly-owned entity (Rockport)
12
     for development as a marijuana grow operation. The property had been used by Ebenal as a
13
     controlled fill site for several years.
14
             4.4     On May 5, 2016, Ebenal sent Mr. Otto an email in which he made
15
     representations calculated to persuade Mr. Otto to facilitate a sale of the Property to buyers
16
     interested in marijuana cultivation. Ebenal stated, "We are in the process of getting the entire
17
     site Light Industrially zoned. The City is supporting it. I will make you a heck of a deal. This
18
     is a slam dunk for 502 [marijuana cultivation]. I have all the wetlands .... a lot of things done
19
     on the property!"
20
             4.5      Mr. Otto subsequently arranged a meeting, and on May 22 2016, Mr. Otto and
21
     Mr. Mills traveled to view the Property with Ebenal.
22
             4.6     While the Property is 19.22 acres, Ebenal disclosed that only the western half
23
     (9.61 acres) was currently zoned "multi-industrial," as would be required to construct the large
24
     greenhouses TFB envisioned. The balance was zoned multi-residential. However, Ebenal
25

26
                                                                   OLES MORRISON RINKER & BAKER LLP
                                                                         701 PIKE STREET, SUITE 1700
                                                                         SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 3
                                                                          PHONE: (206) 623-3427
                                                                           FAX: (206) 682-6234
                                                                                             Ebenal 000066
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 332 of 350




 1
     emphasized that nothing about the eastern half of the property (also 9.61 acres) would prevent
 2
     the city from rezoning it from multi-residential to multi-industrial.
 3
             4.7     Ebenal emphasized that TFB could double the buildable, industrial area
4
     through rezoning, and that by doing so the property value would increase by almost $1 million
 5
     dollars to approximately $2,900,000.
 6
             4.8     Ebenal represented that the only other impediments to the development of the
 7
     entire site was that the developer would need to construct a new bridge and driveway onto
 8
     the Property (the Property can only be accessed via a wet area on the western side). Ebenal
 9
     claimed this could be accomplished by updating a wetlands permit with the City of Bellingham,
10
     meaning construction on a new bridge could begin before the City reviewed the entire planned
11
     development project.
12
             4.9     At Ebenal's invitation, this initial meeting was also attended by Jepson, whom
13
     Ebenal introduced as someone extremely knowledgeable about the Property.
14
             4.1 O   Jepson is a professional engineer who, on information and belief, has
15
     performed engineering services for Ebenal on the subject property and who owns real
16
     property under development adjoining or near the Property.
17
             4.11    During the meeting, Jepson showed Mr. Mills drawings and maps of the
18
     Property that Jepson had previously produced. Jepson used these documents to identify and
19
     describe various features of the Property, including its dimensions and an area of wetlands.
20
             4.12    Jepson demonstrated to Mr. Mills that these wetlands occupied only a small
21
     area on the eastern edge of the property.
22                   Following the meeting, Ebenal sent Mr. Otto a follow-up email on May 18, 2016
             4.13
23
     with the subject line "30,000 [sic] Building Pacific Highway Site", in which Ebenal asserted
24
     "My engineer drew this sketch. We can build several buildings in [sic] the site."
25
26
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                                                                          SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 4
                                                                           PHONE: (206) 623-3427
                                                                            FAX: (206) 682-6234
                                                                                          Ebenal 000067
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 333 of 350




 1
            4.14      Mr. Otto arranged and attended a second meeting at the property on June 18,
 2
     2016, this time with the full contingent of TFB partners in attendance (Gary Primm, Matthew
 3
     Primm, Carol Primm and Robert Mills).
 4
            4.15      At this second meeting, Ebenal and Jepson repeated and reemphasized their
 5
     prior representations about the property.
 6
            4.16      These included representations by Ebenal that he had completed almost all
 7
     wetland remediation work that would be required prior to development, and that the Property
 8
     could physically support at least 30,000 square feet of greenhouse space that would serve
 9
     TFB's needs.
10
            4.17      Ebenal also provided TFB with a binder containing additional information about
11
     the property, including a cover page which states, "The property can support a 30,000 square
12
     foot warehouse, in addition to additional buildings."
13
            4.18      Largely on the basis of these representations, TFB elected to purchase the
14
     Property.
15
            4.19      On June 7, 2016, Robert Mills (and/or assigns) and David Ebenal (for Rockport
16
     Holdings, LLC) signed a Vacant Land Purchase and Sale Agreement ("Purchase
17
     Agreement") for the Property.
18
            4.20      The purchase price was $1,600,000.00, transferred in cash at closing on
19
     July 15, 2016.
20
            4.21      An addendum to the Purchase Agreement included a special arrangement
21
     providing for the construction of a new bridge onto the property. Ebenal suggested during
22   negotiations that a new bridge would cost $200,000 to construct. The parties split the cost of
23
     the new bridge, with each party contributing $100,000 of the necessary funds.               Ebenal's
24
     $100,000 were deducted from the sale price of $1.6 million. The funds were to be deposited
25
     into Mr. Otto's trust account and distributed by Mr. Otto as construction progressed.
26
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     COMPLAINT FOR DAMAGES - 5
                                                                        PHONE: (206) 623-3427
                                                                         FAX: (206) 682-6234
                                                                                               Ebenal 000068
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 334 of 350




 1
            4.22   The Addendum also specified:
2
                   4.22.1   That Rockport would have the "last right of refusal" to perform "any
3
                            and all construction work on the property;"
4
                   4.22.2 That Rockport would be employed for "permit consulting," meaning
 5
                            that "Rockport shall recommend a team of consultants (architects,
 6
                            engineers, surveyors, etc .... ) [sic] and shall work with the team in order
 7
                            to obtain a building permit for an approximately 40,000 square foot
 8
                            concrete tilt up building;"
 9
                   4.22.3 That "Seller shall remove all concrete and other 'scrap' from the
10
                            Property provided such concrete and other 'scrap' cannot otherwise
11
                            be used for roadways on the property;" and that
12
                   4.22.4 "Buyer's obligation to purchase the Property is contingent upon Buyer
13
                            securing a Washington State Liquor and Cannabis Board [WSLCB]
14
                            approved 'Tier 3' Producer and Processor license."
15
            4.23    Ebenal exercised Rockport's "right of last refusal" and elected to perform the
16
     construction of the new bridge.
17
                              Bridge Construction and Debris Issues
18
            4.24    Soon after closing, Ebenal and his employees began clearing the property and
19
     installing temporary mobile structures, water lines, and power hookups in order to prepare the
20
     Property for inspection by the WSLCB (as required for the Tier 3 license).
21
            4.25    The bills for this work came from Summit Construction, Inc. (another of
22
     Ebenal's business entities) rather than Rockport.
23
            4.26    The Property was inspected and approved for a Tier 3 license on approximately
24
     September 23, 2016, but Ebenal had not secured the appropriate permits from the City of
25
     Bellingham before performing the preparatory work on the site.
26
                                                                  OLES MORRISON RINKER & BAKER LLP
                                                                         701                1700
                                                                               PIKE STREET, Sum
                                                                                 WA 98101-3930
                                                                          SEATTLE,
     COMPLAINT FOR DAMAGES - 6
                                                                          PHONE: (206)623-3427
                                                                           FAX: (206) 682-6234
                                                                                             Ebenal 000069
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 335 of 350




 1
            4.27     Despite Ebenal's contractual obligation to work with TFB to obtain the required
2
     building permits, his misfeasance caused the City to "red tag" the project, delaying future
3
     construction.
4
            4.28     In December 2016, Ebenal contracted with a firm called Concrete Technology
 5
     Corporation in Tacoma, Washington to build the bridge girders for the replacement bridge that
 6
     Ebenal had elected to build.
 7
            4.29     However, contrary to Ebenal's earlier representations, the City of Bellingham
 8
     refused to issue a permit for replacement of the bridge, and elected to withhold such
 9
     permission until the entire site redevelopment plan was approved. As TFB was later to learn,
10
     Ebenal's relationship with the City's permitting officials was strained because of his extensive
11
     history of City code violations and dishonest conduct.
12
            4.30     Ebenal ordered the girders, clearly evidencing his election to build the bridge.
13
            4.31     However, the order was placed so far in advance of potential permit approval
14
     that TFB was required to pay off-site storage costs for the girders from April 2017 through
15
     March 2018, after a permit for bridge replacement was granted and the girders could finally
16
     be moved to the Property.
17
            4.32     In the meantime, Ebenal had begun to distance himself from his remaining
18
     obligations to TFB.
19
            4.33     On July 19, 2017 Mr. Mills sent a text message to Ebenal asking when Ebenal
20
     planned to clear the property of concrete "scrap" and other construction debris, as required
21
     by the Purchase Agreement Addendum.
22                   In that communication, Mr. Mills also asked if Ebenal had been in contact with
             4.34
23
     the City planning office concerning Ebenal's previously expressed preference for grinding up
24
     the concrete debris and using it as roadbed on the property. Informal communications from
25
     the planning office had indicated to Mr. Mills that such practices were prohibited.
26
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                                                                        SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 7
                                                                         PHONE: (206)623-3427
                                                                          FAX: (206) 682-6234
                                                                                                Ebenal 000070
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 1
             4.35    Ebenal simply responded that no one from the City had returned his call.
2
             4.36    Mr. Mills sent additional messages that day, requesting clarification as to when
3
     Ebenal would perform the remaining work on the site.
4
             4.37     Ebenal didn't respond until July 25, 2017, when he sent a text message stating
 5
     that he "can't talk right now" but indicating that he would call shortly. Ebenal did not call on
 6
     July 25, and instead neglected to return additional calls and text messages for several days.
 7
             4.38     TFB then directed Mr. Otto to send a Notice of Claim letter to Ebenal
 8
     concerning the outstanding work. The letter was sent on August 3, 2017, with a response
 9
     requested by August 10, 2017.
10
             4.39     Ebenal responded to Mr. Otto by email the following day (August 4, 2017),
11
     stating "Please do not contact me in the future regarding this case. All correspondence should
12
     go through my attorney." TFB initially had no idea who represented Ebenal, if anyone.
13
             4.40     Ebenal also demanded that Mr. Otto withdraw from representing TFB in an
14
     adverse proceeding, on the basis that Mr. Otto had previously represented Rockport and had
15
     a conflict of interest.
16
             4.41     On approximately August 28, 2017, Ebenal entered the Property without
17
     permission or notice and removed a set of metal plates from the old, existing bridge. While
18
     removing the plates, Ebenal damaged the bridge itself, causing it to become impassible and
19
     temporarily blocking access to the Property.
20
             4.42     TFB was required to rent a set of metal plates and pay a third party to repair
21
     the damage to the bridge, further delaying and increasing the cost of development work.
22                    On January 31, 2018, TFB finally received a permit from the City of Bellingham
             4.43
23
     to replace the bridge.
24
             4.44     With Ebenal having defaulted on his contractual obligation to complete the
25
     bridge replacement, TFB engaged a third party to pour footings for the new bridge and begin
26
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                                                                        701 PIKE STREET, SUITE 1700
                                                                        SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 8
                                                                         PHONE: (206)623-3427
                                                                          FAX: (206) 682-6234
                                                                                              Ebenal 000071
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 337 of 350




 1
     construction.   The bridge construction has experienced significant cost overruns beyond
 2
     Ebenal's $200,000 estimate.
3
                                 Engineering and Permitting Issues
4
            4.45     Soon after closing of the Purchase Agreement, Ebenal had recommended that
 5
     TFB hire Jepson and his firm, Ronald T. Jepson & Associates P.S. to provide permitting and
 6
     rezoning assistance.
 7
            4.46     Jepson, through his prior dealings with Ebenal, was well aware of the actual
 8
     wetland footprint on the property.       However, Jepson failed to disclose that his prior
 9
     representation of Ebenal created a professional conflict of interest, nor did he inform TFB of
10
     his own private business interests created circumstances that could influence his judgment.
11
            4.47     TFB signed a services contract with Ronald T. Jepson & Associates P.S. on
12
     August 2, 2016 and paid a retainer of $5,000.00. Jepson gave TFB a projected budget of
13
     $65,000 for all services required to get the zoning updated and construction underway.
14
            4.48     Jepson then purportedly began working with the City of Bellingham to get the
15
     property rezoned.
16
            4.49     The City planning commission voted 7-0 on April 20, 2017 in favor of rezoning
17
     to make the entire parcel "multi-industrial," but progress was slow thereafter. The City Council
18
     ultimately did not fully approve the rezoning until July 24, 2017.
19
            4.50     On May 4, 2017, Mr. Mills sent Jepson an email asking exactly how much
20
     additional, developable acreage TFB could expect after the rezoning was complete.
21
            4.51     Jepson replied that the rezoning would result in only 1.5 acres of additional
22
     buildable land. Jepson later explained that the remainder of the eastern half of the Property
23
     would need to be used for wetland mitigation.
24

25

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                                                                           PHONE: (206) 623-3427
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                                                                                                  Ebenal 000072
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 338 of 350




 1
            4.52    This was in stark contrast to Jepson's prior representations to Mr. Mills, and
 2
     was the first time Jepson had ever indicated that wetland mitigation would significantly curtail
 3
     future development, regardless of rezoning.
4
            4.53    TFB was shocked by this revelation. Jepson had never revealed this wetland
 5
     mitigation problem over the proceeding months.
 6
            4.54    Accordingly, TFB began closely examining Jepson's prior billings and
 7
     correspondence. TFB discovered that Jepson had raised his hourly rates without informing
 8
     TFB. When questioned by Mr. Mills, Jepson claimed this was a mistake and corrected the
 9
     billings to the previously agreed rate.
10
            4.55    However, the overall Jepson bill continued to climb until the total amount
11
     exceeded the estimated budget by almost 50%, approaching $94,000.
12
            4.56    TFB finally lost patience with Jepson in mid-May 2017, when TFB discovered
13
     that Jepson had taken a three-week vacation to England during a critical stage of the rezoning
14
     and permitting process. TFB received no advance notice of his departure, and was unable to
15
     contact Jepson except through email.
16
            4.57    Mr. Mills visited Jepson's office on May 16, 2017 in search of additional
17
     information. There, Mr. Mills spoke with Jepson's son, Christopher Jepson, an employee of
18
     Ronald T. Jepson & Associates P.S. whose work frequently appeared in TFB's bills from
19
     Jepson. Christopher Jepson admitted that he was largely unfamiliar with TFB's project and
20
     suggested contacting Jepson instead. This directly conflicted with months of Jepson's billings,
21
     which featured significant amounts purportedly for Christopher Jepson's work.
22
            4.58    TFB began to withhold payment after this visit to Jepson's office until further
23
     clarity could be provided regarding the billings.
24

25

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                                                                       SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 10
                                                                        PHONE: (206) 623-3427
                                                                         FAX: (206) 682-6234
                                                                                         Ebenal 000073
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 339 of 350




 1
            4.59   On June 19, 2017, Jepson sent a letter requesting $25,000.00 in claimed
2
     outstanding fees. After reviewing the bills, TFB refused, as the expenses were for work that
3
     remained unperformed or was performed improperly.
4
            4.60   TFB terminated its relationship with Jepson on about July 19, 2017 by sending
 5
     Jepson a check (which he promptly cashed) in the amount of $15,000 for outstanding fees.
 6
                                         Soil Quality Issues
 7
            4.61    In spite of the setback caused by the required wetland mitigation, TFB still
 8
     expected to build at least two greenhouses on the western half of the Property.
 9
            4.62     In approximately February of 2016, TFB had contracted with a company
10
     called Dutch Greenhouses to supply a large greenhouse structure for marijuana cultivation.
11
            4.63    Around this time, TFB also hired an architectural firm called Harthorne Hagen
12
     Architects P.S. to assist with coordinating development of the Property.
13
            4.64    Both Harthorne Hagen and Dutch Greenhouses suggested TFB hire an
14
     engineering firm to ensure the Property could withstand the load factor for the greenhouses.
15
            4.65    Accordingly, in March 2017, TFB hired GeoTest Services, Inc. to perform
16
     compaction tests on the soil by digging a number of test holes.
17
            4.66    GeoTest determined that the Property could not support the loads Ebenal had
18
     promised without installing expensive pin pilings or performing extensive remediation efforts.
19
     GeoTest then asked to disassociate with the project in order to avoid potential litigation
20
     involving Ebenal, whom TFB came to learn had an extensive history of litigation.
21
            4.67    TFB relayed this news to Ebenal, who disputed that the ground was not
22
     competent to support the greenhouses.
23
            4.68    Ebenal claimed that another firm, Merit Engineering, was very familiar with the
24
     Property, had observed the soil compaction process in the past, and would certify that the
25
     soils he had imported to the site were of good quality and were we compacted properly.
26
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     COMPLAINT FOR DAMAGES - 11
                                                                        PHONE: (206) 623-3427
                                                                         FAX: (206) 682-6234
                                                                                             Ebenal 000074
         Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 340 of 350




 1
             4.69    On April 12, 2017, TFB dutifully contracted with Merit Engineering, Inc. and
 2
     Rockport to dig approximately 6-7 test holes, with a Merit Engineering representative on site
 3
     to witness and certify the results.
 4
             4. 70   After digging 5-6 test holes, the Merit Engineering representative stated that
 5
     he wouldn't certify any compaction test, and that he didn't witness the entire Property being
 6
     compacted as Ebenal had claimed. Rather, the employee had only witnessed a small portion
 7
     of the property being compacted because Ebenal had refused to pay the cost of Merit
 8
     Engineering witnessing compaction for the entire site.
 9
             4.71     In an attempt to finally settle the compaction issue, on May 5, 2017, TFB hired
10
     a third engineering firm, GeoEngineers, to perform additional compaction tests and provide
11
     definitive results.
12
             4.72    TFB hired Dirt Works Bellingham, Inc. (an excavating company) to begin
13
     grading the western half of the property in late December, with GeoEngineers performing
14
     compaction tests on site.
15
             4. 73    GeoEngineers confirmed that most of the soil in the western half of the site was
16
     uncompacted clay which could not support even a relatively light structure, such as a
17
     greenhouse.
18
             4. 74    Dirt Works then spent the majority of September through December 2017
19
     removing these unstable soils and replacing them with proper soil that would compact
20
     properly. TFB ultimately had to pay for the removal of approximately 16,000 yards of inferior
21
     fill soils, at significant expense.
22
             4.75     In Early October 2017, GeoEngineers also began to smell petroleum products
23
     on the site, which it soon determined was the result of significant quantities of toxic, diesel-
24
     soaked soil.
25

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     COMPLAINT FOR DAMAGES - 12
                                                                          PHONE: (206) 623-3427
                                                                           FAX: (206) 682-6234
                                                                                               Ebenal 000075
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 341 of 350




 1
             4. 76    TFB was forced to remediate by removing approximately 22 truckloads of
 2
     contaminated soil.
 3
             4.77     Neither Jepson nor Ebenal had ever given any indication that there was toxic
4
     waste on the Property.      In fact, Ebenal had affirmatively stated that the site was free of
 5
     potential environmental contaminants.
 6
             4.78     In approximately late September, 2017,         Ebenal called Mr. Mills and
 7
     complained that he had seen construction at the Property being performed by other
 8
     contractors. He demanded to know why he hadn't been allowed to perform it per his "right of
 9
     last refusal."
10
             4. 79    Ebenal had disregarded that TFB had repeatedly tried to contact him
11
     concerning his existing contractual obligations, and that he had sent an e-mail directing TFB
12
     to speak only to his attorney.
13
             4.80     Through early 2018, TFB continued to seek final approval of its building permit
14
     for the greenhouses themselves. Even after several rounds of revisions and changes, the
15
     City of Bellingham continued to demand additional concessions.             After TFB received a
16
     response from the City requiring 14 pages of additional changes to the permit application on
17
     February 2, 2018, TFB chose to suspend the project.
18
             4.81     By way of mitigation, TFB has since put the Property up for sale, but has been
19
     unable to find buyers willing to pay a price which accounts for the significant expenses TFB
20
     has already invested.
21
                                       V.     CLAIMS FOR RELIEF
22
                                      CAUSES OF ACTION 1 AND 2
23                                (Breach of Contract - Ebenal/Rockport)
24           5.1      All prior paragraphs are re-alleged as though fully set forth herein

25
26
                                                                   OLES MORRISON RINKER & BAKER LLP
                                                                         701 PIKE STREET, SUITE 1700
                                                                         SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 13
                                                                          PHONE: (206} 623-3427
                                                                           FAX: (206} 682-6234
                                                                                               Ebenal 000076
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 342 of 350




 1
            5.2     Defendant Ebenal has failed to observe the formalities separating his LLCs
2
     from his personal affairs, and further, has attempted to use these entities to facilitate
3
     fraudulent conduct. As such, the court should "pierce the veil" provided by these LLCs and
4
     hold Ebenal personally liable for his misconduct.
5
            5.3     Ebenal covenanted to a number of specific contractual obligations to TFB,
 6
     notably including:
 7
                    5.3.1   The obligation in the Addendum to the parties' Vacant Land Purchase
 8
                            and Sale Agreement that the Seller remove all concrete and other
 9
                            "scrap" from the Property;
10
                    5.3.2   Ebenal's obligation to build the replacement entrance bridge onto the
11
                            Property after exercising his contractual "right of last refusal" to perform
12
                            the work; and
13
                    5.3.3   Ebenal's obligation in the Addendum to "work with the team in order to
14
                            obtain a building permit for an approximate [sic] 40,000 square foot
15
                            concrete tilt up building."
16
            5.4     Ebenal ultimately breached every one of these contractual obligations by:
17
                    5.4.1   Failing to remove concrete or scrap material, requiring TFB to procure
18
                            replacement performance of this work from a third party at significant
19                          additional expense;
20                  5.4.2   Ordering bridge girders so far ahead of schedule that storage fees were
21
                            required, before abandoning the replacement project altogether; and
22                  5.4.3   Failing to coordinate with TFB, the City of Bellingham, and other
23
                            professionals during the preparations for the WSLCB inspection, the
24                                   construction,    or   indeed,    anything   connected     to   TFB's
                            bridge
25
                            development of the Property.
26
                                                                     OLES MORRISON RINKER & BAKER LLP
                                                                           701 PIKE STREET, SUITE 1700
                                                                           SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 14
                                                                            PHONE: (206)623-3427
                                                                             FAX: (206) 682-6234
                                                                                             Ebenal 000077
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 343 of 350




1
            5.5      As a result of these breaches, TFB has been damaged in an amount to be
2
     proven at trial, but not less than $215,921, plus interest, fees, and costs.
3
                                           CAUSE OF ACTION 3
4                                      (Breach of Contract - Jepson)

 5          5.6      All prior paragraphs are re-alleged as though fully set forth herein.

 6          5.7      TFB signed a services contract with Ronald T. Jepson & Associates P.S. on

 7   August 2, 2016.

 8           5.8     By virtue of this agreement, Jepson owed TFB a duty of undivided loyalty and

 9   was required by Washington law to disclose any conflicts of interest.

10           5.9     Jepson never cleared any potential conflict of interest presented by his past

11   relationship with Ebenal, whom he assisted with the sale of the Property.

12           5.1 0   Jepson affirmatively misrepresented and later failed to timely disclose to TFB

13   that, due to the wetland conditions, almost 50% of its Property would be unfit for the use TFB

14   intended.

15           5.11    This conduct constitutes professional malpractice and a breach of contract to

16   provide competent, loyal service to TFB.

17           5.12    As a result of this breach, TFB has been damaged in an amount to be proven

18   at trial, plus interest, fees, and costs.

19
                                         CAUSE OF ACTION 4
20                          (Fraudulent Misrepresentation - Ebenal/Rockport)

21           5.13    All prior paragraphs are re-alleged as though fully set forth herein.

22           5.14    Defendant Ebenal has failed to observe the formalities separating his LLCs

23   from his personal affairs, and further, has attempted to use these entities to facilitate

24   fraudulent conduct. As such, the court should "pierce the veil" provided by these LLCs and

25   hold Ebenal personally liable for his misconduct.

26
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                                                                         701 PIKE STREET, SUITE 1700
                                                                         SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 15
                                                                          PHONE: (206)623-3427
                                                                           FAX: (206) 682-6234
                                                                                                Ebenal 000078
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 344 of 350




 1
            5.15    Ebenal is liable for multiple fraudulent misrepresentations in connection with
2
     the sale of the Property:
3
                    5.15.1 Ebenal repeatedly alleged that the soils on the Property were of a
4
                            variety and compaction sufficient to support at least a 30,000 square
 5
                            foot structure;
 6
                    5.15.2 Ebenal     repeatedly misrepresenting the quantity of unmitigated
 7
                            wetlands on the site;
 8
                    5.15.3 Ebenal repeatedly omitted any mention of toxic waste on the property,
 9
                            including diesel-soaked soil.
10
            5.16    Ebenal knew these were false statements of material fact, as Ebenal:
11
                    5.16.1 Had owned the property for years and knew what soils he had dumped
12
                            (or allowed others to dump) on the site;
13
                    5.16.2 Knew that he had not retained engineers to confirm the level of soil
14
                            compaction across the entire site;
15
                    5.16. 3 Knew he had not mitigated the significant wetlands on the property;
16
                    5.16.4 Knew that he had parked equipment on the site and otherwise allowed
17
                            contamination of the ground, but never performed corresponding
18
                            environmental remediation; and
19
                    5.16.5 Most importantly, knew that these false and/or concealed facts would
20                          influence TFB's decision to buy the Property.
21
             5.17   Ebenal also knew of TFB's ignorance of these circumstances, and yet
22
     intentionally induced TFB to rely on his assurances.
23
             5.18   TFB reasonably relied on these misrepresentations, and has suffered
24
     damages in an amount to be proven at trial, plus interest, fees, and costs.
25

26
                                                                 OLES MORRISON RINKER & BAKER        LLP
                                                                       701 PIKE STREET, SUITE 1700
                                                                       SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 16
                                                                        PHONE: (206)623-3427
                                                                         FAX: (206) 682-6234
                                                                                               Ebenal 000079
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 345 of 350




1
                                          CAUSE OF ACTION 5
2                                 (Fraudulent Misrepresentation - Jepson)

3           5.19    Jepson is liable for fraudulent misrepresentation s concerning the wetlands on

4    the property and the potential for development of TFB's planned greenhouses after rezoning.

            5.20    Jepson misrepresented the concentration and position of wetlands on the
5

6    property to Mr. Mills and the TFB partners during the initial site visits in May 2016.

            5.21    Jepson never corrected these misrepresentation s once he was professionally
 7

 8   engaged by TFB, instead continuing to let TFB believe significant portions of the property

     would be developable, without ever mentioning the looming specter of wetland remediation.
 9
            5.22        Jepson knew these were false statements of material fact, as he was already
10
     fully familiar with the Property and knew the quantity of developable land was TFB's primary
11

12   concern.

             5.23   Jepson knew TFB was ignorant of these facts, as he was tasked with securing
13
     rezoning for structures TFB was planning to build across both the western and eastern halves
14

15   of the Property.

             5.24   TFB did rely on Jepson's misrepresentations, and was justified in relying on
16

17   statements from its own engineer.

             5.25   This has resulted in damages to TFB in an amount to be proven at trial, plus
18
     interest, fees, and costs.
19

20                                        CAUSES OF ACTION 6
                              (Negligent Misrepresentation - Ebenal/Rockport)
21
             5.26    All prior paragraphs are re-alleged as though fully set forth herein.
22
             5.27    Defendant Ebenal has failed to observe the formalities separating his LLCs
23
     from his personal affairs, and further, has attempted to use these entities to facilitate
24
     fraudulent conduct. As such, the court should "pierce the veil" provided by these LLCs and
25
     hold Ebenal personally liable for his misconduct.
26
                                                                   OLES MORRISON RINKER & BAKER LLP
                                                                         701 PIKE STREET, SUITE 1700
                                                                         SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 17                                           PHONE: (206) 623-3427
                                                                           FAX: (206) 682-6234
                                                                                             Ebenal 000080
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 346 of 350




 1
            5.28    Ebenal is liable for multiple negligent misrepresentations in connection with the
2
     sale of the Property:
3
                    5.28.1 Ebenal repeatedly provided false information concerning whether the
4
                             soils on the Property were competent and compacted/compactable
 5
                             sufficient to support at least a 30,000 square foot structure;
 6
                    5.28.2 Ebenal repeatedly supplied false information concerning the quantity of
 7
                             unmitigated wetlands on the site;
 8
                    5.28.3 Ebenal provided false information concerning the presence of toxic
 9
                             waste on the property, including diesel-soaked soil.
10
             5.29   Ebenal knew or should have known this false information was supplied to guide
11
     TFB in its business transactions because Ebenal:
12
                    5.29.1 Knew or should have known that TFB would only buy the Property if
13
                             the site's ground could support multiple large greenhouses;
14
                    5.29.2 Knew or should have known that TFB would plan to build large
15
                             greenhouses across both the western and eastern half of the property;
16
                    5.29.3 Knew or should have known that TFB would not have purchased the
17
                             Property, or purchased the Property only for a lower price, if it was
18
                             aware of toxic waste on the site.
19
             5.30    Ebenal was negligent in communicating this false information by continuing to
20
     assert these misrepresentations to TFB on multiple occasions without confirming the
21
     assertions' accuracy.
22
             5.31    TFB reasonably relied on these misrepresentations, and the false information
23
     proximately caused damages to TFB by inducing it to purchase the Property.
24
             5.32    TFB has suffered these damages in an amount to be proven at trial, plus
25
     interest, fees, and costs.
26
                                                                   OLES MORRISON RINKER & BAKER LLP
                                                                          701 PIKE STREET, SUITE 1700
                                                                           SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 18
                                                                            PHONE: (206) 623-3427
                                                                             FAX: (206) 682-6234
                                                                                                 Ebenal 000081
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 347 of 350




 1                                       CAUSES OF ACTION 7
                                  (Negligent Misrepresentation - Jepson)
 2
            5.33     All prior paragraphs are re-alleged as though fully set forth herein.
 3
            5.34     Jepson is liable for negligent misrepresentations concerning the wetlands on
4
     the property and the potential for development of TFB's planned greenhouses after rezoning.
 5
            5.35     Jepson supplied false information to TFB concerning the position and quantity
 6
     of wetlands on the Property, knowing that this information would guide TFB in its business
 7
     transactions.
 8
            5.36     Jepson never corrected these misrepresentations once he was professionally
 9
     engaged by TFB, instead continuing to let TFB believe significant portions of the property
10
     would be developable, without ever mentioning the looming specter of wetland remediation.
11
             5.37    Communicating these falsities and then failing to correct them was, at the very
12
     least, negligent.
13
             5.38    TFB did rely on these misrepresentations, purchasing the property and paying
14
     Jepson to get it rezoned on the understanding that this would result in significant additional
15
     developable acreage.
16
             5.39    TFB's reliance on information supplied by its professional engineer was
17
     reasonable, and proximately caused damages to TFB in an amount to be proven at trial, plus
18
     interest, fees, and costs.
19
                                        CAUSE OF ACTION 8
20                            (Consumer Protection Act - Ebenal/Rockport)
21           5.40    All prior paragraphs are re-alleged as though fully set forth herein.
22           5.41    Defendant Ebenal has failed to observe the formalities separating his LLCs
23   from his personal affairs, and further, has attempted to use these entities to facilitate
24   fraudulent conduct. As such, the court should "pierce the veil" provided by these LLCs and
25   hold Ebenal personally liable for his misconduct.
26
                                                                  OLES MORRISON RINKER & BAKER LLP
                                                                         701 PIKE STREET, SUITE 1700
                                                                         SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 19
                                                                          PHONE: (206) 623-3427
                                                                           FAX: (206) 682-6234
                                                                                                Ebenal 000082
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 348 of 350




 1
            5.42      Ebenal's actions (alleged above) constitute unfair and deceptive acts or
 2
     practices in trade or commerce which materially affect the public interest.
3
            5.43      These acts proximately caused injury to TFB in violation of the Consumer
4
     Protection Act, Chapter 19.86 RCW.
 5
            5.44      TFB is entitled to an award of damages against Defendants under RCW
 6
     19.86.090, including treble damages up to $25,000, together with costs and reasonable
 7
     attorney fees.
 8
                                          CAUSE OF ACTION 9
 9                                (Unjust Enrichment - Ebenal/Rockport)

10          5.45      All prior paragraphs are re-alleged as though fully set forth herein.

11          5.46      Defendant Ebenal has failed to observe the formalities separating his LLCs

12   from his personal affairs, and further, has attempted to use these entities to facilitate

13   fraudulent conduct. As such, the court should "pierce the veil" provided by these LLCs and

14   hold Ebenal personally liable for his misconduct.

15          5.47      Accordingly, TFB is entitled to recover from the Ebenal for unjust enrichment.

16          5.48      TFB conferred benefits on Ebenal in the form of payment for the Property and

17   portions of the bridge construction.

18          5.49      Ebenal appreciated and knew these benefits to be valuable.

19           5.50     The circumstances are such that Ebenal's acceptance or retention of these

20   benefits would be inequitable without repayment for their value.

21           5.51     Because Ebenal improperly received and retained these benefits, TFB is

22   entitled to an award in an amount to be proven at trial, plus interest, fees, and costs.

23
                                       CAUSE OF ACTION 10
24          (Breach of the Implied Duty of Good Faith and Fair Dealing - Ebenal & Jepson)

25           5.52     All prior paragraphs are re-alleged as though fully set forth herein.

26
                                                                   OLES MORRISON RINKER & BAKER LLP
                                                                          701 PIKE STREET, SUITE 1700
                                                                          SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 20
                                                                           PHONE: (206) 623-3427
                                                                            FAX: (206) 682-6234
                                                                                                 Ebenal 000083
            Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 349 of 350




1
              5.53     Defendant Ebenal has failed to observe the formalities separating his LLCs
2
     from his personal affairs, and further, has attempted to use these entities to facilitate
3
     fraudulent conduct. As such, the court should "pierce the veil" provided by these LLCs and
4
     hold Ebenal personally liable for his misconduct.
 5
              5.54     Ebenal failed to cooperate with TFB, the City of Bellingham, and others,
6
     thereby delaying and needlessly interfering with the development process.
 7
              5.55     By failing to perform the obligations imposed by the Purchase Agreement in
 8
     good faith, Ebenal prevented TFB from obtaining the full benefit of its bargain for the purchase
 9
     of the Property.
10
              5.56     Alternatively, to the extent Jepson's misconduct and dishonesty did not rise to
11
     the level of professional malpractice, fraud, or negligent misrepresentations, it at least
12
     constituted a failure to perform the obligations imposed by his contract with TFB in good faith.
13
              5.57     On this basis, TFB is entitled to damages in an amount to be proven at trial,
14
     plus interest, fees, and costs.
15
                                        V.     PRAYER FOR RELIEF
16
              Plaintiff TFB prays for relief against Defendants as follows:
17
              1.       On the above causes of action, for judgment against Defendants for damages
18
     in an amount to be proven at trial;
19
              2.       For costs, attorney's fees, and treble damages as provided by statute, common
20
     law, or equity;
21
              3.        For leave to amend this Complaint, if needed, to supplement or allege new
22
     causes of action based on facts that may arise in discovery; and
23
              4.        For any and such further relief that this Court deems just and equitable.
24
     II I
25
     II I
26
                                                                    OLES MORRISON RINKER & BAKER LLP
                                                                          701 PIKE STREET, SUITE 1700
                                                                           SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES - 21
                                                                            PHONE: (206) 623-3427
                                                                             FAX: (206) 682-6234
                                                                                           Ebenal 000084
          Case 2:21-cv-01272-TL Document 1 Filed 09/17/21 Page 350 of 350




1            DATED this 20th day of September, 2018.

2                                                OLES MORRISON RINKER & BAKER LLP

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4                                                By-~--'---~-=-=----
                                                  Sam E. Baker, Jr., WSBA No. 3872
5                                                 Daniel P. Radthorne, WSBA No. 51438
                                                  Oles Morrison Rinker & Baker LLP
6                                                 701 Pike Street, Suite 1700
                                                  Seattle, WA 98101-3930
 7                                                Telephone: (206) 623-3427
                                                  Facsimile: (206) 682-6234
 8                                                Email:     Baker@oles.com
                                                             Radthorne@oles.c om
 9
                                                       Attorneys for Plaintiff Terra Firma Bellingham
10
                                                       LLC
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                                                                 OLES MORRISON RINKER & BAKER LLP
                                                                        701 PIKE STREET, SUITE 1700
                                                                         SEATTLE, WA 98101-3930
     COMPLAINT FOR DAMAGES- 22                                            PHONE: (206)623-3427
                                                                           FAX: (206) 682-6234
                                                                                              Ebenal 000085
